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                  Exhibit 1
Case 1:17-cv-01194-JDW Document 395-1 Filed 09/16/22 Page 2 of 479 PageID #: 17402

                                 JURY TRIAL - VOLUME 3

                                                                          Page 1

  1
                    IN THE UNITED STATES DISTRICT COURT
  2                     FOR THE DISTRICT OF DELAWARE
  3
                                               - - -
  4
        MICROCHIP TECHNOLOGY       : C.A. No. 17-1194
  5     INCORPORATED,              :
                                   :
  6                 Plaintiff,     :
                                   :
  7               vs.              :
                                   :
  8     APTIV SERVICES US, LLC,    :
                                   :
  9               Defendant.       :
 10                              - - -
 11                    TRANSCRIPT OF PROCEEDINGS
 12                             TESTIMONY
 13                              VOLUME 3
 14                              - - -
 15              Date:  Friday, April 8, 2022
 16              Time:  9 o'clock a.m.
 17            Place:  J. Caleb Boggs Federal Building
                       844 N. King Street
 18                    Courtroom 6B
                       Wilmington, Delaware   19801
 19
 20           Before:       HONORABLE JOSHUA D. WOLSON, JUDGE
 21
        Reporter:        Rose A. Tamburri, RPR, CM, CRR
 22                      Notary Public of Delaware
                                       - - -
 23                           VERITEXT LEGAL SOLUTIONS
                                MID-ATLANTIC REGION
 24                       1801 Market Street, Suite 1800
                         Philadelphia, Pennsylvania  19103

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  1
        A P P E A R A N C E S:
  2
  3             SHAW KELLER LLP
                BY:  JOHN W. SHAW, ESQUIRE
  4             ANDREW E. RUSSELL, ESQUIRE
                I.M. Pei Building
  5             1105 N. Market Street
                12th Floor
  6             Wilmington, Delaware  19801
                (302) 298-0700
  7             jshaw@shawkeller.com
                arussell@shawkeller.com
  8
                                   and
  9
                SLAYDEN, GRUBERT & BEARD
 10             BY:   BRUCE SLAYDEN, ESQUIRE
                      BRIAN BANNER, ESQUIRE
 11                   JOSEPH D. GRAY, ESQUIRE
                      TRUMAN FENTON, ESQUIRE
 12             Frost Bank Tower
                401 Congress Avenue
 13             #1650
                Austin, Texas   78701
 14             (512) 402-3550
                bslayden@sgbfirm.com
 15             bbanner@sgbfirm.com
                jgray@sgbfirm.com
 16             tfenton@sgbfirm.com
 17             Representing the Plaintiff
 18
 19
 20
 21
 22
 23
 24

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  1
        A P P E A R A N C E S (Cont'd)
  2
  3             POTTER, ANDERSON & CORROON
                BY:   PHILIP A. ROVNER, ESQUIRE
  4             1313 N. Market Street
                Hercules Plaza, 6th Floor
  5             P.O. Box 951
                Wilmington, Delaware   19899
  6             (302)   984-6114
                provner@potteranderson.com
  7
                                         and
  8
                DURIE TANGRI
  9             BY:  DARALYN J. DURIE, ESQUIRE
                     ERIC C. WIENER, ESQUIRE
 10                  TIMOTHY C. SAULSBURY, ESQUIRE
                217 Leidesdorff Street
 11             San Francisco, california  94111
                (415) 362-6666
 12             ddurie@durietangri.com
                eweiner@durietangri.com
 13             tsaulsbury@durietangri.com
 14
                Representing the Defendant
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24

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  3     WITNESS                                                               PAGE
  4     MITCHEL OBOLSKY
  5
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  6          MS. DURIE                                                             9
  7          REDIRECT EXAMINATION BY:
             MR. SLAYDEN                                                        66
  8
  9
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 10
 11          DIRECT EXAMINATION BY:
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 17
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 20             MR. WIENER                                                     356
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  1
                                           E X H I B I T S
  2
  3     NO.                    MARKED                                  ADMITTED
  4     262                           10                                       11
  5     272                           22                                       22
  6     269                           26                                       27
  7     275                           28                                       28
  8     273                           31                                       31
  9     236                           35                                       35
 10     270                           36                                       37
 11     271                           36                                       37
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                                 JURY TRIAL - VOLUME 3

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   1                  E X H I B I T S, (Cont'd)
   2
        376               231                               --
   3
        182               280                              281
   4
         18               281                              281
   5
        125               281                              281
   6
        264               387                              387
   7
   8
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 24
                                                                               08:19:09

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                                 JURY TRIAL - VOLUME 3

                                                                              Page 7

   1                   (Whereupon, the Court commenced                         08:19:09

   2    proceedings at 9 o'clock a.m.)                                         08:19:13

   3                   THE COURT CLERK:     All rise.       The                08:19:17

   4    Honorable Joshua D. Wolson presiding.                                  08:19:21

   5                   THE COURT:     All right.    Good                       08:19:26

   6    morning, everybody.                                                    08:57:07

   7                   MR. SLAYDEN:     Good morning.                          08:57:09

   8                   MS. DURIE:     Good morning.                            08:57:10

   9                   THE COURT:     Have a seat, please.                     08:57:11

 10     All right.                                                             08:57:14

 11                    We got the jury instructions that                       08:57:16

 12     everybody sent last night.        Thank you.       We are              08:57:17

 13     working through the changes you saw.           I will                  08:57:20

 14     try to incorporate them into our draft and I                           08:57:24

 15     will get you something by the end of the day                           08:57:28

 16     so you can look at them over the weekend.                              08:57:31

 17                    MS. DURIE:     And I just want to be                    08:57:33

 18     clear that there is a dispute between the                              08:57:34

 19     parties about the changes.                                             08:57:36

 20                    THE COURT:     Yes, I saw that there                    08:57:37

 21     was a draft.                                                           08:57:38

 22                    MS. DURIE:     Perfect.                                 08:57:39

 23                    THE COURT:     And then I guess you                     08:57:40

 24     accepted -- one side made changes, the other                           08:57:42


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                                 JURY TRIAL - VOLUME 3

                                                                              Page 8

   1    side didn't accept all the changes and made                            08:57:46

   2    their own changes.     I didn't think that meant                       08:57:48

   3    you had agreed to their changes.                                       08:57:50

   4                   MS. DURIE:     Perfect.     We just                     08:57:51

   5    wanted to get it in because we knew you were                           08:57:52

   6    waiting for it.                                                        08:57:55

   7                   THE COURT:     Understood.       I think                08:57:56

   8    we understand the state of play.                                       08:57:57

   9                   MS. DURIE:     Perfect.                                 08:57:59

 10                    THE COURT:     You know, you'll see                     08:58:00

 11     what we give you, and obviously to the extent                          08:58:01

 12     of what we issue.     I don't think it will be                         08:58:05

 13     amongst the confusion, but if it is, you'll                            08:58:08

 14     let us know.                                                           08:58:10

 15                    MS. DURIE:     Yes.     Thank you.                      08:58:11

 16     Very, very much appreciate it, getting the                             08:58:11

 17     heads-up.                                                              08:58:15

 18                    THE COURT:     Yes.     Okay.    All                    08:58:15

 19     right.   I think that's it.          I didn't hear                     08:58:20

 20     anything else in terms of issues we need to                            08:58:23

 21     take up; right?                                                        08:58:25

 22                    MR. SLAYDEN:     No, Your Honor.                        08:58:26

 23                    THE COURT:     All right.       Let's                   08:58:27

 24     bring the jury in and we'll get Mr. Obolsky                            08:58:28


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                                   JURY TRIAL - VOLUME 3

                                                                                Page 9

   1     back up here.                                                           08:58:31

   2                    (Whereupon, the jury entered the                         08:58:33

   3     courtroom.)                                                             08:58:35

   4                    THE COURT:     All right.                                08:58:59

   5                    Good morning, everybody.           I am                  08:58:59

   6     impressed with your promptness.              I appreciate               08:59:03

   7     it.     It's not always the case with juries, so                        08:59:05

   8     you are in good standing.                                               08:59:08

   9                    All right.     So we're going to                         08:59:09

  10     resume this morning with Mr. Obolsky.              I'm                  08:59:11

  11     sorry, you can all be seated.              You can resume               08:59:14

  12     Mr. Obolsky's cross-examination, so Mr.                                 08:59:17

  13     Obolsky, if you will step up.                                           08:59:20

  14                    You understand you're still under                        08:59:37

  15     oath?                                                                   08:59:38

  16                    THE WITNESS:       Yes, I do.                            08:59:39

  17                    THE COURT:     All right.                                08:59:40

  18                    Ms. Durie, you may proceed.                              08:59:41

  19                    MS. DURIE:     Thank you.                                08:59:43

  20                                   -    -   -                                08:59:43

  21                     CROSS-EXAMINATION, CONTINUED                            08:59:43

  22                                   -    -   -                                08:59:43

  23     BY MS. DURIE:                                                           08:59:43

  24           Q.    Mr. Obolsky, good morning.                                  08:59:44


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                                    JURY TRIAL - VOLUME 3

                                                                           Page 10

   1         A.      Good morning.                                             08:59:46

   2         Q.      Now, yesterday we left off in                             08:59:46

   3     December of 2014, and we were talking about                           08:59:48

   4     Chrysler.     And just by way of a refresher,                         08:59:52

   5     Tecvox was one of Microchip's customers;                              08:59:57

   6     right?                                                                09:00:00

   7         A.      Yes, it was.                                              09:00:00

   8         Q.      An Tecvox had been pitching the                           09:00:03

   9     Chrysler business with a Microchip chip;                              09:00:06

  10     right?                                                                09:00:09

  11         A.      Yes, it was.                                              09:00:10

  12         Q.      Okay.                                                     09:00:12

  13                    That was the FlexConnect chip that                     09:00:12

  14     did not have persistent USB; right?                                   09:00:14

  15         A.      Yes.                                                      09:00:18

  16         Q.      And Tecvox had learned that it was                        09:00:18

  17     losing the Chrysler business; right?                                  09:00:22

  18         A.      Yes.                                                      09:00:24

  19         Q.      Okay.                                                     09:00:25

  20                    MS. DURIE:    Let me mark for                          09:00:27

  21     identification TX-262.                                                09:00:31

  22                    (Whereupon, Trial Exhibit 262 was                      09:00:36

  23     introduced.)                                                          09:00:40

  24     BY MS. DURIE:                                                         09:00:47


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                                   JURY TRIAL - VOLUME 3

                                                                            Page 11

   1         Q.     Exhibit 262 is an email amongst a                           09:00:47

   2     number of individuals at Microchip regarding a                         09:00:50

   3     Thursday Chrysler meeting; correct?                                    09:00:56

   4         A.     Let me look at it.                                          09:01:00

   5         Q.     Sure.                                                       09:01:01

   6         A.     Yes.                                                        09:01:04

   7                   MS. DURIE:     We offer it.                              09:01:06

   8                   MR. SLAYDEN:      No objection.                          09:01:07

   9                   THE COURT:     Okay.    So received.                     09:01:07

  10                   MS. DURIE:     And, Mr. Glass, if we                     09:01:11

  11     can put up page 1, and start at the -- that's                          09:01:13

  12     perfect.                                                               09:01:18

  13     BY MS. DURIE:                                                          09:01:19

  14         Q.     Now, this is an email, we see, from                         09:01:19

  15     Sal Canu; correct?                                                     09:01:27

  16         A.     Yes, it is.                                                 09:01:29

  17         Q.     And can you remind us who he is?                            09:01:30

  18         A.     He is a salesman and applications                           09:01:31

  19     engineer inside of Microchip.                                          09:01:33

  20         Q.     Perfect.                                                    09:01:35

  21                   Let's take a look -- let's start                         09:01:36

  22     at "Short-term" in the middle of the page.             He              09:01:38

  23     is discussing Microchip's short-term position;                         09:01:41

  24     right?                                                                 09:01:43


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                                  JURY TRIAL - VOLUME 3

                                                                           Page 12

   1         A.      Yeah, where are we looking?                               09:01:48

   2         Q.      Right there where it says,                                09:01:51

   3     "Short-term."                                                         09:01:53

   4         A.      Okay.   I got it.                                         09:01:53

   5         Q.      And if the monitor in front of you                        09:01:54

   6     is --                                                                 09:01:56

   7         A.      Easier up here.                                           09:01:56

   8         Q.      Completely understand.                                    09:01:57

   9                    And he says, "We looked at                             09:02:00

  10     developing a solution for 1 upstream lane,                            09:02:02

  11     persistent USB data and we don't have a                               09:02:06

  12     solution.     We wish we could provide a solution                     09:02:08

  13     but we don't have it."                                                09:02:10

  14                    That was true; right?                                  09:02:12

  15         A.      Yes.                                                      09:02:13

  16         Q.      And then if we go a little bit                            09:02:13

  17     further down, he says, "We still think our                            09:02:17

  18     USB84604 solution is the best solution."                              09:02:23

  19                    That was the FlexConnect solution;                     09:02:28

  20     right?                                                                09:02:30

  21         A.      Yes.                                                      09:02:30

  22         Q.      Okay.                                                     09:02:31

  23                    Now, let's go up -- actually, I                        09:02:32

  24     take it back.                                                         09:02:35


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                                  JURY TRIAL - VOLUME 3

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   1                  MS. DURIE:     Let's go down, take                       09:02:39

   2     that down and go to "Long-term" underneath                            09:02:40

   3     there, if we can blow that up.         Perfect.                       09:02:43

   4     That's what we need.      That's great.                               09:02:47

   5     BY MS. DURIE:                                                         09:02:49

   6         Q.    So he says, "Long-term:        We have                      09:02:49

   7     Sparta in the product pipeline and will                               09:02:53

   8     continue on that path.      This is the solution                      09:02:55

   9     that works with 2 upstream lanes."                                    09:02:58

  10                  So that's not a one-lane solution,                       09:03:02

  11     that's a two-lane solution; right?                                    09:03:04

  12         A.    That's what it says, yes.                                   09:03:07

  13         Q.    Okay.                                                       09:03:08

  14                  And then he says, "We will                               09:03:10

  15     consider a solution for 1 upstream lane with                          09:03:12

  16     persistent USB data but do not have a                                 09:03:15

  17     commitment for that now."                                             09:03:18

  18                  So 1 upstream lane with persistent                       09:03:21

  19     USB data, that's what Chrysler was asking for?                        09:03:24

  20         A.    Yes.                                                        09:03:26

  21         Q.    That's what Tecvox didn't have?                             09:03:27

  22         A.    Yes.                                                        09:03:29

  23         Q.    Right?                                                      09:03:29

  24                  And Dave Diovardi, who is he?                            09:03:31


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                                                                           Page 14

   1         A.      Dave Diovardi is a program manager at                     09:03:34

   2     Chrysler.                                                             09:03:39

   3         Q.      Okay.                                                     09:03:39

   4                    MS. DURIE:    Now, if we can go up,                    09:03:40

   5     Mr. Glass, to the top of the email.          It says,                 09:03:42

   6     "Our position:       Upper Management involvement."                   09:03:48

   7                    Actually, can we go back down to                       09:03:52

   8     "Long-term," I apologize.                                             09:03:55

   9     BY MS. DURIE:                                                         09:03:56

  10         Q.      It says, "(We can ask Dave Diovardi                       09:03:56

  11     here - Is the Unwired solution certified with                         09:03:59

  12     Apple?)     Certification of this system would                        09:04:01

  13     help make the case to Upper Management to put                         09:04:03

  14     this solution in the pipeline."                                       09:04:06

  15                    So some of the folks at Microchip                      09:04:08

  16     were trying to make the case with upper                               09:04:11

  17     management about this 1 upstream lane with                            09:04:13

  18     persistent USB data saying hey, guys, we need                         09:04:15

  19     to do this; right?                                                    09:04:19

  20         A.      Yes.    It appears so.                                    09:04:20

  21         Q.      And one of the road blocks was that                       09:04:22

  22     Microchip was worried that Apple wasn't                               09:04:24

  23     ultimately going to certify this?                                     09:04:26

  24         A.      Yes.                                                      09:04:29


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                                      JURY TRIAL - VOLUME 3

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   1            Q.      Okay.                                                      09:04:29

   2                       And so now, let's go up to the                          09:04:30

   3     top.        "Our position:    Upper Management                            09:04:33

   4     involvement."                                                             09:04:37

   5                       Now, upper management, that's you;                      09:04:39

   6     right?        You're part of upper management?                            09:04:41

   7            A.      Yes.                                                       09:04:43

   8            Q.      Okay.                                                      09:04:44

   9                       "Upper Management is aware of the                       09:04:45

  10     market, the requirements, and all solutions                               09:04:47

  11     proposed.        More information is needed for them                      09:04:49

  12     to make any directional changes and this will                             09:04:51

  13     take time.        A business case providing revenue                       09:04:54

  14     commitments/estimates would have to justify                               09:04:56

  15     investment."                                                              09:04:59

  16                       Now, sir, you said yesterday in                         09:05:01

  17     your direct examination that Microchip always                             09:05:02

  18     does what its customers want; right?                                      09:05:05

  19            A.      Eventually, yes.                                           09:05:08

  20            Q.      Yeah, eventually.                                          09:05:10

  21                       You knew that this was something                        09:05:12

  22     that Tecvox wanted; right?                                                09:05:13

  23            A.      Yes.    We became aware, yes.                              09:05:16

  24            Q.      Yeah.    And your response wasn't                          09:05:19


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                                  JURY TRIAL - VOLUME 3

                                                                           Page 16

   1     absolutely, we'll get right on it; your                               09:05:21

   2     response was yeah, we'll think about it and                           09:05:23

   3     see if that's something we want to do?                                09:05:25

   4         A.    That's the response here.                                   09:05:28

   5         Q.    Right.                                                      09:05:30

   6         A.    I'm not copied on this message.                             09:05:31

   7         Q.    Okay.                                                       09:05:33

   8                  So the wall that Microchip ran                           09:05:33

   9     into in this timeframe is that they didn't                            09:05:35

  10     have a solution to be able, both, to have                             09:05:39

  11     music at the same time as CarPlay in a single                         09:05:43

  12     lane format, and you weren't sure it was worth                        09:05:45

  13     the investment to come up with one?                                   09:05:47

  14         A.    At this point, we weren't sure we                           09:05:51

  15     should do this chip, yes.                                             09:05:53

  16         Q.    Right.                                                      09:05:56

  17                  MS. DURIE:     Mr. Glass, if we could                    09:05:57

  18     put up TX-36 in evidence.                                             09:05:59

  19     BY MS. DURIE:                                                         09:06:04

  20         Q.    TX-36 is an email exchange with you                         09:06:06

  21     and Steve Sanghi.                                                     09:06:10

  22                  So who is Steve Sanghi?                                  09:06:14

  23         A.    Steve Sanghi, at the time, was the                          09:06:15

  24     CEO of Microchip.                                                     09:06:17


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   1            Q.   And there is a copy there to Ganesh                         09:06:18

   2     Moorthy.     Who was he?                                                09:06:23

   3            A.   Ganesh was my boss immediately and                          09:06:24

   4     eventually has now become the CEO.                                      09:06:28

   5            Q.   Right.                                                      09:06:30

   6                    So fair to say this is about as                          09:06:31

   7     upper management as it gets; right?                                     09:06:32

   8            A.   That's fair.                                                09:06:34

   9            Q.   Okay.                                                       09:06:35

  10                    Now, if we can start at the email                        09:06:37

  11     that you sent, it's on the second page, and                             09:06:41

  12     blow up this.                                                           09:06:48

  13                    So you said -- this is part of                           09:06:51

  14     what you wrote; right?                                                  09:06:52

  15            A.   Yeah.                                                       09:06:56

  16            Q.   And you're talking about a meeting                          09:06:56

  17     that's going to happen with Tecvox; right?                              09:06:58

  18                    And if we go down, there is a                            09:07:05

  19     discussion here about Don Perkins.            Who is                    09:07:07

  20     Don?                                                                    09:07:09

  21            A.   Don was one of the marketing managers                       09:07:10

  22     at the time.                                                            09:07:14

  23            Q.   Okay.                                                       09:07:14

  24                    MS. DURIE:     And so let's go down,                     09:07:14


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   1     the next page following up on your email, we                          09:07:16

   2     can go to page 3.     There we go.                                    09:07:21

   3     BY MS. DURIE:                                                         09:07:21

   4         Q.    And so in your summary of this, you                         09:07:25

   5     say, "In my last meeting with Raj, he stated                          09:07:28

   6     that he blames Microchip for his failure at                           09:07:31

   7     Chrysler."                                                            09:07:34

   8                  So this is the Tecvox guy saying                         09:07:36

   9     he thinks it's Microchip's fault that he lost                         09:07:37

  10     the Chrysler business; right?                                         09:07:39

  11         A.    That's what -- that is what he                              09:07:42

  12     thought, I guess.                                                     09:07:43

  13         Q.    Yeah.                                                       09:07:44

  14                  And you say, "He was trying to                           09:07:45

  15     make me feel guilty, and be more agreeable to                         09:07:48

  16     supporting them.     The reality is the market is                     09:07:51

  17     evolving quickly.     Our current solution is                         09:07:54

  18     good, but does not solve all problems.           We are               09:07:56

  19     planning to develop a next generation                                 09:07:58

  20     solution, in part based on Tecvox's feedback.                         09:08:00

  21     In part in response to the Unwired solution,                          09:08:03

  22     which we had dismissed when they were a small                         09:08:05

  23     standalone company."                                                  09:08:07

  24                  And that's true; right?                                  09:08:09


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   1         A.     That is true.    Unwired was struggling                    09:08:14

   2     quite a bit at the time.                                              09:08:17

   3         Q.     Yeah.    They were a small stand-alone                     09:08:18

   4     company and so you dismissed their solution?                          09:08:20

   5         A.     Yes.                                                       09:08:24

   6         Q.     Okay.                                                      09:08:26

   7                   MS. DURIE:    Let's go to the first                     09:08:34

   8     page.    Great.    And actually, can you just go                      09:08:29

   9     back to the whole document for a second so we                         09:08:36

  10     can see where we're going.                                            09:08:39

  11     BY MS. DURIE:                                                         09:08:41

  12         Q.     So at the top, this is your email to                       09:08:41

  13     your CEO, to the guy who is going to become                           09:08:43

  14     your CEO, and you are responding to this email                        09:08:46

  15     thread; right?                                                        09:08:48

  16         A.     Can you repeat your question?         I was                09:08:51

  17     not quite following.                                                  09:08:54

  18         Q.     Sure.                                                      09:08:55

  19                   This email that you wrote at the                        09:08:56

  20     top, you're reporting to your CEO and to the                          09:08:57

  21     guy who is going to become your CEO about this                        09:09:00

  22     email thread underneath that we were just                             09:09:02

  23     looking at; right?                                                    09:09:04

  24         A.     Yes.                                                       09:09:06


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   1         Q.      Okay.                                                     09:09:06

   2                    And you say, "We left with actions                     09:09:07

   3     relating to pricing and technology," and then                         09:09:10

   4     let's look at the second one.        "We have been                    09:09:13

   5     working on the business case and technical                            09:09:16

   6     details to provide a single connection                                09:09:18

   7     solution similar to Unwired.        We are still not                  09:09:20

   8     sure the ROI" -- that's return on investment;                         09:09:24

   9     right?                                                                09:09:28

  10         A.      Yes.                                                      09:09:28

  11         Q.      "We are still not sure the return on                      09:09:29

  12     investment justifies this project, but are                            09:09:31

  13     much more confident than when it was first                            09:09:34

  14     proposed.     This development would be about 1.5                     09:09:37

  15     to $2 million."      And then you go on to say,                       09:09:40

  16     "With limited resources."                                             09:09:45

  17                    Limited resources; I think I heard                     09:09:48

  18     in opening that Microchip's R & D budget is                           09:09:50

  19     $1.2 billion; is that right?                                          09:09:55

  20         A.      It is today, yes.                                         09:09:57

  21         Q.      Yeah.                                                     09:09:58

  22         A.      It was not at this time.                                  09:09:59

  23         Q.      Right.                                                    09:10:01

  24                    But if it is -- if it's                                09:10:02


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   1     $1.2 billion today, presumably it was several                         09:10:04

   2     hundred million dollars back then; right?                             09:10:07

   3         A.      That's a fair estimate.                                   09:10:08

   4         Q.      Okay.                                                     09:10:09

   5                    So "with limited resources, this                       09:10:10

   6     project needs to return 15 to $20 million or                          09:10:13

   7     will not be funded."                                                  09:10:17

   8                    So at this point in time,                              09:10:19

   9     January 6, 2015, Microchip had not yet made a                         09:10:21

  10     decision whether it was willing to make an                            09:10:23

  11     investment in order to come out with a                                09:10:25

  12     one-lane persistent USB solution; fair?                               09:10:28

  13         A.      Yes, that was the Sandia chip we have                     09:10:30

  14     been talking about that was being analyzed,                           09:10:33

  15     the business plan was being worked.                                   09:10:35

  16         Q.      Okay.                                                     09:10:37

  17                    Now, at this point in time,                            09:10:38

  18     combatting the Unwired threat was a key goal                          09:10:41

  19     of your business unit; right?                                         09:10:44

  20         A.      In this context, I think it was a key                     09:10:49

  21     to what Tecvox needed and responded to                                09:10:51

  22     Chrysler.                                                             09:10:58

  23                    MS. DURIE:   Okay.    Let me mark for                  09:10:58

  24     identification Exhibit 272.                                           09:11:00


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   1                    (Whereupon, Trial Exhibit 272 was                       09:11:05

   2     introduced.)                                                           09:11:08

   3     BY MS. DURIE:                                                          09:11:14

   4         Q.      Okay.                                                      09:11:15

   5                    Exhibit 272 is an email from you                        09:11:15

   6     to a number of individuals, including Mark                             09:11:19

   7     Bohm, January 12th, 2015; right?                                       09:11:21

   8         A.      Hang on one second.                                        09:11:26

   9         Q.      Sure.                                                      09:11:27

  10         A.      Yes.                                                       09:11:28

  11                    MS. DURIE:     We offer it.                             09:11:30

  12                    MR. SLAYDEN:     No objection.                          09:11:30

  13                    THE COURT:     All right.     It will                   09:11:32

  14     come in.                                                               09:11:33

  15                    MS. DURIE:     And we can start at                      09:11:34

  16     the top of the first page.                                             09:11:39

  17     BY MS. DURIE:                                                          09:11:41

  18         Q.      There's an email from you,                                 09:11:41

  19     January 12th, 2015, "Updated Goals," and                               09:11:43

  20     underneath that you say, "One bonus goal                               09:11:49

  21     related to Unwired that was already in our                             09:11:52

  22     plans.     In yellow."                                                 09:11:55

  23                    So these are corporate goals;                           09:11:57

  24     right?                                                                 09:11:59


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                                                                             Page 23

   1            A.    Hang on.                                                   09:12:00

   2                     Yeah, these are division goals,                         09:12:05

   3     yes.                                                                    09:12:09

   4            Q.    Now, is it right that the way                              09:12:10

   5     Microchip worked, bonuses for employees in a                            09:12:12

   6     particular group or division are tied to goals                          09:12:15

   7     for that division or group for some period of                           09:12:19

   8     time?                                                                   09:12:21

   9            A.    No, they are not.                                          09:12:21

  10            Q.    Okay.                                                      09:12:22

  11                     So bonuses are completely                               09:12:22

  12     unrelated to corporate performance?                                     09:12:24

  13            A.    Well, bonus is only a function of                          09:12:26

  14     corporate high-line revenue and growth,                                 09:12:28

  15     period.                                                                 09:12:31

  16            Q.    Okay.    Fair enough.                                      09:12:31

  17                     Now, let's take a look at the                           09:12:33

  18     goals.      I take it even if you don't have                            09:12:36

  19     bonuses tied to them, you still care about                              09:12:38

  20     meeting them?                                                           09:12:43

  21            A.    We set a plan and we hope to meet                          09:12:43

  22     that plan.                                                              09:12:45

  23            Q.    Great.                                                     09:12:46

  24                     MS. DURIE:    Let's take a look at                      09:12:46


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   1     the third page, Mr. Glass, and let's take a                            09:12:49

   2     look at what the goals were.                                           09:12:52

   3     BY MS. DURIE:                                                          09:12:55

   4         Q.     So Q4, fiscal year 2015, January to                         09:12:55

   5     March of 2015, Objectives and Key Results.                             09:13:00

   6                   So this is a list of goals, and                          09:13:04

   7     then you're highlighting the status of                                 09:13:06

   8     performance against those goals; right?                                09:13:09

   9         A.     Yes.                                                        09:13:12

  10         Q.     Okay.                                                       09:13:12

  11                   And so green means complete,                             09:13:13

  12     yellow means at risk, red means likely miss,                           09:13:17

  13     blue is on track.      1(c) goal, initiate                             09:13:21

  14     business and technical actions to combat the                           09:13:25

  15     Unwired threat, and the status of that                                 09:13:27

  16     particular goal is yellow, which means it was                          09:13:30

  17     seen as being at risk; right?                                          09:13:32

  18         A.     Yeah.   It was being completed by the                       09:13:35

  19     end of March.                                                          09:13:37

  20         Q.     There was a risk that you would not                         09:13:38

  21     succeed in your business and technical actions                         09:13:41

  22     to combat the Unwired threat by the end of the                         09:13:43

  23     quarter?                                                               09:13:49

  24         A.     I'm sorry, by?                                              09:13:49


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                                                                           Page 25

   1         Q.    The end of the quarter.                                     09:13:50

   2         A.    Yes.     And that's what it's measuring.                    09:13:51

   3         Q.    Right.     So keep this date in mind.                       09:13:54

   4     Let's go back to the first page.                                      09:13:57

   5                  January 12th, 2015; did anything                         09:13:59

   6     else happen on January 12th, 2015, relevant to                        09:14:09

   7     this case?                                                            09:14:12

   8         A.    I'm sorry?                                                  09:14:13

   9         Q.    Did anything else happen on                                 09:14:14

  10     January 12th, 2015, that is relevant to this                          09:14:16

  11     case?                                                                 09:14:19

  12         A.    I don't specifically remember, but...                       09:14:20

  13         Q.    All right.     Let's take a look.                           09:14:23

  14                  MS. DURIE:     TX-9 in evidence,                         09:14:25

  15     please.                                                               09:14:28

  16     BY MS. DURIE:                                                         09:14:28

  17         Q.    January 12th, 2015, "Dear Mr. Voto,"                        09:14:29

  18     here are our concerns.                                                09:14:38

  19         A.    Yes.                                                        09:14:41

  20         Q.    So you sent the notice letter to                            09:14:41

  21     Delphi the same day that you sent around                              09:14:44

  22     internally that your goal of initiating                               09:14:46

  23     business and technical actions to combat the                          09:14:48

  24     Unwired threat was at risk; right?                                    09:14:51


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   1         A.    It would appear so, yes.                                    09:14:56

   2         Q.    All right.                                                  09:14:58

   3                    Now, Delphi responded to that                          09:14:58

   4     letter promptly; right?                                               09:15:00

   5         A.    I guess, as I understand it.                                09:15:03

   6                    MS. DURIE:     Let's take a look.                      09:15:09

   7     Mark for identification Exhibit 269.                                  09:15:11

   8                    (Whereupon, Trial Exhibit 269 was                      09:15:13

   9     introduced.)                                                          09:15:16

  10     BY MS. DURIE:                                                         09:15:28

  11         Q.    Exhibit 269 is a fax, which is kind                         09:15:28

  12     of charming.     It is a fax from 2015, and if we                     09:15:31

  13     take a look at the thing that was faxed, it's                         09:15:36

  14     a letter from Delphi to Microchip Technology                          09:15:38

  15     Incorporated responding to the January 12th                           09:15:43

  16     letter that we were just looking at; right?                           09:15:45

  17         A.    Yes, it appears to be.                                      09:15:49

  18                    MS. DURIE:     We offer 269.                           09:15:50

  19                    MR. SLAYDEN:     It's got a                            09:15:57

  20     limitation to it.                                                     09:15:59

  21                    THE COURT:     I'm sorry?                              09:16:01

  22                    MR. SLAYDEN:     Subject to a                          09:16:02

  23     limitation, I'll represent, giving the letter                         09:16:02

  24     to attorneys.                                                         09:16:08


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   1                    THE COURT:    Okay.    I'll receive                     09:16:09

   2     it.    And, ladies and gentlemen, you'll see the                       09:16:13

   3     exhibit.     You should not draw any inferences,                       09:16:17

   4     one way or another, from the fact that there                           09:16:19

   5     were also attorneys who received a copy of it,                         09:16:22

   6     which you'll see on the letter.                                        09:16:23

   7                    MS. DURIE:    Terrific.                                 09:16:25

   8                    Mr. Glass, if we could see 269,                         09:16:27

   9     please, page 2.                                                        09:16:31

  10     BY MS. DURIE:                                                          09:16:32

  11           Q.   This is the letter that Delphi faxed                        09:16:33

  12     back dated January 30th, 2015, responding to                           09:16:35

  13     the letter, and if we can go down, saying we                           09:16:41

  14     don't intend to use any of your intellectual                           09:16:44

  15     properties, we value our business                                      09:16:47

  16     relationship, et cetera; right?                                        09:16:48

  17           A.   Yes, that appears so.                                       09:16:52

  18           Q.   Okay.                                                       09:16:53

  19                    And Microchip didn't respond to                         09:16:53

  20     this letter from Delphi; right?                                        09:16:57

  21           A.   I don't know.     I don't know what                         09:16:59

  22     happened next.                                                         09:17:01

  23           Q.   You don't know what happened next.                          09:17:02

  24     All right.     Well, let's take a look.                                09:17:05


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   1                    MS. DURIE:     275.                                    09:17:10

   2                    (Whereupon, Trial Exhibit 275 was                      09:17:13

   3     introduced.)                                                          09:17:16

   4     BY MS. DURIE:                                                         09:17:16

   5         Q.      Exhibit 275, email from Mitch Obolsky                     09:17:29

   6     to Steve Sanghi, CEO, Ganesh Moorthy,                                 09:17:33

   7     CEO-to-be, initial proposal for Tecvox; right?                        09:17:38

   8         A.      Hang on.   Yes.                                           09:17:41

   9         Q.      January 26, 2015?                                         09:17:45

  10         A.      Yes.                                                      09:17:46

  11                    MS. DURIE:     We offer 275.                           09:17:47

  12                    MR. SLAYDEN:     No objection, Your                    09:17:49

  13     Honor.                                                                09:17:51

  14                    THE COURT:     All right.     It's                     09:17:51

  15     admitted.                                                             09:17:52

  16                    MS. DURIE:     Okay.   So Exhibit 275,                 09:17:55

  17     page 1, if you can blow that up.           Perfect.                   09:17:57

  18                    Thank you.     All right.                              09:18:01

  19     BY MS. DURIE:                                                         09:18:03

  20         Q.      So this is an email from you, "The                        09:18:03

  21     attached slides are the heart of the                                  09:18:05

  22     discussion with Tecvox.        There have been about                  09:18:07

  23     20 hours of internal Microchip meetings in the                        09:18:12

  24     last two weeks, and many more are needed to                           09:18:14


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   1     complete the product definition."                                      09:18:17

   2                   And then it goes on to say, "We                          09:18:22

   3     now believe it is technically feasible to                              09:18:25

   4     develop a solution that competes with                                  09:18:28

   5     Unwired's and also can serve the European car                          09:18:30

   6     manufacturers whose needs differ slightly."                            09:18:33

   7                   So now you had concluded that this                       09:18:38

   8     one-lane persistent USB solution was                                   09:18:44

   9     technically feasible?                                                  09:18:48

  10         A.     That's what it says.       That is                          09:18:51

  11     correct.                                                               09:18:54

  12         Q.     That, indeed, is what it says.                              09:18:54

  13                   Now, you let your CEO know -- if                         09:18:57

  14     we can scroll down a little bit -- you got a                           09:19:01

  15     preliminary set of features, you've got a                              09:19:06

  16     development timeline, you've got product                               09:19:09

  17     costs.                                                                 09:19:11

  18                   Developing a chip takes a lot;                           09:19:11

  19     right?                                                                 09:19:13

  20         A.     Yes, it does.                                               09:19:14

  21         Q.     Yeah.                                                       09:19:15

  22                   And you say, "It will likely take                        09:19:15

  23     until the end of March to fully define the                             09:19:17

  24     product and timeline," so you're not even                              09:19:20


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   1     going to have a plan until the end of March,                          09:19:23

   2     and likely two years or more to reach                                 09:19:25

   3     production if the business plan says we should                        09:19:27

   4     proceed with this project.                                            09:19:29

   5                  That's what you told your CEO at                         09:19:31

   6     the time; right?                                                      09:19:34

   7         A.    Yes.    That's what it says.                                09:19:35

   8         Q.    Okay.                                                       09:19:36

   9                  And ultimately you decided, at                           09:19:40

  10     this point in time, to call the thing that you                        09:19:43

  11     were developing a multi-host device                                   09:19:46

  12     controller; right?                                                    09:19:52

  13         A.    I guess so.     I don't -- I don't know                     09:19:54

  14     that.                                                                 09:19:56

  15         Q.    Yeah.                                                       09:19:57

  16         A.    I assume.                                                   09:19:58

  17         Q.    It is after you've sent the notice                          09:19:59

  18     letter to Aptiv/Delphi; right?         Right?                         09:20:01

  19         A.    Hang on one second.        You said this is                 09:20:09

  20     after?   What's the date?        I'm sorry.                           09:20:11

  21         Q.    Yeah, this is after.        January 26th;                   09:20:13

  22     right?                                                                09:20:15

  23         A.    Yes, yes.     Sorry.                                        09:20:16

  24         Q.    You're thinking about how to counter                        09:20:17


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   1     the threat posed by the Unwired/Delphi                                09:20:20

   2     solution at this point in time; right?                                09:20:24

   3         A.      Yes.                                                      09:20:26

   4         Q.      And so you picked, for the product                        09:20:27

   5     that you were starting to develop, the name                           09:20:31

   6     that was in the patent that you had sent to                           09:20:33

   7     Delphi; right?                                                        09:20:37

   8         A.      If that's true, yes.                                      09:20:40

   9                    MS. DURIE:     Let's take a look.                      09:20:43

  10     Identification, Exhibit 273.                                          09:20:48

  11                    (Whereupon, Trial Exhibit 273 was                      09:20:52

  12     offered.)                                                             09:20:55

  13     BY MS. DURIE:                                                         09:21:03

  14         Q.      Exhibit 273, an email from David                          09:21:05

  15     Sroka to Mark Bohm, among others, dated                               09:21:09

  16     January 12th, 2015; right?                                            09:21:12

  17         A.      Yes.                                                      09:21:17

  18                    MS. DURIE:     We offer it.                            09:21:17

  19                    MR. SLAYDEN:     No objection, Your                    09:21:19

  20     Honor.                                                                09:21:20

  21                    THE COURT:     All right.     It is                    09:21:20

  22     admitted.                                                             09:21:21

  23                    MS. DURIE:     And, Mr. Glass, if we                   09:21:23

  24     can take a look at Exhibit 273, second full                           09:21:25


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   1     paragraph, from Mr. Sroka.                                              09:21:29

   2     BY MS. DURIE:                                                           09:21:31

   3            Q.   Now, just to be clear --                                    09:21:31

   4                    MS. DURIE:     And if you can blow                       09:21:33

   5     that up, too.                                                           09:21:35

   6     BY MS. DURIE:                                                           09:21:35

   7            Q.   So Mr. Sroka is the one we saw                              09:21:37

   8     yesterday who is, both, a marketing guy, but                            09:21:39

   9     also an engineer who was working on that                                09:21:41

  10     PowerPoint product definition set of slides                             09:21:43

  11     for the chip that Microchip was working on;                             09:21:45

  12     right?                                                                  09:21:47

  13            A.   Can you repeat that?       I'm sorry, I                     09:21:48

  14     didn't follow the whole thing.                                          09:21:51

  15            Q.   Sure.                                                       09:21:52

  16                    Yesterday we saw a PowerPoint                            09:21:53

  17     presentation, it had Mr. Sroka's name on it,                            09:21:54

  18     relating to the development of the Sandia                               09:21:57

  19     chip; right?        That's the one-lane persistent                      09:21:59

  20     USB?                                                                    09:22:01

  21            A.   Yes, I think so.                                            09:22:02

  22            Q.   Okay.                                                       09:22:04

  23                    And I think we confirmed, he is,                         09:22:04

  24     both, a marketing guy, but also an engineer;                            09:22:07


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   1     right?                                                                09:22:09

   2         A.    Yes.                                                        09:22:09

   3         Q.    Okay.                                                       09:22:09

   4                  And so Mr. Sroka, as the person                          09:22:10

   5     responsible for this project, says, "First we                         09:22:14

   6     are well positioned with USB84604," so                                09:22:18

   7     Microchip is still trying to sell that old                            09:22:22

   8     FlexConnect solution; right?                                          09:22:25

   9         A.    I don't know about old.        It was brand                 09:22:27

  10     new at that time.                                                     09:22:30

  11         Q.    All right.     Fine.                                        09:22:30

  12                  Microchip was still trying to sell                       09:22:31

  13     the FlexConnect solution that it had already                          09:22:33

  14     developed; right?                                                     09:22:36

  15         A.    Yes.                                                        09:22:37

  16         Q.    Okay.                                                       09:22:37

  17                  And he says, "but we lost against                        09:22:39

  18     Unwired at Chrysler, Ford, and GM.          Chrysler                  09:22:42

  19     came to us very aggressively to look at doing                         09:22:47

  20     a spoofed device," and this spoofed device,                           09:22:49

  21     that's the Unwired solution?                                          09:22:53

  22         A.    Well, I mean, Unwired has a solution.                       09:22:54

  23         Q.    Right.                                                      09:22:56

  24         A.    Chrysler asked us for a solution.                           09:22:57


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   1         Q.    Right.                                                      09:22:59

   2                    And then if we keep going, it                          09:22:59

   3     says, "This really kept us in the game and by                         09:23:02

   4     showing our experience in the area (product                           09:23:05

   5     brief) and legitimized our inputs and concerns                        09:23:09

   6     for both Sparta and MHDC," multi-host device                          09:23:12

   7     controller... "we use this name as it relates                         09:23:15

   8     to our patents"; right?                                               09:23:18

   9         A.    Yes, that's what it says.                                   09:23:21

  10         Q.    Now, in the event, Microchip didn't                         09:23:23

  11     actually use that name for very long, did it?                         09:23:25

  12         A.    I'm sorry?                                                  09:23:28

  13         Q.    In the event, Microchip did not use                         09:23:29

  14     that name for very long?                                              09:23:33

  15         A.    I'm not sure what that means, "in the                       09:23:34

  16     event."                                                               09:23:36

  17         Q.    Sure.    Let's take a look.                                 09:23:36

  18         A.    I'm not sure what those words mean.                         09:23:38

  19                    MS. DURIE:   Fair enough.      I think                 09:23:42

  20     I can help to clarify that for you.                                   09:23:43

  21     Exhibit 236 for identification.                                       09:23:46

  22                    (Whereupon, Trial Exhibit 236 was                      09:23:48

  23     introduced.)                                                          09:23:50

  24     BY MS. DURIE:                                                         09:24:00


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   1            Q.   So Exhibit 236 is a copy of a                               09:24:00

   2     Microchip specification for USB4916.            That's                  09:24:04

   3     the Sandia chip; right?                                                 09:24:09

   4            A.   Yes.     That's one of the variants,                        09:24:12

   5     yes.                                                                    09:24:14

   6                    MS. DURIE:     We offer 236.                             09:24:14

   7                    MR. SLAYDEN:      No objection, Your                     09:24:16

   8     Honor.                                                                  09:24:16

   9                    THE COURT:     All right.      It will be                09:24:18

  10     received.                                                               09:24:18

  11                    MS. DURIE:     Okay.                                     09:24:19

  12     BY MS. DURIE:                                                           09:24:21

  13            Q.   So now, before we were looking at a                         09:24:22

  14     document back in 2015 when you were talking                             09:24:23

  15     about calling the chip the multi-host device                            09:24:29

  16     controller.        Now we have the product spec                         09:24:33

  17     sheet.                                                                  09:24:35

  18                    MS. DURIE:     Actually, if you can                      09:24:36

  19     go all the way to the bottom, Mr. Glass.             Go                 09:24:37

  20     all the way to the bottom.                                              09:24:39

  21     BY MS. DURIE:                                                           09:24:39

  22            Q.   And we see 2017; right?                                     09:24:42

  23            A.   Yeah, that looks like the date on                           09:24:47

  24     this document.                                                          09:24:48


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   1            Q.   Right.                                                      09:24:50

   2                    And if we go up to the top, we see                       09:24:50

   3     that it is now called the USB 2.0 Hi-Speed                              09:24:52

   4     Multi-Host Endpoint Reflector; right?                                   09:24:57

   5            A.   I guess.    That's what it says, yeah.                      09:25:03

   6            Q.   So you changed the name; right?                             09:25:04

   7            A.   I don't know.                                               09:25:06

   8            Q.   Okay.                                                       09:25:07

   9                    Fast forward to October of 2015.                         09:25:08

  10     So we're now roughly 10 months after that                               09:25:12

  11     letter that we saw notifying Delphi/Aptiv                               09:25:16

  12     about the patents; okay?                                                09:25:21

  13                    MS. DURIE:     Mark for                                  09:25:24

  14     identification Exhibit 270.                                             09:25:26

  15                    (Whereupon, Trial Exhibit 270 was                        09:25:28

  16     introduced.)                                                            09:25:31

  17                    MS. DURIE:     And let me also mark                      09:25:45

  18     271.                                                                    09:25:46

  19                    (Whereupon, Trial Exhibit 271 was                        09:25:49

  20     introduced.)                                                            09:25:52

  21                    MS. DURIE:     Okay.                                     09:26:05

  22     BY MS. DURIE:                                                           09:26:05

  23            Q.   So Exhibit 270, email from Keith                            09:26:06

  24     Barber at Microchip to you, copying some of                             09:26:11


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   1     the other folks whose names we have seen,                              09:26:15

   2     attaching what is referred to as the DDC                               09:26:17

   3     minutes.                                                               09:26:21

   4                    And 271, which is the attachment                        09:26:23

   5     and the minutes of that meeting.                                       09:26:27

   6                    Do you see that?                                        09:26:30

   7         A.      Yes, I do.                                                 09:26:33

   8                    MS. DURIE:     We offer 270 and 271.                    09:26:34

   9                    MR. SLAYDEN:     No objection, Your                     09:26:37

  10     Honor.                                                                 09:26:38

  11                    THE COURT:     All right.     They're                   09:26:38

  12     received.                                                              09:26:39

  13                    MS. DURIE:     Mr. Glass, if we could                   09:26:40

  14     go to 270, that's right, that's 270, and if we                         09:26:42

  15     could then put up 271.        So just leave it like                    09:26:47

  16     that for the moment.        That's perfect.                            09:26:52

  17     BY MS. DURIE:                                                          09:26:54

  18         Q.      So this is reporting on a meeting                          09:26:55

  19     that took place between Microchip and Delphi;                          09:26:56

  20     right?                                                                 09:26:59

  21         A.      Yes, it appears to be.                                     09:27:01

  22         Q.      And this is a meeting that took place                      09:27:03

  23     in October of 2015; right?                                             09:27:06

  24         A.      Yes, that's the date on there.                             09:27:11


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   1         Q.      It took place at Delphi, Auburn                           09:27:13

   2     Hills, Michigan, near Detroit; right?                                 09:27:22

   3         A.      Yeah, at Delphi.    I don't know the                      09:27:23

   4     location at all.                                                      09:27:25

   5         Q.      Okay.                                                     09:27:26

   6                    And you were there; right?                             09:27:26

   7         A.      Yes.    I just don't know where.                          09:27:26

   8         Q.      Totally fair.                                             09:27:30

   9                    So folks from Delphi, including                        09:27:31

  10     Rob Voto, Mike Dreon; right?        You recognize                     09:27:33

  11     Mr. Dreon?                                                            09:27:39

  12         A.      I think so.                                               09:27:39

  13         Q.      Do you remember he was at the                             09:27:42

  14     meeting, too?                                                         09:27:43

  15         A.      I wouldn't remember, but I believe                        09:27:43

  16     you, yes.                                                             09:27:46

  17         Q.      All right.                                                09:27:46

  18                    And so you were there along with                       09:27:47

  19     some of the other folks from Microchip; right?                        09:27:49

  20         A.      Yes.                                                      09:27:51

  21         Q.      And Microchip took notes of what the                      09:27:52

  22     Delphi folks said and what the Microchip folks                        09:27:56

  23     said; right?                                                          09:27:59

  24         A.      Do we know that those are Microchip                       09:28:00


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   1     notes?     I don't know who took the notes.         I                  09:28:02

   2     can see that they were taken, but I don't know                         09:28:04

   3     who took the notes.                                                    09:28:09

   4           Q.    All right.                                                 09:28:10

   5                    Well, notes were taken of the                           09:28:11

   6     meeting in the form of minutes that were then                          09:28:13

   7     attached to an email and circulated internally                         09:28:18

   8     at Microchip?                                                          09:28:18

   9           A.    Yes, they were forwarded.                                  09:28:18

  10           Q.    Sure.                                                      09:28:20

  11                    You are not aware of any email                          09:28:20

  12     within Microchip where anyone said hey, wait a                         09:28:23

  13     minute, that's not what we talked about;                               09:28:25

  14     right?                                                                 09:28:27

  15           A.    I don't know.                                              09:28:28

  16           Q.    I'm sure if there is one, we'll see                        09:28:28

  17     it.                                                                    09:28:28

  18                    So let's take a look at the                             09:28:31

  19     minutes of the meeting.        Start at the top                        09:28:32

  20     there.     And that's actually perfect.        We can                  09:28:34

  21     just have it there, yeah.                                              09:28:36

  22                    "Rob does not consider" -- that's                       09:28:38

  23     Rob Voto from Delphi; right?                                           09:28:39

  24           A.    Yes.                                                       09:28:41


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   1         Q.      Okay.                                                      09:28:41

   2                    "Rob does not consider Delphi" --                       09:28:42

   3     DDC, that's Delphi; right?                                             09:28:45

   4         A.      Yes, Delphi, Delphi, yes.                                  09:28:47

   5         Q.      Okay.                                                      09:28:50

   6                    "Rob does not consider DDC as a                         09:28:51

   7     competent competitor to Microchip because                              09:28:53

   8     they're not trying to sell ASIC to the open                            09:28:56

   9     market."                                                               09:28:59

  10                    So what Rob Voto from Delphi is                         09:28:59

  11     saying here is, we're not competing with you,                          09:29:02

  12     we're not trying to sell these chips to anyone                         09:29:04

  13     else; right?                                                           09:29:07

  14         A.      Yeah.    That was Rob's view, but I                        09:29:08

  15     disagree.                                                              09:29:10

  16         Q.      Right.    Fair enough.    We're going to                   09:29:11

  17     get to your perspective in just a minute.                              09:29:13

  18                    And Mr. Voto said, the next box,                        09:29:15

  19     "Microchip did not have a solution for the                             09:29:21

  20     single upstream lane that The Big 3 OEMs,                              09:29:23

  21     Ford, Chrysler, GM, wanted"; right?                                    09:29:27

  22         A.      Yes, that's correct.                                       09:29:32

  23         Q.      And that was true?                                         09:29:34

  24         A.      Yes.                                                       09:29:37


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   1            Q.   Okay.                                                       09:29:38

   2                    It says in the notes, "Mitch                             09:29:40

   3     acknowledged that USB84604 was not adopted by                           09:29:41

   4     The Big 3."                                                             09:29:46

   5                    That's that FlexConnect solution;                        09:29:47

   6     right?                                                                  09:29:49

   7            A.   Yeah.     These are not things I said.                      09:29:50

   8     These are somebody else -- something people                             09:29:53

   9     wrote down.        These are not things that I said.                    09:29:55

  10            Q.   Well, it says, "Mitch acknowledged                          09:29:57

  11     that 84604, FlexConnect, was not adopted by                             09:30:00

  12     The Big 3."                                                             09:30:05

  13                    Do you deny that you said that?                          09:30:05

  14            A.   No, I don't deny I said that.                               09:30:07

  15            Q.   Okay.     Great.     Let's go to the next                   09:30:08

  16     one.                                                                    09:30:11

  17                    MS. DURIE:        No. 3 in that list, if                 09:30:12

  18     we can blow that up.           There we go.   Perfect.                  09:30:14

  19     BY MS. DURIE:                                                           09:30:16

  20            Q.   "Rob," Rob Voto, Delphi, "said he                           09:30:17

  21     does not want to be a silicon developer" --                             09:30:20

  22     that means making chips; right?                                         09:30:22

  23            A.   Yes.                                                        09:30:24

  24            Q.   "Rob said he does not want to be a                          09:30:25


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   1     silicon developer if he does not have to.           If                09:30:27

   2     Microchip has an IC" -- that's a chip; right?                         09:30:30

   3         A.      Yes.                                                      09:30:32

   4         Q.      Okay.                                                     09:30:33

   5                    -- "that he can use, he would                          09:30:33

   6     rather use a Microchip chip.        He wants to sell                  09:30:35

   7     modules."                                                             09:30:38

   8                    And that is, in fact, what Mr.                         09:30:39

   9     Voto explained was his position at the                                09:30:42

  10     meeting; right?                                                       09:30:44

  11         A.      Yes.                                                      09:30:44

  12         Q.      Okay.                                                     09:30:46

  13                    MS. DURIE:   Let us go on to the                       09:30:53

  14     next page.                                                            09:30:55

  15     BY MS. DURIE:                                                         09:30:57

  16         Q.      Now, this was the first time that you                     09:31:00

  17     had talked with the folks at Microchip about                          09:31:04

  18     that patent letter since they had responded to                        09:31:08

  19     you at the end of January; right?                                     09:31:12

  20         A.      You mean they spoke to Delphi?                            09:31:14

  21         Q.      I'm sorry, yes, spoke to Delphi.                          09:31:17

  22         A.      Yes.                                                      09:31:20

  23         Q.      And so that patent letter came up in                      09:31:20

  24     this conversation; right?                                             09:31:23


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   1         A.    Yes, it probably did.                                       09:31:25

   2         Q.    Okay.                                                       09:31:28

   3                    And Rob, Rob Voto from Delphi,                         09:31:28

   4     said he "received/reviewed/responded to the                           09:31:31

   5     letter sent by Microchip legal in January 2015                        09:31:35

   6     regarding our patents."                                               09:31:38

   7                    Now, you said you weren't sure who                     09:31:40

   8     took those notes.      The fact that it says, "our                    09:31:42

   9     patents," is probably a clue that these were                          09:31:44

  10     notes that were taken by Microchip; right?                            09:31:46

  11         A.    I don't know.     Let me read it.                           09:31:51

  12                    Potentially, yes.                                      09:31:59

  13         Q.    Yeah.                                                       09:32:00

  14                    His statement was that Delphi                          09:32:01

  15     believes it is not infringing.         And that is,                   09:32:04

  16     in fact, what Mr. Voto told you; right?                               09:32:07

  17         A.    I believe that's correct.                                   09:32:12

  18         Q.    Okay.                                                       09:32:13

  19                    And it says, "Mitch," that's you,                      09:32:14

  20     "noted that the DDC ASIC may be infringing on                         09:32:19

  21     our patents.      We will get a hub and test."                        09:32:25

  22                    And that is, in fact, what you                         09:32:29

  23     told Mr. Voto; right?                                                 09:32:31

  24         A.    Again, I don't know that to be true.                        09:32:34


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   1     That's someone else's notes.                                            09:32:37

   2            Q.   Someone else at Microchip?                                  09:32:39

   3            A.   I guess now, yes, possibly.         Yes.                    09:32:41

   4            Q.   Do you deny that you said that?                             09:32:45

   5            A.   I don't remember saying that, but I                         09:32:47

   6     don't know.      Yeah, I think -- I think                               09:32:51

   7     certainly we were going to -- you know, we                              09:32:54

   8     didn't have a product, and at one point, we                             09:32:57

   9     would get a product and definitively prove                              09:32:59

  10     they were infringing, but we didn't have one                            09:33:02

  11     yet.                                                                    09:33:05

  12            Q.   So you told Mr. Voto -- he said we                          09:33:05

  13     don't infringe and you said we think you may                            09:33:09

  14     be infringing, we're going to check?                                    09:33:12

  15            A.   I think that's a matter of politeness                       09:33:15

  16     in a meeting face-to-face with somebody.               I'm              09:33:17

  17     not sure about the word "may" or what was said                          09:33:19

  18     exactly, but I'm sure I was polite at the                               09:33:21

  19     time.                                                                   09:33:24

  20            Q.   Did you make an effort to be polite                         09:33:24

  21     in the original notice letter that you sent as                          09:33:26

  22     well?                                                                   09:33:30

  23            A.   I think the letter needed to be                             09:33:30

  24     factual.     It's a legal type letter to say, you                       09:33:32


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   1     know, at that point, we've looked at the data                         09:33:34

   2     and it is actually being explained to us that                         09:33:38

   3     it appears to be infringing our patents, also.                        09:33:40

   4         Q.     Okay.                                                      09:33:45

   5                    Now, let's look at what happened                       09:33:46

   6     after this October meeting.                                           09:33:47

   7                    MS. DURIE:   Let's have Exhibit 41                     09:33:52

   8     in evidence.                                                          09:33:54

   9     BY MS. DURIE:                                                         09:34:01

  10         Q.     This is an email exchange among you                        09:34:02

  11     and Ganesh Moorthy; right?                                            09:34:04

  12         A.     Yes.                                                       09:34:08

  13         Q.     And we are on October 18th of 2015;                        09:34:10

  14     right?                                                                09:34:16

  15                    MS. DURIE:   You can take it down.                     09:34:21

  16     We don't need a particular -- that should be                          09:34:23

  17     fine.    I take it back.    We can do that.                           09:34:26

  18     BY MS. DURIE:                                                         09:34:28

  19         Q.     So in the middle of the page there,                        09:34:29

  20     there is an email from Mr. Moorthy; right?                            09:34:30

  21         A.     Yes.                                                       09:34:34

  22         Q.     And one of his questions to you was,                       09:34:34

  23     "How long does it make sense for Unwired to                           09:34:38

  24     not see what they are doing as competitive to                         09:34:41


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   1     you"; right?                                                          09:34:46

   2         A.    Yes.    When they win, we lose.        That's               09:34:48

   3     the definition of a competitor.                                       09:34:51

   4         Q.    Let's take a look at your response.                         09:35:03

   5     Second paragraph, actually the top, you're                            09:35:14

   6     changing your flight plans, et cetera, and                            09:35:17

   7     then you say, "Unwired sees themselves as a                           09:35:19

   8     module maker that was forced to do a chip                             09:35:22

   9     because no one else would.        They showed a                       09:35:25

  10     willingness to use our chip, especially if it                         09:35:30

  11     is required by each of The Big 3."                                    09:35:34

  12                    So that was your report to                             09:35:36

  13     Microchip's CEO-to-be of what had transpired                          09:35:38

  14     at that meeting; right?                                               09:35:43

  15         A.    Yes.                                                        09:35:44

  16         Q.    Okay.                                                       09:35:45

  17                    And then you go on and you say,                        09:35:46

  18     "Bottom line we missed it."        First Christian,                   09:35:51

  19     then the crossover marketer, then Don, then                           09:35:55

  20     Jesse; lots of other people's fault?                                  09:36:00

  21         A.    I'm sorry?                                                  09:36:02

  22         Q.    Lots of other people's fault.                               09:36:04

  23         A.    Well, we missed it.       I didn't say                      09:36:09

  24     they missed it.                                                       09:36:15


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   1         Q.     Fair enough.     Fair enough.                               09:36:16

   2                      You would include yourself in one                     09:36:17

   3     of the people who missed it?                                           09:36:18

   4         A.     Yes.     We did not see the market                          09:36:19

   5     accepting a non-standard solution.                                     09:36:22

   6         Q.     You didn't say anything here about                          09:36:24

   7     patents, did you?                                                      09:36:27

   8         A.     I'm sorry?                                                  09:36:28

   9         Q.     You didn't say anything here about                          09:36:29

  10     patents?                                                               09:36:32

  11         A.     No.     We don't mention the patents in                     09:36:34

  12     every letter.                                                          09:36:37

  13         Q.     Now, Mr. Moorthy, to whom you sent                          09:36:43

  14     this, he was very concerned about competition                          09:36:46

  15     from Delphi; right?                                                    09:36:52

  16         A.     I don't know about very concerned,                          09:36:55

  17     but certainly concerned about, you know,                               09:36:57

  18     somebody winning against us.         They were the                     09:37:01

  19     competition.                                                           09:37:06

  20         Q.     Competition.                                                09:37:06

  21                      Microchip doesn't usually face                        09:37:07

  22     competition; right?                                                    09:37:09

  23         A.     We face competition all day every                           09:37:10

  24     day, yeah.                                                             09:37:12


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   1         Q.    Really?                                                     09:37:12

   2         A.    Yeah.                                                       09:37:13

   3         Q.    In the automotive chip business?                            09:37:14

   4         A.    Certainly.     We're like the 8th                           09:37:16

   5     largest or 9th largest automotive chip                                09:37:19

   6     manufacturer.                                                         09:37:22

   7         Q.    How about in the market area where                          09:37:24

   8     you're a monopolist?                                                  09:37:27

   9         A.    You used the word "monopolist."          I                  09:37:27

  10     mean, I told you before, there are many, many                         09:37:29

  11     hub manufacturers.      We just chose to do the                       09:37:31

  12     automotive hub variants that others chose not                         09:37:33

  13     to do, but other companies could do this                              09:37:36

  14     easily; they just choose not to.                                      09:37:38

  15         Q.    Right.                                                      09:37:39

  16                  Now, you said I chose the                                09:37:39

  17     word monopolist.     That was actually your word                      09:37:42

  18     yesterday; right?                                                     09:37:43

  19         A.    Well, I responded that you could use                        09:37:43

  20     that word, and I said possibly.                                       09:37:45

  21         Q.    Yes, right.                                                 09:37:45

  22                  And you said other people could                          09:37:47

  23     compete with you potentially, but as a general                        09:37:49

  24     proposition, they don't; right?                                       09:37:53


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   1         A.    Well, they have not.                                        09:37:54

   2         Q.    Okay.                                                       09:37:55

   3                    MS. DURIE:     Let's take a look at                    09:37:55

   4     Exhibit 42 for identification.                                        09:37:57

   5                    (Whereupon, Trial Exhibit 42 was                       09:37:59

   6     introduced.)                                                          09:38:01

   7     BY MS. DURIE:                                                         09:38:13

   8         Q.    TX-42 is an email exchange among Dave                       09:38:14

   9     Carpenter, Ganesh Moorthy and yourself, plus a                        09:38:18

  10     couple of other folks, November 2015, about                           09:38:23

  11     Delphi; correct?                                                      09:38:27

  12         A.    Say it again.                                               09:38:31

  13         Q.    Sure.                                                       09:38:32

  14                    Exhibit 42 is an email exchange                        09:38:33

  15     among Dave Carpenter, Ganesh Moorthy, Mitch                           09:38:37

  16     Obolsky, and a couple of other people from                            09:38:40

  17     November of 2015 about Delphi?                                        09:38:44

  18         A.    Yes.                                                        09:38:48

  19                    MS. DURIE:     We offer it.                            09:38:50

  20                    MR. SLAYDEN:     Your Honor, that's                    09:38:51

  21     subject to a limiting instruction.                                    09:38:52

  22                    THE COURT:     All right.     So it will               09:38:54

  23     be received and, ladies and gentlemen, in this                        09:38:56

  24     exhibit when you see it, there are some                               09:38:59


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   1     comments that are either reported or made by                          09:39:03

   2     people who do not work at Microchip.          And you                 09:39:07

   3     can consider those statements for the fact                            09:39:10

   4     that they were said and the impact they had on                        09:39:12

   5     Microchip, but you should not treat them as                           09:39:15

   6     true or consider them for the truth.          Those                   09:39:17

   7     are statements made by non-Microchip                                  09:39:22

   8     employees.     You should consider them not to be                     09:39:25

   9     the truth of what they say.        Okay?                              09:39:26

  10                    All right.   You can proceed.                          09:39:28

  11                    MS. DURIE:   Thank you.      If we can                 09:39:30

  12     have up the last exhibit, 42.         And I actually                  09:39:31

  13     want to start at the beginning of time in the                         09:39:35

  14     email exchange, but at the end of the                                 09:39:38

  15     document.     So I want to start at the bottom of                     09:39:41

  16     page 6, which is the first email in the                               09:39:43

  17     thread.                                                               09:39:48

  18     BY MS. DURIE:                                                         09:39:48

  19         Q.      And we have here an email from Keith                      09:39:48

  20     Barber to you.                                                        09:39:51

  21                    Now, who is Mr. Barber?                                09:39:53

  22         A.      Hang on.   Let me just --                                 09:39:55

  23         Q.      Sure.   Take your time.                                   09:39:56

  24         A.      Let me see where you are.                                 09:39:59


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   1         Q.     No, that's fine.                                            09:40:00

   2         A.     Okay.   Keith Barber is a salesman in                       09:40:01

   3     Detroit.                                                               09:40:05

   4         Q.     Perfect.                                                    09:40:05

   5                   And so let's take a look at what                         09:40:06

   6     he wrote, bottom of page 6.         Okay.                              09:40:08

   7                   So "Items for consideration:"                            09:40:15

   8                   Now, above here, he's talking                            09:40:19

   9     about a price proposal that's being made to                            09:40:21

  10     Delphi; right?                                                         09:40:25

  11         A.     Let me read it.                                             09:40:27

  12         Q.     Sure.                                                       09:40:28

  13         A.     Where are we?                                               09:40:28

  14         Q.     "Mitch" --                                                  09:40:30

  15         A.     Hang on a minute.                                           09:40:32

  16         Q.     Take a look.                                                09:40:34

  17                   (Whereupon, the witness reviews                          09:40:40

  18     the exhibit.)                                                          09:40:41

  19                   THE WITNESS:      Okay.    Yes.                          09:40:42

  20                   MS. DURIE:     Right.                                    09:40:44

  21     BY MS. DURIE:                                                          09:40:44

  22         Q.     He's talking about a price proposal                         09:40:45

  23     to Delphi, and he says at the bottom, "Items                           09:40:47

  24     for consideration:                                                     09:40:50


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   1                  "Unwired/Delphi developed an ASIC                        09:40:51

   2     to capture the model year 2016 to 2018 USB                            09:40:53

   3     single lane hub for Big 3 as the USB84604,"                           09:40:58

   4     that's FlexConnect, "did not meet the single                          09:41:02

   5     USB lane requirement as communicated directly                         09:41:05

   6     to Microchip"; right?                                                 09:41:08

   7                  MCHP, what does that stand for?                          09:41:10

   8         A.    Microchip.                                                  09:41:12

   9         Q.    Right.                                                      09:41:13

  10                  -- "by The Big 3 engineering                             09:41:14

  11     teams"; true?                                                         09:41:16

  12         A.    Yes, that's what it says.                                   09:41:17

  13         Q.    Okay.                                                       09:41:18

  14                  MS. DURIE:     Next page, one, two,                      09:41:20

  15     three, four, let's go to five.                                        09:41:25

  16     BY MS. DURIE:                                                         09:41:27

  17         Q.    "Rob Voto," from Delphi, "expressed                         09:41:29

  18     that if Microchip has a better solution, they                         09:41:33

  19     will entertain engaging with Microchip.           He                  09:41:35

  20     wants to win module business and does not have                        09:41:37

  21     to divert -- does not have to divert                                  09:41:40

  22     engineering resources and dollars on an ASIC.                         09:41:42

  23     The question is, how do we enable him to make                         09:41:45

  24     a decision to align with Microchip"; right?                           09:41:47


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   1                  What is UNG?                                             09:41:52

   2         A.    UNG was the name of the USB and                             09:41:53

   3     networking division that we've been talking                           09:41:56

   4     about.                                                                09:41:58

   5         Q.    Okay.                                                       09:41:59

   6                  Now, let's go down to the bottom                         09:42:00

   7     of page 7 continuing in the thread and look                           09:42:02

   8     what it says at the bottom, "Taking this                              09:42:05

   9     background into consideration."                                       09:42:08

  10                  So this is Keith Barber reporting                        09:42:09

  11     to you saying there is the background.           Now,                 09:42:12

  12     here is what we want to propose to Delphi.                            09:42:15

  13                  "Honor our 2016 LTA commitment of                        09:42:18

  14     2.6 million percent for all UNG products."                            09:42:24

  15                  What does LTA mean?                                      09:42:28

  16         A.    That's long-term payment.                                   09:42:29

  17         Q.    Right.                                                      09:42:31

  18                  Microchip and Delphi have a number                       09:42:32

  19     of long-term supply agreements; right?                                09:42:34

  20         A.    Yes.                                                        09:42:37

  21         Q.    Okay.                                                       09:42:38

  22                  Some of those agreements,                                09:42:39

  23     Microchip is the sole source; right?                                  09:42:41

  24         A.    Almost every product we make is                             09:42:44


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   1     proprietary, so many of our products -- well,                          09:42:46

   2     that product, we are the sole source.           Nobody                 09:42:50

   3     has that product.                                                      09:42:52

   4         Q.     Right.                                                      09:42:53

   5                   That's why it's really important                         09:42:53

   6     to have these long-term supply agreements;                             09:42:55

   7     right?                                                                 09:42:58

   8         A.     I guess so, yes.      As a reason, yes.                     09:42:58

   9         Q.     Right.                                                      09:43:03

  10                   From Delphi's perspective, it                            09:43:03

  11     would be a big problem if they've got a sole                           09:43:06

  12     source chip and suddenly they can't get it;                            09:43:08

  13     right?                                                                 09:43:10

  14         A.     Potentially, yes.                                           09:43:10

  15         Q.     So what Mr. Barber is proposing is                          09:43:13

  16     that Delphi honor its 2016 long-term agreement                         09:43:17

  17     commitment of 2.69 percent.                                            09:43:21

  18                   What does that mean?                                     09:43:23

  19         A.     I can guess what it means.         I think                  09:43:30

  20     it means that they were expecting a reduction                          09:43:31

  21     of 2.69 percent if they hit the volumes they                           09:43:34

  22     had set.                                                               09:43:38

  23         Q.     Right.                                                      09:43:38

  24                   And that's pretty standard in                            09:43:39


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   1     these long-term supply agreements; right?                                 09:43:41

   2            A.      To have a number that will go down,                        09:43:43

   3     yes.        If they have a forecast that goes up,                         09:43:45

   4     sometimes it goes down.                                                   09:43:48

   5            Q.      Right.                                                     09:43:50

   6                       And if you look at what Mr. Barber                      09:43:50

   7     says a little further on here, he says, "We                               09:43:52

   8     want to create a symbiotic relationship and                               09:43:54

   9     the foundation is trust on both sides"; right?                            09:43:57

  10            A.      Yes, that's what Mr. Barber says.                          09:43:59

  11     Yes.                                                                      09:44:01

  12            Q.      Okay.                                                      09:44:02

  13                       MS. DURIE:    Let's take a look at                      09:44:04

  14     your response.          Page 3, middle of the page,                       09:44:05

  15     Mitch Obolsky, page 3, middle of the page,                                09:44:15

  16     part way down, further down, further down.                                09:44:20

  17     There we go.                                                              09:44:23

  18     BY MS. DURIE:                                                             09:44:24

  19            Q.      From you, back to Keith Barber,                            09:44:24

  20     "After more thought and discussion, I think                               09:44:26

  21     the best answer is to tell Delphi there will                              09:44:28

  22     be no price reductions this year for those                                09:44:30

  23     products"; right?          That's what you said?                          09:44:32

  24            A.      Yes.                                                       09:44:36


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   1         Q.     Okay.                                                       09:44:36

   2                   MS. DURIE:     Now, let's look at                        09:44:38

   3     what Mr. Pennington says.        He's one of the                       09:44:39

   4     individuals -- strike that.                                            09:44:41

   5     BY MS. DURIE:                                                          09:44:43

   6         Q.     Who is Mr. Pennington?                                      09:44:43

   7         A.     Mr. Pennington is a salesman who has                        09:44:44

   8     lived his whole life right there at Delphi.                            09:44:48

   9         Q.     Okay.                                                       09:44:50

  10                   He is a salesman that is working                         09:44:51

  11     for Microchip; right?                                                  09:44:53

  12         A.     Yes, yes, yes.                                              09:44:54

  13         Q.     Okay.                                                       09:44:55

  14                   Let's look at what he has to say.                        09:44:55

  15                   MS. DURIE:     Let's blow that up all                    09:44:58

  16     the way down to the bottom of the page.                                09:44:59

  17     Perfect.                                                               09:45:01

  18     BY MS. DURIE:                                                          09:45:01

  19         Q.     "I'm not quite clear to what there                          09:45:03

  20     will be no price reductions this year for                              09:45:05

  21     those products.      What does those products mean                     09:45:07

  22     exactly?    Does this mean we will not honor our                       09:45:11

  23     CY 2016 committed price agreements with                                09:45:14

  24     Delphi?    Is that the message, Mitch?"                                09:45:18


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   1                  And then he goes on in the middle                        09:45:21

   2     of the next paragraph, he says, "If that's the                        09:45:23

   3     message, I will support it and can carry it                           09:45:26

   4     back to customer."                                                    09:45:28

   5         A.    Um-hmm.                                                     09:45:30

   6         Q.    And then he says in the middle of                           09:45:31

   7     that paragraph, "There are going to be                                09:45:33

   8     questions; right?      Questions will evolve                          09:45:36

   9     around when can they expect to get the 379,000                        09:45:39

  10     in savings that we promised them in our                               09:45:42

  11     long -- long term agreements."                                        09:45:47

  12                  And if we look at the very bottom,                       09:45:49

  13     he says, "My two cents."       Last paragraph.      "We               09:45:51

  14     all need to realize that this decision                                09:45:57

  15     probably will have some type of impact on our                         09:45:59

  16     business going forward, not only for UNG                              09:46:01

  17     products but also for other divisions as well.                        09:46:04

  18     From Delphi's perspective it now becomes one                          09:46:07

  19     of supplier credibility.       For me I am saddened                   09:46:09

  20     that it has come to this, credibility is built                        09:46:13

  21     over time and I am sure everyone will remember                        09:46:15

  22     the wild ride we have had with Delphi over the                        09:46:20

  23     last 25 years.      Our reputation and integrity                      09:46:24

  24     is everything.      We all know the story of                          09:46:26


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   1     credibility and when it is lost..."                                   09:46:28

   2                    And then you responded --                              09:46:31

   3     actually, I take it back.       Mr. Moorthy                           09:46:35

   4     responded; right?     Let's take a look at his                        09:46:37

   5     response.                                                             09:46:44

   6                    MS. DURIE:   Top of the second                         09:46:49

   7     page, if we can blow up the top of the second                         09:46:46

   8     page, starting at line 2.                                             09:46:51

   9     BY MS. DURIE:                                                         09:46:53

  10         Q.      "In fact, Unwired had been destroying                     09:46:53

  11     Microchip revenue and profits with what they                          09:46:56

  12     have done."                                                           09:46:59

  13                    That was part of his concern;                          09:46:59

  14     right?                                                                09:47:01

  15         A.      That's what it says, yes.                                 09:47:02

  16         Q.      And then the next bullet point, Mr.                       09:47:03

  17     Moorthy says, beginning in the middle of the                          09:47:06

  18     paragraph, "Ideally we want Delphi to cease                           09:47:08

  19     development of new products that continues to                         09:47:12

  20     destroy our business - that discussion takes                          09:47:14

  21     time and we need some negotiating leverage."                          09:47:21

  22                    Do you see that?                                       09:47:25

  23         A.      Yes.                                                      09:47:26

  24                    MS. DURIE:   Let's go to the first                     09:47:28


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   1     page.                                                                 09:47:29

   2     BY MS. DURIE:                                                         09:47:34

   3         Q.    Mr. Carpenter weighs in.        Second                      09:47:35

   4     paragraph of his email beginning part way                             09:47:38

   5     down, talking about Delphi's reaction, and it                         09:47:46

   6     says, maybe about seven lines down, "They                             09:47:49

   7     still do not understand why we view them as a                         09:47:52

   8     competitor when we did not have a viable                              09:47:55

   9     solution to single lane CarPlay.         They met                     09:47:57

  10     with us on numerous occasions before kicking                          09:47:59

  11     off their ASIC development to be sure they                            09:48:02

  12     exhausted all alternatives with us."                                  09:48:04

  13                  That was true?                                           09:48:09

  14         A.    This is -- this is Dave Carpenter's                         09:48:12

  15     view of their view, so yes, that is true.                             09:48:14

  16     That's their view, yes.                                               09:48:18

  17         Q.    It was their view and it was true?                          09:48:19

  18         A.    I'm not sure; which part are you                            09:48:23

  19     asking was true?                                                      09:48:25

  20         Q.    The part that's highlighted there in                        09:48:26

  21     yellow.                                                               09:48:29

  22         A.    Yeah, that they didn't understand why                       09:48:32

  23     we were a competitor, yes.        Well, they were                     09:48:35

  24     taking our business away.       They are a                            09:48:37


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   1     competitor.      So yes, that was their view.                         09:48:39

   2     They didn't understand why taking business                            09:48:43

   3     from Microchip would make them a competitor.                          09:48:46

   4                   MS. DURIE:    Good.    Let's go --                      09:48:51

   5     BY MS. DURIE:                                                         09:49:04

   6         Q.    You said in your direct testimony                           09:49:05

   7     yesterday that Aptiv continues to buy chips                           09:49:07

   8     from Microchip; right?                                                09:49:10

   9         A.    Yes.     Yes.                                               09:49:12

  10         Q.    Okay.                                                       09:49:13

  11                   And you would agree, though, that                       09:49:14

  12     in the relationship between Aptiv and                                 09:49:19

  13     Microchip, Microchip has a fair bit of                                09:49:21

  14     negotiating leverage; right?                                          09:49:24

  15         A.    Well, we sell chips and they buy                            09:49:28

  16     chips.   I'm not sure.                                                09:49:31

  17         Q.    Now, you said yesterday in your                             09:49:33

  18     direct testimony that Microchip was perfectly                         09:49:34

  19     happy to keep selling chips to Aptiv; right?                          09:49:37

  20         A.    Yes.     When we're not competing, yes.                     09:49:40

  21         Q.    When you're not competing.                                  09:49:43

  22                   Now, Microchip and Aptiv, under                         09:49:46

  23     any definition of competing, are not competing                        09:49:50

  24     on Aptiv's safety business; right?                                    09:49:54


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   1         A.     I'm sorry?                                                  09:49:58

   2         Q.     Let me back up.                                             09:50:00

   3                   Aptiv makes a bunch of different                         09:50:01

   4     kinds of components; right?                                            09:50:03

   5         A.     Yes.                                                        09:50:04

   6         Q.     It has a line of business that are                          09:50:06

   7     products for safety in automobiles; right?                             09:50:09

   8         A.     Yes.    I don't know that to be true,                       09:50:12

   9     but yes, that's fine.                                                  09:50:13

  10         Q.     Okay.                                                       09:50:14

  11                   And it buys chips from Microchip                         09:50:16

  12     on the safety side of its business; right?                             09:50:20

  13         A.     Again, I don't know the names of the                        09:50:22

  14     business, but yes, they buy chips from                                 09:50:23

  15     Microchip, yes.                                                        09:50:26

  16         Q.     Okay.                                                       09:50:26

  17                   And the safety side of the                               09:50:27

  18     business, whatever you call it, things like                            09:50:29

  19     the controllers that automatically brake the                           09:50:31

  20     car if you get too close to somebody else, you                         09:50:34

  21     would agree that's a different line of                                 09:50:37

  22     business from what we're talking about in this                         09:50:38

  23     lawsuit?                                                               09:50:41

  24         A.     Yes.                                                        09:50:42


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   1         Q.     Okay.                                                       09:50:42

   2                   Now, you're under oath; you're a                         09:50:43

   3     senior vice president at Microchip.           You are                  09:50:48

   4     an officer of the company; right?                                      09:50:50

   5         A.     Not -- I'm not --                                           09:50:53

   6         Q.     You are an appointed officer of the                         09:50:57

   7     company?                                                               09:50:59

   8         A.     Yes, I guess.                                               09:51:00

   9         Q.     Okay.                                                       09:51:01

  10                   So let's be very clear.         Will you                 09:51:03

  11     agree that Microchip will engage in business                           09:51:07

  12     as usual with Aptiv, regardless of patent                              09:51:12

  13     disputes between the companies, on the safety                          09:51:16

  14     side of the business?                                                  09:51:19

  15         A.     As a general case, yeah.        We are                      09:51:21

  16     still working with Aptiv on pretty much every                          09:51:23

  17     area.                                                                  09:51:26

  18         Q.     Okay.                                                       09:51:26

  19                   I understand you're still working                        09:51:27

  20     with Aptiv.     Will you repeat after me:                              09:51:28

  21     Microchip will engage in business as usual                             09:51:33

  22     with Aptiv, regardless of what happens in this                         09:51:38

  23     case?                                                                  09:51:42

  24         A.     Will engage with -- I'm not sure I                          09:51:45


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   1     understand what you're saying.         What is the                    09:51:49

   2     question?                                                             09:51:51

   3         Q.      Will you agree, as an officer of                          09:51:52

   4     Microchip, that Microchip will engage in                              09:51:58

   5     business as usual with Aptiv on the unrelated                         09:52:03

   6     safety side of its business, regardless of                            09:52:09

   7     having disputes between the parties about the                         09:52:14

   8     dual role hub?                                                        09:52:17

   9         A.      I'm not sure I understand it.        It's a               09:52:19

  10     very long, strange question to me, so maybe                           09:52:23

  11     piece it.                                                             09:52:26

  12         Q.      What part of that is complicated?                         09:52:26

  13         A.      Just, I'm trying to follow the                            09:52:30

  14     sequence of events directly.        Yes, we will                      09:52:32

  15     work with Aptiv.                                                      09:52:34

  16         Q.      That was not my question.       Let me ask                09:52:35

  17     it again.                                                             09:52:37

  18         A.      I'm not sure I understand the                             09:52:37

  19     question.                                                             09:52:39

  20         Q.      Let me ask you again.                                     09:52:39

  21         A.      Yes.                                                      09:52:40

  22         Q.      Will Microchip commit to engage in                        09:52:41

  23     business as usual with Aptiv on the safety                            09:52:47

  24     side of its business where you are the sole                           09:52:53


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   1     supplier, regardless of patent disputes about                         09:52:56

   2     the hub business at issue in this case?                               09:53:04

   3         A.      I don't understand what "commit to                        09:53:10

   4     engage" means.                                                        09:53:11

   5         Q.      You are an officer of the company.                        09:53:13

   6         A.      Yes.                                                      09:53:15

   7         Q.      That's what I mean by commit.                             09:53:16

   8         A.      We are absolutely willing to work                         09:53:20

   9     with them on safety products together.                                09:53:21

  10         Q.      Still not my question.                                    09:53:24

  11         A.      I don't understand the question.                          09:53:25

  12     That's the problem.      I'm happy to answer.                         09:53:26

  13         Q.      Are you willing to repeat these words                     09:53:29

  14     after me?                                                             09:53:31

  15                    MR. SLAYDEN:     Your Honor, object.                   09:53:32

  16     She's asking him just to repeat the words she                         09:53:33

  17     says?    That's not a question.                                       09:53:37

  18                    THE COURT:     Okay.   I don't need                    09:53:38

  19     speaking objections.                                                  09:53:41

  20                    MR. SLAYDEN:     I'm sorry.                            09:53:41

  21                    THE COURT:     If you have an                          09:53:42

  22     objection, make an objection and if you need                          09:53:44

  23     to approach, approach.                                                09:53:46

  24                    The objection is sustained.                            09:53:47


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   1     BY MS. DURIE:                                                         09:53:53

   2         Q.      Let me ask the question then, Mr.                         09:53:49

   3     Obolsky, like this:                                                   09:53:51

   4                    Are you willing to make a                              09:53:53

   5     commitment that Microchip will engage in                              09:53:54

   6     business as usual?       Yes or no?                                   09:53:58

   7         A.      Yes.    I guess we would do business as                   09:54:02

   8     usual with Aptiv.       I don't really understand                     09:54:06

   9     the question, but yes, certainly.          In our                     09:54:09

  10     view, we want to continue to work with them as                        09:54:12

  11     we always have.                                                       09:54:14

  12         Q.      Business as usual?                                        09:54:15

  13         A.      Again, it's a very broad business as                      09:54:19

  14     usual, but yes.       Yes.                                            09:54:22

  15         Q.      Good.                                                     09:54:25

  16         A.      Business as usual, yes, I believe so.                     09:54:26

  17                    MS. DURIE:      Good.   Thank you.    No               09:54:28

  18     further questions.                                                    09:54:30

  19                    MR. SLAYDEN:      Your Honor, we have                  09:54:53

  20     one housekeeping issue here.                                          09:54:58

  21                    THE COURT:      Do you need to                         09:55:00

  22     approach?                                                             09:55:01

  23                    MR. SLAYDEN:      No, no, it's fine.                   09:55:02

  24                    THE COURT:      Okay.                                  09:55:03


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   1                    MR. SLAYDEN:       It is Exhibit 50; it                 09:55:04

   2     is a native document.       There's no objection to                    09:55:06

   3     it.                                                                    09:55:09

   4                    THE COURT:     Okay.                                    09:55:09

   5                    MR. SLAYDEN:       So we move to admit                  09:55:10

   6     Exhibit 50, Your Honor.                                                09:55:12

   7                    THE COURT:     Okay.                                    09:55:13

   8                    No objections; right?         Per his                   09:55:13

   9     discussion, there is no objection, Ms. Durie?                          09:55:16

  10                    MS. DURIE:     No.                                      09:55:18

  11                    THE COURT:     All right.      So it will               09:55:19

  12     be received.                                                           09:55:21

  13                    (Whereupon, Trial Exhibit 50 was                        09:55:21

  14     introduced and admitted.)                                              09:55:25

  15                    MR. SLAYDEN:       Mr. Ferrer, can you                  09:55:28

  16     bring up Exhibit -- no, hold on.            Don't bring                09:55:32

  17     it up.                                                                 09:55:35

  18                    May I approach?                                         09:55:36

  19                    THE COURT:     Yes.                                     09:55:38

  20                                   -     -   -                              09:55:39

  21                          REDIRECT EXAMINATION                              09:55:39

  22                                   -     -   -                              09:55:46

  23     BY MR. SLAYDEN:                                                        09:55:46

  24           Q.   Mr. Obolsky, can you identify                               09:55:49


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   1     Exhibit 52 for us?                                                     09:55:51

   2           A.   This one?                                                   09:55:54

   3           Q.   82, I'm sorry.                                              09:55:55

   4           A.   Yes.   Yes.    It appears to be an                          09:55:57

   5     internal document that I wrote.                                        09:55:59

   6                    (Whereupon, Trial Exhibit 82 was                        09:55:59

   7     introduced.)                                                           09:56:03

   8                    MR. SLAYDEN:     Okay.     Move to admit                09:56:03

   9     it.                                                                    09:56:05

  10                    MS. DURIE:     No objection.                            09:56:05

  11                    THE COURT:     Okay.     It is received.                09:56:06

  12                    (Whereupon, Trial Exhibit 47 was                        09:56:06

  13     introduced.)                                                           09:56:16

  14     BY MR. SLAYDEN:                                                        09:56:16

  15           Q.   Mr. Obolsky, do you recognize the                           09:56:36

  16     document I gave you?                                                   09:56:39

  17           A.   Yes.                                                        09:56:43

  18           Q.   Exhibit 47?                                                 09:56:43

  19           A.   Yes.                                                        09:56:46

  20                    MR. SLAYDEN:     Move to admit it.       I              09:56:46

  21     apologize for not having a copy.                                       09:56:48

  22                    MS. DURIE:     No objection.                            09:56:49

  23                    THE COURT:     Okay.     It is received.                09:56:51

  24                    Mr. Slayden, is that Exhibit 47,                        09:57:01


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   1     the last one?                                                         09:57:03

   2                    MR. SLAYDEN:     Yes, sir.                             09:57:04

   3                    THE COURT:     Okay.                                   09:57:05

   4     BY MR. SLAYDEN:                                                       09:57:11

   5         Q.      Mr. Obolsky, do you recognize                             09:57:12

   6     Exhibit 42 that I have put in front of you?                           09:57:14

   7         A.      Yes.   This is a Microchip internal                       09:57:17

   8     document.                                                             09:57:21

   9                    MR. SLAYDEN:     Move to admit                         09:57:22

  10     Exhibit 42.                                                           09:57:24

  11                    MS. DURIE:     Sorry, 42?                              09:57:27

  12                    MR. SLAYDEN:     Yes.                                  09:57:29

  13                    THE COURT:     42, is that what you                    09:57:30

  14     said?                                                                 09:57:32

  15                    MR. SLAYDEN:     42, Your Honor.                       09:57:32

  16                    THE COURT:     Okay.                                   09:57:34

  17                    MS. DURIE:     No objection.                           09:57:34

  18                    THE COURT:     Okay.    It is received.                09:57:35

  19                    MR. SLAYDEN:     I can take those                      09:57:39

  20     back.                                                                 09:57:40

  21                    (Brief pause.)                                         09:57:53

  22     BY MR. SLAYDEN:                                                       09:58:25

  23         Q.      Mr. Obolsky, yesterday you testified                      09:58:26

  24     concerning a period of time around 2014 when                          09:58:28


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   1     Aptiv -- excuse me, Delphi contacted Microchip                        09:58:34

   2     concerning Unwired.                                                   09:58:39

   3                    Do you remember that?                                  09:58:40

   4         A.      Yes, I do.                                                09:58:41

   5         Q.      And did Aptiv actually -- Delphi                          09:58:42

   6     actually contact Microchip and ask them to                            09:58:46

   7     investigate Unwired's one-lane solution?                              09:58:49

   8         A.      Yes, they did.                                            09:58:51

   9                    MR. SLAYDEN:     Mr. Ferrer, can you                   09:58:57

  10     bring up Exhibit 58.       And can you go down                        09:58:58

  11     to...                                                                 09:59:20

  12     BY MR. SLAYDEN:                                                       09:59:20

  13         Q.      Do you have Exhibit 58 in your                            09:59:21

  14     notebook?                                                             09:59:22

  15         A.      58, I have -- I don't have it.                            09:59:36

  16         Q.      That's okay.     Can you see the screen?                  09:59:42

  17     Or I can bring you a copy.                                            09:59:45

  18         A.      Yes, I can.                                               09:59:46

  19                    MR. SLAYDEN:     And, Mr. Ferrer, can                  09:59:59

  20     you bring up the last sentence of the first                           10:00:00

  21     full paragraph, please.                                               10:00:02

  22     BY MR. SLAYDEN:                                                       10:00:04

  23         Q.      And do you recognize this email?                          10:00:13

  24         A.      Yes.                                                      10:00:17


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   1         Q.      And do you recognize Mr. Orlosky?                         10:00:19

   2         A.      From the exhibit, yes.                                    10:00:24

   3         Q.      And he is a Delphi employee?                              10:00:26

   4         A.      As I understand it, yes.                                  10:00:29

   5         Q.      And the last sentence, it says, this                      10:00:32

   6     is Delphi talking, "I started working on these                        10:00:38

   7     products a little over a year ago and am self                         10:00:41

   8     taught.     No one existed in this position (a                        10:00:44

   9     guy quit and I was not engaged) and the                               10:00:47

  10     SMSC/Microchip guys have been outstanding in                          10:00:51

  11     helping me learn the technologies and make the                        10:00:54

  12     right product decisions.       We will continue                       10:00:56

  13     down this road and I'm sure there will be no                          10:00:59

  14     further discussion."      {Sic}                                       10:01:02

  15                    Isn't that Delphi giving Microchip                     10:01:04

  16     a compliment for helping them during this time                        10:01:07

  17     when Unwired starting competing with Delphi?                          10:01:10

  18         A.      Yes.   At that point, we were partners                    10:01:12

  19     hoping to win together, and yeah, they were --                        10:01:15

  20     as I mentioned earlier, we put a lot of                               10:01:17

  21     technical support into any designs with our                           10:01:19

  22     customer.                                                             10:01:23

  23         Q.      And can you please remind the jury                        10:01:26

  24     why Microchip raised prices on its four USB                           10:01:31


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   1     hub products back in the timeframe of 2019?                           10:01:35

   2         A.    It became obvious that all the prior                        10:01:39

   3     discussions about what the plans were were no                         10:01:42

   4     longer going to be true and the volumes would,                        10:01:43

   5     you know, start to drop dramatically as they                          10:01:45

   6     shifted over to an alternate solution.           So the               10:01:48

   7     volume was dropping and all the forecasts                             10:01:51

   8     didn't make any sense, so we said fine, time                          10:01:53

   9     to adjust, and then it all bared out, right?                          10:01:56

  10     We talked about it dropping from 16 million to                        10:01:58

  11     eight million to five million in consecutive                          10:02:01

  12     years, and that was not the original forecast.                        10:02:04

  13         Q.    So Aptiv wasn't going to be this                            10:02:06

  14     long-term agreement commitment?                                       10:02:08

  15         A.    I'm sorry.     No, Aptiv was going to                       10:02:10

  16     come nowhere near what they had forecast                              10:02:13

  17     prior.                                                                10:02:15

  18         Q.    And did that turn out to be true?                           10:02:15

  19         A.    Yes.   As I just mentioned, the                             10:02:17

  20     revenue -- the revenue dropped dramatically                           10:02:19

  21     once they had their own different solution                            10:02:23

  22     that was no longer a partnership with the new                         10:02:25

  23     competing solution.                                                   10:02:27

  24         Q.    And I think you testified yesterday                         10:02:28


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   1     that Microchip supplies Aptiv over 100 other                          10:02:29

   2     products, approximately?                                              10:02:34

   3         A.      Yeah.                                                     10:02:35

   4         Q.      To Aptiv?                                                 10:02:36

   5         A.      Yes.    Something just above 100,                         10:02:37

   6     giving broad numbers.                                                 10:02:41

   7         Q.      Did Microchip raise the prices on                         10:02:41

   8     those products?                                                       10:02:44

   9         A.      No, we did not.     Only on the ones                      10:02:44

  10     where we were directly competing.                                     10:02:46

  11                    MR. SLAYDEN:     No further                            10:02:48

  12     questions.                                                            10:02:49

  13                    THE COURT:     Ms. Durie?                              10:02:51

  14                    MS. DURIE:     Nothing further.                        10:02:53

  15                    THE COURT:     Mr. Obolsky, you can                    10:02:54

  16     step down.     If your binder is there, why don't                     10:02:56

  17     you take it with you.                                                 10:03:00

  18                    (Whereupon, the witness was                            10:04:12

  19     excused.)                                                             10:04:14

  20                    (Brief pause.)                                         10:04:15

  21                    MR. FENTON:     Good morning, Your                     10:04:48

  22     Honor.                                                                10:04:49

  23                    THE COURT:     Good morning.                           10:04:49

  24                    MR. FENTON:     My name is Truman                      10:04:50


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   1     Fenton and I am an attorney on behalf of                              10:04:51

   2     Microchip Technology, and we are going to                             10:04:54

   3     present Mr. Ivan Zatkovich.                                           10:04:56

   4                  THE COURT:     All right.      Call Mr.                  10:04:57

   5     Zatkovich up to the stand, please.                                    10:04:59

   6                  THE COURT CLERK:         Please state and                10:05:13

   7     spell your name for the record.                                       10:05:20

   8                  THE WITNESS:        Ivan Zatkovich,                      10:05:23

   9     I-V-A-N, Z-A-T-K-O-V-I-C-H.                                           10:05:24

  10                                 -     -   -                               10:05:38

  11                          DIRECT EXAMINATION                               10:06:22

  12                                 -     -   -                               10:06:22

  13     BY MR. FENTON:                                                        10:06:24

  14         Q.    Mr. Zatkovich, would you introduce                          10:06:25

  15     yourself, please.                                                     10:06:26

  16         A.    Yes.   My name is Ivan Zatkovich.         I                 10:06:27

  17     live in New York, but I was born and raised in                        10:06:30

  18     Pittsburgh, Pennsylvania.                                             10:06:32

  19         Q.    And, Mr. Zatkovich, did you prepare                         10:06:34

  20     some slides to go over with the jury today?                           10:06:36

  21         A.    Yes.   I prepared two expert reports                        10:06:39

  22     for this matter, and I summarized portions of                         10:06:41

  23     that and basically summarized them in slides.                         10:06:44

  24                  MR. FENTON:        Can we take a look at                 10:06:48


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   1     the first slide, please.                                              10:06:50

   2                    THE WITNESS:    Sure.                                  10:06:51

   3     BY MR. FENTON:                                                        10:06:54

   4         Q.      Will you briefly introduce yourself,                      10:06:55

   5     including your educational background.                                10:06:57

   6         A.      Sure.   I went to the University of                       10:06:58

   7     Pittsburgh where I received a bachelor's in                           10:07:01

   8     computer science.      I also began my master's                       10:07:03

   9     study in what's called heterogeneous computer                         10:07:06

  10     networks.     Basically it's getting computers,                       10:07:10

  11     microcomputers, to talk to each other.                                10:07:13

  12                    I also minored in the design of                        10:07:15

  13     digital electronic circuits.                                          10:07:21

  14         Q.      And then what is your overall                             10:07:23

  15     background?                                                           10:07:25

  16         A.      My overall background, for the                            10:07:26

  17     last -- actually over 30 years, has been in                           10:07:29

  18     computer science.      Basically my career has                        10:07:32

  19     focused on building electronic devices,                               10:07:35

  20     getting computer devices to talk to computers                         10:07:40

  21     and getting computers to talk to each other.                          10:07:43

  22     So that boils down to computer networks,                              10:07:45

  23     digital circuit design, and software to                               10:07:47

  24     control those devices in that communication.                          10:07:50


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   1         Q.      And, I'm sorry, you have a bachelor's                     10:07:57

   2     in computer science.        Did you work on your                      10:08:00

   3     master's?                                                             10:08:02

   4         A.      I did.   My master's thesis was                           10:08:02

   5     actually an extension of my senior year                               10:08:05

   6     project which University of Pittsburgh had,                           10:08:08

   7     and this was in the late '70s, had a                                  10:08:11

   8     microcomputer laboratory where, back in the                           10:08:13

   9     '70s, we had the Radio Shack TR3, we had the                          10:08:17

  10     Apple 2, MSI A88.        I was in heaven when I was                   10:08:21

  11     working in those computer labs.                                       10:08:25

  12                    So I developed a project.        At the                10:08:26

  13     time, none of these computers could talk to                           10:08:28

  14     each other.     Today it's a given, but then,                         10:08:30

  15     back then, you couldn't do that.         So I                         10:08:33

  16     developed my master's thesis on getting these                         10:08:35

  17     computers to speak to each other.                                     10:08:38

  18                    And then I developed an                                10:08:40

  19     application on top of that which was a game                           10:08:41

  20     where each user would sit on their computer                           10:08:43

  21     and be in a virtual matrix and try to find and                        10:08:47

  22     kill each other within the matrix.                                    10:08:51

  23         Q.      Now, did you complete your master's?                      10:08:53

  24         A.      I did not.     Shortly after I finished                   10:08:55


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   1     my thesis of this project, Digital                                    10:08:58

   2     Equipment -- Digital was the second largest                           10:09:01

   3     manufacturer of computers at the time.           They                 10:09:04

   4     came along and basically gave me a job offer                          10:09:06

   5     to work on their computers, which I loved.              So            10:09:09

   6     I forego my master's study and jumped into                            10:09:13

   7     Digital Equipment.                                                    10:09:16

   8         Q.     And what kind of a company was it                          10:09:17

   9     that you worked for, Digital Equipment?                               10:09:18

  10         A.     It was fantastic.      It was -- the                       10:09:20

  11     owner of the company was Ken Olsen, he was an                         10:09:22

  12     engineer, so it was a company run by engineers                        10:09:25

  13     for engineers.     So in that company, I was                          10:09:27

  14     doing exactly what I loved, designing                                 10:09:31

  15     electrical components and getting computers to                        10:09:33

  16     talk to each other.                                                   10:09:36

  17         Q.     What is the rest of your professional                      10:09:38

  18     history, if you could just give a brief                               10:09:40

  19     overview of that?                                                     10:09:42

  20         A.     Sure.   Again, every -- throughout my                      10:09:43

  21     career, I focused on designing electronic                             10:09:46

  22     devices to talk to computers and getting                              10:09:49

  23     computers to talk to each other in different                          10:09:51

  24     ways.    So I'll give you a brief summary of the                      10:09:53


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   1     different jobs that I did that in.                                    10:09:56

   2                  At Digital Equipment, as I                               10:09:58

   3     mentioned, I designed and developed disk                              10:10:01

   4     devices, disk drives and tape drives; I                               10:10:05

   5     designed and developed communication software.                        10:10:09

   6                  At GTE Data Services, which became                       10:10:11

   7     Verizon, I designed and developed                                     10:10:15

   8     telecommunications software, again getting                            10:10:17

   9     computers to communicate over telephone                               10:10:20

  10     networks.                                                             10:10:23

  11                  At Utility Partners, I was the                           10:10:23

  12     director of networks and we developed devices,                        10:10:25

  13     field devices, that could communicate via                             10:10:30

  14     computers over the radio network for the field                        10:10:35

  15     service personnel.                                                    10:10:40

  16                  At Tanning Technology, I developed                       10:10:41

  17     eCommerce software primarily for communicating                        10:10:45

  18     secure financial transactions, making                                 10:10:50

  19     transactions, ensuring transactions over                              10:10:52

  20     computer networks.                                                    10:10:58

  21                  At Eva-tone, which was a                                 10:10:59

  22     multimedia company, I was developing network                          10:11:00

  23     communications to communicate media to and                            10:11:02

  24     from networks, audio media, video media,                              10:11:06


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   1     streaming media.                                                      10:11:09

   2                  And at Smith & Nephew, I was a                           10:11:10

   3     global web manager.      Smith & Nephew                               10:11:14

   4     manufactures medical instruments and                                  10:11:17

   5     specialized bandages, and they have                                   10:11:20

   6     subsidiaries all over the world.         So I was                     10:11:22

   7     overseeing the 24 different websites that they                        10:11:25

   8     had over the globe and making sure they were                          10:11:29

   9     synchronized and communicating with each                              10:11:33

  10     other.                                                                10:11:35

  11                  And then finally I got to start my                       10:11:35

  12     own company where I could take my projects and                        10:11:37

  13     I could design whatever devices I wanted,                             10:11:40

  14     well, whatever clients would hire me to                               10:11:43

  15     design.   And I also, at the current time, I                          10:11:44

  16     have about a dozen consultants that I employ                          10:11:49

  17     within eComp Consultants.                                             10:11:51

  18         Q.    Now, you also have another slide that                       10:11:54

  19     talks about some specific projects.          Can we                   10:11:58

  20     focus in on -- would you describe your work at                        10:12:01

  21     Utility Partners?                                                     10:12:04

  22         A.    Sure.    I actually cherry-picked some                      10:12:06

  23     of the projects from some of the different                            10:12:08

  24     companies that I thought were most closely                            10:12:11


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   1     related to this.                                                      10:12:13

   2                    Again, as I mentioned, at Digital                      10:12:13

   3     Equipment Corporation, I was doing high speed                         10:12:16

   4     communications.     I was doing disk and tape                         10:12:18

   5     device drivers to communicate from a disk to                          10:12:21

   6     the computer.                                                         10:12:23

   7                    I was also on -- at that time, I                       10:12:25

   8     was a member of the International Standards                           10:12:28

   9     Organization, ISO, and I was on two different                         10:12:32

  10     committees.     One of the committees was                             10:12:35

  11     designing standards for the disk drives, for                          10:12:37

  12     the disk format.     Another of the ISO                               10:12:40

  13     committees was developing standards for                               10:12:44

  14     Ethernet.     I think you heard Mr. Bohm describe                     10:12:47

  15     Ethernet as a wired version, an older wired                           10:12:50

  16     version of WiFi.     So we were developing                            10:12:54

  17     standards for that.                                                   10:12:56

  18                    At Utility Partners, one of the                        10:12:58

  19     devices that I had to develop was related to                          10:13:02

  20     what we call mobile field terminal.          These                    10:13:05

  21     were older, I guess you could call them older                         10:13:08

  22     versions of iPads.     They were electric devices                     10:13:12

  23     that you could download work orders and upload                        10:13:16

  24     them to the computer.                                                 10:13:19


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   1                   So we rigged them up to                                  10:13:21

   2     communicate via the radio so that field                                10:13:22

   3     technicians could get these guys to go out and                         10:13:25

   4     hook up electricity, repair the transformers;                          10:13:29

   5     rather than have them go to the central office                         10:13:31

   6     every time they needed to pick up a paperwork                          10:13:34

   7     order, we gave them these global field                                 10:13:37

   8     terminals where they could download their work                         10:13:40

   9     orders over the radio.                                                 10:13:43

  10                   When they came back into the                             10:13:44

  11     central office at the end of the day, they                             10:13:46

  12     needed to upload those computer work orders to                         10:13:48

  13     the computer.     Well, this was 1996, '97, very                       10:13:51

  14     early beginnings of USB.        I wanted to convince                   10:13:56

  15     our utility company clients to use USB because                         10:14:01

  16     I knew that was an up and coming thing at that                         10:14:05

  17     time.                                                                  10:14:08

  18                   Unfortunately, most of the MDT                           10:14:08

  19     units only communicated via these old serial                           10:14:13

  20     devices.    So what I had to do is design a                            10:14:16

  21     special type of USB hub that would allow you                           10:14:19

  22     to connect normal USB devices, as well as                              10:14:21

  23     these other older terminals with serial                                10:14:25

  24     communications.                                                        10:14:28


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   1                   So we had -- in the hub, I had to                        10:14:29

   2     design a conversion from serial communications                         10:14:31

   3     to the USB communications so that everything                           10:14:34

   4     would go up to the host computer using USB                             10:14:36

   5     hub.   So I thought that's quite interesting,                          10:14:40

   6     it worked quite well.                                                  10:14:42

   7                   At Tanning Technology, that's not                        10:14:43

   8     a tanning booth company, Mr. Tanning was the                           10:14:47

   9     name of the owner of the company.          We did                      10:14:49

  10     network infrastructure.        We did a specific                       10:14:52

  11     project for Morgan Stanley.         We were                            10:14:55

  12     developing mobile applications for their stock                         10:14:57

  13     brokers.                                                               10:15:00

  14                   Again, this is well before the                           10:15:01

  15     iPhone and Smartphones.        We were taking these                    10:15:02

  16     palm PDAs and these older Blackberries and                             10:15:06

  17     developing software where you could download                           10:15:11

  18     stock quotes, do stock trades and connect them                         10:15:13

  19     via the computer via a USB adapter.           So we                    10:15:17

  20     designed USB adapters for the Blackberries and                         10:15:23

  21     the palm PDA.                                                          10:15:27

  22                   And at eComp Consultants, my                             10:15:28

  23     company, one of the projects that we worked on                         10:15:31

  24     was developing a special type of WiFi called a                         10:15:33


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   1     mesh network WiFi.     That's allowing people to                      10:15:36

   2     take their cell phones and communicate with                           10:15:40

   3     each other on their cell phones creating a                            10:15:43

   4     network without using the telephone network.                          10:15:45

   5     It's called, using WiFi direct, you can                               10:15:48

   6     communicate directly with other phones and you                        10:15:51

   7     can create a network of phones using WiFi                             10:15:54

   8     direct.   Very interesting.       We developed some                   10:15:57

   9     applications on top of that.                                          10:15:59

  10                  Another device that we designed                          10:16:01

  11     was a locator tag.     I don't know if you're                         10:16:04

  12     familiar with Apple AirTag, where you put the                         10:16:08

  13     tag on the device; in case you lose it, you                           10:16:11

  14     can look on your iPhone to where you've lost                          10:16:14

  15     it.                                                                   10:16:16

  16                  We were working on technology                            10:16:16

  17     similar to that before the AirTag where it                            10:16:19

  18     used a tag on the device that we had to                               10:16:22

  19     connect to it, charge it via USB, and also to                         10:16:25

  20     download and upload information to the tag                            10:16:30

  21     using a USB interface.                                                10:16:32

  22                  So those are just a sample of                            10:16:35

  23     projects that I thought related to the                                10:16:37

  24     technology here.                                                      10:16:39


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   1         Q.    Have you testified at trial before in                       10:16:40

   2     a patent case?                                                        10:16:41

   3         A.    I have.                                                     10:16:42

   4         Q.    And have you testified both on behalf                       10:16:43

   5     of plaintiffs and defendants?                                         10:16:46

   6         A.    Yes.     I would say almost equal                           10:16:47

   7     plaintiff and defendants.                                             10:16:50

   8         Q.    Are you being compensated for your                          10:16:51

   9     work on this case?                                                    10:16:52

  10         A.    I am.                                                       10:16:53

  11         Q.    And does your compensation tie at all                       10:16:54

  12     to the outcome of this litigation?                                    10:16:57

  13         A.    No.     I get paid the same, regardless                     10:17:00

  14     of the outcome.                                                       10:17:02

  15                     MR. FENTON:    Your Honor, we tender                  10:17:03

  16     Mr. Ivan Zatkovich as an expert on technical                          10:17:05

  17     issues in the area of system integration and                          10:17:08

  18     communications.                                                       10:17:10

  19                     MS. DURIE:    No objection.                           10:17:11

  20                     THE COURT:    Okay.   He is accepted.                 10:17:12

  21     BY MR. FENTON:                                                        10:17:14

  22         Q.    Mr. Zatkovich, what was your                                10:17:14

  23     assignment and what did you do to accomplish                          10:17:15

  24     that assignment?                                                      10:17:18


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   1         A.    My general assignment was to                                10:17:20

   2     basically examine the patents-in-suit,                                10:17:22

   3     specifically the '243 Patent, to analyze that                         10:17:26

   4     and also to look at both the Aptiv product and                        10:17:30

   5     the Microchip product to see how those related                        10:17:34

   6     to the '243 Patent.                                                   10:17:37

   7         Q.    Okay.                                                       10:17:40

   8                    And what kind of materials did you                     10:17:40

   9     consider in analyzing this process?                                   10:17:42

  10         A.    Well, first and foremost, dozens of                         10:17:45

  11     documents describing the specifications,                              10:17:48

  12     circuit diagrams, communication protocols of                          10:17:51

  13     the Aptiv and the Microchip devices.          I looked                10:17:56

  14     at the court filings, of course.         I looked at                  10:17:59

  15     the source code.                                                      10:18:02

  16                    Aptiv provided the software that                       10:18:03

  17     they developed that sits on both their                                10:18:05

  18     Boston -- it runs on both their Boston chip                           10:18:08

  19     and in the head unit that the Boston chip                             10:18:10

  20     connects to.                                                          10:18:13

  21                    I looked at the expert reports of                      10:18:14

  22     the experts in this case, and I also read                             10:18:18

  23     testimony of the various witnesses that were                          10:18:21

  24     deposed in this matter.                                               10:18:23


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   1         Q.    And did you conduct any analysis of                         10:18:26

   2     any systems or technologies?                                          10:18:30

   3         A.    Well, yes.     One of the things that I                     10:18:32

   4     did was to test the Aptiv device.         After                       10:18:34

   5     having read all the specifications, the design                        10:18:38

   6     and having what I felt was a clear                                    10:18:41

   7     understanding of that device, I wanted to test                        10:18:43

   8     it just to make sure it matched with the                              10:18:45

   9     specification.                                                        10:18:48

  10                   So I found a specific make and                          10:18:49

  11     model of a car that I knew had that Aptiv                             10:18:52

  12     Boston chip in it, which was a GMC Yukon.           I                 10:18:56

  13     wanted to rent a Cadillac Escalade, but that                          10:19:01

  14     wasn't in the budget, so I rented the Yukon                           10:19:05

  15     and I hooked up a LeCroy Logic Analyzer that                          10:19:07

  16     would intercept the communications going from                         10:19:11

  17     the iPhone through the Boston chip device and                         10:19:13

  18     up to the head unit.                                                  10:19:16

  19                   And basically my -- my objective                        10:19:17

  20     of that was just to verify that it was                                10:19:20

  21     operating consistently with the documents that                        10:19:22

  22     I had read.                                                           10:19:25

  23         Q.    And did you research any USB                                10:19:27

  24     materials or other materials on your own to                           10:19:29


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   1     make sure you understood the context of this                          10:19:31

   2     case?                                                                 10:19:33

   3         A.      Yes.     Of course, I mean, while I was                   10:19:33

   4     developing USB devices, I was very familiar                           10:19:36

   5     with USB spec, but that had been a little                             10:19:38

   6     while, so I refreshed my memory on the USB                            10:19:41

   7     specifications.                                                       10:19:44

   8         Q.      Did you prepare some slides to                            10:19:46

   9     discuss USB concepts?                                                 10:19:48

  10         A.      I did.     I have been sitting in court                   10:19:49

  11     here, so I know witnesses have been talking                           10:19:55

  12     about USB.     I wanted to do a top-down review                       10:19:58

  13     of this, but hopefully it's just a quick                              10:20:02

  14     overview.                                                             10:20:04

  15                    So USB standard, which is several                      10:20:06

  16     hundred pages long, basically has three                               10:20:10

  17     categories; it has mechanical -- actually, do                         10:20:12

  18     we have like a cable?                                                 10:20:15

  19         Q.      I'm handing you 359 and an iPhone.                        10:20:35

  20         A.      Great.     All right.                                     10:20:37

  21                    So mechanical specifications are                       10:20:39

  22     basically the specifications about the                                10:20:40

  23     connection.        This is the thing that you charge                  10:20:44

  24     your iPhone and you are almost always                                 10:20:46


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   1     connecting upside-down.       So the mechanical                       10:20:49

   2     specifications define the size and the shape,                         10:20:51

   3     the composition of the physical items,                                10:20:55

   4     including the port.                                                   10:20:58

   5                  And this connects into, as the                           10:20:59

   6     picture shows here, it connects into the port.                        10:21:02

   7     That's the USB port there, and the mechanical                         10:21:11

   8     specification covers that as well.                                    10:21:15

   9                  The second part is the electrical                        10:21:17

  10     specifications.     Basically that's the voltages                     10:21:19

  11     and the signal, the types of signals that get                         10:21:22

  12     transmitted on the cables for the                                     10:21:25

  13     communication.                                                        10:21:27

  14                  The third part is by far the                             10:21:28

  15     largest part of the specification, and that's                         10:21:30

  16     the communications.      That includes the                            10:21:32

  17     commands, the type of data transfer that                              10:21:36

  18     you're communicating back and forth.                                  10:21:39

  19                  But those three parts basically                          10:21:41

  20     make up the entirety of the USB                                       10:21:43

  21     specifications.                                                       10:21:45

  22         Q.    And then did you want to go over some                       10:21:48

  23     of the concepts within USB?                                           10:21:50

  24         A.    Yeah.   Real quick, we'll go top to                         10:21:52


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   1     bottom here.                                                           10:21:55

   2                    So the green -- the green line                          10:21:56

   3     here -- oops, I'm pressing the wrong button.                           10:21:58

   4                    The green line here represents the                      10:22:03

   5     USB bus.    That's the physical connection; a                          10:22:05

   6     combination of all the cables is the USB bus.                          10:22:09

   7     That's where all the signals get transmitted                           10:22:11

   8     on.   And if you want to connect to a host, you                        10:22:15

   9     would have to connect into the USB bus.                                10:22:18

  10     That's connected through that host.                                    10:22:20

  11                    And the host at the top, of                             10:22:22

  12     course, is the device that's in control.            It                 10:22:24

  13     is the one that sends commands down to the                             10:22:27

  14     devices.    Devices can't say anything until the                       10:22:28

  15     host sends a command to it; then the devices                           10:22:31

  16     can respond.                                                           10:22:34

  17                    The devices, of course, are what                        10:22:36

  18     follow the commands.       And in this particular                      10:22:39

  19     case, we have the USB host, which the computer                         10:22:43

  20     has, in this case, up to three ports.           What                   10:22:48

  21     happens if we have more than three USB devices                         10:22:50

  22     that you want to plug in?        Some of you may be                    10:22:52

  23     familiar.    You can plug in a hub.        A hub gives                 10:22:56

  24     you extra ports.                                                       10:22:59


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   1         Q.     Mr. Zatkovich, what are the little                         10:23:01

   2     red numbers?                                                          10:23:03

   3         A.     The little red numbers are the                             10:23:03

   4     addresses of the devices.       Every time a device                   10:23:05

   5     gets added to the USB hub, it has to be given                         10:23:10

   6     an address, and that's done by the host, and                          10:23:13

   7     I'll talk a little bit more in detail on that.                        10:23:15

   8                    But even the hub has to have an                        10:23:18

   9     address, too, because it has to talk to the                           10:23:20

  10     host.    So now the hub is given some more                            10:23:22

  11     supports so we can add some more devices.                             10:23:27

  12                    And let's talk briefly about what                      10:23:29

  13     happens when we add a new device to the bus.                          10:23:31

  14     When we add a new device to the bus, such as a                        10:23:35

  15     memory stick, the first thing that happens is                         10:23:37

  16     it sends up basically a discovery signal up to                        10:23:40

  17     the host saying there's a new device here and                         10:23:43

  18     we don't know what it is.                                             10:23:45

  19                    So the host does what's called an                      10:23:46

  20     enumeration, and I think you've heard that                            10:23:49

  21     term, "enumeration."      Basically it's the host                     10:23:52

  22     saying I need to know who you are.          So it asks                10:23:55

  23     for the device's configuration, what type of                          10:23:59

  24     device you are, what type of interface do you                         10:24:02


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   1     use to communicate data.       And once it receives                   10:24:05

   2     that information, it -- and if the host is                            10:24:07

   3     satisfied, it assigns a new address to that                           10:24:12

   4     device so that it can tell that device from                           10:24:16

   5     all the other devices on the USB bus.                                 10:24:17

   6                  Of course, this is the way the                           10:24:20

   7     standard USB network works in a standard USB                          10:24:22

   8     device.   We're going to be looking at some                           10:24:28

   9     non-standard USB devices.                                             10:24:32

  10         Q.    Thank you.                                                  10:24:35

  11                  Now, we've already heard a bit                           10:24:36

  12     about CarPlay, but do you have some slides                            10:24:37

  13     giving a review of CarPlay and how some of the                        10:24:40

  14     CarPlay issues interface with this case?                              10:24:43

  15         A.    Sure.   One item I forgot, small but                        10:24:44

  16     important concept, the host is considered at                          10:24:49

  17     the top of the triangle, so it looks at its                           10:24:53

  18     devices through downstream, downstream ports,                         10:24:56

  19     and the devices look up to the host and it                            10:24:59

  20     looks up to those through upstream ports.                             10:25:02

  21     Important concept I will be talking about                             10:25:05

  22     later.                                                                10:25:07

  23                  All right.     CarPlay.     And I know                   10:25:08

  24     many of you have probably used CarPlay or seen                        10:25:12


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   1     it before.   Some of you may have not.         So I'm                 10:25:15

   2     going to assume that some of you may have not,                        10:25:18

   3     so I'm going to talk about it from the                                10:25:21

   4     beginning.                                                            10:25:23

   5                  So CarPlay is an invention by                            10:25:24

   6     Apple.   We know Steve Jobs, big innovator.                           10:25:27

   7     His concept was create a computer in a phone                          10:25:30

   8     together in a smart iPhone and put an iPhone                          10:25:34

   9     in everybody's pocket.                                                10:25:36

  10                  Well, Apple took that one step                           10:25:38

  11     further and wanted to put an iPhone in                                10:25:40

  12     everybody's car.     They saw cars coming out                         10:25:42

  13     with these sophisticated head units, these                            10:25:45

  14     screens where you can display your radio                              10:25:49

  15     stations, where you can show -- control your                          10:25:51

  16     heater, where you can show your mapping.           So                 10:25:53

  17     iPhone wanted to get into that business and so                        10:25:56

  18     they invented the concept of CarPlay.                                 10:25:59

  19                  And very much like Apple, they                           10:26:01

  20     wanted to make sure that the CarPlay device,                          10:26:03

  21     the iPhone, was -- had some -- some control                           10:26:05

  22     over the head unit.      So it wanted the iPhone                      10:26:09

  23     to be the host.     Of course, the car                                10:26:13

  24     manufacturers wanted the head unit to be the                          10:26:15


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   1     host.                                                                 10:26:17

   2                    So you can't have two hosts on the                     10:26:18

   3     same bus.     What do you do?     Well, we'll talk                    10:26:20

   4     about that.                                                           10:26:24

   5         Q.      Before we move off this screen, the                       10:26:24

   6     head unit is showing CarPlay; is that correct?                        10:26:26

   7         A.      Correct.                                                  10:26:28

   8         Q.      And what is it?                                           10:26:29

   9         A.      The concept of CarPlay is to take the                     10:26:30

  10     applications that are on your iPhone and allow                        10:26:34

  11     you to access them on the screen of the car.                          10:26:36

  12     So that while you're driving, you don't have                          10:26:40

  13     to look at your phone; you can just press a                           10:26:42

  14     button on the screen.                                                 10:26:44

  15         Q.      And, Mr. Zatkovich, what would that                       10:26:46

  16     screen look like before CarPlay started up?                           10:26:50

  17     Would it have the same icons?                                         10:26:56

  18         A.      It would have the normal radio                            10:26:57

  19     control, showing your radio stations, or it                           10:26:59

  20     would have your heater control or your map.                           10:27:02

  21     Once you plug in your iPhone device and it                            10:27:04

  22     becomes CarPlay, you can see the CarPlay                              10:27:07

  23     applications.                                                         10:27:08

  24                    But you have to plug it in.        So if               10:27:09


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   1     your car's head unit is CarPlay compatible, it                        10:27:14

   2     will give you USB ports to plug in.          Now, some                10:27:18

   3     car manufacturers only assign one USB port to                         10:27:21

   4     CarPlay and you have to figure out which one                          10:27:24

   5     it is, and usually it's labeled.         Other car                    10:27:26

   6     manufacturers prefer that all of the USB ports                        10:27:28

   7     in the car be CarPlay enabled, and that's a                           10:27:32

   8     very desirable feature, so that you don't have                        10:27:36

   9     to figure it out.                                                     10:27:38

  10                  But once you do plug your car --                         10:27:40

  11     or your iPhone into your USB CarPlay port, the                        10:27:43

  12     head unit then displays your CarPlay                                  10:27:48

  13     applications from your iPhone on the screen.                          10:27:52

  14     And what happens at that point -- so let's                            10:27:54

  15     say, for example, you touch on the Apple, play                        10:27:56

  16     music application.     What happens?      The head                    10:28:01

  17     unit detects that and sends that down to the                          10:28:04

  18     iPhone.   It says somebody has touched on the                         10:28:07

  19     Apple play music icon, down to the iPhone.                            10:28:10

  20                  The iPhone says fine, let me send                        10:28:15

  21     back up to you music selections that I have                           10:28:18

  22     that you can play.     And that's what then                           10:28:21

  23     appear on the head unit.                                              10:28:25

  24                  So that's, in a nutshell, that's                         10:28:27


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   1     the concept of CarPlay.                                                10:28:30

   2         Q.     Now, do you have some slides talking                        10:28:32

   3     about the '243 Patent and the invention?                               10:28:35

   4         A.     I do.   We are going to have many                           10:28:40

   5     slides on that.      I apologize.     We will be                       10:28:42

   6     going through a lot of claim items, but that's                         10:28:44

   7     my job.                                                                10:28:49

   8                   So I wanted to do a brief overview                       10:28:49

   9     of patents in general.       I've had the                              10:28:53

  10     opportunity, over my 30-year career, to                                10:28:56

  11     examine hundreds -- probably at least a couple                         10:28:58

  12     thousand patents.      Sometimes I do them for                         10:29:02

  13     fun; being that there's so many patents out                            10:29:07

  14     there.                                                                 10:29:12

  15                   In other cases, companies hire me                        10:29:12

  16     to evaluate their patent portfolio.           For                      10:29:14

  17     example, AT&T has about 200 telecommunication                          10:29:17

  18     patents.    They asked me to evaluate them and                         10:29:20

  19     identify which ones I thought were the most                            10:29:22

  20     valuable so they could maintain them and                               10:29:24

  21     monetize them.                                                         10:29:27

  22                   In other cases, I get hired to                           10:29:27

  23     evaluate patents for patent litigation, which                          10:29:30

  24     is what I'm doing today, among my other                                10:29:33


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   1     projects.                                                             10:29:36

   2                   So all patents basically have                           10:29:37

   3     three parts; it's the cover.        On the cover,                     10:29:40

   4     you have the inventor who invented it; in this                        10:29:43

   5     case, Mr. Bohm, and his associate.          We have                   10:29:46

   6     the history of the patent, what patents are                           10:29:49

   7     related to it, when it was issued and the                             10:29:52

   8     patent number, of course, which is important.                         10:29:57

   9                   The next -- and the bulk of the                         10:30:01

  10     patent is the description of the technology.                          10:30:05

  11     It's actually called the specification.           It                  10:30:07

  12     has the diagrams and the descriptions of the                          10:30:09

  13     technology.                                                           10:30:13

  14                   It also had, as Mr. Bohm                                10:30:14

  15     mentioned, it has embodiments.         Embodiments                    10:30:17

  16     are just examples of how you might use that                           10:30:21

  17     technology in a device or in a system.           And we               10:30:23

  18     can see that here at the top in the infamous                          10:30:26

  19     Figure 3 of the '243 Patent, and we'll be                             10:30:31

  20     talking about that.                                                   10:30:35

  21                   The last part of the patent is the                      10:30:37

  22     claims, and even though the specification                             10:30:40

  23     talks about the background of the technology                          10:30:44

  24     and the embodiments, the actual invention is                          10:30:46


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   1     defined in the claims, itself.          Each -- in                     10:30:50

   2     fact, each claim is an invention in and of                             10:30:52

   3     itself, a valid claim.                                                 10:30:55

   4                    And this particular patent has 25                       10:30:57

   5     claims.     Each claim is different.       They have                   10:31:00

   6     to be different.      Many of them look similar,                       10:31:02

   7     but the patent will not allow you to issue a                           10:31:04

   8     patent if any of the claims say the same thing                         10:31:08

   9     or do the same thing.        So they are distinct.                     10:31:12

  10                    Sometimes differences are very                          10:31:15

  11     subtle.     I felt for Mr. Bohm when he was up                         10:31:18

  12     here trying to compare two different claims.                           10:31:21

  13     Sometimes it takes many hours to tease out the                         10:31:22

  14     difference between claims, but they are                                10:31:25

  15     different.     Trust me.                                               10:31:27

  16                    We'll be talking about claims 23,                       10:31:28

  17     24 and 25.     All right.     Should I proceed into                    10:31:31

  18     the rest of the patent?                                                10:31:41

  19         Q.      Please proceed.                                            10:31:43

  20         A.      All right.     Okay.    I know you've seen                 10:31:43

  21     Figure 3.     We're going to walk through it                           10:31:47

  22     again from bottom to top.          Hopefully I'll be                   10:31:49

  23     able to describe it in an understandable                               10:31:53

  24     fashion.                                                               10:31:56


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   1                   But let's start at the bottom.                          10:31:57

   2     The device/function box.       What is that?      Well,               10:31:59

   3     that is the actual USB device or device                               10:32:03

   4     portion or function, such as the mouse, the                           10:32:08

   5     memory stick, the interface control.          That's                  10:32:10

   6     the thing that actually does something.                               10:32:13

   7                   But on top of that, we have the                         10:32:16

   8     USB multi-host device controller.         What is                     10:32:20

   9     that?   Well, every USB device has to be a USB                        10:32:24

  10     device controller, okay?       So we have the USB                     10:32:28

  11     device, the mouse or the memory stick.                                10:32:32

  12                   On top of that, we have the device                      10:32:34

  13     controller and it communicates -- has to                              10:32:36

  14     communicate with the host.        So it speaks the                    10:32:38

  15     USB language, whereas the mouse or the memory                         10:32:40

  16     stick can't communicate USB language; the                             10:32:43

  17     microcontroller communicates USB language and                         10:32:47

  18     speaks to the host.                                                   10:32:50

  19                   Now, this -- this time we have a                        10:32:51

  20     special type of USB device controller; it's a                         10:32:53

  21     multi-host.    So basically we're taking --                           10:32:56

  22     we're creating a multi-host device controller                         10:32:59

  23     where the controller must speak to two hosts                          10:33:02

  24     at the same time, and they must coordinate                            10:33:05


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   1     together because they're both trying to access                        10:33:08

   2     that same device or that portion of that same                         10:33:10

   3     device at the same time.       We have to link them                   10:33:12

   4     together and coordinate them, so that's what                          10:33:16

   5     the USB multi-host controller device is.                              10:33:19

   6                  Above that, endpoints.         Mr. Bohm                  10:33:22

   7     talked about the endpoints a little bit.           So                 10:33:26

   8     we're communicating data back and forth here.                         10:33:28

   9                  Where do we store that data?                             10:33:31

  10     Well, the endpoints are the memory buffers.                           10:33:33

  11     It stores information such as what type of                            10:33:37

  12     device it is, what the address of the device                          10:33:42

  13     is, if you want to send data up to a host, you                        10:33:45

  14     temporarily store that information in the                             10:33:47

  15     endpoint buffer before it goes to the host.                           10:33:49

  16     So basically the endpoints are the                                    10:33:51

  17     memory-holding information between the device                         10:33:53

  18     and the host.                                                         10:33:55

  19                  And in this particular case, we                          10:33:56

  20     have two sets of memory, two sets of endpoints                        10:33:57

  21     reserved for each host because they are                               10:34:00

  22     separate and distinct.      All right.                                10:34:03

  23                  So we've got the device, we've got                       10:34:04

  24     the controller that can talk USB to both hubs,                        10:34:07


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    1    and we've got the memory to hold the data to                           10:34:10

    2    go back and forth on the hub's bus.                                    10:34:13

    3                   How do we actually get that data                        10:34:16

    4    out onto the bus?      We have to have an upstream                     10:34:18

    5    port.     That's the thing that actually connects                      10:34:20

    6    the device to the USB bus, to communicate with                         10:34:22

    7    the host.                                                              10:34:27

    8                   And you'll see the designation                          10:34:28

    9    PHY, P-H-Y; that's basically shorthand for                             10:34:32

   10    physical.     It's the physical signals that gets                      10:34:35

   11    transported over the USB bus cable to                                  10:34:37

   12    communicate with the first host.          But we also                  10:34:42

   13    call it the port.      In this case, since we're                       10:34:44

   14    talking upstream to the host, it's an upstream                         10:34:47

   15    port.     So those are the components.                                 10:34:51

   16                   And what I'm going to do now is                         10:34:54

   17    basically walk through the claim language and                          10:34:56

   18    describe how the claim language describes what                         10:34:58

   19    those components have to do.                                           10:35:02

   20         Q.     And, Mr. Zatkovich, at the top here,                       10:35:04

   21    you have a head unit and an iPhone.           Those are                10:35:06

   22    not in the patent, are they?                                           10:35:08

   23         A.     Those are not in the patent.        Those                  10:35:09

   24    are just two example hosts.         An iPhone is a                     10:35:11


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    1    computer and a head unit is a computer.           They                10:35:14

    2    are valid hosts.      So these are valid examples                     10:35:18

    3    of what type of hosts might communicate.                              10:35:21

    4         Q.     And we'll see those annotations on                        10:35:24

    5    later slides?                                                         10:35:27

    6         A.     Right.   I am using those throughout                      10:35:27

    7    because they are basically the hosts that will                        10:35:30

    8    be connecting to the accused devices.          All                    10:35:32

    9    right.                                                                10:35:34

   10                   So the patent claim is laid out in                     10:35:34

   11    elements.     So we have multiple -- basically                        10:35:39

   12    three paragraphs here, each of which is a                             10:35:43

   13    claim element in and of itself.                                       10:35:45

   14                   At the top, that line that says,                       10:35:47

   15    "USB multi-host device comprising," that's                            10:35:49

   16    called a preamble.      There is a little note                        10:35:52

   17    there.    In this particular case, the preamble,                      10:35:55

   18    the Court has decided that the preamble is not                        10:35:58

   19    limited, meaning it's not necessary, it is not                        10:36:00

   20    a requirement, it is not part of the                                  10:36:03

   21    invention; it is basically just an                                    10:36:05

   22    introduction to the rest of the claim                                 10:36:07

   23    elements.                                                             10:36:09

   24                   So I am going to start proceeding                      10:36:09


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    1    through the claim elements.        All right.     What                10:36:12

    2    is on the first claim element?         A shared USB                   10:36:14

    3    device block.                                                         10:36:17

    4                  So we talked about the device                           10:36:19

    5    block down here, but in this case, it's not                           10:36:24

    6    just USB device or USB function; it is a USB                          10:36:27

    7    device block.                                                         10:36:30

    8                  What is a device block?        Well,                    10:36:31

    9    fortunately, the Court has given us a special                         10:36:34

   10    definition of what the USB device block is.                           10:36:37

   11    It is a USB device or segments of a USB                               10:36:41

   12    device.   We'll stop there.       So it can be an                     10:36:47

   13    entire USB device, like USB printer or a USB                          10:36:50

   14    memory stick, or it can be just a portion, a                          10:36:53

   15    segment, any part of that device.                                     10:36:55

   16                  So, for example, if the USB device                      10:36:57

   17    was a memory stick, a USB device block may be                         10:37:01

   18    just a portion of that that doesn't read,                             10:37:06

   19    memory reads or storage or memory rights, or                          10:37:09

   20    it might be the whole memory stick.          So that's                10:37:11

   21    an example of what a USB device block might                           10:37:14

   22    be.                                                                   10:37:17

   23                  So the claim has a shared USB                           10:37:18

   24    device block, and now it's going to be                                10:37:21


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    1    operable to be simultaneously configured by                           10:37:23

    2    two or more USB hosts.      Basically it means                        10:37:27

    3    once hosts are connected and configured, they                         10:37:32

    4    will be simultaneously, at the same time, they                        10:37:35

    5    will be connected to that shared USB device                           10:37:38

    6    block.                                                                10:37:42

    7                  And I have a little -- well,                            10:37:43

    8    that's the essence of that.        We'll talk more                    10:37:45

    9    about the simultaneously configured.                                  10:37:47

   10                  So now we've talked about the                           10:37:54

   11    shared USB device block.       Let's talk about the                   10:37:56

   12    controller.    As I mentioned, this is that                           10:37:59

   13    special controller that must control two hosts                        10:38:02

   14    at the same time.     So we have a controller                         10:38:05

   15    configured to establish concurrent respective                         10:38:08

   16    dedicated USB connections.        All right.                          10:38:11

   17                  So what is a respective dedicated                       10:38:15

   18    USB connection?     The Court has given us a                          10:38:16

   19    definition for that, too.       And it is simple.                     10:38:20

   20    It's a USB connection that is not shared.                             10:38:24

   21    There are some exceptions to that, but in this                        10:38:28

   22    case, they are really -- the exceptions don't                         10:38:31

   23    apply.                                                                10:38:35

   24                  So basically a respective                               10:38:35


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    1    dedicated USB connection is just a USB                                10:38:36

    2    connection that is not shared.         And I am                       10:38:39

    3    illustrating that here by saying the first                            10:38:42

    4    host has a dedicated connection and the second                        10:38:45

    5    host has a separate dedicated connection.                             10:38:48

    6    That's basically all that claim element means.                        10:38:52

    7                  What are they connected to?          Well,              10:38:55

    8    they are connected between the shared USB                             10:38:59

    9    device block and the two or more hosts,                               10:39:03

   10    naturally.    All right.                                              10:39:05

   11                  So a lot of complicated language,                       10:39:06

   12    but basically we have a shared USB device                             10:39:09

   13    block that's going to be connected via two                            10:39:11

   14    separate connections to the two hosts.            All                 10:39:14

   15    right.                                                                10:39:17

   16                  The next claim element is a very                        10:39:17

   17    special claim element.      It is -- in fact, it                      10:39:20

   18    describes a function, and this function is                            10:39:24

   19    only in this claim; it's in none of the other                         10:39:26

   20    claims in the patent.      So this is why it is a                     10:39:28

   21    special claim, so let's focus on this one.                            10:39:32

   22                  All right.    In this claim element,                    10:39:35

   23    it says, "Wherein the controller" -- I have a                         10:39:40

   24    little animation here.      Try to enjoy that for                     10:39:44


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    1    the time being.       I'll explain what that is.                      10:39:46

    2    "The controller is operable to receive and                            10:39:49

    3    respond to simultaneous respective USB access                         10:39:51

    4    requests."    Okay.                                                   10:39:54

    5                  What does that mean?       All right.                   10:39:54

    6    So we know the controller, that controller                            10:39:56

    7    must be able to respond to simultaneous USB                           10:40:00

    8    access requests; in other words, receive and                          10:40:05

    9    respond, both.                                                        10:40:08

   10                  So if I have two hosts and they're                      10:40:10

   11    both trying to talk to this device at the same                        10:40:12

   12    time, this special controller has to be able                          10:40:14

   13    to receive those requests and respond to them                         10:40:16

   14    at the same time, if necessary.         Okay?    It                   10:40:19

   15    doesn't mean they are going to get access to                          10:40:22

   16    the device, okay.       Depending on the device,                      10:40:24

   17    you can't -- sometimes a device won't take --                         10:40:27

   18    can't serve as two hosts at the same time, but                        10:40:30

   19    the controllers have to process -- have to                            10:40:33

   20    arbitrate that, in a sense, okay?                                     10:40:35

   21                  And who are those accesses coming                       10:40:38

   22    from?    They're coming from the two or more USB                      10:40:40

   23    hosts.                                                                10:40:43

   24                  And what do they want to do?            They            10:40:43


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    1    want to access the function of the shared                             10:40:45

    2    device.                                                               10:40:47

    3                  So again, a complicated claim                           10:40:47

    4    element, very simple.      We have the control,                       10:40:52

    5    special controller, which has to handle                               10:40:54

    6    simultaneous requests and responses to that                           10:40:56

    7    USB device block.                                                     10:40:57

    8         Q.   And, Mr. Zatkovich, you have a memory                       10:41:00

    9    stick annotated on this one as well?                                  10:41:02

   10         A.   Yeah.   Before we get to that, the                          10:41:05

   11    reason why I put in this funky animation is I                         10:41:07

   12    want to illustrate the fact that in real life,                        10:41:09

   13    how USB controller works is that it -- again,                         10:41:12

   14    since the device can't talk to the host, the                          10:41:16

   15    host has to keep polling the device, do you                           10:41:18

   16    have data, do you have data, do you have data.                        10:41:21

   17    It does that hundreds of times a second.                              10:41:23

   18                  So for a normal USB, it would have                      10:41:27

   19    to be able to accept requests and responses                           10:41:30

   20    from one host to a device hundreds of times a                         10:41:32

   21    second.   In this case, if you have two hosts,                        10:41:36

   22    that special microcontroller multi-host device                        10:41:39

   23    controller has to accept requests and                                 10:41:43

   24    responses hundreds of times a second from both                        10:41:45


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    1    hosts at the same time.       That's why this claim                   10:41:48

    2    is so special.    I think that takes care of                          10:41:51

    3    that one.                                                             10:42:01

    4                  Now let's talk about the memory                         10:42:02

    5    stick.   So let's give an example of what a                           10:42:03

    6    memory stick would -- how it would operate if                         10:42:05

    7    it were a multi-host device.                                          10:42:08

    8                  I've got a memory stick.        I plug                  10:42:12

    9    it into both hosts, and remember, we have to                          10:42:15

   10    have a shared device box.       So let's pretend                      10:42:18

   11    that the portion -- that segment of that                              10:42:21

   12    device that we're going to share will be the                          10:42:25

   13    ability to read from that memory stick; not                           10:42:27

   14    necessarily write, but read.                                          10:42:30

   15                  So let's say one of the hosts                           10:42:31

   16    doesn't have the possibility to read and                              10:42:37

   17    write.   So the first host will write                                 10:42:38

   18    photographs to that memory stick and the                              10:42:42

   19    second host could read photographs from that                          10:42:45

   20    memory stick.                                                         10:42:47

   21                  So both devices could read from                         10:42:48

   22    that memory stick, but only one device could                          10:42:51

   23    write.   That would be an example of a memory                         10:42:54

   24    stick that has two functions, to read and to                          10:42:56


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    1    write, but only the read function is shared                           10:43:00

    2    between the two.     That would be -- a USB                           10:43:01

    3    device block would be the portion of that.                            10:43:05

    4         Q.   Now, we talked a lot about the patent                       10:43:08

    5    and we talked about basic concepts.          Should we                10:43:11

    6    talk about the Aptiv product?                                         10:43:15

    7                   THE COURT:   Before we do that, Mr.                    10:43:17

    8    Fenton, why don't we take a mid-morning break.                        10:43:19

    9    It is a good point anyway since you were going                        10:43:22

   10    to change topics.                                                     10:43:24

   11                   So, same caution as always; don't                      10:43:28

   12    go back and start talking about anything                              10:43:30

   13    you're hearing at this point.         You have to                     10:43:31

   14    wait until we're done.      But just take a short                     10:43:34

   15    5 to 10-minute break, and then we'll resume as                        10:43:37

   16    soon as everybody is ready.         Okay?                             10:43:40

   17                   (Whereupon, the jury was excused                       10:43:42

   18    from the courtroom.)                                                  10:43:45

   19                   THE COURT:   Okay.     Take a short                    10:44:08

   20    break and try to be back somewhere between 10                         10:44:10

   21    of and 5 of.     Okay?   Stand in recess.                             10:44:13

   22                   (Whereupon, a 10-minute recess was                     10:44:18

   23    taken at 10:45 a.m.)                                                  10:44:20

   24                   THE COURT CLERK:      All rise.                        10:54:07


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    1                     THE COURT:     All right.   Have a                    10:55:00

    2    seat, please, and you can get the jury.                                10:55:03

    3                     (Whereupon, the jury entered the                      10:55:06

    4    courtroom.)                                                            10:55:08

    5                     THE COURT:     Mr. Fenton, you may                    10:55:34

    6    proceed.                                                               10:55:36

    7    BY MR. FENTON:                                                         10:55:37

    8          Q.   Mr. Zatkovich, one housekeeping                             10:55:38

    9    matter that I missed.          I want to go back to                    10:55:40

   10    it.    Will you take a look in your binder at                          10:55:43

   11    Exhibit 94?                                                            10:55:46

   12          A.   Exhibit?                                                    10:55:46

   13          Q.   94.                                                         10:55:47

   14          A.   94.     I have that.                                        10:55:49

   15                     (Whereupon, Trial Exhibit 94 was                      10:55:49

   16    introduced.)                                                           10:55:49

   17    BY MR. FENTON:                                                         10:55:54

   18          Q.   And what is Exhibit 94?                                     10:55:54

   19          A.   That's my resume.                                           10:55:55

   20                     MR. FENTON:     Your Honor, at this                   10:55:58

   21    time we offer Exhibit 94 for admission.                                10:56:00

   22                     MS. DURIE:     No objection.                          10:56:03

   23                     THE COURT:     All right.   Received.                 10:56:04

   24    BY MR. FENTON:                                                         10:56:08


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    1         Q.    Before the break, we were talking                           10:56:09

    2    about the general concepts.         So do you have                     10:56:11

    3    slides prepared today to talk about the Aptiv                          10:56:13

    4    product?                                                               10:56:15

    5         A.    Yes.   I'll start with a very high                          10:56:16

    6    level overview of the Aptiv product.           It is --                10:56:19

    7    well, there's some exhibits that I think we                            10:56:24

    8    want to introduce.                                                     10:56:26

    9         Q.    Will you pause one second?         Just real                10:56:37

   10    quick, let's just walk through this real                               10:56:38

   11    quick.                                                                 10:56:40

   12                  Exhibits 5, 6 and 7 in your                              10:56:40

   13    binder, will you look real quick at those?                             10:56:45

   14         A.    Yes.   Exhibit 5 -- I have them, yes,                       10:56:47

   15    those are the right ones.                                              10:56:51

   16         Q.    And what are those documents?                               10:56:52

   17         A.    Those are documents from Aptiv                              10:56:53

   18    describing their device.        Among many other                       10:56:58

   19    items that I reviewed, I chose those to pull                           10:57:01

   20    specific extracts out so I can explain the                             10:57:04

   21    device.                                                                10:57:07

   22                  (Whereupon, Trial Exhibits 5, 6                          10:57:07

   23    and 7, respectively, were introduced.)                                 10:57:07

   24                  MR. FENTON:      And to the extent                       10:57:07


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    1    that those haven't been admitted, we offer                            10:57:09

    2    those into evidence, Exhibits 5, 6 and 7.                             10:57:11

    3                  MS. DURIE:     No objection.                            10:57:13

    4                  THE COURT:     Okay.    Received.                       10:57:14

    5                  MR. FENTON:     Okay.                                   10:57:16

    6                  THE WITNESS:     There we go.       All                 10:57:28

    7    right.                                                                10:57:29

    8                  So Exhibit 5 is basically a                             10:57:29

    9    presentation that Unwired/Aptiv put together                          10:57:33

   10    to provide a high level description of what                           10:57:38

   11    their Boston chip did.       And we'll be looking                     10:57:42

   12    at this diagram in more detail.                                       10:57:47

   13                  One of the things I wanted to                           10:57:49

   14    point out that I thought was interesting, up                          10:57:51

   15    here it says, "Digital iPod out OTG."          That's                 10:57:53

   16    Apple's original name for the CarPlay product.                        10:57:58

   17    Fortunately, they changed it.         It was a little                 10:58:01

   18    more descriptive.                                                     10:58:04

   19                  There we go.     Exhibit 6 is a large                   10:58:07

   20    document describing the specifications of the                         10:58:11

   21    Boston chip, itself.       This is how this                           10:58:16

   22    functions.                                                            10:58:18

   23    BY MR. FENTON:                                                        10:58:18

   24         Q.   Before you move on from that                                10:58:19


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    1    document, there are a couple words on here                             10:58:21

    2    that I think it's worth talking about.                                 10:58:22

    3                   ASIC, what is an ASIC?                                  10:58:25

    4         A.     ASIC stands for Application Specific                       10:58:26

    5    Integrated Circuit.       Integrated circuit is a                      10:58:28

    6    chip.     Application specific means if you want                       10:58:31

    7    to design a custom device for a particular                             10:58:33

    8    function that's not normally a function, you                           10:58:37

    9    would develop what's called an application                             10:58:41

   10    specific integrated chip.                                              10:58:42

   11         Q.     And this document doesn't have                             10:58:45

   12    Unwired or Aptiv or Delphi on it; it has                               10:58:46

   13    something in the corner, IDK.                                          10:58:49

   14                   Do you see that?                                        10:58:51

   15         A.     Yes.                                                       10:58:51

   16         Q.     What is that?                                              10:58:52

   17         A.     That is a separate company that Aptiv                      10:58:52

   18    used to design and develop this particular                             10:58:55

   19    ASIC chip, the Boston chip.                                            10:58:59

   20                   The last document, Exhibit 7, is a                      10:59:04

   21    fairly complex diagram showing the internal                            10:59:10

   22    logic, the internal function of the Boston                             10:59:13

   23    chip product.      There is a lot of pieces on                         10:59:16

   24    there that we don't need to talk about, so I                           10:59:18


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    1    will be focusing on some of them, but we'll go                         10:59:21

    2    back to the highest level diagram that I like,                         10:59:25

    3    which is at this level.                                                10:59:27

    4                   So over here, we have the host                          10:59:31

    5    side.     It's not on the Boston chip, of course;                      10:59:34

    6    this represents the head unit.                                         10:59:39

    7                   On the other side, we have the                          10:59:40

    8    iPhone, which is going to be the other host,                           10:59:42

    9    and that, of course, is not part of the chip.                          10:59:46

   10    But everything in between is on the Boston                             10:59:48

   11    chip.                                                                  10:59:50

   12                   So the first thing that's on the                        10:59:52

   13    Boston chip is a hub.       It connects to the host                    10:59:53

   14    via, of course, the upstream port because it                           10:59:57

   15    is the host.     That gives the hub unit                               11:00:00

   16    additional ports that it can use to                                    11:00:03

   17    communicate with the USB devices.                                      11:00:05

   18                   So in this particular case, we are                      11:00:07

   19    showing the iPhone and gray box which                                  11:00:09

   20    represents another device, such as a memory                            11:00:13

   21    stick, that you can plug into the Boston chip                          11:00:16

   22    device.                                                                11:00:19

   23                   And the next slide is the same                          11:00:22

   24    thing, but as I mentioned before, the iPhone                           11:00:25


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    1    wants to be the host when it is talking to the                        11:00:27

    2    head unit.                                                            11:00:29

    3                  So this diagram, it's the same                          11:00:31

    4    thing, only it represents what happens when                           11:00:34

    5    the iPhone does what's called role reversal.                          11:00:35

    6    You heard that term, "role reversal."          That's                 11:00:39

    7    when the iPhone first connects as a device and                        11:00:41

    8    it says, I want to do CarPlay and it reverses                         11:00:44

    9    its role, and as a result of that, the Boston                         11:00:48

   10    chip routes its downstream port to the bridge                         11:00:51

   11    so that it can be a host.                                             11:00:55

   12                  So we saw it switching from this                        11:00:59

   13    connection as a downstream port to routing the                        11:01:02

   14    iPhone via upstream port to this thing in the                         11:01:07

   15    middle, which is the bridge.        And we're going                   11:01:10

   16    to talk a lot about the bridge.                                       11:01:13

   17                  The bridge has two sides.        The                    11:01:15

   18    device A side of the bridge talks to the head                         11:01:19

   19    unit host and the device B side of the bridge                         11:01:22

   20    talks to the iPhone host.       And we'll talk --                     11:01:25

   21    we'll switch to a more detailed version of                            11:01:28

   22    this, this diagram.                                                   11:01:30

   23         Q.   And this diagram that you have been                         11:01:32

   24    talking about is on Exhibit 5; is that                                11:01:33


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    1    correct?                                                               11:01:35

    2         A.    Pardon?    This is Exhibit 5, correct.                      11:01:35

    3    All right.                                                             11:01:42

    4                  We're going to explain how I found                       11:01:43

    5    the elements of the claim 23, how they were                            11:01:46

    6    operated within the Aptiv device, but we're                            11:01:49

    7    going to continue looking at the device first.                         11:01:52

    8                  Here is that big diagram.         The                    11:01:56

    9    bridge part that I pointed out on the other                            11:01:58

   10    device, on the other diagram, this is where                            11:02:01

   11    the bridge is.                                                         11:02:05

   12         Q.    And, Mr. Zatkovich, this is                                 11:02:05

   13    Exhibit 7; is that correct?                                            11:02:07

   14         A.    This is Exhibit 7.                                          11:02:07

   15         Q.    And this is Aptiv's figure?                                 11:02:08

   16         A.    All these documents came from Aptiv,                        11:02:11

   17    that is correct.                                                       11:02:13

   18                  So what we are going to do is                            11:02:15

   19    we're going to kind of isolate on that, I'm                            11:02:17

   20    outlining specific pieces of that and then                             11:02:26

   21    we're going to load that.        There you go.         All             11:02:28

   22    right.                                                                 11:02:38

   23                  So this is the bridge product of                         11:02:38

   24    the last diagram that we talked about.            So                   11:02:41


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    1    what is the bridge?      Well, we see the two                         11:02:43

    2    green boxes on either side.        One of those                       11:02:46

    3    boxes is the side that talks to the head unit,                        11:02:50

    4    one of those boxes is the side that talks to                          11:02:53

    5    the iPhone.                                                           11:02:55

    6                   Those are UDCs, USB device                             11:02:56

    7    controllers.     Remember I said every USB device                     11:03:01

    8    has a USB device controller?        That's what                       11:03:03

    9    those are.                                                            11:03:06

   10                   And separately, each of those USB                      11:03:07

   11    device controllers could talk -- the one USB                          11:03:11

   12    device controller could talk to the head unit                         11:03:14

   13    all by itself, the other USB device controller                        11:03:16

   14    could talk to the iPhone all by itself, but as                        11:03:18

   15    soon as you connect those together and you                            11:03:21

   16    coordinate them, put them together with some                          11:03:24

   17    glue, we now have what?       We have a multi-host                    11:03:26

   18    USB device controller, assuming that it can                           11:03:30

   19    simultaneously connect to and talk to two                             11:03:34

   20    different hosts and have coordinated together                         11:03:36

   21    in a fashion so that they can talk to a shared                        11:03:39

   22    USB device block.                                                     11:03:41

   23                   All right.   What is -- what is the                    11:03:43

   24    glue that holds it together?        The glue that                     11:03:45


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    1    holds it together is this MCU, that's the                             11:03:48

    2    microcontroller unit, and that's basically the                        11:03:52

    3    microprocessor.     It has a bunch of software on                     11:03:54

    4    it and I am kind of color-coding it.                                  11:03:57

    5                   The blue software is related to                        11:04:00

    6    the device function and the green -- I'm                              11:04:02

    7    sorry, the blue software is what glues the two                        11:04:03

    8    halves of the controller together to create                           11:04:07

    9    one multi-host device controller.         All right.                  11:04:09

   10                   So what is the controller                              11:04:11

   11    controlling?     It's controlling the bridge in                       11:04:14

   12    the middle, which is the FIFO buffers.           All                  11:04:19

   13    right.   What is FIFO?     FIFO stands for first                      11:04:23

   14    in/first out.     And the purpose of those FIFO                       11:04:25

   15    buffers is to allow the Apple host, the iPhone                        11:04:30

   16    host, to talk to the head unit host.                                  11:04:33

   17                   So a FIFO, first in/first out.                         11:04:35

   18    The Apple sends memory into that buffer.           The                11:04:39

   19    first thing that comes out will be that same                          11:04:41

   20    data that goes to the head unit host.          So we                  11:04:43

   21    have multiple FIFO buffers together being                             11:04:47

   22    controlled by these two UDCs glued together.                          11:04:51

   23    All right.     So that's a quick overview.                            11:04:58

   24                   We also see some black boxes                           11:05:01


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    1    there, small black boxes at the bottom.           Those               11:05:03

    2    are the P-H-Ys, the PHYs.       If you remember,                      11:05:06

    3    those are the upstream ports.        That's how they                  11:05:10

    4    connect to the host.      That's how they connect                     11:05:12

    5    to the host via the USB hub.        All right.                        11:05:14

    6                  Well, let's take that segment and                       11:05:24

    7    go back to the claim.      All right.     So if you                   11:05:31

    8    remember, the first thing we have is the                              11:05:36

    9    shared USB device block.       It is operable to be                   11:05:38

   10    simultaneously configured by two or more USB                          11:05:41

   11    hubs.   Shared USB device block can be any                            11:05:44

   12    portion of the USB device.        And I have                          11:05:47

   13    summarized what I consider all of the aspects                         11:05:52

   14    of that is.                                                           11:05:55

   15                  The USB device block at the bottom                      11:05:56

   16    is the function of transferring data between                          11:06:01

   17    the two hosts, and the microprocessor, the MCU                        11:06:04

   18    logic, that coordinates the data transfers                            11:06:09

   19    through the FIFO buffers.                                             11:06:11

   20                  So again, we have the multi-host                        11:06:13

   21    controller, we have the FIFO buffers.          This is                11:06:16

   22    the shared function, the shared USB device                            11:06:20

   23    block that's used to connect the one host to                          11:06:23

   24    the other host with the assistance of the                             11:06:26


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    1    microprocessor software.                                               11:06:30

    2                   All right.    That, I believe,                          11:06:32

    3    covers that.                                                           11:06:36

    4         Q.     Okay.                                                      11:06:37

    5                   Mr. Zatkovich, do you have an                           11:06:37

    6    opinion as to whether or not the first element                         11:06:39

    7    of claim 23 is satisfied by the Boston                                 11:06:42

    8    product?                                                               11:06:45

    9         A.     Yes, the Aptiv product does practice                       11:06:45

   10    the first element, including the USB device                            11:06:48

   11    block.     The Boston chip includes a shared USB                       11:06:50

   12    device block operable to be simultaneously                             11:06:55

   13    configured by two or more USB hosts.                                   11:06:57

   14                   And again, for the record, all of                       11:07:00

   15    this is occurring on exhibit --                                        11:07:02

   16         Q.     This is coming out of Exhibit 7, is                        11:07:05

   17    it not?                                                                11:07:07

   18         A.     7, yes.   Thank you.                                       11:07:07

   19                   All right.    So let's take that off                    11:07:10

   20    and let's go into the next thing.                                      11:07:13

   21                   All right.    So we have the                            11:07:16

   22    controller, and remember, this is the special                          11:07:17

   23    controller, the multi-host device USB                                  11:07:19

   24    controller configured to establish concurrent                          11:07:22


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    1    respective dedicated USB connections.                                  11:07:25

    2                   And we know that the Aptiv Boston                       11:07:27

    3    chip will allow you to have the head unit and                          11:07:30

    4    the iPhone connected and configured at the                             11:07:34

    5    same time.     We tested it.                                           11:07:37

    6                   And what are they connected                             11:07:39

    7    between?     The controller establishes the                            11:07:42

    8    connection between that shared USB device                              11:07:46

    9    block, the FIFO buffers and the logic, and the                         11:07:49

   10    two hosts.                                                             11:07:53

   11                   Okay.     I have checked that off.                      11:07:57

   12         Q.     Mr. Zatkovich, do you have an opinion                      11:07:59

   13    as to that claim limitation?                                           11:08:01

   14         A.     Yes.     The Boston chip practices the                     11:08:03

   15    second claim element of a controller                                   11:08:06

   16    configured to establish concurrent respective                          11:08:09

   17    dedicated USB connections between the shared                           11:08:12

   18    USB device block and the two or more USB                               11:08:15

   19    hosts.     All right.                                                  11:08:20

   20                   So the last element to claim 23,                        11:08:21

   21    again, that's the special one; that's the one                          11:08:24

   22    that has the simultaneous accesses.           So we                    11:08:27

   23    have the special multi-host USB device                                 11:08:30

   24    controller.        It's operable to receive and                        11:08:34


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    1    respond to simultaneous respective USB                                 11:08:37

    2    accesses sent by two or more USB hosts for                             11:08:40

    3    accessing function of the shared USB device                            11:08:45

    4    block.                                                                 11:08:48

    5                  Well, I know that it does that,                          11:08:48

    6    but how do you know that it does that?            I put                11:08:50

    7    together another little animation using                                11:08:54

    8    Spotify as an example.       So let's take the                         11:08:59

    9    scenario where I am a user in the car, I                               11:09:03

   10    select the Spotify music icon.                                         11:09:06

   11                  What happens next?        The head unit                  11:09:10

   12    sends the message back down to the iPhone that                         11:09:13

   13    says, they have selected the Spotify icon.                             11:09:17

   14    That's a request.      When it receives an                             11:09:20

   15    acknowledgment, that's a response.                                     11:09:22

   16                  The iPhone says, I got your                              11:09:25

   17    message.    I am going to send you a song or a                         11:09:27

   18    list of songs to be played.         That's a request                   11:09:31

   19    to respond, not necessarily simultaneously.                            11:09:34

   20                  Then what happens?        Well, we have                  11:09:38

   21    to start playing music; right?          So the user                    11:09:40

   22    requests the song to be played, and we have a                          11:09:43

   23    little animation here.       What happens is the                       11:09:46

   24    iPhone takes this music file and chops it up                           11:09:48


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    1    into little parts, okay, so thousands -- the                              11:09:52

    2    song is broken up into thousands of parts that                            11:09:57

    3    get sent one at a time, again, hundreds of                                11:10:00

    4    times a second, and again, the iPhone is                                  11:10:02

    5    hundreds of times a seconds requesting what's                             11:10:06

    6    called a data out, data out, data out, data                               11:10:08

    7    out.        And that was what gets sent to the USB                        11:10:12

    8    shared device block, which again, the purpose                             11:10:16

    9    of that is to transfer data from one host to                              11:10:18

   10    the other.                                                                11:10:21

   11                      And, of course, it's doing its                          11:10:21

   12    job.        It receives that data out packet from                         11:10:23

   13    the phone, transfers it across the bridge to                              11:10:27

   14    the other side so that the other half of the                              11:10:30

   15    controller can receive that and send it to the                            11:10:32

   16    head unit.                                                                11:10:36

   17                      Now, the head unit with the green                       11:10:37

   18    double line is now doing data in, data in,                                11:10:40

   19    data in.        And they are -- again, they are both                      11:10:43

   20    doing that hundreds of times a second, and                                11:10:47

   21    that is one example of simultaneous requests                              11:10:49

   22    and responses.        That's -- and that's how you                        11:10:53

   23    play music from an iPhone.                                                11:10:58

   24           Q.      Just to clarify, when the -- you said                      11:11:00


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    1    when the data is being sent from the UDC-US to                         11:11:04

    2    the head unit, what is the -- what is                                  11:11:08

    3    happening there?       Is it just sending it?                          11:11:10

    4         A.     You mean for the head unit on the                          11:11:14

    5    right?                                                                 11:11:16

    6         Q.     Correct.                                                   11:11:17

    7         A.     It's -- the head unit is continually                       11:11:18

    8    requesting, do you have any data, do you have                          11:11:21

    9    any data, and the right side of the controller                         11:11:22

   10    is saying yes, I have data, I have data.                               11:11:25

   11                   Now, the data that's being sent                         11:11:28

   12    from the iPhone will be sent faster than it                            11:11:31

   13    can play.     So in that case, at some point,                          11:11:35

   14    these FIFO buffers are going to full up faster                         11:11:38

   15    than the head unit can pull them off.           So                     11:11:42

   16    again, part of the glue between controlling                            11:11:44

   17    access to the device is the MCU, the MCU logic                         11:11:46

   18    up here.                                                               11:11:54

   19                   When the FIFO buffers fill up, it                       11:11:54

   20    gets interrupted.       When the FIFO buffer is                        11:11:57

   21    filled up, what are we going to do?           It will                  11:11:59

   22    start pausing the iPhone.        It says, don't                        11:12:02

   23    play, don't play, don't play.         And eventually,                  11:12:04

   24    those FIFO buffers will be cleared and the                             11:12:07


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    1    iPhone will continue sending the items.                               11:12:09

    2                  Did that answer your question?                          11:12:15

    3         Q.   Yes, it did.                                                11:12:17

    4         A.   Okay.   And that's basically where the                      11:12:17

    5    Boston chip includes the controller is                                11:12:25

    6    operable to receive and respond to                                    11:12:29

    7    simultaneous respective USB access requests                           11:12:30

    8    sent by the two or more USB hubs for accessing                        11:12:34

    9    a function of the shared device block.           Again,               11:12:38

   10    the function of the shared device block is                            11:12:41

   11    transferring data from one host to another.                           11:12:44

   12                  Now, in this example I showed data                      11:12:46

   13    going from the iPhone to the head unit.           The                 11:12:48

   14    head unit can do exactly the same thing.                              11:12:51

   15    There is actually two sets -- we see the -- in                        11:12:53

   16    the middle there, we see bulk in, bulk out.                           11:12:56

   17    Can you see that?     Bulk in, bulk out,                              11:13:00

   18    interrupt in, interrupt out.        These are the                     11:13:04

   19    different FIFO buffers.                                               11:13:07

   20                  So there is one set of bulk out                         11:13:08

   21    and bulk in FIFO buffers that go in this                              11:13:10

   22    direction, and there's one pair of FIFO bulk                          11:13:14

   23    in bulk out FIFO buffers that go in this                              11:13:16

   24    direction.    So basically both the host and the                      11:13:20


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    1    iPhone can perform the same shared USB device                          11:13:23

    2    block functions.                                                       11:13:27

    3         Q.     Okay.                                                      11:13:28

    4                   Mr. Zatkovich, do you have an                           11:13:29

    5    opinion about this last claim element?                                 11:13:30

    6         A.     Yes.    As I mentioned, the Boston chip                    11:13:32

    7    includes the controller -- where the                                   11:13:36

    8    controller is operable to receive and respond                          11:13:38

    9    to simultaneous respective USB access requests                         11:13:40

   10    sent by the two or more USB hosts for                                  11:13:43

   11    accessing a function of the shared USB device                          11:13:46

   12    block.                                                                 11:13:49

   13         Q.     And, Mr. Zatkovich, do you have an                         11:13:49

   14    opinion as to whether the Aptiv product                                11:13:51

   15    practices claim 23?                                                    11:13:54

   16         A.     Yes, it practices each individual                          11:13:55

   17    claim, and therefore, it practices the claim                           11:13:58

   18    as a whole.                                                            11:14:01

   19         Q.     Thank you.    Should we look at claim                      11:14:02

   20    24 then?                                                               11:14:09

   21         A.     Claim 24.    We're having fun.      All                    11:14:10

   22    right.     So I am going to walk through claim 24                      11:14:14

   23    just like I did claim 23.                                              11:14:17

   24                   The difference -- claim 23 is                           11:14:19


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    1    what's called an independent claim.          It sits                  11:14:21

    2    all by itself.     Those three claim elements all                     11:14:24

    3    by themselves constitute an invention, okay?                          11:14:28

    4                  But you can have what's called                          11:14:31

    5    dependent claims which tack on additional                             11:14:33

    6    claims.   So if you want to add more functions                        11:14:36

    7    to that invention, you can create a dependent                         11:14:39

    8    claim, and that's what we have here.                                  11:14:42

    9                  So we can see it starts out with                        11:14:43

   10    "USB multi-host function of claim 23," so we                          11:14:47

   11    start with all the same functions that we had                         11:14:50

   12    in claim 23 and we add onto that.         We'll walk                  11:14:52

   13    through what we're adding.                                            11:14:55

   14         Q.   And, Mr. Zatkovich, what is that                            11:14:56

   15    first line of the claim called?                                       11:14:58

   16         A.   That's the preamble.       And again, we                    11:14:59

   17    know that the preamble is not limiting, which                         11:15:02

   18    means it's not really describing a requirement                        11:15:05

   19    of the invention, itself, it's just an                                11:15:07

   20    introduction.                                                         11:15:09

   21                  All right.    So this might look                        11:15:11

   22    familiar because this is an exact copy of an                          11:15:14

   23    element from the previous, it is just giving                          11:15:18

   24    us context.     It is saying "wherein                                 11:15:19


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    1    establishing the concurrent respective                                 11:15:23

    2    dedicated connections between the shared USB                           11:15:25

    3    device block and the two or more hosts."                               11:15:28

    4                   So where claim 23 establishes two                       11:15:32

    5    separate dedicated connections from the host                           11:15:36

    6    to the device, keep that context in mind, what                         11:15:38

    7    happens next?     In this particular context, we                       11:15:43

    8    have the controller, again, that special                               11:15:47

    9    controller, is operable to maintain respective                         11:15:49

   10    dedicated address, configuration and response                          11:15:52

   11    information for each of the two hosts.            All                  11:15:56

   12    right.     What is that?    All right.                                 11:15:59

   13                   So the dedicated address                                11:16:02

   14    configuration and response information.             So as              11:16:05

   15    I mentioned, whenever you add a USB device to                          11:16:08

   16    the -- I'm sorry, to the USB bus.          Sorry.                      11:16:14

   17    Each one -- each host has to have its own                              11:16:22

   18    address.     Each host will actually have a                            11:16:25

   19    separate configuration and each host will have                         11:16:28

   20    the ability to have a separate response to                             11:16:32

   21    information.                                                           11:16:35

   22                   Where do we store that?        Well, we                 11:16:36

   23    talked about storing that at the endpoint.                             11:16:39

   24    That's not required here, but we'll see that.                          11:16:41


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    1    All this claim requires is that each host of                          11:16:43

    2    the multi-host device controller has the                              11:16:49

    3    ability to maintain a separate address and                            11:16:51

    4    configuration and response information for                            11:16:55

    5    each host.     And, in fact, this illustrates                         11:16:59

    6    what that means.                                                      11:17:01

    7                   So let's go to an example of what                      11:17:02

    8    this means.     So this example, I'm choosing a                       11:17:05

    9    printer/scanner as the example device.           So the               11:17:10

   10    first host is going to configure the                                  11:17:14

   11    printer/scanner and the second host is going                          11:17:18

   12    to configure the printer/scanner.         If you                      11:17:20

   13    remember the term that we used was                                    11:17:22

   14    enumeration.     We're going to enumerate that                        11:17:25

   15    device.                                                               11:17:28

   16                   So the first host sends an                             11:17:28

   17    enumeration, starts the enumeration process by                        11:17:30

   18    sending a request down to this multi-host                             11:17:33

   19    device, and it responds with, I am a printer.                         11:17:37

   20    I am a printer, Item 1002, and that gets sent                         11:17:45

   21    back to the host.                                                     11:17:51

   22                   And then the second host comes                         11:17:52

   23    along and says, I want to discover you and                            11:17:54

   24    configure you, but in this case, the second                           11:17:56


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    1    host gets a configuration of printer/scanner,                          11:17:59

    2    all right?     So we have potentially a shared                         11:18:03

    3    function between the two of which is a portion                         11:18:06

    4    of that device, the printer, where, in the                             11:18:08

    5    case of the second host, it might have an                              11:18:12

    6    additional function called the scanner.                                11:18:14

    7                   Why would we have two different                         11:18:16

    8    hosts configure them separately?          Several                      11:18:18

    9    reasons.     The most important thing is that the                      11:18:21

   10    patent claim allows for that.         It allows you                    11:18:24

   11    to enumerate the device and have two separate                          11:18:28

   12    addresses, two separate configurations, and                            11:18:31

   13    one response to information.                                           11:18:37

   14                   One example would be that first                         11:18:38

   15    host doesn't have the proper drivers or                                11:18:40

   16    software to talk to the scanner, so it only                            11:18:42

   17    chooses to talk to the printer.                                        11:18:44

   18                   The second host does, however,                          11:18:46

   19    have that special printer/scanner software so                          11:18:48

   20    that it gets configured as a full                                      11:18:51

   21    printer/scanner.      So that would be an example.                     11:18:53

   22    And that basically is the extent of claim 24.                          11:19:01

   23    All right.                                                             11:19:05

   24                   So now I'll show how the Aptiv                          11:19:05


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    1    product practices that with a new item.           All                 11:19:09

    2    right.   As I mentioned before, that claim                            11:19:15

    3    language there comes directly from claim 23.                          11:19:18

    4    We already know what claim 23 does, but it's                          11:19:20

    5    the process of establishing concurrent                                11:19:24

    6    separate connections between the hosts and the                        11:19:28

    7    shared device block.      And we know that the                        11:19:32

    8    iPhone and the head unit can both talk to the                         11:19:34

    9    device block at the same time.         But we are                     11:19:37

   10    going to add something to that, as we                                 11:19:41

   11    discovered.                                                           11:19:44

   12                  The controller is operable to                           11:19:45

   13    maintain respective dedicated address                                 11:19:47

   14    configuration and response information for                            11:19:49

   15    each of the two hosts.      So I tested this, but                     11:19:52

   16    the documentation supports this, but I've                             11:19:55

   17    tested this as well.                                                  11:19:58

   18                  When the head unit does the                             11:19:59

   19    enumeration of the Boston chip, it returns,                           11:20:02

   20    for example, a product ID.        You see on the                      11:20:06

   21    side there, product ID host-to-host bridge.                           11:20:10

   22    Sounds logical.     That's basically what Aptiv                       11:20:14

   23    chose to call the product ID where they                               11:20:19

   24    configured it from the head unit.                                     11:20:21


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    1                  But when an iPhone connects to                          11:20:24

    2    discover that device, it gets back at                                 11:20:31

    3    potentially a different address with a product                        11:20:35

    4    ID of iAP2 NCM accessory.       What is that?                         11:20:38

    5                  Well, again, that's the product ID                      11:20:44

    6    that Aptiv chose to put in there, but it                              11:20:51

    7    represents what Apple requires that it talk                           11:20:54

    8    to.   In other words, Apple will not talk to a                        11:20:56

    9    device in CarPlay unless it's iAP compatible                          11:20:59

   10    and NCM compatible.                                                   11:21:02

   11                  IAP is the method for                                   11:21:06

   12    authenticating the device.        Apple doesn't want                  11:21:07

   13    to talk to just any device.        It has to be a                     11:21:09

   14    registered authorized device that Apple has                           11:21:12

   15    approved.   And that's the process that you go                        11:21:15

   16    through getting iAP to verify that it is an                           11:21:18

   17    authentic Apple CarPlay device.                                       11:21:22

   18                  NCM is how it -- for example, when                      11:21:24

   19    we did the Spotify data transfer, it is using                         11:21:28

   20    the NCM protocol to do that music transfer.                           11:21:31

   21    And that pretty much is an example of how the                         11:21:36

   22    controller -- remember, there is the special                          11:21:39

   23    multi-host controller.      It maintains two                          11:21:43

   24    separate addresses, two separate                                      11:21:45


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    1    configurations and two separate response                                11:21:48

    2    information for each host.                                              11:21:50

    3          Q.     So, Mr. Zatkovich, do you have an                          11:21:52

    4    opinion as to that last element of claim 24?                            11:21:54

    5          A.     Yes.    The Boston chip includes the                       11:21:56

    6    controller that's operable to maintain                                  11:22:00

    7    respective dedicated address configuration and                          11:22:02

    8    response information for each of the two or                             11:22:05

    9    more USB hosts.                                                         11:22:07

   10          Q.     Okay.                                                      11:22:08

   11                    So because this is a dependent                          11:22:09

   12    claim, I am adding a couple more questions                              11:22:11

   13    here.      It cites back to claim 23.                                   11:22:13

   14                    So again, did you have an opinion                       11:22:17

   15    as to whether the Boston chip practices claim                           11:22:19

   16    23?                                                                     11:22:23

   17          A.     Yeah.    As I mentioned, it practices                      11:22:23

   18    all the claim elements of claim 23, so the                              11:22:25

   19    Boston chip practices claim 23, and now we                              11:22:28

   20    tack on the additional requirements, and I                              11:22:31

   21    checked through those, so in total, the Boston                          11:22:36

   22    chip practices the entirety of claim 24.                                11:22:38

   23          Q.     Thank you.                                                 11:22:40

   24                    Now, before you said you were                           11:22:41


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    1    testing the -- testing the system, what was                           11:22:43

    2    the test like?    Did you test both sides of the                      11:22:47

    3    system?   How did that work?                                          11:22:49

    4         A.   Well, when I rented the Yukon GMC, I                        11:22:51

    5    didn't want to rip out the -- it was an                               11:22:57

    6    expensive car.    I didn't want to rip out the                        11:23:00

    7    dash and rip out the device, potentially                              11:23:02

    8    damaging the device, but it wasn't necessary.                         11:23:05

    9    I was able to plug the analyzer into the port                         11:23:07

   10    and then plug the iPhone into that, and the                           11:23:10

   11    analyzer could see every -- all the signals                           11:23:12

   12    going back and forth from the iPhone to the                           11:23:15

   13    bridge which would then be relayed to the head                        11:23:18

   14    unit.                                                                 11:23:22

   15                  And again, the purpose was not to                       11:23:23

   16    determine exactly how it worked from that; it                         11:23:26

   17    was just to verify that all the documentation                         11:23:29

   18    that I had read on how it worked and how it                           11:23:31

   19    communicated was consistent with how I tested                         11:23:33

   20    the device.                                                           11:23:36

   21         Q.   Now, you also mentioned the iAP2 and                        11:23:37

   22    NCM interfaces?                                                       11:23:41

   23         A.   Yep.                                                        11:23:43

   24         Q.   Let's just pick one since that's a                          11:23:44


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    1    lot to talk through.        The NCM interface is                      11:23:47

    2    only listed on the left side and not on the                           11:23:50

    3    right side.     What is your understanding of how                     11:23:52

    4    the NCM interface works?                                              11:23:56

    5         A.     Well, again, as I mentioned, the NCM                      11:23:57

    6    interface is what's used to do the bulk of                            11:24:00

    7    data transfers in the example that I provided.                        11:24:03

    8    It's how the music data gets transferred from                         11:24:06

    9    one end to another, for example, among other                          11:24:09

   10    types of transfers.                                                   11:24:12

   11         Q.     And which of the UDCs are involved in                     11:24:12

   12    completing the NCM transfer?                                          11:24:15

   13         A.     Both of them.     Both the head unit                      11:24:17

   14    side and the iPhone side, both have to be NCM                         11:24:19

   15    compatible and both have to be iAP compatible                         11:24:23

   16    in order for this CarPlay device to work                              11:24:25

   17    correctly.                                                            11:24:28

   18                   So again, just because they have a                     11:24:29

   19    different product ID doesn't mean they don't                          11:24:32

   20    perform the same function.                                            11:24:35

   21         Q.     Should we turn to claim 25?                               11:24:39

   22         A.     All right.     Last claim.   Only two                     11:24:46

   23    elements.     All right.                                              11:24:50

   24                   So the first claim element, a                          11:24:55


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    1    respective USB interface circuit for each of                          11:24:58

    2    the two or more USB hosts.        All right.                          11:25:01

    3                  So we talked -- well, I don't know                      11:25:04

    4    if I specifically used the term "innovate                             11:25:08

    5    circuit," but it's how the USB device, in this                        11:25:11

    6    case, the multi-host USB device, communicates                         11:25:13

    7    with the bus.                                                         11:25:17

    8                  And if you'll recall, that's the                        11:25:18

    9    upstream port, also called the PHY.          So this                  11:25:20

   10    is an example in the patent of how the --                             11:25:24

   11    where the interface circuit is, which is the                          11:25:29

   12    upstream port to connect these guys to the                            11:25:32

   13    bus.                                                                  11:25:35

   14                  All right.    The next part of that                     11:25:38

   15    is wherein each respective USB interface                              11:25:40

   16    circuit, the ports, enable the USB multi-host                         11:25:44

   17    device to transmit and/or receive data over                           11:25:47

   18    the USB bus, which is basically what I just                           11:25:50

   19    said.                                                                 11:25:55

   20                  So we have the ports.       The ports                   11:25:55

   21    allow you to transmit and receive data between                        11:25:58

   22    the -- transmit and receive data over the USB                         11:26:01

   23    bus.    Pretty simple.                                                11:26:07

   24                  All right.                                              11:26:12


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    1         Q.   Wait, Mr. Zatkovich, before we move                         11:26:12

    2    on, do you have an opinion as to the second                           11:26:14

    3    element of claim 25?      I'm sorry.                                  11:26:16

    4         A.   I will when we get to the Aptiv                             11:26:20

    5    device.                                                               11:26:22

    6         Q.   Does Figure 3 infringe claim 25?                            11:26:22

    7         A.   Right now I'm just still going                              11:26:26

    8    through the claim.                                                    11:26:28

    9                  So the next part of that is                             11:26:29

   10    respective endpoint buffer; in other words,                           11:26:30

   11    the separate endpoint buffer for each of the                          11:26:33

   12    two or more hosts.     And we talked about that                       11:26:36

   13    briefly before.                                                       11:26:39

   14                  The endpoint buffer is the memory                       11:26:40

   15    that holds the information going back and                             11:26:43

   16    forth, such as the device time, the address,                          11:26:45

   17    temporarily holds the music data while the                            11:26:48

   18    music data is being transmitted.                                      11:26:50

   19                  So the key point is that each host                      11:26:52

   20    has a separate -- has a respective endpoint                           11:26:55

   21    buffer to hold information.        And the next                       11:26:58

   22    part, of course, is we have that endpoint                             11:27:03

   23    buffer, which is the memory, and its purpose                          11:27:06

   24    is to store the respective -- the separate                            11:27:07


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    1    dedicated address, the separate configuration                         11:27:10

    2    and the separate response information leading                         11:27:13

    3    to the two hosts.                                                     11:27:15

    4                  And again, as part of the testing,                      11:27:17

    5    we know that this endpoint buffer contains                            11:27:19

    6    this respective -- this separate information                          11:27:23

    7    for this host and this endpoint buffer would                          11:27:26

    8    maintain separate information for this host.                          11:27:29

    9    That would be an example.       All right.                            11:27:33

   10                  Let's see about -- I think you can                      11:27:35

   11    pretty much guess how that's going to match to                        11:27:38

   12    the Aptiv device, but we'll walk through that.                        11:27:41

   13    All right.                                                            11:27:45

   14                  So we have respective USB                               11:27:46

   15    interface circuit, and I pointed that out                             11:27:50

   16    before.   It's these PHYs.      That's the upstream                   11:27:54

   17    port which connects to each of the hosts.           And               11:28:00

   18    the purpose of that interface circuit is                              11:28:02

   19    for -- enable the USB multi-host device, this                         11:28:07

   20    entire device, to transmit and receive data                           11:28:11

   21    over the USB bus.     Of course, that's the                           11:28:17

   22    purpose of the upstream port.                                         11:28:20

   23                  All right.    Therefore, it's my                        11:28:22

   24    opinion that the Boston chip includes a                               11:28:27


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    1    respective USB interface circuit for each of                           11:28:31

    2    the two or more USB hosts wherein each of the                          11:28:34

    3    respective USB interface circuits enables the                          11:28:38

    4    multi-host device to transmit and receive data                         11:28:42

    5    over a USB bus.      All right.                                        11:28:44

    6                   One last point now.       We have                       11:28:48

    7    the --                                                                 11:28:52

    8         Q.     All right.    Before we move on --                         11:28:52

    9         A.     Sure.                                                      11:28:53

   10         Q.     -- do you have an opinion as to the                        11:28:54

   11    second element of -- or the first element of                           11:28:55

   12    claim 25?                                                              11:28:58

   13         A.     I do.   I stated that language                             11:28:59

   14    already.                                                               11:29:01

   15         Q.     Let me back up before that, though.                        11:29:01

   16                   What is that top -- the preamble,                       11:29:03

   17    your opinion of the preamble?                                          11:29:06

   18         A.     Again, this is another preamble, I                         11:29:07

   19    forgot to mention it, but the same as with the                         11:29:10

   20    others.     This preamble is not limiting;                             11:29:12

   21    meaning, it is just an introduction to provide                         11:29:15

   22    context for the claim.                                                 11:29:16

   23                   All right.    So the last claim                         11:29:18

   24    element, a respective endpoint buffer.             Again,              11:29:21


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    1    we have the memory buffer for each of the two                         11:29:24

    2    hosts that will each store a separate address,                        11:29:27

    3    a separate configuration, and separate                                11:29:31

    4    response information.                                                 11:29:33

    5                  And we know that EP0 is the                             11:29:34

    6    endpoints memory for both sides of the                                11:29:40

    7    controller that store separate address                                11:29:44

    8    information, separate configuration                                   11:29:49

    9    information and separate response information                         11:29:51

   10    for sending data to the two hosts.          Pretty                    11:29:52

   11    straightforward.                                                      11:30:01

   12                  So the bottom line is the Boston                        11:30:02

   13    chip includes a respective endpoint buffer for                        11:30:05

   14    each of the two or more USB hosts for storing                         11:30:10

   15    respective dedicated address, configuration                           11:30:13

   16    and response information for each of the two                          11:30:16

   17    or more USB hosts.                                                    11:30:18

   18         Q.   Okay.    So --                                              11:30:20

   19         A.   And as a reminder, this is all --                           11:30:21

   20    claim 23 is done on Exhibit 7.                                        11:30:24

   21         Q.   All right.                                                  11:30:26

   22                  So I think -- so again, Mr.                             11:30:27

   23    Zatkovich, what was your opinion as to whether                        11:30:29

   24    the Aptiv product practiced claim 23?                                 11:30:31


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    1         A.     As we mentioned, the Aptiv product                        11:30:35

    2    practices claim 23.                                                   11:30:38

    3         Q.     And do you have an opinion as to                          11:30:39

    4    whether the Aptiv Boston 2 chip practices                             11:30:41

    5    claim 25 in its entirety?                                             11:30:44

    6         A.     And because it practices the elements                     11:30:46

    7    of claim 25, it also practices that claim as a                        11:30:48

    8    whole.                                                                11:30:52

    9         Q.     All right.                                                11:31:00

   10                   We've gone through a lot of claim                      11:31:02

   11    language.     Can we get out of the claims for a                      11:31:05

   12    few minutes?                                                          11:31:07

   13         A.     Let me get a drink of water.       We're                  11:31:07

   14    almost done.                                                          11:31:10

   15         Q.     Okay.                                                     11:31:13

   16                   Mr. Zatkovich, we heard before, we                     11:31:13

   17    heard Mr. Bohm talking about some benefits.                           11:31:16

   18    Do you want to talk through some of the                               11:31:19

   19    benefits of the '243 having a multi-host                              11:31:21

   20    device in the context of this case?                                   11:31:23

   21         A.     Yes.    So we talked about, briefly, at                   11:31:25

   22    least one or two of those already.          But again,                11:31:28

   23    this is for car manufacturers.         Certain car                    11:31:36

   24    manufacturers are looking for certain                                 11:31:38


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    1    features.    I call these The Big 3.         The Big 3                 11:31:41

    2    features are single lane to the head unit,                             11:31:47

    3    CarPlay enabled on all downstream ports and                            11:31:50

    4    persistent USB connections when CarPlay is                             11:31:53

    5    activated.                                                             11:31:56

    6                  I'll walk through those.                                 11:31:57

    7                  So single lane to the head unit,                         11:31:59

    8    you might have heard the term "single                                  11:32:02

    9    upstream, single cable."        That, again, allows                    11:32:05

   10    the head unit to be connected to the bridge by                         11:32:09

   11    a single cable.      It's cheaper, less wiring,                        11:32:12

   12    less prone to failure.       Very desirable.                           11:32:16

   13    Therefore, the fact that the bridge unit                               11:32:20

   14    connects to the head unit with a single                                11:32:25

   15    upstream port, a single cable, provides that                           11:32:26

   16    feature.                                                               11:32:30

   17                  Next one:     CarPlay enabled on all                     11:32:32

   18    downstream ports.      If you remember, we have                        11:32:35

   19    this little gadget here that regardless of                             11:32:38

   20    which port you plug into the iPhone, it -- the                         11:32:42

   21    microcontroller will detect that and allow you                         11:32:47

   22    to route that hub to the bridge so that it                             11:32:50

   23    becomes CarPlay port.       So that allows you to                      11:32:54

   24    plug your USB cable from your iPhone into any                          11:32:57


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    1    of the ports and any of them will be able to                           11:33:00

    2    switch into CarPlay mode.                                              11:33:03

    3                  Again, very desirable feature; you                       11:33:05

    4    don't have to figure out which port to plug                            11:33:07

    5    in.    Manufacturers love it.                                          11:33:10

    6                  Last but not least, persistent USB                       11:33:11

    7    connections when CarPlay is activated.              What               11:33:16

    8    does that mean?      Well, in many circumstances,                      11:33:19

    9    when the iPhone takes over as a host, some of                          11:33:24

   10    these port functions are disabled.           What                      11:33:28

   11    manufacturers require, if you have a USB                               11:33:31

   12    device already plugged into one of the ports,                          11:33:35

   13    such as a memory stick, and you decide to plug                         11:33:38

   14    your iPhone into another USB port and it                               11:33:40

   15    switches the host mode, what the manufacturers                         11:33:43

   16    want is that USB memory stick is still                                 11:33:45

   17    connected to the head unit and still active,                           11:33:48

   18    so that's what persistence means.                                      11:33:51

   19                  And we know that Aptiv provides                          11:33:54

   20    all of those features.       In fact, it was a                         11:33:57

   21    requirement of their clients to provide all                            11:33:59

   22    those features.                                                        11:34:02

   23          Q.   Now, Mr. Zatkovich, do you have an                          11:34:02

   24    opinion as to whether or how those features                            11:34:04


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    1    relate to the '243 Patent?                                             11:34:06

    2         A.     I do.    My opinion is that if you                         11:34:08

    3    provide each and every one of those features,                          11:34:12

    4    then you necessarily have to practice the                              11:34:15

    5    claims of the patent.                                                  11:34:17

    6         Q.     Did you take a look at the Microchip                       11:34:20

    7    Sandia product?                                                        11:34:22

    8         A.     I did.    I did a similar analysis on                      11:34:23

    9    that for the Microchip product.          So --                         11:34:26

   10         Q.     And before we get into this one --                         11:34:31

   11         A.     Sure.                                                      11:34:33

   12         Q.     -- what figure is this in this                             11:34:33

   13    drawing from?                                                          11:34:35

   14         A.     This is Exhibit 292 at page 3.         I                   11:34:35

   15    believe Mr. Bohm, the inventor, used this                              11:34:39

   16    diagram as well.       And it's probably a good                        11:34:41

   17    idea to just point out some features here.                             11:34:45

   18                   So this is the Sandia bridge,                           11:34:47

   19    okay?     The Sandia bridge, we have it plugged                        11:34:50

   20    in here and we would have the iPhone or USB                            11:34:56

   21    devices connected here.        So it has a bridge as                   11:34:58

   22    well.     It's basically the same function                             11:35:03

   23    designed a little bit differently.           It has the                11:35:05

   24    multi-host controller here identified in these                         11:35:08


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    1    boxes.                                                                11:35:11

    2                  I am not going to go through the                        11:35:11

    3    detail, but it has the ports down here which                          11:35:13

    4    can be configured as downstream or upstream                           11:35:18

    5    ports.                                                                11:35:21

    6         Q.   And then the other box in the corner                        11:35:21

    7    down there, the microcontroller, is that a box                        11:35:23

    8    also?                                                                 11:35:27

    9         A.   That's the microprocessor, just like                        11:35:27

   10    the Apple device has the microprocessor to                            11:35:30

   11    allow the logic of the two ports together.                            11:35:34

   12                  So the Sandia Microchip device                          11:35:38

   13    also provides a single-lane capability where                          11:35:41

   14    its bridge device gets connected to the host                          11:35:43

   15    units with a single cable feature.                                    11:35:46

   16                  When you plug the iPhone into any                       11:35:51

   17    of the ports, in this case this device has                            11:35:54

   18    four ports, you plug the iPhone into any of                           11:35:56

   19    those four ports, it will be routed to the                            11:35:58

   20    bridge and become an upstream host port.                              11:36:01

   21                  And last but not least, if I have                       11:36:06

   22    a memory stick or some other USB device                               11:36:08

   23    already plugged into one of the ports and I                           11:36:10

   24    plug in my iPhone and switch to a host mode,                          11:36:13


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    1    that memory stick device will remain connected                        11:36:16

    2    and functional to the head unit.         So                           11:36:19

    3    therefore, by association, the Sandia bridge                          11:36:25

    4    device practices its own invention.                                   11:36:29

    5         Q.   Now, Mr. Zatkovich, did you also do a                       11:36:32

    6    detailed analysis, you know, on the more                              11:36:34

    7    detailed documents as well to show that the                           11:36:37

    8    Sandia product practices the '243 Patent?                             11:36:39

    9         A.   Yes.    I have about 30, 40 pages                           11:36:43

   10    discussing each component and many other                              11:36:45

   11    diagrams of how they practice -- how Sandia                           11:36:49

   12    practices its own invention.                                          11:36:52

   13         Q.   So do you have summary slides?                              11:36:55

   14         A.   Yeah.    I wanted to wrap up with just                      11:37:00

   15    two basic concepts; the multi-host controller                         11:37:03

   16    and the shared USB device.        I'm pretty sure                     11:37:08

   17    you remember what I'm talking about, but                              11:37:13

   18    again, we have the controller here, the                               11:37:16

   19    multi-host device controller, which again, is                         11:37:19

   20    this special controller which must connect to                         11:37:22

   21    both hosts at the same time.                                          11:37:24

   22                  So if we have, on the right side,                       11:37:27

   23    the two green boxes, as you recall, each green                        11:37:29

   24    box is plugged together as a single multi-host                        11:37:33


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    1    controller in a coordinated fashion so they                            11:37:36

    2    can simultaneously talk to the iPhone and the                          11:37:40

    3    host.     That's the multi-host device controller                      11:37:42

    4    or the controller.                                                     11:37:45

    5                   And last but not least is the USB                       11:37:50

    6    device block.     The USB device is the FIFO                           11:37:53

    7    buffers in between the controller that provide                         11:37:57

    8    the ability to transfer data; specifically                             11:37:59

    9    transferring data between the two hosts which                          11:38:04

   10    includes the microprocessor logic that                                 11:38:07

   11    coordinates the data transfers through those                           11:38:10

   12    FIFO buffers.     And that's it.                                       11:38:12

   13                   MR. FENTON:       I pass the witness.                   11:38:17

   14                                 -     -   -                               11:38:30

   15                          CROSS-EXAMINATION                                11:38:30

   16                                 -     -   -                               11:38:31

   17    BY MS. DURIE:                                                          11:38:31

   18         Q.     Mr. Zatkovich, good morning.                               11:38:31

   19         A.     Good morning.                                              11:38:33

   20         Q.     We have not met before, but I am                           11:38:35

   21    Daralyn Durie, obviously one of the lawyers                            11:38:38

   22    representing Aptiv.                                                    11:38:41

   23                   I'd like to start where you                             11:38:42

   24    started with TX-94 in evidence, if we could                            11:38:45


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    1    please put that up.       This is the resume that                      11:38:51

    2    you submitted in connection with this case;                            11:38:53

    3    right?                                                                 11:38:56

    4         A.    Correct.                                                    11:38:56

    5         Q.    And it says, "eComp Consultants," at                        11:38:57

    6    the top.    That's your consulting company;                            11:39:01

    7    right?                                                                 11:39:04

    8         A.    It is.                                                      11:39:04

    9         Q.    And you do information, technology                          11:39:04

   10    and patent litigation consulting?                                      11:39:06

   11         A.    That's correct.                                             11:39:08

   12         Q.    Now, you talked a little bit about                          11:39:08

   13    your professional background.         The last time                    11:39:10

   14    you had a full-time technical job at a company                         11:39:13

   15    was before 2000; right?                                                11:39:18

   16         A.    Meaning a company other than my own?                        11:39:20

   17         Q.    Right.                                                      11:39:22

   18         A.    No, actually the last time I had                            11:39:23

   19    full-time employment at a company was 2008.                            11:39:24

   20         Q.    Okay.                                                       11:39:31

   21                  And which company was that?                              11:39:32

   22         A.    That was Smith & Nephew.                                    11:39:34

   23         Q.    Okay.    Fair enough.                                       11:39:37

   24                  And you founded your consulting                          11:39:38


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    1    company in 2000?                                                       11:39:41

    2         A.    Correct.    I was doing part-time                           11:39:42

    3    consulting while I was working for other                               11:39:44

    4    companies.                                                             11:39:46

    5         Q.    Okay.                                                       11:39:46

    6                  Now, starting on page 6 of your                          11:39:47

    7    resume, you list the cases in which you have                           11:39:49

    8    testified as an expert; right?                                         11:39:52

    9         A.    Sample cases.                                               11:39:53

   10         Q.    Oh, this is just a sample?                                  11:39:55

   11         A.    I have probably been retained for                           11:39:57

   12    over 60 cases.                                                         11:39:59

   13         Q.    Okay.                                                       11:40:00

   14                  MS. DURIE:     Well, let's just                          11:40:00

   15    scroll through, if we can, Mr. Glass.                                  11:40:01

   16    BY MS. DURIE:                                                          11:40:06

   17         Q.    So this goes on for quite awhile;                           11:40:07

   18    right?                                                                 11:40:10

   19         A.    Um-hmm.                                                     11:40:11

   20         Q.    13, 14, 15, 16, 17, 18.        So that's                    11:40:12

   21    just a sample?                                                         11:40:18

   22         A.    That's at least all the cases in the                        11:40:19

   23    last five years, but I think it's the majority                         11:40:22

   24    of them.                                                               11:40:25


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    1          Q.   Okay.                                                       11:40:26

    2                  So let's talk some of the subject                        11:40:26

    3    matter of the cases that you have testified                            11:40:29

    4    in.                                                                    11:40:31

    5                  MS. DURIE:     And if we can have the                    11:40:32

    6    slide.                                                                 11:40:33

    7    BY MS. DURIE:                                                          11:40:34

    8          Q.   You have testified about kiosks for                         11:40:34

    9    hotel business centers; right?                                         11:40:36

   10          A.   Correct.                                                    11:40:38

   11          Q.   You've testified about media                                11:40:39

   12    streaming?                                                             11:40:41

   13          A.   Correct.                                                    11:40:41

   14          Q.   Playlists?                                                  11:40:42

   15          A.   Correct.                                                    11:40:43

   16          Q.   Geolocation technology?                                     11:40:44

   17          A.   Yes.                                                        11:40:46

   18          Q.   Speech recognition software?                                11:40:46

   19          A.   Speech recognition specifically                             11:40:48

   20    linked to telecommunications, yes.                                     11:40:51

   21          Q.   Okay.                                                       11:40:53

   22                  Call processing centers?                                 11:40:53

   23          A.   Again, specifically related to                              11:40:54

   24    communications.                                                        11:40:57


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    1         Q.    Okay.                                                       11:40:57

    2                  Supply chain management software?                        11:40:58

    3         A.    Mainly regarding network transactions                       11:41:01

    4    for supply chain.                                                      11:41:03

    5         Q.    Manufacturing automation?                                   11:41:06

    6         A.    Yes, device controlling electronic                          11:41:08

    7    devices.                                                               11:41:11

    8         Q.    Sales projection system software?                           11:41:12

    9         A.    Oh, yes.    That was a number of                            11:41:15

   10    transactions for doing financial transactions.                         11:41:19

   11         Q.    Online payment security?                                    11:41:22

   12         A.    Yes, again, network communications                          11:41:24

   13    for financial transactions.                                            11:41:27

   14         Q.    Damages for copyright infringement?                         11:41:28

   15         A.    No, I have not done any damages for                         11:41:31

   16    copyright.                                                             11:41:33

   17         Q.    Let's take a look back at your CV,                          11:41:35

   18    TX-94, page 8.                                                         11:41:41

   19                  Let's take a look at the entry for                       11:41:43

   20    Cohen vs. United States.        It's at the bottom                     11:41:48

   21    and I guess it runs over to page 9.                                    11:41:50

   22                  You testified in a case, Cohen vs.                       11:41:53

   23    United States, copyright infringement                                  11:41:56

   24    testifying expert for Cohen, provide expert                            11:41:59


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    1    report, damages and deposition; is that right?                         11:42:03

    2         A.     I'm sorry, could you do a blowup of                        11:42:06

    3    that?                                                                  11:42:08

    4                   MS. DURIE:     Sure.    Let's blow it                   11:42:09

    5    up there if we can.       Bottom of 8, top of 9.                       11:42:10

    6    It's at the very top of 9.         Copyright                           11:42:20

    7    infringement, there we go.                                             11:42:23

    8                   THE WITNESS:     Yes.                                   11:42:26

    9                   MS. DURIE:     No, no, if you can                       11:42:27

   10    blow up the whole entry, Mr. Glass, so we can                          11:42:30

   11    see it.     And it would be the next page,                             11:42:32

   12    page 9.     There you go, at the top.                                  11:42:46

   13                   THE WITNESS:     Yes, I remember this                   11:42:51

   14    case.     I was doing the publishing transactions                      11:42:52

   15    and identifying what material in that                                  11:42:56

   16    published material transactions were                                   11:43:00

   17    infringed.                                                             11:43:06

   18                   I also provided support for                             11:43:06

   19    damages, again, identifying the value of                               11:43:10

   20    publishing transactions.        But I did not                          11:43:13

   21    provide, for example, specific damage numbers                          11:43:16

   22    or estimates.                                                          11:43:19

   23                   MS. DURIE:     Okay.    Fair enough.                    11:43:20

   24                   We can go back to the slides, Mr.                       11:43:21


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    1    Glass.                                                                11:43:24

    2    BY MS. DURIE:                                                         11:43:24

    3         Q.   You testified about media publishing                        11:43:25

    4    practices?                                                            11:43:27

    5         A.   Again, in regards to network                                11:43:27

    6    communications for distributing media, yes.                           11:43:30

    7         Q.   Content licensing?                                          11:43:33

    8         A.   Again, related to distributing                              11:43:34

    9    content over the Internet.                                            11:43:37

   10         Q.   Web content customization?                                  11:43:39

   11         A.   Same thing, distributing web content                        11:43:41

   12    over the network.                                                     11:43:43

   13         Q.   Right.                                                      11:43:44

   14                  Social media user content?                              11:43:45

   15         A.   Yes.     So that was transactions for                       11:43:47

   16    distributing social media content.                                    11:43:52

   17         Q.   Right.                                                      11:43:54

   18                  The "like" feature?                                     11:43:55

   19         A.   That was for Facebook.        I was an                      11:43:57

   20    expert for Facebook.      They wanted to discuss                      11:44:01

   21    how information was transmitted between the                           11:44:05

   22    Facebook application, for example, on a mobile                        11:44:08

   23    device and the Facebook server.         And one of                    11:44:11

   24    the examples that we looked at was what                               11:44:14


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    1    happened when you pressed the "like" feature,                          11:44:16

    2    what transactions occurred.                                            11:44:19

    3         Q.    You testified about video                                   11:44:20

    4    conferencing technology?                                               11:44:23

    5         A.    Yes, media communications.                                  11:44:24

    6         Q.    You testified about systems for                             11:44:25

    7    pricing construction projects?                                         11:44:27

    8         A.    I think that's correct.                                     11:44:31

    9         Q.    Let's take a look back at TX-94,                            11:44:33

   10    page 16.                                                               11:44:38

   11                   MS. DURIE:    And if we can go, Mr.                     11:44:38

   12    Glass, to the entry for Uniloc vs. Autodesk.                           11:44:40

   13    Right in the middle, two-thirds of the way                             11:44:47

   14    down, further down.       Uniloc vs. Autodesk.                         11:44:50

   15    There we go.                                                           11:44:56

   16    BY MS. DURIE:                                                          11:44:57

   17         Q.    Non-infringement of two patents about                       11:44:57

   18    systems that facilitate the pricing of                                 11:45:00

   19    construction projects?                                                 11:45:03

   20         A.    Right.    So Autodesk is a CAD system.                      11:45:04

   21    In this particular case, the CAD system, once                          11:45:08

   22    you design a construction project, it breaks                           11:45:11

   23    that down into separate transactions to allow                          11:45:15

   24    a server, for example, to price that project.                          11:45:19


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    1                   I wasn't involved in the aspect of                      11:45:23

    2    pricing or how those transactions do pricing,                          11:45:26

    3    only in the aspect of how the transactions                             11:45:29

    4    from Autodesk are implemented and transmitted.                         11:45:32

    5         Q.    Now, in the resume that you submitted                       11:45:38

    6    for this case, you included various references                         11:45:40

    7    to USB; right?                                                         11:45:42

    8         A.    Correct.                                                    11:45:44

    9         Q.    You also have a bio of yourself on                          11:45:45

   10    your website; right?                                                   11:45:50

   11         A.    Yes.                                                        11:45:52

   12                   MS. DURIE:     Okay.   I'd like to                      11:45:54

   13    mark this for identification as 373.                                   11:45:56

   14                   (Whereupon, Trial Exhibit 373 was                       11:46:03

   15    introduced.)                                                           11:46:08

   16    BY MS. DURIE:                                                          11:46:17

   17         Q.    Exhibit 373 is your website bio;                            11:46:18

   18    correct?                                                               11:46:21

   19         A.    Yes.                                                        11:46:22

   20                   MS. DURIE:     We offer it.                             11:46:23

   21                   MR. FENTON:     No objection.                           11:46:25

   22                   THE WITNESS:     I'm sorry?                             11:46:26

   23                   THE COURT:     I'm sorry, Mr. Fenton?                   11:46:28

   24                   MR. FENTON:     No objection.                           11:46:30


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    1                   THE COURT:    Okay.    It's admitted.                   11:46:32

    2    BY MS. DURIE:                                                          11:46:34

    3         Q.     So this is how you market yourself on                      11:46:35

    4    your website; right?                                                   11:46:36

    5         A.     Yes, I think this is correct.                              11:46:40

    6         Q.     Okay.   Ivan Zatkovich, expert                             11:46:42

    7    witness.                                                               11:46:46

    8                   And you list your focus areas on                        11:46:46

    9    your website; right?                                                   11:46:50

   10         A.     Yes.                                                       11:46:51

   11         Q.     Bank/sweep accounts, billing and                           11:46:51

   12    payment processing, call and contact center                            11:46:54

   13    automation, content personalization, credit                            11:46:57

   14    card prepaid card processing, eCommerce                                11:46:59

   15    Internet marketing, electronic transactions,                           11:47:02

   16    ERP supply chain, high volume content                                  11:47:05

   17    websites, insurance claims process, Internet                           11:47:10

   18    publishing, IVR speech recognition, search                             11:47:12

   19    engine optimization and software copyright.                            11:47:15

   20                   You do not list USB specifically                        11:47:18

   21    on your website; right?                                                11:47:20

   22         A.     Well, those are specific examples of                       11:47:23

   23    projects.     Again, each of these relate to                           11:47:28

   24    financial network transactions, eCommerce                              11:47:31


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    1    network transactions, or in the case of                               11:47:33

    2    electronic devices, electronic transactions.                          11:47:37

    3         Q.   Okay.                                                       11:47:41

    4                   Well, you've never written an                          11:47:42

    5    article about USB; right?                                             11:47:44

    6         A.   I've written internal documentation                         11:47:48

    7    for my companies, but no, nothing published.                          11:47:51

    8         Q.   You are not the inventor on any                             11:47:54

    9    patents that relate to USBs?                                          11:47:56

   10         A.   That's correct.                                             11:47:57

   11         Q.   In fact, you are not an inventor on                         11:47:58

   12    any patents at all?                                                   11:48:00

   13         A.   I have not invented any patents                             11:48:02

   14    myself, no.                                                           11:48:04

   15         Q.   Now, the patents in this case                               11:48:04

   16    reference the USB specification; right?                               11:48:06

   17         A.   Correct.                                                    11:48:08

   18         Q.   That is the USB 2.0 specification?                          11:48:09

   19         A.   That's correct.                                             11:48:13

   20                   MS. DURIE:     I am going to hand you                  11:48:27

   21    what has been marked as Exhibit 186.                                  11:48:30

   22                   (Whereupon, Trial Exhibit 186 was                      11:48:34

   23    introduced.)                                                          11:48:40

   24                   THE WITNESS:     Looks about right.                    11:48:42


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    1    BY MS. DURIE:                                                          11:48:44

    2         Q.    Now, Exhibit 186 is a copy of the USB                       11:48:44

    3    2.0 specification; right?                                              11:48:48

    4         A.    Yes.                                                        11:48:53

    5                   MS. DURIE:    We offer it.                              11:48:54

    6                   MR. FENTON:     No objection.                           11:48:55

    7                   THE COURT:    It is admitted.                           11:48:57

    8                   MS. DURIE:    Mr. Glass, if we can                      11:48:58

    9    put that up, start with the first page,                                11:49:00

   10    perfect.    And then let's go to page 3.                               11:49:03

   11                   And if we can blow up the top half                      11:49:06

   12    of the page.                                                           11:49:09

   13    BY MS. DURIE:                                                          11:49:12

   14         Q.    There is an acknowledgment of the                           11:49:12

   15    individuals who contributed to the USB 2.0                             11:49:13

   16    technical specification; right?                                        11:49:16

   17         A.    Yes, that's what it appears to be.                          11:49:19

   18         Q.    And there is a hub working group and                        11:49:21

   19    there is an individual who was the chair                               11:49:24

   20    editor of the hub working group.                                       11:49:27

   21                   Do you see that?                                        11:49:29

   22         A.    Yes, that would be similar to the ISO                       11:49:30

   23    committee that I sat on.                                               11:49:33

   24         Q.    All right.     Well, let's start with                       11:49:34


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    1    USB for now.                                                            11:49:36

    2                    So Mr. Garney is identified here                        11:49:37

    3    as the chair/editor of the hub working group                            11:49:40

    4    that contributed to the USB 2.0 specification;                          11:49:44

    5    right?                                                                  11:49:48

    6           A.    Yes, correct.                                              11:49:48

    7           Q.    Okay.                                                      11:49:49

    8                    And you know who Mr. Garney is,                         11:49:49

    9    right?      He's our expert in this case.                               11:49:51

   10           A.    That's my understanding, yes.                              11:49:53

   11           Q.    Now, you are not listed here; right?                       11:49:55

   12           A.    I am not.                                                  11:49:57

   13           Q.    In fact, you are not listed in any of                      11:49:58

   14    the groups of people who contributed to the                             11:50:01

   15    2.0 specification; right?                                               11:50:03

   16           A.    No, not to my knowledge.                                   11:50:04

   17           Q.    You never attended any standard                            11:50:05

   18    setting meetings for USB; right?                                        11:50:07

   19           A.    Conferences or standards committees?                       11:50:11

   20           Q.    Standard-setting meetings for the                          11:50:15

   21    USB.                                                                    11:50:17

   22           A.    No, only for the ISO.                                      11:50:18

   23           Q.    Now, before you agree to take on a                         11:50:20

   24    case, do you do anything to make sure that you                          11:50:22


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    1    agree with the side that you are going to be                            11:50:24

    2    testifying for?                                                         11:50:27

    3           A.   Not necessarily.      Most times when I                     11:50:32

    4    interview for a case, I will provide my                                 11:50:36

    5    qualifications and I will -- if there is a                              11:50:40

    6    patent involved, I will take a look at the                              11:50:44

    7    patent and indicate whether I feel comfortable                          11:50:46

    8    expressing opinions on that technology.                                 11:50:48

    9           Q.   Okay.                                                       11:50:50

   10                   So you served as an expert in,                           11:50:51

   11    what, roughly 60 to 70 cases over the last                              11:50:55

   12    decade or so?                                                           11:50:58

   13           A.   Yes, over the last 11 years or so.                          11:51:01

   14    Yes.                                                                    11:51:05

   15           Q.   And the Court has disagreed with your                       11:51:05

   16    opinions in about half of those cases; right?                           11:51:07

   17           A.   I have never done any scorekeeping on                       11:51:12

   18    that, but I wouldn't be surprised.            I don't                   11:51:16

   19    know if you have done the research or not.                              11:51:20

   20           Q.   Half sound about right?                                     11:51:23

   21           A.   I don't know.     I have never done any                     11:51:24

   22    bookkeeping, but I wouldn't disagree if you've                          11:51:27

   23    already done the research.                                              11:51:29

   24                   MS. DURIE:     I'd like, Your Honor,                     11:51:31


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    1    to read from the witness's deposition,                                 11:51:32

    2    page 34, lines 11 through 16.                                          11:51:35

    3                  Would the Court like a copy?                             11:51:38

    4                  THE COURT:     Are you going to put                      11:51:39

    5    it up or are you just going to read?                                   11:51:40

    6                  MS. DURIE:     I am just going to                        11:51:42

    7    read it.                                                               11:51:43

    8                  THE COURT:     You can read it.                          11:51:43

    9                  MS. DURIE:     Thank you.                                11:51:44

   10    BY MS. DURIE:                                                          11:51:45

   11         Q.    At your deposition, sir, you were                           11:51:45

   12    asked the following questions and gave the                             11:51:47

   13    following answer:                                                      11:51:48

   14                  "QUESTION:     Has any Court ever                        11:51:49

   15    disagreed with your opinions?                                          11:51:51

   16                  "ANSWER:     Certainly.                                  11:51:52

   17                  "QUESTION:     Do you remember which                     11:51:54

   18    ones?                                                                  11:51:55

   19                  "ANSWER:     Any Court that didn't                       11:51:56

   20    rule for the party that I was representing.             I              11:51:57

   21    would say approximately half."                                         11:52:00

   22                  So your record, sir, is                                  11:52:03

   23    basically half?                                                        11:52:10

   24         A.    Again, I haven't done the research.                         11:52:10


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    1    I was asked how many and I gave a brief                               11:52:12

    2    estimate.     It could be much higher than that,                      11:52:15

    3    it could be lower than that.        I don't know.                     11:52:18

    4         Q.     Now, you are charging Microchip $525                      11:52:19

    5    an hour for your time; right?                                         11:52:22

    6         A.     I believe that's my rate, right.                          11:52:24

    7         Q.     You said a Cadillac Escalade wasn't                       11:52:26

    8    in the budget?                                                        11:52:30

    9         A.     Correct.                                                  11:52:30

   10         Q.     How much have you billed total for                        11:52:31

   11    your time today in this case?                                         11:52:34

   12         A.     Including the time on the trial?                          11:52:35

   13         Q.     Sure.                                                     11:52:37

   14         A.     I don't know.   I haven't done the                        11:52:38

   15    math on that.                                                         11:52:39

   16         Q.     Ballpark.                                                 11:52:40

   17         A.     I would say more than 100 hours and                       11:52:42

   18    less than 200 hours.                                                  11:52:45

   19         Q.     Okay.                                                     11:52:46

   20                   More than 100 hours, so that would                     11:52:47

   21    be, let's see, at least $50,000?                                      11:52:53

   22         A.     That -- that math sounds correct.                         11:52:56

   23         Q.     50 to 100?                                                11:52:58

   24         A.     Yeah.   Over the last three years,                        11:52:59


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    1    that would be about right.                                            11:53:01

    2         Q.     Okay.                                                     11:53:02

    3                   Now, in order to offer an opinion                      11:53:03

    4    about infringement, you need to understand                            11:53:08

    5    what the claims cover; right?                                         11:53:11

    6         A.     Yes.                                                      11:53:13

    7         Q.     Okay.                                                     11:53:14

    8                   You also, therefore, need to                           11:53:15

    9    understand what the claims don't cover; right?                        11:53:16

   10         A.     I'm not sure I understand the                             11:53:20

   11    question.                                                             11:53:21

   12         Q.     Well, I mean, you need to understand                      11:53:22

   13    what they cover and what they don't cover;                            11:53:23

   14    right?                                                                11:53:26

   15         A.     I guess in general, that would be                         11:53:29

   16    true.                                                                 11:53:31

   17         Q.     All right.                                                11:53:31

   18                   So for the jury to find for                            11:53:32

   19    Microchip in this case, the jury has to find                          11:53:34

   20    that at least one of the claims is both valid                         11:53:37

   21    and infringed; right?                                                 11:53:43

   22         A.     That would be my understanding, yes.                      11:53:44

   23         Q.     Okay.                                                     11:53:46

   24                   And the patent needs to mean the                       11:53:46


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    1    same thing for purposes of validity and                               11:53:49

    2    infringement; right?                                                  11:53:57

    3         A.   That would be my understanding as                           11:53:57

    4    well.                                                                 11:53:59

    5         Q.   A patent owner can't say a patent                           11:53:59

    6    means one thing when you are analyzing                                11:54:02

    7    infringement and a different thing when you're                        11:54:04

    8    analyzing validity; right?                                            11:54:06

    9         A.   I would say that's correct.                                 11:54:11

   10         Q.   So it's important for Microchip to                          11:54:12

   11    take consistent positions with respect to                             11:54:14

   12    validity and infringement; right?                                     11:54:17

   13                   MR. FENTON:    Objection.     Calls for                11:54:20

   14    a legal conclusion.                                                   11:54:21

   15                   THE COURT:    Sustained.                               11:54:22

   16    BY MS. DURIE:                                                         11:54:23

   17         Q.   Well, the validity of patents is                            11:54:23

   18    something you've been asked to look at in                             11:54:26

   19    other cases; right?                                                   11:54:27

   20         A.   I have done validity analysis in                            11:54:28

   21    other cases.                                                          11:54:30

   22         Q.   You have testified in other cases                           11:54:30

   23    that patents are valid; right?                                        11:54:32

   24         A.   Correct.                                                    11:54:34


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    1         Q.   In other cases you have done an                             11:54:34

    2    analysis of the prior art; right?                                     11:54:36

    3         A.   I have.                                                     11:54:38

    4         Q.   And indeed, in other cases, some                            11:54:39

    5    other cases, you have testified that patent                           11:54:41

    6    claims are not valid; right?                                          11:54:44

    7         A.   I have in certain cases.                                    11:54:46

    8         Q.   Okay.                                                       11:54:47

    9                  Now, in this case, Microchip                            11:54:48

   10    didn't ask you to look at the prior art;                              11:54:50

   11    right?                                                                11:54:52

   12         A.   I was not requested to do that, no.                         11:54:53

   13         Q.   They did not ask you to look at                             11:54:56

   14    whether the claims are valid or not; right?                           11:54:58

   15         A.   No, they did not.                                           11:55:00

   16         Q.   Microchip hired someone else to                             11:55:01

   17    address questions of patent validity; right?                          11:55:04

   18         A.   That is correct.                                            11:55:08

   19         Q.   That is Dr. Levy sitting right there;                       11:55:09

   20    right?                                                                11:55:11

   21         A.   Yes.                                                        11:55:11

   22         Q.   Okay.                                                       11:55:12

   23                  He is the invalidity expert;                            11:55:12

   24    right?                                                                11:55:16


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    1         A.    Correct.                                                    11:55:17

    2         Q.    Now, you said, I think, in your                             11:55:17

    3    direct examination that you read the expert                            11:55:20

    4    reports in this case; is that right?                                   11:55:22

    5         A.    Correct.    The expert reports of                           11:55:23

    6    opposing experts.                                                      11:55:27

    7         Q.    Right.                                                      11:55:27

    8                  But you didn't read all of the                           11:55:28

    9    expert reports when you were putting your                              11:55:29

   10    opinions together; right?                                              11:55:31

   11         A.    Well, all the reports that pertain to                       11:55:32

   12    the practicing of the claims by the accused                            11:55:36

   13    product.                                                               11:55:38

   14         Q.    Right.                                                      11:55:38

   15                  So when you were putting together                        11:55:39

   16    your opinions on infringement, you didn't                              11:55:41

   17    review a copy of Dr. Levy's opinions on                                11:55:43

   18    validity; right?                                                       11:55:49

   19         A.    Correct.    I wanted to provide                             11:55:50

   20    objective independent opinions.                                        11:55:52

   21         Q.    Right.                                                      11:55:53

   22                  And you made no effort to have                           11:55:53

   23    your opinions on infringement be consistent                            11:55:57

   24    with Dr. Levy's opinions on validity; right?                           11:55:59


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    1         A.   That's the definition of being                              11:56:03

    2    objective, yes.                                                       11:56:05

    3         Q.   Okay.                                                       11:56:05

    4                  So you don't know whether they are                      11:56:06

    5    consistent or not?                                                    11:56:08

    6         A.   I don't.                                                    11:56:09

    7         Q.   Okay.                                                       11:56:09

    8                  Now, you know that there was a                          11:56:10

    9    proceeding before a patent office about the                           11:56:13

   10    '243 Patent that is called an Inter Partes                            11:56:17

   11    Review proceeding; right?                                             11:56:21

   12         A.   Yes, I was aware there were IPRs.                           11:56:22

   13         Q.   Right.                                                      11:56:25

   14                  And Microchip hired yet another                         11:56:26

   15    expert for that proceeding; right?                                    11:56:27

   16         A.   That's my understanding, yes.                               11:56:30

   17         Q.   Right.                                                      11:56:31

   18                  That was a gentleman by the name                        11:56:32

   19    of Mr. Knapen; {ph} right?                                            11:56:33

   20         A.   I don't know -- I don't know that                           11:56:35

   21    name.                                                                 11:56:36

   22         Q.   Okay.                                                       11:56:37

   23                  I take it then that you never                           11:56:38

   24    spoke with Mr. Knapen?                                                11:56:40


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    1         A.   I have not.                                                 11:56:41

    2         Q.   Or reviewed his opinions?                                   11:56:42

    3         A.   No.                                                         11:56:43

    4         Q.   You know that Microchip did have an                         11:56:45

    5    expert who provided expert testimony to the                           11:56:47

    6    patent office?                                                        11:56:51

    7         A.   I would expect that.       That's -- that                   11:56:52

    8    occurs in most IPRs, yes.                                             11:56:54

    9         Q.   Right.                                                      11:56:57

   10                    But you didn't review it?                             11:56:57

   11         A.   I did not.                                                  11:56:59

   12         Q.   And you, therefore, made no effort to                       11:57:00

   13    have your opinions be consistent with the                             11:57:02

   14    positions that Microchip's expert had provided                        11:57:05

   15    to the patent office?                                                 11:57:07

   16         A.   Correct.     I wanted my opinions to be,                    11:57:08

   17    again, independent and objective.                                     11:57:10

   18         Q.   Right.                                                      11:57:11

   19                    So as far as you knew, you and Dr.                    11:57:12

   20    Levy and Mr. Knapen were all saying different                         11:57:15

   21    things about what the patent claims covered?                          11:57:17

   22         A.   It's conceivable, yes.                                      11:57:19

   23         Q.   Now, I want to be clear, in the                             11:57:20

   24    patent office proceeding that we have been                            11:57:22


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    1    talking about, this Inter Partes Review                               11:57:25

    2    proceeding that you called an IPR, the patent                         11:57:28

    3    office does not look at infringement; right?                          11:57:30

    4         A.   Right.                                                      11:57:33

    5                  MR. FENTON:     Objection.     Outside                  11:57:34

    6    the scope of the direct.                                              11:57:35

    7                  THE COURT:     Sustained.                               11:57:42

    8    BY MS. DURIE:                                                         11:57:42

    9         Q.   Well, let me ask it this way:                               11:57:43

   10                  Are you aware of any proceeding in                      11:57:45

   11    which anyone has made any judgment about                              11:57:47

   12    infringement before this?                                             11:57:49

   13                  MR. FENTON:     Objection, vague.                       11:57:51

   14                  THE COURT:     Overruled.                               11:57:52

   15                  THE WITNESS:     I'm sorry, could you                   11:57:57

   16    ask the question again?                                               11:57:58

   17    BY MS. DURIE:                                                         11:57:59

   18         Q.   Are you aware of any prior proceeding                       11:57:59

   19    in which anyone considered the question of                            11:58:01

   20    whether Aptiv infringes a patent before this                          11:58:03

   21    one, this trial, this case?                                           11:58:06

   22         A.   I don't believe so, no.                                     11:58:08

   23         Q.   Now, Microchip didn't give you a copy                       11:58:11

   24    of the decision from the patent office when                           11:58:15


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    1    you were coming up with your opinions; right?                         11:58:19

    2         A.   No.     I would have had access to it                       11:58:21

    3    anyway, but again, I wanted to provide                                11:58:23

    4    objective opinions.                                                   11:58:25

    5         Q.   Okay.                                                       11:58:26

    6                    Now, you conducted an infringement                    11:58:27

    7    analysis; right?                                                      11:58:33

    8         A.   Correct.                                                    11:58:34

    9         Q.   And your opinions are set forth in                          11:58:36

   10    your expert reports; right?                                           11:58:38

   11         A.   Correct.                                                    11:58:40

   12         Q.   You submitted two expert reports?                           11:58:41

   13         A.   I did.                                                      11:58:43

   14         Q.   Right?     An opening report and then                       11:58:44

   15    you got to see what Dr. Garney had to say --                          11:58:46

   16    what Mr. Garney had to say and you got to                             11:58:49

   17    respond to that; right?                                               11:58:52

   18         A.   That's correct.                                             11:58:53

   19         Q.   And those expert reports were then                          11:58:54

   20    provided to us so that we would know what all                         11:58:56

   21    of your opinions were; right?        That's the                       11:58:59

   22    reason we have expert reports in these                                11:59:01

   23    proceedings.                                                          11:59:03

   24         A.   Correct.                                                    11:59:04


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    1         Q.   So you did your best to make sure                           11:59:05

    2    that your expert reports were comprehensive;                          11:59:08

    3    right?                                                                11:59:10

    4         A.   As best as I could.                                         11:59:10

    5         Q.   Right.                                                      11:59:11

    6                  And detailed?                                           11:59:11

    7         A.   Right.                                                      11:59:12

    8         Q.   You set forth all of your opinions?                         11:59:12

    9         A.   Yes.                                                        11:59:14

   10         Q.   Tried to be scrupulously accurate;                          11:59:15

   11    right?                                                                11:59:18

   12         A.   There's about 400 pages, as I recall.                       11:59:18

   13         Q.   Yes, they are quite thick, indeed.                          11:59:20

   14                  And in your expert reports, you                         11:59:23

   15    said that claim 1 is representative of all of                         11:59:27

   16    the claims in the '243 Patent; right?                                 11:59:31

   17                  MR. FENTON:     Objection, scope.                       11:59:34

   18                  THE COURT:     Overruled.                               11:59:35

   19                  THE WITNESS:     It's representative                    11:59:38

   20    in the fact that it has claim elements, some                          11:59:39

   21    aspects of claim elements that would be                               11:59:43

   22    consistent across multiple claims.          Again, the                11:59:46

   23    patent does not allow duplicate claims.                               11:59:50

   24                  MS. DURIE:     Right.                                   11:59:53


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    1    BY MS. DURIE:                                                          11:59:54

    2         Q.    But in your expert report, you chose                        11:59:54

    3    to structure your expert report by identifying                         11:59:57

    4    one claim as a representative claim; right?                            12:00:00

    5         A.    I actually analyzed each and every                          12:00:04

    6    asserted claim, but yes, I picked one as to                            12:00:06

    7    illustrate the concepts of the patent.                                 12:00:09

    8         Q.    Right.                                                      12:00:11

    9                  And the claim that you picked as a                       12:00:12

   10    representative claim of the '243 Patent was                            12:00:14

   11    claim 1?                                                               12:00:17

   12         A.    Correct.    Again, just to illustrate                       12:00:18

   13    the general capabilities of the patent.                                12:00:20

   14         Q.    Okay.                                                       12:00:23

   15                  Now, you testified a little bit                          12:00:25

   16    earlier about what you consider to be the                              12:00:27

   17    three main features of the Aptiv CarPlay                               12:00:31

   18    solution; right?                                                       12:00:35

   19         A.    Yes.                                                        12:00:36

   20                  MS. DURIE:     And if we can have,                       12:00:37

   21    Mr. Glass, NCD2-69.                                                    12:00:40

   22    BY MS. DURIE:                                                          12:00:52

   23         Q.    This was the slide that you put up;                         12:00:52

   24    right?                                                                 12:00:54


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    1         A.   Correct.                                                    12:00:55

    2         Q.   And it is your opinion that any hub                         12:00:56

    3    supporting those three features would                                 12:01:01

    4    necessarily infringe the '243 Patent; right?                          12:01:03

    5         A.   Correct.    In at least the claim 23,                       12:01:09

    6    24, 25.                                                               12:01:13

    7         Q.   Well, you're saying now at least                            12:01:14

    8    claim 23, but that was not a distinction that                         12:01:16

    9    you drew in your expert report; right?                                12:01:19

   10         A.   Correct.    I was just illustrating for                     12:01:22

   11    this particular proceeding.                                           12:01:23

   12         Q.   Right.                                                      12:01:25

   13         A.   But I would agree, it would apply to                        12:01:25

   14    all of them.                                                          12:01:27

   15         Q.   Right.                                                      12:01:28

   16                   In your expert report, you said                        12:01:29

   17    any hub supporting these three features would                         12:01:30

   18    necessarily infringe the '243 Patent                                  12:01:33

   19    generally; right?                                                     12:01:37

   20         A.   Yes.                                                        12:01:38

   21         Q.   Okay.                                                       12:01:38

   22                   And you identified what you                            12:01:39

   23    thought was required in order to provide those                        12:01:41

   24    three main features; right?                                           12:01:45


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                                                                           Page 172

    1          A.    Yes.                                                       12:01:49

    2          Q.    And in conducting that analysis, you                       12:01:50

    3    did not distinguish between claim 1 and claim                          12:01:55

    4    23; right?                                                             12:02:00

    5          A.    No.     There are common elements                          12:02:02

    6    between the two, but there are also                                    12:02:04

    7    differences.                                                           12:02:06

    8          Q.    Right.                                                     12:02:06

    9                      And each of the things that you                      12:02:06

   10    identified in your report as being necessary                           12:02:09

   11    for these three features is something that is                          12:02:13

   12    present in claim 1; right?                                             12:02:16

   13          A.    Yes, I believe that's correct.                             12:02:18

   14          Q.    Now, let's talk a little bit about                         12:02:22

   15    the Aptiv product.                                                     12:02:26

   16                      MS. DURIE:   And if we could go to                   12:02:28

   17    slide 21.                                                              12:02:29

   18    BY MS. DURIE:                                                          12:02:32

   19          Q.    This image comes from your report;                         12:02:33

   20    right?                                                                 12:02:36

   21          A.    Correct.                                                   12:02:36

   22          Q.    And you labeled this --                                    12:02:38

   23                      MS. DURIE:   If we can go to slide                   12:02:40

   24    22.                                                                    12:02:42


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    1    BY MS. DURIE:                                                         12:02:43

    2         Q.     In your report, you added some                            12:02:43

    3    labeling to this; right?          The first host is on                12:02:45

    4    the left, the second host, the phone, is on                           12:02:48

    5    the right; correct?                                                   12:02:51

    6         A.     Correct.                                                  12:02:52

    7         Q.     And you see that Aptiv's dual role                        12:02:54

    8    hub has two device controllers; right, in the                         12:02:58

    9    bridge?                                                               12:03:04

   10         A.     Correct, two device controllers                           12:03:04

   11    joined together.       Correct.                                       12:03:06

   12         Q.     Right.                                                    12:03:07

   13                   And you have another diagram in                        12:03:08

   14    your report that shows this in a little bit                           12:03:10

   15    more detail?                                                          12:03:12

   16                   MS. DURIE:    If we could go to                        12:03:13

   17    slide 24.     There we go.    Perfect.                                12:03:15

   18    BY MS. DURIE:                                                         12:03:21

   19         Q.     This is also from your expert report;                     12:03:21

   20    right?                                                                12:03:24

   21         A.     Yes.                                                      12:03:25

   22         Q.     Okay.                                                     12:03:26

   23                   And you see here two device                            12:03:26

   24    controllers that have been identified with                            12:03:31


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    1    purple boxes around them, device controller                           12:03:34

    2    UDC_US and device controller UDC_DS; right?                           12:03:37

    3         A.   That's correct.                                             12:03:44

    4         Q.   And UDC_US stands for USB device                            12:03:44

    5    controller upstream; right?                                           12:03:49

    6         A.   Yes.                                                        12:03:50

    7         Q.   And UDC_DS stands for USB device                            12:03:50

    8    controller downstream; right?                                         12:03:54

    9         A.   Yes.                                                        12:03:56

   10         Q.   And in the dual role hub, the                               12:03:57

   11    upstream controller responds to USB requests                          12:03:59

   12    from the head unit which is one host; right?                          12:04:03

   13         A.   I'm sorry, could you repeat that?                           12:04:05

   14         Q.   Sure.                                                       12:04:06

   15                  In the dual role hub, the upstream                      12:04:07

   16    controller responds to USB requests from the                          12:04:09

   17    first host, the head unit?                                            12:04:11

   18         A.   Correct.                                                    12:04:13

   19         Q.   And in the dual role hub, the                               12:04:15

   20    downstream controller responds to USB requests                        12:04:17

   21    from the iPhone, which is a second host;                              12:04:21

   22    right?                                                                12:04:23

   23         A.   Correct.    That would be the second                        12:04:24

   24    dedicated connection.                                                 12:04:25


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    1         Q.   Now, configuration is a standard part                       12:04:27

    2    of USB; right?                                                        12:04:31

    3         A.   Yes.    Enumeration to process to                           12:04:33

    4    determine configuration, yes.                                         12:04:36

    5         Q.   And configuration is a request to a                         12:04:37

    6    device to ask the device to identify what type                        12:04:43

    7    of device it is and what capabilities it has;                         12:04:47

    8    right?                                                                12:04:51

    9         A.   Yes, that sounds right.                                     12:04:52

   10         Q.   Okay.                                                       12:04:53

   11                   And the device, in response to                         12:04:54

   12    that request, sends back information about                            12:04:57

   13    what its capabilities are, this is what I am;                         12:05:02

   14    right?                                                                12:05:04

   15         A.   Correct.                                                    12:05:04

   16         Q.   And that includes the device's                              12:05:05

   17    descriptors?                                                          12:05:07

   18         A.   Yes.                                                        12:05:08

   19         Q.   And device descriptors include the                          12:05:09

   20    class of the device, like an audio device;                            12:05:12

   21    right?                                                                12:05:16

   22         A.   That's correct.                                             12:05:16

   23         Q.   Now, a device descriptor is different                       12:05:17

   24    from an address; right?                                               12:05:19


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    1         A.    It is.                                                      12:05:20

    2         Q.    The host assigns an address to the                          12:05:21

    3    device; right?                                                         12:05:25

    4         A.    Yes, the host must assign the                               12:05:26

    5    address.                                                               12:05:29

    6         Q.    Right.                                                      12:05:30

    7                  But the device descriptor comes                          12:05:30

    8    from the device to the host; right?                                    12:05:32

    9         A.    Correct.                                                    12:05:34

   10         Q.    The device -- the host says                                 12:05:35

   11    basically, like, what are you, and then the                            12:05:38

   12    device says, I am a printer and I have these                           12:05:40

   13    capabilities?                                                          12:05:42

   14         A.    Yes.                                                        12:05:43

   15         Q.    Okay.                                                       12:05:44

   16         A.    There's --                                                  12:05:45

   17         Q.    The device -- sorry, go ahead.                              12:05:47

   18         A.    I'm sorry, with some exceptions.                            12:05:49

   19         Q.    Okay.                                                       12:05:51

   20                  But the device descriptor always                         12:05:52

   21    comes from the device; right?                                          12:05:54

   22         A.    Correct.                                                    12:05:55

   23         Q.    Okay.                                                       12:05:56

   24                  And the device doesn't really know                       12:05:56


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                                                                          Page 177

    1    anything --                                                           12:06:02

    2         A.   Now, I'm sorry, are we talking about                        12:06:03

    3    standard USB devices or are we talking about                          12:06:05

    4    the non-standard devices here?                                        12:06:07

    5         Q.   Well, we're going to get there, but                         12:06:08

    6    now we're talking about how USB works.                                12:06:10

    7         A.   Standard.                                                   12:06:13

    8         Q.   Standard USB, yep.                                          12:06:13

    9         A.   Got it.                                                     12:06:15

   10         Q.   The device is responding to the                             12:06:16

   11    request from the host and it is just saying,                          12:06:17

   12    this is what I am.      Okay.                                         12:06:19

   13                  And this idea of the device                             12:06:21

   14    descriptor, this is discussed in the USB                              12:06:23

   15    specification; right?                                                 12:06:25

   16         A.   Yes, it is.                                                 12:06:26

   17         Q.   So if we can take a look,                                   12:06:29

   18    Exhibit 186, it is page 289, there is a                               12:06:32

   19    Section 9.6.1.                                                        12:06:35

   20                  And it says, "A device descriptor                       12:06:36

   21    describes general information about a USB                             12:06:39

   22    device.   It includes information that applies                        12:06:41

   23    globally to the device and all of the device's                        12:06:43

   24    configurations.     A USB device has only one                         12:06:47


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    1    device descriptor."                                                   12:06:50

    2                  Now, this was true about how USB                        12:06:51

    3    worked in 2006; right?                                                12:06:55

    4         A.   For standard USB devices, correct.                          12:06:58

    5         Q.   Right.                                                      12:07:02

    6                  So one device, one device                               12:07:02

    7    descriptor?                                                           12:07:05

    8         A.   That's correct.                                             12:07:05

    9         Q.   Okay.                                                       12:07:05

   10                  Now, in the Aptiv system, each of                       12:07:07

   11    the USB device controllers has its own device                         12:07:10

   12    descriptor; right?                                                    12:07:12

   13         A.   Yes.     As would the multi-host device                     12:07:14

   14    controller.                                                           12:07:17

   15         Q.   Well, we are going to get there, but                        12:07:17

   16    let's just stick with the Aptiv system for the                        12:07:19

   17    moment.                                                               12:07:21

   18                  And each controller in the Aptiv                        12:07:22

   19    system reports a different function; right?                           12:07:24

   20         A.   Correct.                                                    12:07:29

   21         Q.   Right.                                                      12:07:29

   22                  So the iPhone's controller says, I                      12:07:31

   23    have NCM and iAP2 functions; right?                                   12:07:37

   24         A.   Correct.                                                    12:07:40


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    1         Q.   And those are the interfaces that are                       12:07:41

    2    required by something; right?                                         12:07:43

    3         A.   Yes.                                                        12:07:46

    4         Q.   And the head unit controller responds                       12:07:46

    5    that it has a vendor specific function; right?                        12:07:47

    6         A.   Correct.      But it does -- the upstream                   12:07:50

    7    controller also supports those same functions.                        12:07:53

    8         Q.   But a vendor-specific function,                             12:07:56

    9    that's a custom function basically; right?                            12:07:58

   10         A.   Right.     It's just a non-standard USB                     12:08:01

   11    device to begin with, so that is correct.                             12:08:04

   12         Q.   Right.                                                      12:08:06

   13                   Now --                                                 12:08:07

   14                   MS. DURIE:    Your Honor, may I just                   12:08:08

   15    ask what the Court's -- I'm about to change                           12:08:09

   16    the line up a little bit and I am just                                12:08:12

   17    wondering about the lunch break.         I am happy                   12:08:13

   18    to keep going, or we can break here.                                  12:08:15

   19                   THE COURT:    Assuming it is okay                      12:08:16

   20    with the jury, I was thinking we would go                             12:08:17

   21    until 12:30.                                                          12:08:20

   22                   MS. DURIE:    Perfect.    That's                       12:08:22

   23    great.                                                                12:08:23

   24                   THE COURT:    Is that okay with the                    12:08:23


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    1    jury?     Okay.                                                        12:08:26

    2                      MS. DURIE:    Perfect.   So if we                    12:08:27

    3    could have NCD1-28, Mr. Glass.                                         12:08:28

    4    BY MS. DURIE:                                                          12:08:33

    5         Q.     This is a slide that you prepared to                       12:08:33

    6    illustrate this point about device                                     12:08:35

    7    descriptors; right?                                                    12:08:40

    8         A.     Correct.                                                   12:08:40

    9         Q.     But this is not the slide that you                         12:08:41

   10    just showed the jury; right?                                           12:08:43

   11         A.     I think this is one of the older                           12:08:46

   12    drafts that I prepared.                                                12:08:49

   13         Q.     This was a slide that you prepared                         12:08:50

   14    and produced a couple days ago; right?                                 12:08:52

   15         A.     Correct.                                                   12:08:55

   16         Q.     And that was before Mr. Bohm had                           12:08:56

   17    testified; right?                                                      12:08:58

   18         A.     Correct.                                                   12:09:00

   19         Q.     Right.                                                     12:09:01

   20                      And so --                                            12:09:04

   21         A.     I'm sorry.                                                 12:09:04

   22         Q.     Go ahead.                                                  12:09:06

   23         A.     I am trying to remember when we                            12:09:07

   24    submitted the slides.          Was it the night                        12:09:11


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    1    before?                                                               12:09:12

    2         Q.   I will represent that we received the                       12:09:14

    3    slides before Mr. Bohm testified.                                     12:09:16

    4         A.   Okay.                                                       12:09:17

    5                  MS. DURIE:     And, counsel, I think                    12:09:19

    6    you will agree, the original slides were sent                         12:09:20

    7    over.                                                                 12:09:23

    8                  THE WITNESS:     Okay.                                  12:09:23

    9    BY MS. DURIE:                                                         12:09:24

   10         Q.   Now, here you showed the device                             12:09:24

   11    function, a printer/scanner; right?                                   12:09:29

   12         A.   Correct.                                                    12:09:31

   13         Q.   And you showed the two sets of                              12:09:32

   14    endpoints that were associated with that                              12:09:34

   15    printer/scanner; right?                                               12:09:36

   16         A.   Right.                                                      12:09:38

   17         Q.   And you showed one as having an                             12:09:39

   18    address and then a DEV class.                                         12:09:41

   19                  Now, what is that?                                      12:09:43

   20         A.   A DEV class is the USB designation                          12:09:44

   21    for any type of device.                                               12:09:48

   22         Q.   Right.                                                      12:09:49

   23                  And so here what you showed is                          12:09:50

   24    that the printer/scanner was telling one host,                        12:09:52


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    1    I am a printing device, and was telling the                           12:09:57

    2    other host, I am a miscellaneous DEV class;                           12:09:59

    3    right?                                                                12:10:02

    4         A.   Correct.                                                    12:10:03

    5         Q.   Okay.                                                       12:10:03

    6                  And that's sort of analogous to                         12:10:04

    7    the Aptiv scenario where you've got NCM and                           12:10:06

    8    iAP2 on the one side and you have got a custom                        12:10:10

    9    function on the other side?                                           12:10:12

   10         A.   Right.     It illustrates the concept of                    12:10:13

   11    having a separate dedicated address                                   12:10:15

   12    configuration, a response information.                                12:10:17

   13         Q.   And so in this hypothetical that you                        12:10:19

   14    were showing here, this printer/scanner is                            12:10:21

   15    saying -- get asks by the host saying, what                           12:10:25

   16    are you, and it's saying to one host, I am a                          12:10:27

   17    printer, I am in the printing class, and it's                         12:10:29

   18    saying to the other host, I am a miscellaneous                        12:10:32

   19    device; right?                                                        12:10:37

   20         A.   Correct.                                                    12:10:38

   21         Q.   Now, in your expert reports, you did                        12:10:38

   22    not identify any USB device that existed in                           12:10:41

   23    2006 as of the date of the invention that                             12:10:46

   24    reported more than one device descriptor;                             12:10:49


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    1    right?                                                                12:10:52

    2         A.   I'm sorry, could you ask that                               12:10:54

    3    question again?                                                       12:10:56

    4         Q.   Sure.                                                       12:10:56

    5                  In your expert report, you did not                      12:10:57

    6    identify any USB device that existed out there                        12:11:00

    7    in 2006 that, for a single device, reported                           12:11:04

    8    more than one device descriptor?                                      12:11:09

    9         A.   A standard USB device, no, it                               12:11:12

   10    wouldn't be allowed to do that.                                       12:11:14

   11         Q.   Well, in fact, in your expert report,                       12:11:16

   12    you didn't identify any non-standard USB                              12:11:17

   13    devices that existed out in the world at the                          12:11:20

   14    time that Microchip filed its patent                                  12:11:23

   15    application that reported more than one device                        12:11:25

   16    descriptor?                                                           12:11:28

   17         A.   Correct.     I wasn't aware of any                          12:11:28

   18    devices that would have the capabilities of                           12:11:30

   19    the multi-host device.                                                12:11:33

   20         Q.   Okay.                                                       12:11:34

   21                  So let's talk about that point and                      12:11:35

   22    the patent.      The patent actually describes USB                    12:11:38

   23    devices that were available in 2006; right?                           12:11:42

   24         A.   Yes.                                                        12:11:45


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    1         Q.     Okay.                                                      12:11:45

    2                   And if we can take a look at                            12:11:46

    3    Exhibit 1, and let's just start with the first                         12:11:48

    4    page.     Just sort of for orientation, in case                        12:11:51

    5    people want to follow along at home.                                   12:11:57

    6                   Let's go to page 4.       Actually, I                   12:11:59

    7    apologize, let's go to page 6, column 4, and                           12:12:06

    8    just for people's orientation, you've got the                          12:12:11

    9    column numbers at the top, right, 3 and 4.                             12:12:14

   10    And we patent people refer to the column and                           12:12:17

   11    then the line numbers when we are calling                              12:12:20

   12    things; right?                                                         12:12:22

   13                   So column 4, lines 5 through 9.                         12:12:23

   14    And it says, "Peripheral device/function 312,                          12:12:28

   15    which may comprise of a main consumer                                  12:12:33

   16    component, such as an Ethernet controller,                             12:12:35

   17    mass storage drive, et cetera, may not be                              12:12:38

   18    aware of the multi-host capability of the USB                          12:12:40

   19    component, and may be a standard off-the-shelf                         12:12:43

   20    item."                                                                 12:12:46

   21                   So what the patent is saying is                         12:12:46

   22    the device in this two-host, one-device setup                          12:12:49

   23    may be a standard off-the-shelf USB device;                            12:12:53

   24    right?                                                                 12:12:57


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    1         A.   Correct.    That would be one example                       12:12:57

    2    of a device that you could incorporate.                               12:12:59

    3         Q.   Right.                                                      12:13:01

    4                  And a standard off-the-shelf USB                        12:13:01

    5    device, like an Ethernet controller or a mass                         12:13:04

    6    storage drive or something along those lines,                         12:13:06

    7    would be -- have been, in 2006, compliant with                        12:13:09

    8    USB spec; right?                                                      12:13:11

    9         A.   Correct.    You would have to alter it                      12:13:12

   10    in some fashion in order to connect to all the                        12:13:16

   11    other circuitry of the multi-host device, but                         12:13:18

   12    yes, the core of it could be initiated by a                           12:13:20

   13    standard device.                                                      12:13:25

   14         Q.   Right.                                                      12:13:26

   15                  Well, this standard off-the-shelf                       12:13:27

   16    USB device would have one device descriptor;                          12:13:28

   17    right?                                                                12:13:32

   18         A.   Again, as a stand-alone standard USB                        12:13:32

   19    device, it would only have one device                                 12:13:37

   20    descriptor.    But the patent, of course, allows                      12:13:40

   21    that device to have separate descriptors for                          12:13:42

   22    each host.                                                            12:13:45

   23         Q.   Well, let's talk about that.                                12:13:45

   24                  You were here for Mr. Bohm's                            12:13:47


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    1    testimony; right?                                                     12:13:49

    2         A.   I was.                                                      12:13:49

    3         Q.   And if we could go to slide 30, you                         12:13:50

    4    heard Mr. Bohm testify that he did not invent                         12:13:54

    5    a new type of device function; right?                                 12:13:57

    6         A.   Correct.                                                    12:14:02

    7         Q.   Okay.                                                       12:14:02

    8                  And if we go to slide 31, you also                      12:14:03

    9    heard Mr. Bohm testify that the patent does                           12:14:06

   10    not describe any device function that reports                         12:14:09

   11    different device descriptors to different                             12:14:13

   12    hosts; right?      It doesn't say in the patent,                      12:14:14

   13    here's an example of a device that could do                           12:14:17

   14    that?                                                                 12:14:19

   15         A.   Again, to be specific, he said he                           12:14:20

   16    didn't -- he wasn't aware of any specific                             12:14:22

   17    embodiment --                                                         12:14:24

   18         Q.   Right.                                                      12:14:25

   19         A.   -- any examples of the technology.                          12:14:25

   20         Q.   Right.                                                      12:14:28

   21         A.   He did speak to the claims, of                              12:14:28

   22    course.                                                               12:14:30

   23         Q.   Right.                                                      12:14:30

   24                  In the body of the '243 Patent and                      12:14:30


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    1    the description of the invention, there is not                        12:14:33

    2    an example where it says, here's an example of                        12:14:35

    3    a device that can report two different device                         12:14:38

    4    descriptors?                                                          12:14:41

    5         A.   Correct, not in the body, they didn't                       12:14:41

    6    discuss the language.                                                 12:14:46

    7         Q.   Well, actually he did, but we're                            12:14:47

    8    going to get to that.                                                 12:14:48

    9                   So slide 32, we also heard                             12:14:50

   10    testimony from Mr. Bohm about Figure 3 of the                         12:14:53

   11    patent; right?                                                        12:14:57

   12         A.   Yes.                                                        12:15:00

   13         Q.   And Mr. Banner, during that                                 12:15:00

   14    testimony, had highlighted Figure 3 like this,                        12:15:04

   15    so we saw one portion running from one host                           12:15:06

   16    through the endpoint and status, the endpoint                         12:15:11

   17    buffers associated with the multi-host device                         12:15:15

   18    controller; right?                                                    12:15:17

   19         A.   Yes, I recall that.                                         12:15:18

   20         Q.   Okay.                                                       12:15:19

   21                   And if we go to slide 33, Mr. Bohm                     12:15:20

   22    testified that if you were to erase the                               12:15:23

   23    highlighted portion, you would be -- of                               12:15:25

   24    Figure 3, you would be left with a standard                           12:15:29


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    1    USB device; right?                                                     12:15:31

    2         A.     That would be a very much                                  12:15:34

    3    generalization.      For example, you would still                      12:15:36

    4    have some type of multi-host device                                    12:15:38

    5    controller, which would clearly not be                                 12:15:40

    6    standard.                                                              12:15:43

    7                   So I think that was a                                   12:15:44

    8    generalization, but as a general concept, I                            12:15:45

    9    don't necessarily disagree with that.                                  12:15:48

   10         Q.     A standard USB device would report                         12:15:49

   11    one device descriptor?                                                 12:15:53

   12         A.     If we are going to go down into                            12:15:54

   13    detail, I think we would have to ask that                              12:15:56

   14    question specifically to Mr. Bohm.           But                       12:15:58

   15    again --                                                               12:16:00

   16         Q.     All right.    Well --                                      12:16:00

   17         A.     -- trying to create a general outline                      12:16:01

   18    here.                                                                  12:16:04

   19         Q.     Let's continue with what Mr. Bohm                          12:16:04

   20    said.     Go to slide 34.    He was asked about                        12:16:06

   21    that box that sits at the bottom of figure --                          12:16:09

   22    actually, let's go back to 33 for a moment.                            12:16:13

   23                   So the device function box, that's                      12:16:16

   24    312; right?                                                            12:16:18


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    1         A.     Correct.                                                  12:16:19

    2         Q.     So if we go to the next slide,                            12:16:20

    3    please, slide 34, Mr. Bohm was asked about                            12:16:21

    4    that Box 312, and he said 312 is referring to                         12:16:24

    5    the device or function, and in this case,                             12:16:29

    6    really probably the easiest way to think of it                        12:16:30

    7    is, is whatever the product was that you                              12:16:35

    8    bought.                                                               12:16:36

    9                   So if you bought a mouse, whatever                     12:16:37

   10    makes that mouse a mouse, that's the device or                        12:16:39

   11    function.     If you buy a printer, you know, the                     12:16:41

   12    intelligence takes the data and turns it into                         12:16:43

   13    the words on the page, again, that would be                           12:16:47

   14    the device or function.        It varies depending                    12:16:49

   15    on what the actual product was that you                               12:16:49

   16    bought.                                                               12:16:49

   17                   So what he is talking about here                       12:16:51

   18    is buying an off-the-shelf computer; right?                           12:16:53

   19         A.     Right.     He is identifying what a                       12:16:56

   20    standard device function would be, yes.                               12:16:57

   21         Q.     It is whatever makes a mouse a mouse,                     12:16:59

   22    whatever makes a printer a printer; right?                            12:17:01

   23         A.     Sure.                                                     12:17:04

   24         Q.     Now, let's go to slide 35.                                12:17:04


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    1                  On the right, we have the version                        12:17:07

    2    of your graphic that was sent over to us                               12:17:09

    3    before Mr. Bohm testified.         On the left, we                     12:17:12

    4    have the version of your graphic that you                              12:17:15

    5    presented in court today.        And they are a                        12:17:17

    6    little bit different; right?                                           12:17:19

    7          A.   Yes.   I wanted to clean it up.         It                  12:17:21

    8    was getting a little busy with a lot of stuff                          12:17:24

    9    in it, so I wanted to trim it down.                                    12:17:26

   10          Q.   And so the thing that you cleaned up                        12:17:29

   11    was the reference to the USB device as part of                         12:17:31

   12    the device descriptor identifying itself as                            12:17:36

   13    having different device descriptors in                                 12:17:38

   14    reference to those two different device                                12:17:41

   15    classes; right?                                                        12:17:43

   16          A.   Correct.    I wanted to save some time                      12:17:44

   17    rather than going through describing what a                            12:17:47

   18    DEV class was, different categories of device                          12:17:49

   19    classes.    I wanted to simplify the slide of                          12:17:53

   20    it.                                                                    12:17:58

   21          Q.   Now, a printer/scanner was a known                          12:17:58

   22    USB type of device in 2006; right?           There were                12:18:01

   23    printer/scanners?                                                      12:18:04

   24          A.   Yes.                                                        12:18:05


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    1         Q.   And a printer/scanner would report                          12:18:05

    2    different device descriptors for the different                        12:18:08

    3    functions, for the printing function and the                          12:18:11

    4    scanning function; right?                                             12:18:14

    5         A.   It could, yes.                                              12:18:15

    6         Q.   Okay.                                                       12:18:16

    7                  But that doesn't mean that it's                         12:18:16

    8    saying different things to different hosts;                           12:18:18

    9    right?                                                                12:18:19

   10         A.   Again, we're talking about a                                12:18:21

   11    printer/scanner that is a multi-host device,                          12:18:24

   12    as opposed to a standard off-the-shelf scanner                        12:18:28

   13    that's not connected to a multi-host                                  12:18:31

   14    controller.                                                           12:18:33

   15         Q.   I am actually just talking about a                          12:18:33

   16    standard printer/scanner.                                             12:18:37

   17                  MS. DURIE:    Let's take a look at                      12:18:39

   18    the USB specification, Exhibit 186 in                                 12:18:40

   19    evidence, page 57, please, Mr. Glass.                                 12:18:43

   20    BY MS. DURIE:                                                         12:18:48

   21         Q.   And if we take a look at the bottom                         12:18:49

   22    and we blow that up, it says, "Multiple                               12:18:50

   23    functions may be packaged together in what                            12:18:53

   24    appears to be a single physical device.           For                 12:18:56


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    1    example, a keyboard and a trackball might be                              12:18:58

    2    combined in a single package.            Inside the                       12:19:00

    3    package, the individual functions are                                     12:19:03

    4    permanently attached to a hub and it is the                               12:19:04

    5    hub that is connected to the USB."                                        12:19:09

    6                      So in this example, it is saying                        12:19:11

    7    you have two USB functions, you have a                                    12:19:14

    8    keyboard, you have a trackball, there is a                                12:19:16

    9    hub.        Both of those devices are connected to                        12:19:17

   10    that hub; right?                                                          12:19:20

   11           A.      I think I am following your scenario.                      12:19:21

   12           Q.      Okay.                                                      12:19:23

   13           A.      I'm not sure.                                              12:19:23

   14           Q.      And the hub is then connected to the                       12:19:24

   15    host; right?                                                              12:19:26

   16           A.      That sounds right.                                         12:19:27

   17           Q.      Okay.                                                      12:19:28

   18                      And it says, "When multiple                             12:19:29

   19    functions are combined with a hub in a single                             12:19:32

   20    package, they are referred to as a compound                               12:19:34

   21    device."                                                                  12:19:37

   22                      You are familiar with the concept                       12:19:39

   23    of a compound device; right?                                              12:19:42

   24           A.      I am.   Again, we are talking about                        12:19:43


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    1    USB standard devices based on the                                     12:19:45

    2    specification.                                                        12:19:47

    3         Q.    Absolutely.    The USB devices that                        12:19:47

    4    were available in the world, not talking about                        12:19:51

    5    the patent, but like in the world in 2006 when                        12:19:53

    6    Microchip filed its application.                                      12:19:57

    7         A.    Correct.                                                   12:19:58

    8         Q.    So the hub and each function attached                      12:19:59

    9    to the hub within the compound device is                              12:20:02

   10    assigned its own device address.         So that                      12:20:04

   11    means there is going to be one device address                         12:20:07

   12    for the keyboard and one device address for                           12:20:10

   13    the trackball; right?                                                 12:20:12

   14         A.    Right.                                                     12:20:14

   15         Q.    And it says, keep going a little bit,                      12:20:14

   16    "From the host's perspective, a compound                              12:20:19

   17    device is the same as a separate hub with                             12:20:21

   18    multiple functions attached."                                         12:20:24

   19                  So basically what this is saying                        12:20:26

   20    is the host is seeing two different devices;                          12:20:28

   21    right?    It's seeing a hub and it's then seeing                      12:20:31

   22    two devices that are attached to that hub?                            12:20:34

   23         A.    I guess as a general description,                          12:20:38

   24    that would be correct.                                                12:20:41


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    1         Q.   Okay.                                                       12:20:42

    2                  Now, the printer/scanner in a                           12:20:43

    3    standard USB, or we'll use this keyboard and                          12:20:46

    4    trackball, this keyboard and trackball, it                            12:20:49

    5    doesn't, in standard USB, report different                            12:20:53

    6    device descriptors to different hosts; right?                         12:20:55

    7         A.   I'm sorry, can you ask that question                        12:20:58

    8    again?                                                                12:21:01

    9         Q.   Sure.                                                       12:21:01

   10                  In standard USB, if you've got a                        12:21:02

   11    compound device that has a keyboard and a                             12:21:04

   12    trackball, that's going to report to every                            12:21:07

   13    host, hello, I've got keyboard functionality                          12:21:09

   14    and I've got trackball functionality; right?                          12:21:13

   15         A.   Correct.    Not a multi-host device,                        12:21:15

   16    but a standard USB device.                                            12:21:18

   17         Q.   Right.                                                      12:21:19

   18                  This standard compound device is                        12:21:20

   19    going to say, hello, I have both a keyboard                           12:21:23

   20    and a trackball?                                                      12:21:25

   21         A.   Correct.                                                    12:21:26

   22         Q.   Okay.                                                       12:21:27

   23                  So every host is going to get the                       12:21:27

   24    same device descriptor information from the                           12:21:30


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    1    device.                                                                12:21:33

    2         A.    Yes.                                                        12:21:35

    3         Q.    Okay.    Let me just check on one                           12:21:37

    4    thing.                                                                 12:21:43

    5                  Now, today, you were talking about                       12:21:45

    6    the difference between claim 1 and claim 23;                           12:21:48

    7    is that right?      In your testimony on direct,                       12:21:53

    8    you talked about claim 23 and what made it                             12:21:58

    9    special?                                                               12:22:01

   10         A.    Correct.                                                    12:22:01

   11         Q.    Right?                                                      12:22:02

   12         A.    Yes.                                                        12:22:02

   13         Q.    Okay.                                                       12:22:03

   14                  And special, I mean, using claim 1                       12:22:03

   15    as an example, but special relative to what                            12:22:06

   16    you described as exemplary claim 1 --                                  12:22:08

   17         A.    Right.     It has features that are not                     12:22:10

   18    present in any of the other claims.                                    12:22:12

   19         Q.    Okay.                                                       12:22:13

   20                  And if I understood your testimony                       12:22:14

   21    correctly, the thing that you were saying was                          12:22:16

   22    the special feature in claim 23 is that it can                         12:22:19

   23    simultaneously -- is that it can                                       12:22:23

   24    simultaneously respond to access requests; is                          12:22:26


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    1    that right?                                                           12:22:30

    2         A.     Well, it would be better if we                            12:22:30

    3    brought up the claim language.                                        12:22:33

    4         Q.     Let's do that.                                            12:22:34

    5         A.     If we could do that.                                      12:22:35

    6                   MS. DURIE:    Let's put up claim --                    12:22:37

    7    if we can, Mr. Glass, pick one and go to the                          12:22:38

    8    end claim 23 or put up claim 23.         Great.                       12:22:41

    9    BY MS. DURIE:                                                         12:22:49

   10         Q.     So claim 23 says the controller, and                      12:22:51

   11    you said that's the multi-host device                                 12:22:56

   12    controller; right?                                                    12:22:57

   13         A.     Correct.                                                  12:22:58

   14         Q.     The multi-host device controller is                       12:22:59

   15    operable to receive and respond to                                    12:23:01

   16    simultaneous respective USB access requests                           12:23:03

   17    sent from the two or more USB hosts for                               12:23:09

   18    accessing a function of the shared USB device                         12:23:12

   19    block.                                                                12:23:15

   20                   So this might be easier to                             12:23:15

   21    understand in the context of Figure 3.                                12:23:17

   22                   MS. DURIE:    And, Mr. Glass, if we                    12:23:22

   23    can now go to TX-1, page 4, and pull up                               12:23:24

   24    Figure 3.                                                             12:23:29


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    1    BY MS. DURIE:                                                         12:23:29

    2         Q.   So, controller is operable to receive                       12:23:32

    3    and respond simultaneous access requests.           So                12:23:33

    4    what that means here is both of the hosts can                         12:23:36

    5    issue access requests at the same time down at                        12:23:39

    6    the multi-host device controller; right?                              12:23:44

    7         A.   It doesn't really discuss what the                          12:23:48

    8    hosts do; it's describing what the controller                         12:23:50

    9    has to be capable of doing.                                           12:23:52

   10         Q.   Fine.                                                       12:23:53

   11                  The controller is capable of                            12:23:53

   12    receiving those two requests for access at the                        12:23:55

   13    same time?                                                            12:23:57

   14         A.   Correct.                                                    12:23:58

   15         Q.   And it is capable of responding to                          12:23:59

   16    those two requests for access at the same                             12:24:01

   17    time?                                                                 12:24:03

   18         A.   Correct.                                                    12:24:03

   19         Q.   Right?                                                      12:24:04

   20                  Now, you talk about this a little                       12:24:05

   21    bit in your expert report; right?                                     12:24:09

   22         A.   I do.                                                       12:24:12

   23                  MS. DURIE:    And let me mark this                      12:24:22

   24    for identification as 374.                                            12:24:23


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    1                   MR. FENTON:     Your Honor, sidebar.                   12:24:35

    2                   MS. DURIE:     I am not going to                       12:24:37

    3    admit it, it is just for identification.                              12:24:38

    4                   MR. FENTON:     All right.                             12:24:41

    5                   (Whereupon, Trial Exhibit 374 was                      12:24:41

    6    introduced.)                                                          12:24:51

    7                   MS. DURIE:     And, Mr. Zatkovich,                     12:24:51

    8    this is just so you have it in front of you if                        12:24:52

    9    you have any questions.                                               12:24:55

   10                   THE WITNESS:     Good.   Okay.                         12:24:56

   11                   MS. DURIE:     It wouldn't be fair to                  12:25:03

   12    ask you questions about the report and not                            12:25:06

   13    give it to you.                                                       12:25:07

   14                   So, 374 marked for identification.                     12:25:09

   15                   MR. FENTON:     I'm sorry, one more                    12:25:11

   16    objection.     Is this incomplete?                                    12:25:12

   17                   MS. DURIE:     I am going to get to                    12:25:14

   18    the claim charts, I have them separately, but                         12:25:16

   19    I wanted to start with the body of your                               12:25:17

   20    report.   And I know there was a set of claim                         12:25:19

   21    charts that were attached to your report.           And               12:25:21

   22    if you want them now, I can give them to you                          12:25:23

   23    now.                                                                  12:25:25

   24                   MR. FENTON:     Yes, I would like for                  12:25:25


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    1    him to have the complete report.                                      12:25:27

    2                   MS. DURIE:     Sure.   Let's mark this                 12:25:29

    3    for identification as 375.                                            12:25:33

    4                   (Whereupon, Trial Exhibit 375 was                      12:25:37

    5    introduced.)                                                          12:25:40

    6                   THE WITNESS:     Thank you.                            12:25:54

    7                   MS. DURIE:     Okay.                                   12:26:04

    8    BY MS. DURIE:                                                         12:26:04

    9         Q.   So in front of you, you have 374,                           12:26:05

   10    that's your opening expert report, 375, that                          12:26:07

   11    is the claim charts that were attached to it;                         12:26:10

   12    right?                                                                12:26:14

   13         A.   That's correct.                                             12:26:14

   14         Q.   Okay.                                                       12:26:15

   15                   Now, I wanted to start by talking                      12:26:16

   16    about your expert report.        Let's take a look                    12:26:19

   17    at paragraph 138.     It appears on page 63.                          12:26:24

   18                   And in paragraph 138 on page 63,                       12:26:40

   19    you are talking about the configuration of the                        12:26:46

   20    bridge; right?                                                        12:26:49

   21         A.   I am, I believe.       Hang on.                             12:26:52

   22         Q.   Go ahead.    Take your time or go ahead                     12:26:55

   23    and read it to yourself.        That's fine.     That's               12:26:57

   24    why you have it.                                                      12:26:59


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    1                  (Whereupon, the witness reviews                         12:27:02

    2    the exhibit.)                                                         12:27:04

    3    BY MS. DURIE:                                                         12:27:25

    4         Q.   Are you with me?                                            12:27:25

    5         A.   I am.                                                       12:27:26

    6         Q.   Okay.                                                       12:27:26

    7                  So in paragraph 138, you say the                        12:27:27

    8    configuration -- you're talking about the                             12:27:30

    9    configuration of the bridge and you say, "It                          12:27:31

   10    continues with the back and forth of requests                         12:27:33

   11    and replies between the iPhone and the head                           12:27:35

   12    unit through the bridge.       It continues                           12:27:38

   13    sequentially down the diagram," and this is                           12:27:42

   14    referring to a diagram that's in your report,                         12:27:44

   15    "until the iPhone has completed its                                   12:27:46

   16    configuration of the EP Bridge device.           This                 12:27:49

   17    is another example of simultaneous access of                          12:27:51

   18    requests and replies from the phone and the                           12:27:54

   19    head unit to the dual role hub."                                      12:27:57

   20                  So what you're talking about here                       12:27:59

   21    is a set of messages that go back and forth                           12:28:01

   22    from the iPhone and the head unit in the                              12:28:05

   23    process of configuration; right?                                      12:28:07

   24         A.   Well, it's describing that during                           12:28:10


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    1    that process, both sides of the bridge -- both                         12:28:13

    2    hosts will continue, as I mentioned, hundreds                          12:28:17

    3    of times a second to be doing requests.                                12:28:19

    4         Q.    Right.                                                      12:28:23

    5                  Back and forth, requests and                             12:28:23

    6    replies?                                                               12:28:26

    7         A.    Well, the first part of that refers                         12:28:26

    8    to the enumeration process where you said get                          12:28:28

    9    the descriptor, save descriptor, get                                   12:28:31

   10    interface, put interface.        During that whole                     12:28:35

   11    process, though, there are additional requests                         12:28:37

   12    for both hosts to, again, hundreds of times a                          12:28:41

   13    second, to request information from the shared                         12:28:44

   14    device.                                                                12:28:47

   15         Q.    Right.                                                      12:28:47

   16                  There are requests and there are                         12:28:48

   17    replies; right?                                                        12:28:49

   18         A.    Right.                                                      12:28:50

   19         Q.    And what you say in your report is                          12:28:51

   20    there are simultaneous requests and replies;                           12:28:53

   21    right?                                                                 12:28:56

   22         A.    Correct.                                                    12:28:56

   23         Q.    So one of the features of the system                        12:28:56

   24    you're saying here is that can happen                                  12:28:59


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    1    simultaneously?                                                       12:29:01

    2         A.   It can happen simultaneously.                               12:29:02

    3         Q.   Okay.                                                       12:29:03

    4         A.   It may happen alternately.                                  12:29:04

    5         Q.   Now, we are going to talk more about                        12:29:06

    6    that a little while later, but is there                               12:29:08

    7    anywhere in your -- anywhere else in the body                         12:29:10

    8    of your report -- we are going to talk about                          12:29:13

    9    the claim chart in a second, but is there                             12:29:15

   10    anywhere else in the body of your report that                         12:29:18

   11    you can point me to where you talked about                            12:29:20

   12    this idea of simultaneous responses --                                12:29:22

   13    simultaneous accesses I totally get, but                              12:29:28

   14    simultaneous responses?                                               12:29:31

   15                  Do you know whether you talked                          12:29:32

   16    about that anywhere else?                                             12:29:33

   17         A.   Again, it might be in the claim                             12:29:34

   18    chart.                                                                12:29:36

   19         Q.   Okay.                                                       12:29:36

   20         A.   Again, I don't recall.        It is a big                   12:29:36

   21    report.                                                               12:29:38

   22         Q.   We'll get to the claim chart.                               12:29:39

   23                  MS. DURIE:    If we can put up claim                    12:29:41

   24    1, for a moment, Mr. Glass.                                           12:29:43


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    1    BY MS. DURIE:                                                         12:29:46

    2         Q.   So claim 1 has this idea of                                 12:29:47

    3    simultaneous requests for access in it; right?                        12:29:52

    4         A.   I'm sorry, could you point to that?                         12:29:57

    5         Q.   Sure.                                                       12:29:59

    6                  Two-thirds of the way down,                             12:30:00

    7    simultaneously request access to the USB                              12:30:02

    8    device; right?                                                        12:30:05

    9                  So part of claim 1 is that you've                       12:30:05

   10    got a multi-host device controller and it                             12:30:08

   11    allows the first and second host to                                   12:30:11

   12    simultaneously request access to USB device;                          12:30:14

   13    right?                                                                12:30:17

   14         A.   Correct.    It is not talking about the                     12:30:17

   15    capability of the controller; it is talking                           12:30:19

   16    about the capability of the host.         So in this                  12:30:20

   17    particular case, the host may send                                    12:30:23

   18    simultaneous requests, but it doesn't                                 12:30:26

   19    necessarily say that they weren't -- the                              12:30:27

   20    multi-host controller would have to either                            12:30:31

   21    accept or respond to them.                                            12:30:33

   22         Q.   Okay.                                                       12:30:34

   23                  But here, we have the controller;                       12:30:34

   24    it's coupled to the USB device function block                         12:30:37


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    1    to two upstream ports.      It can establish                          12:30:43

    2    concurrent respective dedicated connections                           12:30:46

    3    between the device block and the first and                            12:30:50

    4    second upstream ports, and those concurrent                           12:30:53

    5    respective dedicated connections allow the                            12:30:57

    6    first and second host to simultaneously                               12:31:01

    7    request access to the USB device; right?                              12:31:05

    8         A.   Correct.    In other words, the host                        12:31:07

    9    basically can speak or send requests as fast                          12:31:09

   10    as they want.     The controller doesn't                              12:31:13

   11    necessarily have to accept and respond to                             12:31:16

   12    those.                                                                12:31:18

   13         Q.   Okay.                                                       12:31:18

   14                  So the distinction that you were                        12:31:19

   15    drawing between claim 1 and claim 23 is claim                         12:31:21

   16    1, the two hosts can ask at the same time, but                        12:31:24

   17    you're saying claim 1 doesn't make it explicit                        12:31:27

   18    that the controller -- or it doesn't allow the                        12:31:30

   19    device to respond to those access requests at                         12:31:32

   20    the same time?                                                        12:31:34

   21         A.   Correct.                                                    12:31:35

   22         Q.   Okay.                                                       12:31:35

   23         A.   Significant difference.                                     12:31:36

   24         Q.   Okay.                                                       12:31:36


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    1                   Now, you were referring to your                         12:31:37

    2    claim charts, so let's take a look at those.                           12:31:41

    3    And let's take a look at what you set it up as                         12:31:46

    4    in your claim charts.                                                  12:31:49

    5                   Now, claim charts are thick, and                        12:31:51

    6    in the claim charts, you talk both about claim                         12:31:53

    7    1, I apologize -- both about claim 1 -- I feel                         12:31:57

    8    like I should just say, I get a scratchy                               12:32:05

    9    throat; I promise, I'm not sick.                                       12:32:08

   10                   You talk both about claim 1 and                         12:32:11

   11    about claim 23; right?                                                 12:32:13

   12         A.     I do.                                                      12:32:15

   13         Q.     And I want to talk specifically                            12:32:16

   14    about --                                                               12:32:18

   15                   MR. FENTON:     Objection, Your                         12:32:19

   16    Honor.     We are now comparing claim charts.                          12:32:20

   17                   THE COURT:    Well, hold on.                            12:32:22

   18                   MR. FENTON:     I'm sorry.                              12:32:22

   19                   THE COURT:    I don't want speaking                     12:32:24

   20    objections.                                                            12:32:25

   21                   MR. FENTON:     I'm sorry.                              12:32:26

   22                   THE COURT:    If you want a                             12:32:27

   23    sidebar...                                                             12:32:29

   24                   MR. FENTON:     Yes, sidebar, please.                   12:34:10


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    1                  (Whereupon, a discussion was held                       12:34:10

    2    at sidebar as follows:                                                12:34:10

    3                  THE COURT:     Go ahead.                                12:34:10

    4                  MR. FENTON:     Counsel is seeking                      12:34:10

    5    testimony to compare different claim charts.                          12:34:10

    6    Mr. Zatkovich has not testified about in his                          12:34:10

    7    claim charts for claim 1.       It is outside of                      12:34:10

    8    the scope of what he has testified about                              12:34:10

    9    during his direct testimony.        This is improper                  12:34:10

   10    cross-examination.                                                    12:34:10

   11                  MS. DURIE:     He testified about the                   12:34:10

   12    difference between claim 23 and 1.          He said                   12:34:11

   13    there is a difference.       He said it's a special                   12:34:11

   14    claim and the special claim would be                                  12:34:11

   15    different.    So I asked about what he said in                        12:34:11

   16    his report about what that difference is.                             12:34:11

   17                  MR. FENTON:     He was testifying on                    12:34:11

   18    direct about the language, itself, the claim                          12:34:11

   19    language itself.                                                      12:34:11

   20                  THE COURT:     I heard him on direct                    12:34:11

   21    explain that.    I mean, amongst other things,                        12:34:11

   22    he specifically said on direct that the claims                        12:34:11

   23    would all have to be distinct, that they                              12:34:11

   24    wouldn't be allowed.       He also -- and so, you                     12:34:11


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    1    know, that coupled with the fact that he was                          12:34:11

    2    pointing out certain things about the claims,                         12:34:11

    3    I think this is fair game, so I am going to                           12:34:11

    4    overrule the objection.                                               12:34:11

    5                  (Whereupon, the discussion at                           12:34:15

    6    sidebar concluded.)                                                   12:34:16

    7    BY MS. DURIE:                                                         12:34:16

    8         Q.    So what I wanted to do, Mr.                                12:34:17

    9    Zatkovich, is talk to you about what you said                         12:34:19

   10    in your claim charts you attached in your                             12:34:21

   11    expert report about claim 1 and claim 23.                             12:34:23

   12                  MS. DURIE:    I am mindful, Your                        12:34:25

   13    Honor, that it is 12:35 and you wanted to                             12:34:26

   14    break for lunch.                                                      12:34:29

   15                  THE COURT:    I don't know how long                     12:34:30

   16    it is.    If it's more than a couple minutes --                       12:34:31

   17                  MS. DURIE:    It is more than a                         12:34:33

   18    couple minutes.                                                       12:34:34

   19                  THE COURT:    Okay.    Then let's take                  12:34:35

   20    a break for lunch.                                                    12:34:35

   21                  Same caution during the break;                          12:34:37

   22    don't go back and talk about what you're                              12:34:38

   23    hearing, don't go back and talk about the                             12:34:41

   24    testimony you've heard this morning.          The time                12:34:44


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    1    to discuss it will be later after you've heard                        12:34:46

    2    all the evidence.                                                     12:34:48

    3                   So with that, we'll take a lunch                       12:34:48

    4    break.   Try to be back, let's say, at like 10                        12:34:50

    5    after 1, just so we can keep moving and get                           12:34:56

    6    things done.     Is that enough time for                              12:34:59

    7    everybody?     Okay.   All right.                                     12:35:00

    8                   So let's do that.                                      12:35:01

    9                   (Whereupon, the jury was excused                       12:35:03

   10    from the courtroom.)                                                  12:35:05

   11                   THE COURT:   Okay.    Let's try to be                  12:35:27

   12    back here in about a half hour, a little more                         12:35:29

   13    than that.     Enjoy your lunch.                                      12:35:33

   14                   MS. DURIE:   Thank you.                                12:35:35

   15                   (Whereupon, a 35-minute luncheon                       12:35:36

   16    recess was taken at 12:35 p.m.)                                       12:35:38

   17                   THE COURT CLERK:     All rise.                         13:05:03

   18                   THE COURT:   All right.      Have a                    13:05:06

   19    seat, please, everyone.                                               13:12:21

   20                   The jury, Mr. Koehler.                                 13:12:26

   21                   (Whereupon, the jury entered the                       13:12:29

   22    courtroom.)                                                           13:12:31

   23                   THE COURT:   Have a seat, please.                      13:13:00

   24    Welcome back, everybody.                                              13:13:01


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    1                  Continue, Ms. Durie.                                    13:13:03

    2                  MS. DURIE:    Thank you.                                13:13:06

    3    BY MS. DURIE:                                                         13:13:08

    4         Q.   Now, Mr. Zatkovich, before lunch, we                        13:13:10

    5    were talking about the fact that you provided                         13:13:14

    6    an expert report and then you provided what we                        13:13:17

    7    have been calling claim charts as an                                  13:13:21

    8    attachment to your expert report; right?                              13:13:23

    9         A.   Correct.                                                    13:13:25

   10         Q.   And the claim charts are where you                          13:13:26

   11    take each of the claims, and every single one                         13:13:28

   12    of the requirements of the claims, and you                            13:13:31

   13    show what it is about Aptiv's product that you                        13:13:34

   14    think satisfies those requirements; right?                            13:13:36

   15         A.   Yes, that's correct.                                        13:13:39

   16         Q.   Okay.                                                       13:13:40

   17                  And you provided claim charts for                       13:13:41

   18    a number of different claims in the '243                              13:13:44

   19    Patent; right?                                                        13:13:49

   20         A.   That's correct.                                             13:13:50

   21         Q.   You provided a claim chart for claim                        13:13:50

   22    1 and you provided a claim chart for claim 23?                        13:13:54

   23         A.   That's correct.                                             13:13:58

   24                  MS. DURIE:    And, Your Honor, what                     13:13:58


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    1    I would like to do is, for demonstrative                              13:14:00

    2    purposes only, put up a side-by-side of claim                         13:14:02

    3    1 and claim 23 to run through them, but I am                          13:14:05

    4    not proposing to introduce them into evidence,                        13:14:07

    5    but merely show them for demonstrative                                13:14:09

    6    purposes.                                                             13:14:11

    7                   THE COURT:     Okay.                                   13:14:12

    8    BY MS. DURIE:                                                         13:14:21

    9         Q.     So, Mr. Zatkovich, while we are                           13:14:22

   10    getting that in, in order to assist you in                            13:14:23

   11    orienting, your discussion of claim 1 begins                          13:14:26

   12    on page 1, but I want to start down at                                13:14:34

   13    page 14, which is where you talk about the                            13:14:39

   14    requirement in claim 1 for simultaneously                             13:14:42

   15    requesting access to the USB device.                                  13:14:47

   16         A.     Page 14, did you say?                                     13:14:49

   17         Q.     Are you with me?     Yes.                                 13:14:51

   18         A.     Yes, I have it.                                           13:14:58

   19         Q.     With me?                                                  13:15:01

   20         A.     I am.                                                     13:15:02

   21         Q.     Thank you.                                                13:15:02

   22                   MS. DURIE:     Now, Mr. Glass,                         13:15:03

   23    side-by-side, next to that, if we could put                           13:15:05

   24    up, beginning at page 122, we have here claim                         13:15:09


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    1    23, and we have the requirement wherein the                            13:15:19

    2    controller is operable to receive and respond                          13:15:22

    3    to simultaneous respective USB access requests                         13:15:26

    4    sent by two or more hosts.                                             13:15:33

    5    BY MS. DURIE:                                                          13:15:34

    6         Q.    That is that third requirement of                           13:15:35

    7    claim 23 that we have been discussing;                                 13:15:37

    8    correct?                                                               13:15:39

    9         A.    122.                                                        13:15:40

   10         Q.    Yes, 122.                                                   13:15:43

   11         A.    Yes, I have that.                                           13:15:46

   12         Q.    Okay.   Great.                                              13:15:48

   13                  Now, in each case at the                                 13:15:50

   14    beginning, you have a sentence that says, "The                         13:15:53

   15    USB dual role hub" -- I'm sorry, "the dual                             13:15:58

   16    role hub allows," and then you basically quote                         13:16:03

   17    the claim language; right?                                             13:16:05

   18         A.    Correct.                                                    13:16:07

   19         Q.    And then for claim 1, you say, "The                         13:16:07

   20    simultaneous access allows data to be, for                             13:16:11

   21    example," and I am just going to pause there.                          13:16:16

   22    And for claim 23 --                                                    13:16:18

   23                  MS. DURIE:     You don't have to                         13:16:19

   24    highlight it, Mr. Glass.                                               13:16:20


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    1    BY MS. DURIE:                                                         13:16:22

    2         Q.   -- for claim 23, you say, "for                              13:16:22

    3    example, access requests allow data to be."                           13:16:24

    4    So simultaneous access, and the last access                           13:16:26

    5    request on the right.                                                 13:16:34

    6                   But continuing on, I just want you                     13:16:35

    7    to read the language to yourself and confirm                          13:16:37

    8    that it is the same on these two pages for                            13:16:38

    9    both claim 1 and claim 23.                                            13:16:43

   10                   (Whereupon, the witness complies                       13:16:46

   11    with counsel's request.)                                              13:16:48

   12                   THE WITNESS:     Correct.    I provided                13:16:54

   13    the same examples that actually means both.                           13:16:56

   14                   MS. DURIE:     Right.   Two next                       13:17:01

   15    pages, 15 and 123.                                                    13:17:03

   16    BY MS. DURIE:                                                         13:17:05

   17         Q.   So it continues for both claim 1 and                        13:17:06

   18    claim 23, same text appears for both claims;                          13:17:08

   19    right?                                                                13:17:12

   20         A.   Correct.                                                    13:17:12

   21         Q.   Okay.                                                       13:17:12

   22                   Next two pages, 16 and 124.        Take                13:17:13

   23    a look here.      Please confirm for me that the                      13:17:19

   24    same text appears for both claims.                                    13:17:24


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    1         A.   Yes.    Again, two examples that -- the                     13:17:37

    2    same example in both claim numbers.                                   13:17:42

    3         Q.   Yeah.    And I just want to pause for                       13:17:44

    4    one moment.                                                           13:17:46

    5                  The point of these claim charts is                      13:17:47

    6    for you to set out in detail what your                                13:17:49

    7    infringement analysis is; right?                                      13:17:51

    8         A.   Yes.                                                        13:17:55

    9         Q.   Okay.                                                       13:17:55

   10                  Next two pages, 17 and 125,                             13:17:56

   11    please.   Please confirm for me that these are                        13:18:00

   12    also the same.                                                        13:18:03

   13         A.   Yes.                                                        13:18:07

   14         Q.   Okay.                                                       13:18:08

   15                  Next two pages, 18 and 126, and                         13:18:09

   16    now they are a little bit different; right?                           13:18:15

   17         A.   A little bit, yes.                                          13:18:19

   18         Q.   Okay.    Right.                                             13:18:20

   19                  So for claim 1, it stopped after,                       13:18:20

   20    "the use of interrupt allows the simultaneous                         13:18:24

   21    request for access by both hosts," and it                             13:18:27

   22    continues.                                                            13:18:31

   23                  MS. DURIE:    And, Mr. Glass, if we                     13:18:31

   24    can now have just 126 and 127 so that we can                          13:18:33


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    1    look at the additional language that you                               13:18:37

    2    provided for claim 23.       So side-by-side is 126                    13:18:41

    3    and 127.     Perfect.                                                  13:18:45

    4    BY MS. DURIE:                                                          13:18:46

    5         Q.     So this is the additional language                         13:18:47

    6    that you provided for claim 23 that you had                            13:18:48

    7    not provided for claim 1; right?                                       13:18:50

    8                   Does that look right?                                   13:19:05

    9         A.     It does, yes.                                              13:19:06

   10         Q.     Okay.                                                      13:19:07

   11                   So let's take a look at what you                        13:19:07

   12    said.     You said, "The use of interrupt allows                       13:19:09

   13    the simultaneous access by both hosts."                                13:19:12

   14                   We are talking about accessing and                      13:19:15

   15    then response, so here we are talking about                            13:19:16

   16    accessing; right?                                                      13:19:19

   17         A.     Correct.                                                   13:19:20

   18         Q.     And it says, "The function of that                         13:19:21

   19    access is at least one of the functions                                13:19:26

   20    described in the Apple spec; for example, the                          13:19:28

   21    dual role hub implements a function for                                13:19:33

   22    performing Apple authentication between two                            13:19:37

   23    hosts, implemented networking interface as                             13:19:40

   24    required by CarPlay, the packet first in first                         13:19:43


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    1    out and associated control are used for these                          13:19:47

    2    functions."                                                            13:19:49

    3                  And then you continue reciting                           13:19:50

    4    here the Boston product specification.            You                  13:19:54

    5    say, "Each endpoint pair implements packet                             13:19:58

    6    transfer, the pipe transfers packets from an                           13:20:03

    7    out endpoint to an in endpoint, packets are                            13:20:06

    8    transferred," you talk about the control                               13:20:10

    9    mechanism.                                                             13:20:14

   10                  This is -- what are you talking                          13:20:15

   11    about here, establishing the connection?                               13:20:16

   12         A.    So claim 1 is basically talking about                       13:20:18

   13    simultaneous requests from hosts and claim 23                          13:20:22

   14    is talking about simultaneous requests and                             13:20:25

   15    responses that the multi-host controller can                           13:20:27

   16    process.                                                               13:20:32

   17         Q.    Okay.                                                       13:20:33

   18         A.    So I am adding additional logic in                          13:20:33

   19    claim 23 about the controller and how it                               13:20:37

   20    processes requests.                                                    13:20:39

   21         Q.    Okay.                                                       13:20:42

   22                  And then in the next paragraph,                          13:20:42

   23    you are talking a lit bit more about the logic                         13:20:45

   24    that's in the controller to arbitrate and                              13:20:48


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    1    respond to access requests, so that's the                             13:20:52

    2    simultaneous response that's in claim 23;                             13:20:54

    3    right?                                                                13:20:58

    4         A.     Yeah, that's one.                                         13:20:58

    5         Q.     And you say, "For example, the Boston                     13:21:01

    6    product specification indicates that the out                          13:21:04

    7    endpoint NAKs any transferred packet with FIFO                        13:21:09

    8    is full."     What does a NAK stand for?                              13:21:13

    9         A.     NAK means -- an example I used for                        13:21:16

   10    Spotify, for example.        The Spotify buffers                      13:21:20

   11    will fill up faster than the head unit.           So                  13:21:22

   12    when the FIFO busters fill up, the bridge                             13:21:26

   13    basically says NAK, meaning I can't take                              13:21:29

   14    anymore at the moment.                                                13:21:31

   15         Q.     NAK means, I'm full?                                      13:21:32

   16         A.     Right.     It's a response, but it's a                    13:21:34

   17    response saying don't send me anymore.                                13:21:36

   18         Q.     Exactly.                                                  13:21:38

   19                   And so when a host is                                  13:21:39

   20    communicating with the device and sending                             13:21:40

   21    information to a device by way of example or a                        13:21:42

   22    device is communicating with a host and                               13:21:46

   23    sending information to a host, if one side or                         13:21:48

   24    the other can't accept the information, it                            13:21:50


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    1    sends a NAK that basically says, I'm full.             A               13:21:53

    2    NAK is a standard USB function; right?                                 13:21:56

    3         A.    It is.                                                      13:21:59

    4         Q.    And so what is happening here is that                       13:21:59

    5    in response to being full, the device is                               13:22:00

    6    sending a standard USB response that says, I                           13:22:05

    7    am full?                                                               13:22:10

    8         A.    Correct.                                                    13:22:10

    9         Q.    And then you continue, "ping,"                              13:22:10

   10    P-I-N-G, what's that?                                                  13:22:15

   11         A.    That's another function basically to                        13:22:18

   12    keep alive or indicating that the device is                            13:22:21

   13    still there, being connected.                                          13:22:24

   14         Q.    Standard USB function?                                      13:22:26

   15         A.    Yes.                                                        13:22:27

   16         Q.    Okay.                                                       13:22:27

   17                  And then you talk about "in token                        13:22:28

   18    default responses assist in the arbitration                            13:22:33

   19    between access requests from the host."                                13:22:36

   20                  Everything there is standard USB                         13:22:38

   21    function; right?                                                       13:22:41

   22         A.    Yeah.    For that -- for that side --                       13:22:42

   23    for each side of the multi-host controller.                            13:22:46

   24         Q.    And that's where your analysis of                           13:22:49


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    1    claim 23 in your claim chart ends?                                    13:22:54

    2         A.   Correct.                                                    13:22:57

    3         Q.   Great.     Okay.                                            13:22:58

    4                  Now, the patents --                                     13:22:59

    5                  MS. DURIE:     Let's actually go back                   13:23:07

    6    to Figure 3 and slide 40, please, Mr. Glass.                          13:23:08

    7    BY MS. DURIE:                                                         13:23:18

    8         Q.   Now, what we have up here is                                13:23:18

    9    Figure 3, which we are now probably all very                          13:23:21

   10    familiar with.     And you would agree, sir, that                     13:23:26

   11    the multi-host controller shown in Figure 3 of                        13:23:28

   12    the '243 acts as an arbiter in controlling                            13:23:31

   13    which of the two hosts it can access the                              13:23:35

   14    device/function block 312, including when that                        13:23:37

   15    access is permitted?                                                  13:23:41

   16         A.   Correct.                                                    13:23:43

   17         Q.   And the patent explained how the                            13:23:44

   18    hosts can alternate access; right?                                    13:23:48

   19         A.   You mean alternate access between two                       13:23:51

   20    separate hosts?                                                       13:23:53

   21         Q.   Alternate how the hosts can alternate                       13:23:54

   22    access to the devices.                                                13:23:58

   23         A.   Right.                                                      13:23:59

   24         Q.   Right.                                                      13:24:00


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    1                  MS. DURIE:    Let's see slide 41.                       13:24:01

    2    BY MS. DURIE:                                                         13:24:01

    3         Q.   So one way that the multi-host device                       13:24:04

    4    controller can allow the two different hosts                          13:24:08

    5    to alternate access to the device is with an                          13:24:11

    6    internal arbitration mechanism that may permit                        13:24:15

    7    each host, first host and second host, to                             13:24:20

    8    access the shared function by interleaving                            13:24:22

    9    host accesses.                                                        13:24:27

   10                  MS. DURIE:    So let's go back a                        13:24:29

   11    second to slide 40, Mr. Glass.                                        13:24:30

   12    BY MS. DURIE:                                                         13:24:33

   13         Q.   So here we've got the two hosts at                          13:24:33

   14    the top, we've got the multi-host device                              13:24:35

   15    controller, and what we're talking about is a                         13:24:37

   16    way to allow the two hosts to alternate access                        13:24:39

   17    to the device/function; right?         In the patent,                 13:24:43

   18    let's go back to slide 41.                                            13:24:50

   19         A.   No, actually, let me finish reading                         13:24:52

   20    that paragraph, please.                                               13:24:55

   21         Q.   Well, here it is.       Here it is.                         13:24:56

   22         A.   Okay.                                                       13:25:00

   23         Q.   Interleaving host accesses.                                 13:25:00

   24    Permitting each host to access the peripheral                         13:25:03


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    1    function by interleaving host accesses.                               13:25:06

    2                  Interleaving is a form of                               13:25:09

    3    alternating access; right?                                            13:25:11

    4         A.   Yes, that would be one example how a                        13:25:12

    5    multi-host would work.                                                13:25:16

    6                  MS. DURIE:    Let's go to slide 42.                     13:25:19

    7    BY MS. DURIE:                                                         13:25:19

    8         Q.   Patent continues or by using a common                       13:25:20

    9    request grant structure that may hold up one                          13:25:23

   10    host while another host completes a data                              13:25:27

   11    transfer to or from a shared device.                                  13:25:29

   12                  That's another form of alternating                      13:25:32

   13    access; right?                                                        13:25:34

   14         A.   Correct.                                                    13:25:35

   15         Q.   And the system of holding up one host                       13:25:35

   16    while another host completes a data transfer                          13:25:39

   17    means the two hosts won't collide with each                           13:25:42

   18    other when they're both trying to send                                13:25:44

   19    information to the device?                                            13:25:47

   20         A.   If the device is not capable of                             13:25:47

   21    making -- streaming at the same time.                                 13:25:50

   22         Q.   Right.     It's kind of like an air                         13:25:51

   23    traffic controller; right?        The multi-host                      13:25:53

   24    device controller is acting like an air                               13:25:58


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    1    traffic controller basically saying you get to                        13:26:00

    2    go, you get to go, you get to go?                                     13:26:02

    3         A.   Again, if the device can only accept                        13:26:04

    4    data from one host at a time.        Some devices,                    13:26:07

    5    some shared USB blocks --                                             13:26:11

    6         Q.   Well --                                                     13:26:12

    7         A.   -- could accept data from both hosts                        13:26:12

    8    at the same time.                                                     13:26:15

    9         Q.   This concept of arbitrating between                         13:26:16

   10    multiple host requests, that is something that                        13:26:21

   11    the patent office found to be at the heart of                         13:26:24

   12    the purported invention of the '243 Patent;                           13:26:28

   13    right?                                                                13:26:32

   14         A.   I'm not sure I would characterize it                        13:26:33

   15    that way, but it would certainly be one                               13:26:36

   16    function of the patent.                                               13:26:38

   17         Q.   Well, let's take a look.                                    13:26:39

   18                  MS. DURIE:    Your Honor, I want to                     13:26:42

   19    mark for identification TX-370.         That is the                   13:26:42

   20    entire record of the Inter Partes Review                              13:26:46

   21    proceeding.    It's huge.     I'd like to offer it                    13:26:49

   22    and then hand the witness a portion of it that                        13:26:52

   23    is the final disposition.                                             13:26:58

   24                  MR. FENTON:     Objection, scope.                       13:27:06


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    1    Objection.    Sidebar.                                                 13:27:07

    2                  THE COURT:     Okay.    Come on up.                      13:27:08

    3                  (Whereupon, a discussion was held                        13:27:08

    4    at sidebar as follows:                                                 13:27:08

    5                  MR. FENTON:      This witness has not                    13:32:43

    6    looked at these materials, has not studied                             13:32:43

    7    these materials.      She's asking him to perform                      13:32:43

    8    an analysis of a 3,000 page document on the                            13:32:43

    9    fly.                                                                   13:32:43

   10                  It's also -- this is the                                 13:32:43

   11    prosecution history of the IPR -- sorry, this                          13:32:43

   12    is not a prosecution of the history.           We                      13:32:43

   13    actually confirmed it is not in the file                               13:32:43

   14    history.                                                               13:32:43

   15                  THE COURT:     I am confused now.        I               13:32:43

   16    thought we were marking it as the prosecution                          13:32:43

   17    history?                                                               13:32:43

   18                  MS. DURIE:     It is the entirety                        13:32:43

   19    which we would seek to be admitted as a whole                          13:32:43

   20    big thing.                                                             13:32:43

   21                  THE COURT:     It is not the file                        13:32:43

   22    wrapper?                                                               13:32:43

   23                  MR. FENTON:      Correct.    It is not                   13:32:43

   24    the file wrapper.      So I actually don't know                        13:32:43


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    1    which section she is going to point to, but                           13:32:43

    2    this is hearsay within hearsay that we were                           13:32:43

    3    concerned about that the court cases that deal                        13:32:43

    4    with say you have to be careful when you're                           13:32:43

    5    talking about specific statements within these                        13:32:43

    6    documents, even if it is the opinion.          So it's                13:32:43

    7    potentially highly prejudicial for these to be                        13:32:43

    8    shown to the jury.                                                    13:32:43

    9                   If she was to ask questions about                      13:32:43

   10    them, that's one thing.       But if she wants to                     13:32:43

   11    show that to the jury, that's the part that's                         13:32:43

   12    problematic.                                                          13:32:43

   13                   THE COURT:    Wait.     I thought that                 13:32:43

   14    we had decided at the final pretrial                                  13:32:43

   15    conference that this was going to be admitted                         13:32:43

   16    into evidence as one big block?                                       13:32:43

   17                   MR. FENTON:    It's one thing for it                   13:32:43

   18    to be admitted into evidence.          It is another                  13:32:43

   19    thing for the specific statements within it --                        13:32:43

   20    we were reserving our objections to -- I don't                        13:32:43

   21    know that she is offering to show it to the                           13:32:43

   22    jury.                                                                 13:32:43

   23                   THE COURT:    No.     You can't both                   13:32:43

   24    admit it and object to it.         You either admit                   13:32:43


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    1    it or you don't.     Once it's admitted into                          13:32:43

    2    evidence, the jury can see it.                                        13:32:43

    3                  MR. FENTON:     Your Honor, I                           13:32:43

    4    respectfully --                                                       13:32:43

    5                  THE COURT:    That's how evidence                       13:32:43

    6    works.                                                                13:32:43

    7                  MR. FENTON:     Yes, the jury can see                   13:32:43

    8    it, but if we are highlighting sections of it,                        13:32:43

    9    there are cases where the decision has come                           13:32:43

   10    out that you have to look at the individual                           13:32:43

   11    statements to see if those should be -- if                            13:32:43

   12    those are proper.                                                     13:32:43

   13                  THE COURT:    No, no, but the                           13:32:43

   14    decisions say that you have to look at                                13:32:43

   15    individual statements if you parse what can                           13:32:43

   16    and cannot come into evidence, right?          Once                   13:32:43

   17    you are deciding that it can all be in                                13:32:43

   18    evidence, then it is in evidence.         I mean, we                  13:32:43

   19    are going to send all the evidence back to the                        13:32:43

   20    jury.                                                                 13:32:44

   21                  MR. FENTON:     Then I need to say                      13:32:44

   22    this is outside the scope of direct and we are                        13:32:44

   23    very far afield from the statement that he                            13:32:44

   24    made, which was the claim language, itself,                           13:32:44


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    1    and the difference between claim 1 and 23.                            13:32:44

    2                  MS. DURIE:    He was saying about                       13:32:44

    3    whether the -- he was just quarreling whether                         13:32:44

    4    the claim language encompasses devices where                          13:32:44

    5    you've got simultaneous access and said well,                         13:32:44

    6    sure, alternating access with some device, but                        13:32:44

    7    not every device.     That's inconsistent with                        13:32:44

    8    the record of the proceeding of the case.                             13:32:44

    9                  MR. FENTON:     The record of our                       13:32:44

   10    arguments or the record of findings?                                  13:32:44

   11                  MS. DURIE:    It is the final                           13:32:44

   12    written decision of the 19th Circuit.                                 13:32:44

   13                  THE COURT:    Well, he hasn't -- he                     13:32:44

   14    hasn't seen -- or at least you haven't                                13:32:44

   15    established that he has seen the final written                        13:32:44

   16    decision.                                                             13:32:44

   17                  MS. DURIE:    So he --                                  13:32:44

   18                  THE COURT:    I'm sorry.      But the                   13:32:44

   19    final written decision is not -- I mean, his                          13:32:44

   20    testimony is not about the written decision,                          13:32:44

   21    it is about validity, and his testimony is                            13:32:44

   22    about infringement.      I mean, I understand                         13:32:44

   23    that, at some level, that requires him to                             13:32:44

   24    opine on the scope of the claims.                                     13:32:44


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    1                  MS. DURIE:    They have to be                           13:32:44

    2    consistent, and that's my only point.          I am                   13:32:44

    3    not going to ask about prior art; I'm not                             13:32:44

    4    going to get into the prior art.         All I am                     13:32:44

    5    going to talk to him about is what he deems --                        13:32:44

    6    the point at which he agrees there has to be                          13:32:44

    7    consistent positions with respect to what the                         13:32:44

    8    claims cover.    That's the only thing we are                         13:32:44

    9    going to talk about.                                                  13:32:44

   10                  I am not proposing to get into                          13:32:44

   11    prior art.    And it is in evidence.        I mean, we                13:32:44

   12    had an agreement it would be in evidence.                             13:32:44

   13                  THE COURT:    I understand it would                     13:32:44

   14    be in evidence, but the objection is a                                13:32:44

   15    different one now.                                                    13:32:44

   16                  MS. DURIE:    Yeah.                                     13:32:44

   17                  THE COURT:    Okay.    I don't                          13:32:44

   18    entirely know what you are going to show him                          13:32:44

   19    so I am proceeding in a vacuum.         So put it up,                 13:32:44

   20    let's see what it is, and then if you think --                        13:32:44

   21    if it really is beyond the scope of the direct                        13:32:44

   22    exam, then you can renew the objection.                               13:32:44

   23                  Having said that, I just want to                        13:32:44

   24    be clear that from my perspective, if he's                            13:32:44


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    1    opining on -- by necessity, opining on the                            13:32:44

    2    scope of the claims in order to get to                                13:32:44

    3    infringement, then she is certainly allowed to                        13:32:44

    4    impeach, right, on that.       I'm sorry, I don't                     13:32:44

    5    mean to refer to you in the third person                              13:32:44

    6    because you are standing here.                                        13:32:44

    7                  MS. DURIE:    That's all right.                         13:32:44

    8                  MR. FENTON:     Except that he is not                   13:32:44

    9    opining today in court on the scope of claim                          13:32:44

   10    1.                                                                    13:32:44

   11                  THE COURT:    No, I know he is not                      13:32:44

   12    opining on the scope of claim 1.                                      13:32:45

   13                  MS. DURIE:    Claim 23.                                 13:32:45

   14                  THE COURT:    And that's why I need                     13:32:45

   15    to hear the question a little bit.                                    13:32:45

   16                  MS. DURIE:    Yes.                                      13:32:45

   17                  MR. FENTON:     Thank you.                              13:32:45

   18                  (Whereupon, the discussion at                           13:32:47

   19    sidebar concluded.)                                                   13:32:50

   20                  MS. DURIE:    Your Honor, we offer                      13:33:03

   21    370.                                                                  13:33:04

   22                  MR. FENTON:     No objection.                           13:33:05

   23                  THE COURT:    It will be received.                      13:33:06

   24                  MS. DURIE:    And I am going to hand                    13:33:06


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    1    to the witness pages 3253 through 3442.                                13:33:08

    2                   MR. FENTON:     Sorry, I need another                   13:33:24

    3    sidebar.    I apologize.                                               13:33:26

    4                   (Whereupon, a discussion was held                       13:34:33

    5    at sidebar as follows:                                                 13:34:33

    6                   MR. FENTON:     I apologize for the                     13:34:33

    7    two parts, but we agreed that the whole thing                          13:34:33

    8    would come in as a group, and now we're                                13:34:33

    9    handing individual documents.         That's exactly                   13:34:33

   10    what we were saying.                                                   13:34:33

   11                   THE COURT:    No.    The whole thing                    13:34:33

   12    has come in.     As with any other exhibit,                            13:34:33

   13    particularly a voluminous one, you can call                            13:34:33

   14    out portions of it.       If you think that there                      13:34:33

   15    are parts of it that render it incomplete, you                         13:34:33

   16    can either redirect on it, or if it's                                  13:34:33

   17    materially misleading in some way, you can                             13:34:33

   18    object.    But if it's in evidence, it's in.                           13:34:33

   19                   MR. FENTON:     Understood, Your                        13:34:33

   20    Honor.                                                                 13:34:35

   21                   (Whereupon, the discussion at                           13:34:35

   22    sidebar concluded.)                                                    13:34:35

   23    BY MS. DURIE:                                                          13:34:37

   24         Q.    Mr. Zatkovich, you should have in                           13:34:37


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    1    front of you the final written decision from                           13:34:40

    2    the, what we have been calling IPR proceeding.                         13:34:43

    3                     Do you see that?                                      13:34:46

    4         A.    I have that.                                                13:34:47

    5         Q.    And if we can turn to page 3280 --                          13:34:50

    6    the pages are at the bottom.         It is page 3280                   13:34:59

    7    of 3442.                                                               13:35:05

    8         A.    Yes, I have that.                                           13:35:10

    9         Q.    Are you with me?                                            13:35:11

   10         A.    I'm sorry, 3284 of 3442?                                    13:35:12

   11         Q.    3280, 3-2-8-0 and it is page 28.                            13:35:17

   12         A.    Page 28 of the document.        Okay.                       13:35:23

   13         Q.    Yes.                                                        13:35:25

   14                     And you understand this is the                        13:35:26

   15    decision of the patent office on that Inter                            13:35:34

   16    Partes Review proceeding?                                              13:35:40

   17         A.    I don't.     I haven't seen the document                    13:35:40

   18    before.    But if you're representing that it                          13:35:44

   19    is, I believe that fact.                                               13:35:46

   20         Q.    So even up to your testimony in court                       13:35:47

   21    here today, you have not read what the patent                          13:35:51

   22    office determined about the scope of the                               13:35:53

   23    claims?                                                                13:35:58

   24         A.    No.     It wasn't relevant to my                            13:35:58


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    1    testimony.                                                            13:36:00

    2         Q.   Okay.                                                       13:36:00

    3                  Is it relevant -- is the following                      13:36:04

    4    relevant to your testimony?                                           13:36:07

    5                  "Neither party identifies nor do                        13:36:08

    6    we discern any disclosure in the USB                                  13:36:11

    7    specification describing a capability to                              13:36:15

    8    arbitrate among multiple host requests.                               13:36:18

    9    Indeed, adding such a feature is at the heart                         13:36:21

   10    of the purported invention of the '243 Patent;                        13:36:24

   11    i.e., the point of novelty."                                          13:36:28

   12                  Do you disagree that the                                13:36:31

   13    capability to arbitrate among multiple host                           13:36:34

   14    requests is at the heart of the invention of                          13:36:38

   15    the '243 Patent?                                                      13:36:42

   16         A.   Yes.    Some of the claims would meet                       13:36:44

   17    the limitation if they alternate the request.                         13:36:48

   18    Some of the claims would require some                                 13:36:51

   19    continuous requests.      But yes, that would be                      13:36:54

   20    one key function of the claim -- some of the                          13:36:55

   21    claims in the patent.                                                 13:36:59

   22         Q.   So your opinion is inconsistent with                        13:37:00

   23    the decision of the patent office, that that                          13:37:03

   24    capability to arbitrate among multiple host                           13:37:07


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    1    requests is at the heart of the invention of                           13:37:10

    2    the patent?                                                            13:37:13

    3         A.    Not at all.     I believe not being able                    13:37:14

    4    to alternate the access would be a key feature                         13:37:17

    5    of that.                                                               13:37:21

    6         Q.    Okay.                                                       13:37:21

    7         A.    As would be simultaneous access.                            13:37:22

    8         Q.    Well, in fact, the asserted claims in                       13:37:24

    9    all of the patents require alternately                                 13:37:31

   10    accessing the USB device or device block;                              13:37:35

   11    right?                                                                 13:37:40

   12         A.    Could you point -- I'm sorry, could                         13:37:42

   13    you point me to it?                                                    13:37:44

   14         Q.    Sure.                                                       13:37:46

   15                  MS. DURIE:     Let me mark for                           13:37:49

   16    identification only Exhibit -- as Exhibit 376,                         13:37:51

   17    a copy of the reply report of Ivan Zatkovich.                          13:37:55

   18                  (Whereupon, Trial Exhibit TX-376                         13:38:01

   19    was introduced.)                                                       13:38:07

   20    BY MS. DURIE:                                                          13:38:18

   21         Q.    Mr. Zatkovich, you have in front of                         13:38:19

   22    you now a copy of your reply report; correct?                          13:38:21

   23         A.    Correct.                                                    13:38:23

   24         Q.    Please turn to paragraph 62.         In                     13:38:24


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    1    paragraph 62, you say, "The asserted claims in                         13:38:36

    2    both the '243," and another patent, "require                           13:38:41

    3    alternately accessing the USB device, device                           13:38:46

    4    block function block without either host                               13:38:52

    5    reconfiguring the device."                                             13:38:55

    6                   Now, when you say here in your                          13:38:56

    7    reply report, "the asserted claims," you are                           13:38:58

    8    including, among the asserted claims, 23, 24                           13:39:02

    9    and 25; right?                                                         13:39:06

   10         A.     Yes, that's correct.                                       13:39:15

   11         Q.     Okay.                                                      13:39:16

   12                   Now, let's talk about the Aptiv                         13:39:16

   13    device.                                                                13:39:20

   14                   MS. DURIE:    If we could have slide                    13:39:22

   15    45 -- actually, I take that back.          You know                    13:39:24

   16    what?     Let's continue on this theme of access.                      13:39:26

   17    If we could have slide 50.                                             13:39:32

   18    BY MS. DURIE:                                                          13:39:36

   19         Q.     Now, you have expressed the opinion                        13:39:37

   20    that in the context --                                                 13:39:41

   21                   MS. DURIE:    Actually, you know                        13:39:43

   22    what.     I did that.   Can you go back -- I'm                         13:39:44

   23    sorry.     Can you go back to slide 45 for a                           13:39:47

   24    minute.                                                                13:39:51


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    1    BY MS. DURIE:                                                         13:39:53

    2         Q.   So in the Aptiv device, each host                           13:39:53

    3    accesses its device basically whenever it                             13:39:56

    4    wants; right?                                                         13:40:00

    5         A.   Yes.     I'd say that's accurate.                           13:40:02

    6         Q.   Okay.                                                       13:40:05

    7                  And you have expressed the opinion                      13:40:05

    8    that that is a form of alternating access;                            13:40:07

    9    right?                                                                13:40:10

   10         A.   Again, when each device is polling                          13:40:10

   11    the bridge hundreds of times a second, some of                        13:40:14

   12    those accesses are going to be alternating,                           13:40:17

   13    some of those accesses are going to be                                13:40:20

   14    simultaneous.      So yes.                                            13:40:22

   15         Q.   Go to the next slide.        I just want to                 13:40:24

   16    break down what it is you are saying here.                            13:40:28

   17                  So what you are saying, and I                           13:40:29

   18    think you just said it consistent with what                           13:40:31

   19    you said in your report, not every access --                          13:40:33

   20    not every set of accesses from both hosts                             13:40:36

   21    would coincidentally occur simultaneously?                            13:40:40

   22         A.   Correct.                                                    13:40:44

   23         Q.   Right.                                                      13:40:45

   24                  So you're saying sometimes,                             13:40:45


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    1    coincidentally, both hosts might send requests                        13:40:47

    2    at the same time.      And then you say --                            13:40:50

    3                   MS. DURIE:     If we could have the                    13:40:54

    4    next slide.     Sorry, if we can go -- sorry,                         13:40:55

    5    slide 52.     Apologies.                                              13:40:59

    6    BY MS. DURIE:                                                         13:41:03

    7         Q.     You say, "accesses made to the bridge                     13:41:03

    8    by both hosts may not occur simultaneously,                           13:41:06

    9    and therefore they would be alternating                               13:41:09

   10    accesses."                                                            13:41:11

   11                   So what you're saying here is if,                      13:41:12

   12    by coincidence, one host sends a request to                           13:41:14

   13    its device at one point in time, and the other                        13:41:17

   14    host sends a request to its device at a                               13:41:20

   15    different point in time, if, by coincidence,                          13:41:22

   16    those things do not happen simultaneously,                            13:41:25

   17    they are alternating?                                                 13:41:28

   18         A.     Right.   And the microcontroller, the                     13:41:29

   19    multi-host controller would have to support                           13:41:33

   20    that.                                                                 13:41:37

   21                   MS. DURIE:     Could I get the                         13:41:43

   22    physical device that we had?                                          13:41:44

   23                   Perfect.     Thank you.                                13:41:45

   24    BY MS. DURIE:                                                         13:41:47


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    1         Q.   So I don't remember, Mr. Zatkovich,                         13:41:47

    2    whether you were present in court for this.                           13:41:49

    3         A.   Yes, I believe I was.                                       13:41:52

    4         Q.   Okay.                                                       13:41:53

    5                  So we have one USB Ethernet                             13:41:54

    6    controller; right?                                                    13:41:57

    7         A.   Meaning, the one that you are holding                       13:42:00

    8    in your hand?                                                         13:42:02

    9         Q.   Yes.                                                        13:42:03

   10         A.   Yes.                                                        13:42:04

   11         Q.   And we have a second USB Ethernet                           13:42:04

   12    controller; right?                                                    13:42:06

   13         A.   Correct.                                                    13:42:07

   14         Q.   And we have the crossover cable that                        13:42:07

   15    connects it; right?                                                   13:42:10

   16         A.   Correct.    The crossover cable running                     13:42:11

   17    from the Ethernet port, yes.                                          13:42:16

   18         Q.   Right.                                                      13:42:16

   19                  And so I can plug this into the                         13:42:17

   20    USB port on one computer, plug this into the                          13:42:18

   21    USB port on the other computer, and send data                         13:42:22

   22    back and forth between the two computers;                             13:42:24

   23    right?                                                                13:42:26

   24         A.   Sure.                                                       13:42:26


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    1         Q.   Between the two USB hosts; right?                           13:42:27

    2         A.   Yes.                                                        13:42:29

    3         Q.   And what you're saying is if this                           13:42:29

    4    computer happens to send data at point in time                        13:42:32

    5    A, and this one sends data at the same point                          13:42:35

    6    in time A, they could be sending things                               13:42:38

    7    simultaneously; right?                                                13:42:40

    8         A.   That's correct.                                             13:42:41

    9         Q.   And you're saying if it happens just                        13:42:41

   10    coincidentally, that this one sends data to                           13:42:43

   11    the opposite computer at one point in time and                        13:42:46

   12    this one sends it at a different point in                             13:42:49

   13    time, that is a form of alternating access?                           13:42:51

   14         A.   Yeah, but when you are using the term                       13:42:53

   15    "coincidentally," meaning within a given                              13:42:56

   16    second.   So some may be simultaneous, some may                       13:42:59

   17    be alternating.     And we are going to see those                     13:43:02

   18    simultaneous access happening thousands of                            13:43:05

   19    times when you have a transaction and                                 13:43:07

   20    alternating access is happening thousands of                          13:43:10

   21    times.                                                                13:43:12

   22         Q.   But your point is it's a system for                         13:43:12

   23    allowing access if it allows, by complete                             13:43:15

   24    coincidence, things to happen at the same                             13:43:18


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    1    time?                                                                 13:43:20

    2         A.   No, we are talking about the behavior                       13:43:20

    3    of the host.     The device is in control of the                      13:43:22

    4    host, and the host has the ability to send                            13:43:23

    5    transactions whenever they want.         The                          13:43:24

    6    multi-device controller has to have the                               13:43:29

    7    ability to support whether they send them                             13:43:30

    8    simultaneously or alternately.         The                            13:43:32

    9    functionality in the multi-host device does                           13:43:39

   10    not happen coincidentally, it happens by                              13:43:42

   11    design.                                                               13:43:43

   12         Q.   And if, by coincidence, both hosts                          13:43:44

   13    send data at different times, that's                                  13:43:48

   14    alternating access?                                                   13:43:50

   15         A.   Right, the multi-host device is                             13:43:51

   16    designed to support both alternate and                                13:43:54

   17    simultaneous.      It is not by coincidence.                          13:43:56

   18                   MS. DURIE:   Let's put up slide 36                     13:44:01

   19    and go back to Figure 3.                                              13:44:03

   20    BY MS. DURIE:                                                         13:44:03

   21         Q.   So Figure 3 shows one multi-device                          13:44:04

   22    controller connected to two hosts; correct?                           13:44:09

   23         A.   Right.                                                      13:44:11

   24         Q.   It is also connected to a share                             13:44:11


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    1    device connection block 312; right?                                   13:44:13

    2         A.   Yes.                                                        13:44:16

    3         Q.   Claim 23, if we can go to slide 38,                         13:44:17

    4    requires a shared USB?                                                13:44:20

    5         A.   I'm sorry, could you back up?          How                  13:44:22

    6    did you describe block 312?                                           13:44:25

    7         Q.   Go back.    I said it is a shared                           13:44:28

    8    device or function.                                                   13:44:30

    9         A.   Pertaining to which claim?                                  13:44:32

   10         Q.   Well, it was a general statement, but                       13:44:35

   11    let's take a look specifically at claim 23.                           13:44:37

   12    We can go to slide 38.                                                13:44:40

   13         A.   Each claim describes that box                               13:44:42

   14    slightly differently.                                                 13:44:43

   15         Q.   Claim 23 says that box, if you will,                        13:44:44

   16    is a shared USB device block; right?                                  13:44:47

   17         A.   That's correct.                                             13:44:50

   18         Q.   And a USB device block is something                         13:44:51

   19    that performs a function for a host; right?                           13:44:54

   20         A.   Yes.                                                        13:44:58

   21         Q.   Okay.                                                       13:44:59

   22                  And claim 23 requires the shared                        13:44:59

   23    USB device block to be operable to be                                 13:45:02

   24    simultaneously configured by two or more USB                          13:45:05


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    1    hosts; right?                                                          13:45:08

    2         A.     I'm sorry, which claim element are                         13:45:11

    3    you --                                                                 13:45:14

    4         Q.     23, a shared USB device block is                           13:45:15

    5    operable to be simultaneously configured by                            13:45:18

    6    two or more hosts.                                                     13:45:21

    7                   MS. DURIE:    You can go to slide                       13:45:23

    8    39, I believe.                                                         13:45:25

    9    BY MS. DURIE:                                                          13:45:27

   10         Q.     Right?                                                     13:45:27

   11         A.     Correct.                                                   13:45:27

   12         Q.     So the two hosts share the same USB                        13:45:28

   13    device block; right?                                                   13:45:32

   14         A.     Correct.                                                   13:45:34

   15         Q.     And in the contents of claim 23, each                      13:45:35

   16    host must be able to access and share the same                         13:45:40

   17    segments of the USB device block; right?                               13:45:42

   18         A.     Yes, I believe that's correct.                             13:45:48

   19         Q.     And each host must be able to perform                      13:45:50

   20    the same function in the USB device block;                             13:45:52

   21    right?                                                                 13:45:55

   22         A.     In accessing a function, and we have                       13:46:04

   23    specific claim definition construction for                             13:46:08

   24    that.     I have a copy of that.      If you want to                   13:46:11


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    1    put that up, I can give you a little more                             13:46:18

    2    precision on that.                                                    13:46:21

    3         Q.   Well, let me ask you this:                                  13:46:22

    4                  Do you agree that each host must                        13:46:23

    5    be able to access and share the same segment                          13:46:25

    6    of the USB device, which, again, would be the                         13:46:28

    7    USB device block, and perform the same                                13:46:31

    8    function in that?                                                     13:46:34

    9         A.   I am trying to figure out where you                         13:46:39

   10    are quoting from because I don't think that                           13:46:40

   11    matches the claim construction.                                       13:46:42

   12         Q.   I am quoting from your deposition.           I              13:46:43

   13    am happy to read it.       Page 74, line 21                           13:46:46

   14    through 75, 13.                                                       13:46:52

   15         A.   And we were talking about claim 23?                         13:46:54

   16         Q.   Let me read it.                                             13:46:56

   17                  "QUESTION:     And what is it that                      13:46:57

   18    you understand has to be shared to count?                             13:46:59

   19                  "ANSWER:     So I am looking at claim                   13:47:03

   20    18 of the '243 and also claim 23 of the '243.                         13:47:05

   21    So could you ask that question again?                                 13:47:11

   22                  "QUESTION:     Does the device or                       13:47:14

   23    function that both hosts use have to be the                           13:47:15

   24    same shared function?                                                 13:47:19


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    1                   "ANSWER:     I'm sorry, one more                        13:47:20

    2    time.                                                                  13:47:22

    3                   "QUESTION:     As you understand the                    13:47:23

    4    scope of the asserted patent, does the USB                             13:47:25

    5    device block corresponding to at least one                             13:47:27

    6    function have to be the same shared function                           13:47:30

    7    for each host?                                                         13:47:32

    8                   "ANSWER:     Each host must be able                     13:47:34

    9    to access and share the same segment of the                            13:47:37

   10    USB device, which, again, would be the USB                             13:47:40

   11    device block and perform the same function in                          13:47:42

   12    that which may or may not be the same as the                           13:47:46

   13    formal definition of the term USB function."                           13:47:48

   14                   Are you with me?                                        13:47:54

   15         A.     Yes.    I think so.    I recall that                       13:47:55

   16    statement.                                                             13:47:59

   17         Q.     Now, you should have in front of you                       13:48:00

   18    the institution decision that I handed you a                           13:48:03

   19    few moments ago, and I would ask you to turn                           13:48:08

   20    to page 3270.                                                          13:48:13

   21                   Now, you see -- are you looking at                      13:48:34

   22    3270?     It's page 18.                                                13:48:36

   23         A.     I am now.                                                  13:48:38

   24         Q.     Okay.                                                      13:48:39


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    1                   And you see there is a discussion                      13:48:40

    2    here of the meaning of the term "shared USB                           13:48:42

    3    device block"?                                                        13:48:47

    4         A.     Shared USB device block or shared USB                     13:48:54

    5    device?                                                               13:48:57

    6         Q.     Shared USB device block.                                  13:48:58

    7                   Take a look, starting in the third                     13:49:04

    8    line on page 18.                                                      13:49:07

    9                   MR. FENTON:    Objection, Your                         13:49:10

   10    Honor.    It calls for a legal conclusion.                            13:49:11

   11                   THE COURT:    Let her form her                         13:49:13

   12    question and then you can object.                                     13:49:17

   13    BY MS. DURIE:                                                         13:49:18

   14         Q.     You see about four lines down in the                      13:49:19

   15    paragraph, it says, "Thus we construe shared                          13:49:21

   16    USB device block means a function as discussed                        13:49:24

   17    above that is shared or accessible by two or                          13:49:29

   18    more USB hosts"?                                                      13:49:32

   19                   MR. FENTON:    Objection.     Calls for                13:49:38

   20    a legal conclusion.                                                   13:49:39

   21                   THE COURT:    Overruled for now.                       13:49:39

   22    She is only asking whether or not he sees the                         13:49:41

   23    language.     Okay, he sees the language there.                       13:49:44

   24    BY MS. DURIE:                                                         13:49:46


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    1         Q.     Do you see that language?                                 13:49:47

    2         A.     I do.                                                     13:49:48

    3         Q.     Now, this portion refers to a                             13:49:48

    4    function.     If you turn two pages earlier on                        13:49:52

    5    page 16 --                                                            13:49:56

    6         A.     Again, I am trying to reconcile the                       13:50:00

    7    paragraph that we just looked at.         It appears                  13:50:01

    8    that this is using a different definition of                          13:50:04

    9    the term than the Court provided in this                              13:50:07

   10    litigation.                                                           13:50:08

   11         Q.     So you disagree -- you think there is                     13:50:10

   12    a conflict between --                                                 13:50:13

   13                   MR. FENTON:      Objection, Your                       13:50:15

   14    Honor.    Sorry.    Sidebar.                                          13:50:16

   15                   (Whereupon, a discussion was held                      13:54:07

   16    at sidebar as follows:                                                13:54:07

   17                   MR. FENTON:      Your Honor, she is                    13:54:07

   18    trying to bring a claim construction that this                        13:54:07

   19    Court denied so we are now going to have a                            13:54:07

   20    conflicting legal understanding of what the                           13:54:07

   21    claims are.                                                           13:54:07

   22                   MS. DURIE:      Absolutely not.    The                 13:54:07

   23    Court construed USB device block as a shared                          13:54:07

   24    function.     This is completely consistent with                      13:54:07


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    1    that.   I just asked him if he agreed with                            13:54:07

    2    that.                                                                 13:54:07

    3                  MR. FENTON:     But the PTAB showed a                   13:54:07

    4    different claim construction.        I don't have                     13:54:07

    5    this right with me, but she is asking about                           13:54:07

    6    claim construction.      The witness just said                        13:54:07

    7    that is a different claim construction he's                           13:54:07

    8    been using.     Will you put up the claim                             13:54:07

    9    construction?                                                         13:54:07

   10                  MS. DURIE:    Absolutely.      I am                     13:54:07

   11    going to.                                                             13:54:07

   12                  MR. FENTON:     This is a legal area.                   13:54:07

   13    This is very --                                                       13:54:07

   14                  THE COURT:    I am concerned today                      13:54:07

   15    that I am seeing -- I mean, he says there is a                        13:54:07

   16    different claim construction.        I know you had                   13:54:07

   17    this dispute about some of the language with                          13:54:07

   18    respect to claim 18, which is not here.                               13:54:07

   19                  MS. DURIE:    Which is not here.                        13:54:07

   20                  THE COURT:    I don't want to open                      13:54:07

   21    the door to that inadvertently.                                       13:54:07

   22                  MS. DURIE:    I am not --                               13:54:07

   23                  THE COURT:    Hold on.     Let me just                  13:54:07

   24    finish to keep a clean record.                                        13:54:07


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    1                  I am just concerned -- I don't                          13:54:07

    2    think that's what you're trying to do, but I'm                        13:54:07

    3    concerned we are going to get there very                              13:54:07

    4    quickly and then we are going to have to spend                        13:54:07

    5    a lot of time explaining to the jury, which I                         13:54:07

    6    would like to avoid.                                                  13:54:07

    7                  So if what we are talking about is                      13:54:07

    8    the construction of claim 23, then leave it                           13:54:07

    9    there.   But it's got to be either they are the                       13:54:07

   10    same constructions or it is the Court's                               13:54:07

   11    construction.    To the extent there are                              13:54:07

   12    diversions, we are not using the PTAB.                                13:54:07

   13                  MS. DURIE:    I will be clear there                     13:54:07

   14    are diversions, I agree.       I already asked him                    13:54:07

   15    to confirm the Court's construction.          I am                    13:54:07

   16    happy to put it up.                                                   13:54:07

   17                  MR. FENTON:     But I am also                           13:54:07

   18    concerned about putting up language from a                            13:54:07

   19    claim construction ruling that might be                               13:54:07

   20    inconsistent or have an explanation.          It's not                13:54:07

   21    for the jury to understand the claim                                  13:54:07

   22    constructions.                                                        13:54:07

   23                  THE COURT:    So I agree with that,                     13:54:07

   24    and I don't want to go down that path.           I                    13:54:07


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    1    need -- I don't have the claim construction                           13:54:07

    2    right in front of me.                                                 13:54:07

    3                  Can you tell me exactly where you                       13:54:07

    4    are going with all of this to know -- it's not                        13:54:07

    5    clear to me -- to know why we need to put in                          13:54:07

    6    front of him claim constructions from the                             13:54:08

    7    PTAB?                                                                 13:54:08

    8                  MS. DURIE:    So the term that the                      13:54:08

    9    Court construed is USB device.         The claim                      13:54:08

   10    requires that that USB device be shared claim                         13:54:08

   11    language.                                                             13:54:08

   12                  THE COURT:    Right.                                    13:54:08

   13                  MS. DURIE:    I want to get at his                      13:54:08

   14    understanding, in the context of claim 23,                            13:54:08

   15    about what that requires.                                             13:54:08

   16                  THE COURT:    But there is a                            13:54:08

   17    difference between his understanding -- he has                        13:54:08

   18    already testified that he hasn't reviewed this                        13:54:08

   19    decision, so this decision cannot inform his                          13:54:08

   20    understanding.    So there is a difference                            13:54:08

   21    between impeaching with this and using this to                        13:54:08

   22    either inform or test his understanding.                              13:54:08

   23                  He hasn't reviewed this.        So                      13:54:08

   24    what's the foundation to give him claim                               13:54:08


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    1    construction from PTAB to establish his                               13:54:08

    2    understanding?                                                        13:54:08

    3                  MS. DURIE:    To see whether he                         13:54:08

    4    believes it is or isn't.                                              13:54:08

    5                  THE COURT:    But that's not his --                     13:54:08

    6    I think that's beyond the scope of what he has                        13:54:08

    7    done here today.     He has testified that he did                     13:54:08

    8    not review the PTAB ruling.         Whether or not --                 13:54:08

    9    if there is some argument to be made in                               13:54:08

   10    closing --                                                            13:54:08

   11                  MS. DURIE:    Okay.                                     13:54:08

   12                  THE COURT:    -- that's fine, but it                    13:54:08

   13    is not for him to do it.                                              13:54:08

   14                  MS. DURIE:    Okay.                                     13:54:08

   15                  THE COURT:    There's no foundation                     13:54:08

   16    for him to do it.                                                     13:54:08

   17                  (Whereupon, the discussion at                           13:54:15

   18    sidebar concluded.)                                                   13:54:15

   19    BY MS. DURIE:                                                         13:54:16

   20         Q.   Just to be clear, Mr. Zatkovich, when                       13:54:17

   21    you came up with your understanding of what a                         13:54:18

   22    shared USB device block was in the context of                         13:54:24

   23    claim 23, you had not read the decision of the                        13:54:27

   24    patent office on that subject; right?                                 13:54:31


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    1         A.    Correct.    They used the definition in                     13:54:33

    2    terms that were defined by this Court, not by                          13:54:36

    3    the IPR.                                                               13:54:40

    4         Q.    And you haven't looked at the                               13:54:41

    5    decision of the patent office to reach any                             13:54:42

    6    judgment about whether they are the same or                            13:54:45

    7    different?                                                             13:54:46

    8         A.    Again, they may have different                              13:54:46

    9    definitions, but I can't form opinions on                              13:54:48

   10    those different definitions; I have to inform                          13:54:50

   11    opinions on the definitions of this Court.                             13:54:53

   12         Q.    Okay.                                                       13:54:54

   13                  Have you reviewed the declaration                        13:54:55

   14    that Microchip's expert submitted in                                   13:55:02

   15    connection with this proceeding?                                       13:55:05

   16         A.    Are you talking about Dr. Garney's                          13:55:08

   17    report?                                                                13:55:10

   18         Q.    Mr. Knapen.                                                 13:55:11

   19         A.    Mr. Knapen, no, I did not.                                  13:55:12

   20         Q.    So I take it, therefore, you don't                          13:55:14

   21    have any view about whether what Mr. Knapen                            13:55:16

   22    said in connection with the proceedings in the                         13:55:19

   23    patent office is consistent with what you are                          13:55:21

   24    saying here today?                                                     13:55:24


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    1         A.    I couldn't say either way.         It may                   13:55:24

    2    be, it may not be.                                                     13:55:27

    3         Q.    Now, claim 23 requires a shared USB                         13:55:28

    4    device block operable to be simultaneously                             13:55:34

    5    configured by two or more USB hosts; right?                            13:55:38

    6         A.    Correct.                                                    13:55:41

    7                  MS. DURIE:     And if we can go to                       13:55:45

    8    NCD2-71.                                                               13:55:47

    9    BY MS. DURIE:                                                          13:55:52

   10         Q.    You identified in your direct                               13:55:53

   11    testimony what you called the three main                               13:55:54

   12    features of CarPlay and what those features                            13:55:56

   13    require.                                                               13:55:59

   14                  Do you see that?                                         13:55:59

   15         A.    I do.                                                       13:56:01

   16         Q.    Okay.                                                       13:56:02

   17                  And you did not specifically                             13:56:03

   18    identify simultaneous configuration as one of                          13:56:06

   19    the things that was required for this                                  13:56:11

   20    functionality; correct?                                                13:56:13

   21         A.    I'm sorry, could you ask that                               13:56:18

   22    question again?                                                        13:56:20

   23         Q.    Sure.                                                       13:56:21

   24                  You did not identify simultaneous                        13:56:21


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    1    configuration as one of the things that was                           13:56:24

    2    specifically required in order to be able to                          13:56:28

    3    achieve this functionality?                                           13:56:30

    4         A.   In other words, is simultaneous                             13:56:32

    5    configuration of the claim 23 an aspect of one                        13:56:35

    6    or more of these features?                                            13:56:44

    7         Q.   Well, I will withdraw the question.                         13:56:45

    8    Let me ask it this way.                                               13:56:47

    9                   Simultaneous means at the same                         13:56:48

   10    time; right?                                                          13:56:50

   11         A.   Correct.                                                    13:56:51

   12         Q.   Okay.                                                       13:56:52

   13         A.   Both hosts have to be connected and                         13:56:53

   14    operational at the same time.                                         13:56:56

   15         Q.   We are going to talk about that.                            13:56:58

   16                   MS. DURIE:   Let's go to slide 54.                     13:57:00

   17    BY MS. DURIE:                                                         13:57:04

   18         Q.   Figure 3 of the patent is a system                          13:57:05

   19    that allows for simultaneous configuration;                           13:57:07

   20    right?                                                                13:57:10

   21         A.   Yes.                                                        13:57:12

   22         Q.   The invention allows a single USB                           13:57:13

   23    device to be connected to two different hosts                         13:57:17

   24    and be accessed with two separate addresses at                        13:57:19


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    1    the same time; right?                                                 13:57:23

    2         A.     Correct.                                                  13:57:24

    3         Q.     And the separate endpoint and status                      13:57:25

    4    buffers, a lock with the device controller,                           13:57:29

    5    would allow two hosts to configure the                                13:57:32

    6    multi-host USB device at the same time; right?                        13:57:36

    7         A.     It allows them to be configured at                        13:57:40

    8    the same time.                                                        13:57:42

    9         Q.     Well, it also allows them to actually                     13:57:43

   10    configure the controller at the same time;                            13:57:45

   11    right?                                                                13:57:48

   12         A.     I guess they could, but that's not                        13:57:48

   13    what the claim is saying.                                             13:57:50

   14         Q.     Well, let's go to claim 23 again.                         13:57:52

   15                   MS. DURIE:   If you can put up                         13:57:55

   16    slide 53.                                                             13:57:59

   17    BY MS. DURIE:                                                         13:58:04

   18         Q.     We have a shared USB device block                         13:58:04

   19    operable to be simultaneously configured by                           13:58:06

   20    two or more USB hosts; right?                                         13:58:10

   21         A.     Correct.                                                  13:58:13

   22         Q.     Okay.                                                     13:58:13

   23                   Now, let's go back to Figure 3,                        13:58:14

   24    slide 54.     In the context of Figure 3, there                       13:58:23


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    1    is no need to hold off one host's attempt to                          13:58:31

    2    configure the device while the other host is                          13:58:35

    3    configuring the device; right?                                        13:58:38

    4         A.   Correct.    It would be possible -- I                       13:58:44

    5    mean, since the multi-controller handles                              13:58:46

    6    simultaneous accesses and responses, in                               13:58:49

    7    theory, if you happen to plug in both hosts at                        13:58:52

    8    the exact same time, they could theoretically                         13:58:55

    9    configure the device at the same time.                                13:59:00

   10         Q.   Right.                                                      13:59:01

   11         A.   But that's not the meaning of that                          13:59:02

   12    claim number.                                                         13:59:04

   13         Q.   I understand that's your opinion, but                       13:59:05

   14    with respect to Figure 3, that is a system                            13:59:07

   15    that allowed for simultaneous configuration in                        13:59:10

   16    the sense that both hosts can use their                               13:59:14

   17    independent channels to configure the                                 13:59:17

   18    controller at the same time.        That could                        13:59:20

   19    happen in that system?                                                13:59:23

   20         A.   Again, I didn't analyze that because                        13:59:25

   21    that's not what the claim element means.                              13:59:27

   22         Q.   Well, again, just this system,                              13:59:29

   23    looking at it, right, both hosts could                                13:59:33

   24    configure that controller and send signals                            13:59:36


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    1    down to configure that controller at the same                         13:59:40

    2    time simultaneously?                                                  13:59:42

    3         A.     According to which claim, though?                         13:59:46

    4         Q.     Figure 3.                                                 13:59:47

    5         A.     Figure 3 by itself doesn't say                            13:59:49

    6    anything about simultaneous in it.                                    13:59:51

    7         Q.     The system that is depicted in                            13:59:54

    8    Figure 3.                                                             13:59:57

    9         A.     Right.                                                    13:59:57

   10         Q.     That is a system that allows both                         13:59:57

   11    hosts to simultaneously send signals to                               14:00:00

   12    configure the multi-host device controller?                           14:00:05

   13         A.     The description of claim 3 is                             14:00:08

   14    dependent on -- the description of Figure 3 is                        14:00:10

   15    dependent on what functions the claims ascribe                        14:00:12

   16    to that Figure 3.                                                     14:00:18

   17         Q.     Okay.                                                     14:00:19

   18                   Can you answer whether the system                      14:00:19

   19    that is depicted in Figure 3 would permit both                        14:00:23

   20    hosts simultaneously to send signals to                               14:00:27

   21    configure at the same time?                                           14:00:34

   22         A.     Again, there is no claim that                             14:00:37

   23    requires that.                                                        14:00:39

   24         Q.     I am not asking about claims; I am                        14:00:41


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    1    asking about that system.                                             14:00:44

    2                  Can you tell, from looking at                           14:00:45

    3    Figure 3, whether that system would permit                            14:00:48

    4    both hosts to send a signal at the same time                          14:00:52

    5    to engage in integration?                                             14:00:58

    6         A.   I could do a hypothetical, but it                           14:01:02

    7    wouldn't have any meaning what opinion I                              14:01:04

    8    provided on the hypothetical.        The only thing                   14:01:06

    9    that the -- is defined by the invention is                            14:01:08

   10    what's in the claims, and there's no -- in the                        14:01:12

   11    specification of the claim that says they have                        14:01:16

   12    to be plugged in simultaneously and configured                        14:01:18

   13    simultaneously.                                                       14:01:20

   14                  The claim in 23, for example, says                      14:01:20

   15    once they are configured, they have to                                14:01:24

   16    simultaneously remain configured throughout                           14:01:26

   17    the duration, simultaneously.                                         14:01:29

   18         Q.   Let's go back to claim 23, slide 38.                        14:01:32

   19    "A shared USB device block operable."                                 14:01:38

   20                  Now, operable means capable of                          14:01:42

   21    being in this context; right?                                         14:01:45

   22         A.   Right.                                                      14:01:46

   23         Q.   Operable to be simultaneously                               14:01:47

   24    configured?                                                           14:01:49


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    1         A.   Correct.                                                    14:01:51

    2         Q.   So can you tell me whether the system                       14:01:51

    3    that is shown there in Figure 3 is one in                             14:01:54

    4    which the shared USB device block at the                              14:01:57

    5    bottom could be, not necessarily would be, but                        14:02:00

    6    it could be simultaneously configured in the                          14:02:05

    7    sense of having signals sent down to configure                        14:02:08

    8    it at the same time?                                                  14:02:11

    9         A.   Yes.    Reading from the claim                              14:02:13

   10    language, the simultaneous configure, past                            14:02:16

   11    tense, meaning once the devices are                                   14:02:18

   12    configured, they are operable to                                      14:02:21

   13    simultaneously maintain that.        In other words,                  14:02:23

   14    once they are connected, they stay connected                          14:02:26

   15    for the duration.     In other words, one doesn't                     14:02:28

   16    go away and come back; they stay connected for                        14:02:31

   17    all operations.                                                       14:02:34

   18         Q.   Okay.                                                       14:02:35

   19                  Now, you are saying that because                        14:02:36

   20    in the Aptiv system, it is not possible for                           14:02:39

   21    both hosts to become configured at the same                           14:02:47

   22    time; right -- strike that, strike that.           Let                14:02:51

   23    me ask that again.     That was terrible.                             14:02:55

   24                  In the Aptiv system, it is not                          14:02:56


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    1    possible for both hosts to engage in the act                          14:02:59

    2    of configuring their respective devices at the                        14:03:04

    3    same time?                                                            14:03:07

    4         A.   No, I am saying that because your                           14:03:09

    5    interpretation of that claim element would not                        14:03:12

    6    be what one in the industry would consider,                           14:03:14

    7    because again, your interpretation says that I                        14:03:17

    8    have two separate hosts that want to access                           14:03:21

    9    the same device.     In order to do that, somehow                     14:03:23

   10    a person would have to plug in simultaneously                         14:03:26

   11    to the microsecond at the same time and have                          14:03:30

   12    both hosts configure that device in                                   14:03:32

   13    enumeration.     That would actually basically                        14:03:37

   14    eliminate the necessity of any of the other                           14:03:39

   15    claims because that would never occur.                                14:03:42

   16         Q.   So I just -- I don't want to argue                          14:03:43

   17    with you, Mr. Zatkovich, but I do want to be                          14:03:46

   18    clear.                                                                14:03:48

   19                   The system that we are looking at                      14:03:48

   20    here in Figure 3 is operable, right?          It is a                 14:03:51

   21    USB device block that is operable to be                               14:03:55

   22    configured simultaneously at the same time by                         14:04:00

   23    those hosts sending signals at the same time                          14:04:06

   24    because there are two different channels on                           14:04:08


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    1    which that can happen at the same time.             It is               14:04:11

    2    operable for that function.                                             14:04:14

    3                   You don't disagree with that, do                         14:04:17

    4    you?                                                                    14:04:20

    5           A.   I am disagreeing with your                                  14:04:20

    6    characterization of that claim element.                                 14:04:21

    7           Q.   I am asking you about --                                    14:04:24

    8           A.   I understand the description; I am                          14:04:25

    9    disagreeing with your characterization of the                           14:04:28

   10    claim element.                                                          14:04:31

   11           Q.   You are not disagreeing with my                             14:04:32

   12    description of claim 23.         It is operable,                        14:04:34

   13    Figure 3 is operable for that purpose?                                  14:04:37

   14           A.   It's operable that once they are                            14:04:41

   15    configured, past tense, to maintain those                               14:04:43

   16    simultaneously throughout the operation.                                14:04:46

   17           Q.   Sir, please listen to my question.                          14:04:48

   18                   Do you agree that the system that                        14:04:50

   19    is shown here in Figure 3 is operable to allow                          14:04:54

   20    the shared device to become configured at the                           14:05:01

   21    same time by both hosts?                                                14:05:07

   22           A.   No, I do not agree with that.                               14:05:11

   23           Q.   So you think in Figure 3, even though                       14:05:13

   24    there are two separate concurrent respective                            14:05:16


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    1    dedicated USB connections between the shared                           14:05:21

    2    USB device block and the two or more USB                               14:05:25

    3    hosts, it would be impossible for both hosts                           14:05:30

    4    to be able to send configuration information                           14:05:35

    5    at the same time?                                                      14:05:39

    6         A.    I cannot think of a single scenario                         14:05:40

    7    where two hosts would get together knowing                             14:05:42

    8    that they are connecting to an independent                             14:05:45

    9    device and say, by the way, we want to connect                         14:05:49

   10    to this same device, let's get together and do                         14:05:51

   11    it at the same time.                                                   14:05:53

   12         Q.    So is it your opinion that the system                       14:05:55

   13    shown in Figure 3 -- strike that.                                      14:05:57

   14                  Is it your opinion that with                             14:06:00

   15    respect to the system shown in Figure 3, it                            14:06:01

   16    would be impossible for both hosts to be able                          14:06:05

   17    to send configuration information at the same                          14:06:09

   18    time?                                                                  14:06:11

   19         A.    I suppose I could construct a                               14:06:12

   20    difficult arbitrary scenario where we                                  14:06:16

   21    synchronized the host in some scenario.            I                   14:06:19

   22    suppose I could contrive of something.            But                  14:06:23

   23    again --                                                               14:06:26

   24         Q.    Okay.                                                       14:06:26


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    1         A.     -- that's not the intent of the                            14:06:26

    2    claim.                                                                 14:06:28

    3         Q.     Right.                                                     14:06:28

    4                   So you would agree that the system                      14:06:28

    5    in Figure 3, even if you think it's unlikely                           14:06:30

    6    to happen, is operable to be able to have the                          14:06:33

    7    shared device function, receive information                            14:06:38

    8    from both hosts at the same time?                                      14:06:43

    9         A.     That's not what it says there.                             14:06:46

   10         Q.     I'm not asking you what it says in                         14:06:50

   11    claim 23.     I understand you and I disagree                          14:06:52

   12    with that.     I am asking you about Figure 3.                         14:06:55

   13    Okay?     Let's keep that in mind.                                     14:06:57

   14                   You agree that the system shown in                      14:06:59

   15    Figure 3 allows for the shared device function                         14:07:01

   16    to receive configuration information from both                         14:07:05

   17    hosts at the same time?                                                14:07:09

   18         A.     I don't think that's what the patent                       14:07:16

   19    describes.                                                             14:07:18

   20         Q.     Do you think that that is possible by                      14:07:19

   21    the system shown in Figure 3?                                          14:07:23

   22         A.     Is it possible for a device described                      14:07:25

   23    by the patent to do something that the patent                          14:07:27

   24    doesn't describe?      Again, this would be purely                     14:07:31


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    1    hypothetical.                                                         14:07:35

    2         Q.   Okay.                                                       14:07:39

    3                  Let's take a look at slide 55.                          14:07:39

    4    This is the Aptiv device; right?                                      14:07:47

    5         A.   That's correct.                                             14:07:52

    6         Q.   Okay.                                                       14:07:52

    7                  And just to be clear, this is a                         14:07:53

    8    figure from your report with annotations on it                        14:07:55

    9    explaining the flow of what happens with                              14:07:58

   10    respect to enumeration and configuration;                             14:08:03

   11    right?                                                                14:08:05

   12         A.   That's correct.                                             14:08:05

   13         Q.   And to be clear, what happens is that                       14:08:08

   14    the head unit engages in the act of                                   14:08:10

   15    configuring its device first; right?                                  14:08:13

   16         A.   Yes.     When you start up the car, the                     14:08:17

   17    head unit would power up first and then                               14:08:19

   18    configure its side of the device.                                     14:08:22

   19         Q.   That's No. 3 up there; right, in your                       14:08:24

   20    notes?                                                                14:08:32

   21         A.   Let me review it.                                           14:08:34

   22         Q.   Right?     Head unit host enumerates and                    14:08:40

   23    configuration; right, 1, 2, 3?                                        14:08:43

   24         A.   Correct.                                                    14:08:46


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    1         Q.   Okay.                                                       14:08:47

    2                    And at the bottom right, iPhone                       14:08:48

    3    host enumerates and configuration, 4; right?                          14:08:50

    4    4 happens any time after 3; right?                                    14:08:54

    5         A.   Correct.                                                    14:08:57

    6         Q.   Correct?                                                    14:08:59

    7         A.   That's correct.                                             14:09:00

    8         Q.   Okay.                                                       14:09:00

    9                    In the Aptiv system, it is not                        14:09:01

   10    possible for both hosts to send configuration                         14:09:04

   11    information to their respective devices at the                        14:09:09

   12    same time; right?                                                     14:09:12

   13         A.   It may be possible.       Again, I didn't                   14:09:21

   14    analyze that.      The way we have it structured                      14:09:23

   15    here, the way it's defined for a particular                           14:09:27

   16    car presentation, I would say no.                                     14:09:30

   17         Q.   Okay.                                                       14:09:33

   18                    And that's because the iPhone                         14:09:34

   19    initially connects to the device; right?                              14:09:37

   20         A.   The end unit initially connects to                          14:09:40

   21    the device.                                                           14:09:43

   22         Q.   The iPhone initially connects to the                        14:09:43

   23    device; no?                                                           14:09:45

   24         A.   No.     When the car powers up, the head                    14:09:49


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    1    phone -- the head unit connects to the device                         14:09:52

    2    first.                                                                14:09:54

    3         Q.   Why don't you pull out your reply                           14:09:55

    4    report.   I marked it for identification.            Do               14:09:57

    5    you have it in front of you?        Do you have your                  14:10:01

    6    reply report in front of you?                                         14:10:09

    7         A.   Yes, I do.                                                  14:10:11

    8         Q.   Great.     Can you get that?      Please                    14:10:12

    9    turn to paragraph 68.                                                 14:10:24

   10         A.   Paragraph 58?                                               14:10:26

   11         Q.   68.                                                         14:10:27

   12         A.   68.                                                         14:10:28

   13         Q.   6-8.     Are you with me?                                   14:10:29

   14         A.   Got it.                                                     14:10:31

   15         Q.   Reading from your report, starting at                       14:10:32

   16    the second line of paragraph 68, "The dual                            14:10:35

   17    role hub contains an EP Bridge and other logic                        14:10:38

   18    that provides the functions necessary to                              14:10:41

   19    implement CarPlay which is much more complex                          14:10:43

   20    than a simple host-to-host bridge.          For                       14:10:46

   21    example, the CarPlay specification requires                           14:10:49

   22    the dual role hub to allow the iPhone to                              14:10:52

   23    connect as a device, and then role reverse so                         14:10:55

   24    the iPhone is connected as a host."                                   14:10:59


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    1                  Do you see you wrote that in your                       14:11:01

    2    report?                                                               14:11:03

    3         A.   I do.                                                       14:11:03

    4         Q.   Okay.                                                       14:11:04

    5                  So first the car head unit                              14:11:04

    6    connects as a host and configures its device;                         14:11:09

    7    right?                                                                14:11:11

    8         A.   Correct.                                                    14:11:12

    9         Q.   And then the iPhone connects                                14:11:12

   10    initially as a device; right?                                         14:11:14

   11         A.   Correct.                                                    14:11:16

   12         Q.   Then it role reverses; right?                               14:11:17

   13         A.   Right.                                                      14:11:21

   14         Q.   Then it connects as a host; right?                          14:11:21

   15    And then it configures the device; right?                             14:11:23

   16         A.   Correct.                                                    14:11:25

   17         Q.   And in order to do all of that, you                         14:11:26

   18    need software on the head unit to set up the                          14:11:29

   19    bridge; right?                                                        14:11:31

   20         A.   That's correct.                                             14:11:32

   21         Q.   And the configuration data for the                          14:11:32

   22    bridge is stored in the head unit; right?                             14:11:34

   23         A.   That's correct.                                             14:11:36

   24         Q.   And the iPhone can't use the bridge                         14:11:37


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                                                                          Page 264

    1    until the bridge is all set up; right?                                14:11:40

    2         A.   Yes, that's accurate.                                       14:11:43

    3         Q.   And the iPhone needs the bridge to be                       14:11:44

    4    set up to do role reversal in being a host and                        14:11:47

    5    to be able to configure its device; right?                            14:11:50

    6         A.   Yes, that's accurate.                                       14:11:54

    7                  MS. DURIE:    I have no further                         14:11:56

    8    questions.                                                            14:11:57

    9                                -   -   -                                 14:12:11

   10                       REDIRECT EXAMINATION                               14:12:11

   11                                -   -   -                                 14:12:13

   12    BY MR. FENTON:                                                        14:12:13

   13         Q.   Mr. Zatkovich, do you remember when                         14:12:15

   14    Ms. Durie asked some questions about your                             14:12:18

   15    claim chart for claim 23?                                             14:12:21

   16         A.   I do.                                                       14:12:22

   17         Q.   And you answered that a NAK and a                           14:12:23

   18    ping response were standard USB.                                      14:12:25

   19                  Do you remember that?                                   14:12:27

   20         A.   Correct.    If you are a single device                      14:12:27

   21    with a single controller, yes.                                        14:12:30

   22         Q.   So would a standard USB device be                           14:12:31

   23    able to respond to a NAK or a ping to two                             14:12:34

   24    different hosts?                                                      14:12:37


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    1         A.     No.                                                       14:12:38

    2                      MR. FENTON:        No further questions.            14:12:39

    3                      THE COURT:     Okay.         Mr. Zatkovich,         14:12:40

    4    you can step down.                                                    14:12:42

    5                      THE WITNESS:        Thank you, Your                 14:12:43

    6    Honor.                                                                14:12:44

    7                      THE COURT:     Take your things you                 14:12:44

    8    have with you and hand them off to counsel, if                        14:12:51

    9    you would.                                                            14:12:53

   10                      THE WITNESS:        Thank you.                      14:12:54

   11                      (Whereupon, the witness was                         14:12:54

   12    excused.)                                                             14:12:58

   13                      MR. GRAY:     Yes, Your Honor.         At           14:13:33

   14    this point, Microchip calls Dr. Stephen                               14:14:05

   15    Becker.                                                               14:14:08

   16                      THE COURT:     Okay.                                14:14:09

   17                      THE COURT CLERK:         Please state and           14:14:20

   18    spell your name for the record.                                       14:14:29

   19                      THE WITNESS:        It's Stephen Lewis              14:14:31

   20    Becker.     That's S-T-E-P-H-E-N and Lewis is                         14:14:32

   21    L-E-W-I-S.

   22                                     -     -   -

   23                      ...DR. STEPHEN L. BECKER, after

   24    having been duly sworn and/or affirmed, was


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    1    examined and testified as follows...

    2                                -   -   -                                 14:14:49

    3                          DIRECT EXAMINATION                              14:14:49

    4                                -   -   -                                 14:14:51

    5    BY MR. GRAY:                                                          14:14:51

    6         Q.   Please introduce yourself to the                            14:14:51

    7    jury.                                                                 14:14:53

    8         A.   My name is Stephen Becker.         I live in                14:14:53

    9    Austin, Texas.                                                        14:14:55

   10         Q.   What is your role in this proceeding?                       14:14:58

   11         A.   So I am here as Microchip's damages                         14:15:00

   12    expert.                                                               14:15:03

   13         Q.   And have you prepared some slides to                        14:15:04

   14    assist with your testimony here today?                                14:15:06

   15         A.   I have.                                                     14:15:08

   16         Q.   Can you please tell us about your                           14:15:09

   17    educational background.                                               14:15:11

   18         A.   Sure.     I have a bachelor's degree in                     14:15:13

   19    computer science and electrical engineering                           14:15:16

   20    from University of Pennsylvania, just up the                          14:15:19

   21    road in Philadelphia.      I spent the first four                     14:15:21

   22    years of my college life in this neck of the                          14:15:24

   23    woods.                                                                14:15:27

   24                   I then, after working in industry                      14:15:27


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    1    for a while, went to the University of Texas                           14:15:29

    2    at Austin and got a master's in business                               14:15:32

    3    administration, with a concentration in                                14:15:35

    4    finance.                                                               14:15:38

    5                  Then went out and worked for about                       14:15:39

    6    six years in the industry again, and then came                         14:15:42

    7    back to the University of Texas and got a                              14:15:45

    8    Ph.D. in public policy, with a concentration                           14:15:47

    9    in the field called econometrics.                                      14:15:50

   10         Q.    Sorry, in the field called what?                            14:15:53

   11         A.    Econometrics.                                               14:15:55

   12         Q.    Could you explain a little bit about                        14:15:57

   13    what that means?                                                       14:15:59

   14         A.    So econometrics is, instead of sort                         14:16:00

   15    of going out and trying to invent new fields                           14:16:05

   16    or new theories in economics, kind of the                              14:16:08

   17    econometrician takes the existing toolkit of                           14:16:12

   18    economics and statistics and financial                                 14:16:14

   19    analysis and sort of combines those to answer                          14:16:17

   20    real world problems.                                                   14:16:22

   21         Q.    And where do you currently work?                            14:16:22

   22         A.    I work at a firm in Austin called                           14:16:24

   23    Applied Economics.      This is a firm that I                          14:16:26

   24    founded about 23 years ago.                                            14:16:30


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    1         Q.   Have you worked as an expert on                             14:16:34

    2    patent cases involving the automotive                                 14:16:36

    3    industry, in fact?                                                    14:16:39

    4         A.   I have.    I have been working as an                        14:16:42

    5    economic expert on sort of economic valuation                         14:16:44

    6    issues for 25 years, since before I formed                            14:16:46

    7    Applied Economics, and over the course of that                        14:16:52

    8    time, I have been a -- retained as a damages                          14:16:54

    9    expert on about a dozen automotive industry                           14:16:59

   10    patent cases.    And I've -- I think I have been                      14:17:03

   11    deposed seven or eight times, or in seven or                          14:17:07

   12    eight different cases involving that, and I've                        14:17:10

   13    testified at trial three times in patent cases                        14:17:13

   14    involving automotive technology.                                      14:17:18

   15         Q.   About how many times have you                               14:17:20

   16    testified all together on patent damages in a                         14:17:21

   17    patent case?                                                          14:17:25

   18         A.   About 30 times.                                             14:17:26

   19         Q.   Is it common for experts like                               14:17:27

   20    yourself to have testified in this role                               14:17:30

   21    previously?                                                           14:17:32

   22         A.   Yes.   Yes.    Most of the colleagues                       14:17:32

   23    that I know in the industry, who have been at                         14:17:36

   24    it as long as I have, have testified quite a                          14:17:38


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    1    few times.                                                            14:17:41

    2         Q.     Do you often see the same experts                         14:17:41

    3    across from you in cases?                                             14:17:44

    4         A.     Yes.    It's not uncommon.    Some people                 14:17:45

    5    that I encounter, I have known them for                               14:17:48

    6    25 years.                                                             14:17:51

    7         Q.     Have you ever been opposite of Mr.                        14:17:51

    8    Michael Chase, Aptiv's damages expert in this                         14:17:53

    9    case?                                                                 14:17:56

   10         A.     You know, I don't recall whether I                        14:17:57

   11    have encountered him before or not.                                   14:17:58

   12         Q.     In your work as an expert in patent                       14:18:02

   13    cases, have you testified on behalf of both                           14:18:04

   14    patentholders and defendants?                                         14:18:06

   15         A.     Yes.    I have what I think is a pretty                   14:18:08

   16    good balance there.       Every time I sit down and                   14:18:12

   17    count up the cases over the years, it seems                           14:18:15

   18    like it comes out to about 50/50 for working                          14:18:17

   19    for patentholders or for accused infringers.                          14:18:20

   20         Q.     Are you being compensated for your                        14:18:25

   21    work in this case?                                                    14:18:27

   22         A.     I am.                                                     14:18:28

   23         Q.     And does your compensation depend on                      14:18:28

   24    the outcome in any way?                                               14:18:30


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    1         A.   No, it does not.                                            14:18:32

    2                   MR. GRAY:     At this point, we                        14:18:33

    3    tender Dr. Becker as an expert on patent                              14:18:34

    4    infringement damages.                                                 14:18:37

    5                   MR. WIENER:     No objection, Your                     14:18:40

    6    Honor.                                                                14:18:41

    7                   THE COURT:     Proceed.                                14:18:41

    8    BY MR. GRAY:                                                          14:18:43

    9         Q.   Let's turn to the work you did in                           14:18:43

   10    this case.     Explain to the jury what your                          14:18:45

   11    assignment was.                                                       14:18:47

   12         A.   The assignment can be defined pretty                        14:18:48

   13    simply, to quantify Microchip's damages that                          14:18:51

   14    result from Aptiv's infringement of the '243                          14:18:53

   15    Patent.                                                               14:18:57

   16         Q.   And have you made any assumptions                           14:18:57

   17    about infringement in this case for the                               14:18:58

   18    purposes of your work?                                                14:19:00

   19         A.   I have.    For my work, and any patent                      14:19:01

   20    damages expert has to make the assumption that                        14:19:04

   21    the patent is infringed.        That sort of makes                    14:19:07

   22    my testimony relevant.        I am not expressing an                  14:19:11

   23    opinion that it is infringed, but you'll hear                         14:19:14

   24    me talk about the infringement because I have                         14:19:16


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    1    to assume that that has occurred.                                      14:19:18

    2         Q.     And what about for the issue of                            14:19:21

    3    validity; have you made any assumptions on                             14:19:24

    4    that issue?                                                            14:19:25

    5         A.     Similar assumptions for my testimony;                      14:19:26

    6    I must assume that the patent is valid, it is                          14:19:29

    7    not a question for me to answer, and I simply                          14:19:32

    8    have assumed it for my work.                                           14:19:34

    9         Q.     Before we get into the details of                          14:19:36

   10    your work in this case, can you please give                            14:19:37

   11    the jury a summary of the opinions that we're                          14:19:39

   12    going to discuss today?                                                14:19:41

   13         A.     Sure.     My opinions fall into two                        14:19:42

   14    different categories that we'll talk about                             14:19:47

   15    today.     First I have an opinion that Microchip                      14:19:50

   16    has suffered what we call Lost Profits; that                           14:19:53

   17    there are sales that Microchip would have made                         14:19:58

   18    if Aptiv's infringement had not occurred.            And               14:20:00

   19    that category of damages is 35.2 million units                         14:20:04

   20    of chips that my analysis indicates Microchip                          14:20:09

   21    would have earned $70.9 million in profit on                           14:20:14

   22    those sales.        So that's the first category of                    14:20:18

   23    damages, the 70.9 million of what we call lost                         14:20:22

   24    profits.                                                               14:20:26


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    1                  I have a second category called a                       14:20:27

    2    Reasonable Royalty that we'll get into this                           14:20:31

    3    later, but not all of the units that Aptiv                            14:20:35

    4    sold, in my opinion, should be compensated as                         14:20:37

    5    lost profits, and for the 9.7 million units                           14:20:40

    6    that fall into the reasonable royalty bucket,                         14:20:46

    7    the damages are $13.6 million.                                        14:20:50

    8                  If we -- and in total, those total                      14:20:57

    9    84.4 million.                                                         14:21:01

   10         Q.   Okay.                                                       14:21:02

   11                  And what types of information did                       14:21:03

   12    you consider in reaching your opinions in this                        14:21:05

   13    case?                                                                 14:21:07

   14         A.   So in this case, like most cases that                       14:21:07

   15    I work on, the parties produce lots of                                14:21:10

   16    documents and data.      For my work, I rely a lot                    14:21:13

   17    on financial data that Aptiv produced,                                14:21:18

   18    financial data that Microchip produced; lots                          14:21:21

   19    of depositions get taken.       My staff and I                        14:21:24

   20    reviewed those.                                                       14:21:27

   21                  We also do research to sort of                          14:21:28

   22    publicly available information on the                                 14:21:32

   23    technology at issue and the market that these                         14:21:36

   24    products go into.                                                     14:21:38


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    1                  And then there is some specific                          14:21:40

    2    things that I am relying on Mr. Zatkovich for                          14:21:43

    3    for his technical opinions, and also on my                             14:21:47

    4    interviews with Microchip executives like Mr.                          14:21:50

    5    Obolsky.                                                               14:21:53

    6         Q.    Do damages experts typically rely on                        14:21:56

    7    these types of information?                                            14:21:58

    8         A.    Yes.    This is a typical category, but                     14:21:59

    9    obviously not these specific individuals.                              14:22:03

   10         Q.    Okay.                                                       14:22:07

   11                  In your summary slide, you                               14:22:08

   12    indicated you had a lost profits opinion and a                         14:22:10

   13    reasonable royalty opinion.         Let's talk about                   14:22:12

   14    the lost profits opinion first.                                        14:22:14

   15         A.    Okay.                                                       14:22:15

   16         Q.    Can you please explain to the jury                          14:22:15

   17    what you mean by lost profits?                                         14:22:18

   18         A.    So what I've got on the screen here                         14:22:20

   19    is a quote from a case that sort of sets forth                         14:22:22

   20    the test for lost profits.         It's called the                     14:22:25

   21    Panduit test.      This is a case in 1978.                             14:22:28

   22                  And what it says is that -- I'll                         14:22:33

   23    sort of paraphrase.       If the plaintiff,                            14:22:35

   24    Microchip in this case, can demonstrate that                           14:22:38


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    1    there are sales that reasonably would have                            14:22:42

    2    been made if Aptiv had not infringed, so take                         14:22:44

    3    their infringing product off the market, if                           14:22:47

    4    that product going away means that Microchip                          14:22:52

    5    would have made some additional sales, any                            14:22:54

    6    additional sales, then for those sales, they                          14:22:55

    7    may be entitled to lost profits on those                              14:22:59

    8    sales.                                                                14:23:02

    9         Q.   When you say, "but for infringement,"                       14:23:07

   10    or when this case uses that phrase, "but for                          14:23:09

   11    alleged infringement," what does that mean?                           14:23:12

   12         A.   So we know that Aptiv actively                              14:23:14

   13    launched and sold the dual role hub product                           14:23:19

   14    that's accused in this case.        That began in                     14:23:23

   15    2015 and sales are occurring right through                            14:23:26

   16    today.                                                                14:23:30

   17                  I have to imagine a world where                         14:23:30

   18    that didn't happen.      So 2015 comes along,                         14:23:32

   19    Unwired never launches that product, Aptiv                            14:23:38

   20    never launches that product, it's never sold                          14:23:41

   21    to anybody.                                                           14:23:43

   22                  I need to look, from an economic                        14:23:44

   23    perspective, what would the world look like,                          14:23:46

   24    and in particular, what would Microchip's                             14:23:49


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    1    sales have been of any of their products if                           14:23:53

    2    that Aptiv and Unwired product had never been                         14:23:56

    3    sold.                                                                 14:23:58

    4         Q.   When you say, "sales of their                               14:23:59

    5    products," do you mean sales of products                              14:24:00

    6    incorporating their chip?                                             14:24:03

    7         A.   Their -- well, when I'm talking about                       14:24:05

    8    Aptiv and Unwired, it's sales of hubs that had                        14:24:08

    9    the Boston chip in it, that do this dual role                         14:24:12

   10    multi-host control function.                                          14:24:17

   11         Q.   So in other words, the -- if the                            14:24:18

   12    Boston chip hadn't been sold, what chip would                         14:24:21

   13    have been used instead; is that a fair way to                         14:24:24

   14    summarize part of the analysis?                                       14:24:27

   15         A.   Well, it's on reconstructing the                            14:24:29

   16    market.   So we have to take the Boston chip                          14:24:31

   17    out of the market.     The OEMs still need hubs,                      14:24:33

   18    Aptiv can still sell a hub.        The question is                    14:24:39

   19    what chip is going to go in that hub, and it                          14:24:42

   20    can't be the infringing Boston chip.                                  14:24:45

   21                  So that's what I'm trying to                            14:24:48

   22    figure out, is, in the absence of the Boston                          14:24:49

   23    chip being put into the Aptiv hubs and sold,                          14:24:51

   24    what would the world look like.                                       14:24:56


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    1         Q.    So what did this Panduit case tell us                       14:24:58

    2    about how we determined or how you determined                          14:25:01

    3    whether Microchip has lost any lost profit                             14:25:03

    4    damages?                                                               14:25:07

    5         A.    So the good news for me as a damages                        14:25:07

    6    expert is that I sort of have a checklist from                         14:25:10

    7    this case.    I just don't have to, sort of,                           14:25:12

    8    every time reinvent the wheel about how to                             14:25:14

    9    figure this out.                                                       14:25:16

   10                  We call these the Panduit factors.                       14:25:17

   11    They are four things that I step through and                           14:25:20

   12    they get us, sort of, successively closer to a                         14:25:22

   13    conclusion that there have been some lost                              14:25:26

   14    profits.                                                               14:25:28

   15                  The first factor is whether there                        14:25:29

   16    is any demand for the patented product.                                14:25:32

   17    Obviously if nobody was buying the thing that                          14:25:37

   18    was being fought about in the patent case,                             14:25:40

   19    there wouldn't be any lost profits because                             14:25:42

   20    nobody is buying it anyway.         So that one just                   14:25:44

   21    says is there any commerce in that particular                          14:25:48

   22    product or a product that uses the patented                            14:25:51

   23    thing.                                                                 14:25:54

   24                  The second is a little bit of a                          14:25:55


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    1    mouthful, but it's absence of acceptable                              14:25:58

    2    non-infringing substitutes, and really what                           14:26:00

    3    I'm looking at here is if Aptiv has to stop                           14:26:03

    4    using the Boston chip, is there a                                     14:26:07

    5    non-infringing thing that they could do.                              14:26:11

    6    Could they modify that chip in some way to                            14:26:15

    7    essentially replicate the features that their                         14:26:18

    8    customers wanted, but do it in a                                      14:26:20

    9    non-infringing way.                                                   14:26:23

   10                  If that's the case, then they                           14:26:25

   11    might have, in this but-for world, changed the                        14:26:27

   12    chip so they could offer the same features                            14:26:30

   13    without infringing, and they would have kept                          14:26:32

   14    those sales and Microchip wouldn't have lost                          14:26:35

   15    the sales.    So I look at this question about                        14:26:37

   16    is there something that could be a                                    14:26:40

   17    interchangeable substitute for the product at                         14:26:43

   18    issue.                                                                14:26:46

   19                  Once I've determined those first                        14:26:48

   20    two things, if we get past those two first                            14:26:50

   21    gates, I really have concluded that Microchip                         14:26:53

   22    did lose some sales.                                                  14:26:56

   23                  The third step is to say, all                           14:26:58

   24    right, the market is telling us that there                            14:27:00


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    1    would have been more demand for Microchip's                           14:27:02

    2    chips, did they have a capacity to make these                         14:27:05

    3    extra sales?        Was there enough manufacturing                    14:27:10

    4    capacity to make those sales?                                         14:27:13

    5                   The last is if the answer to three                     14:27:15

    6    is yes and you have the capacity, then the                            14:27:18

    7    question is would there have been a profit on                         14:27:21

    8    those sales.        You can imagine a world where                     14:27:25

    9    somebody loses sales, they would have made the                        14:27:27

   10    sales but it was a money-losing product, no                           14:27:29

   11    profit on the units that were sold.          So we                    14:27:32

   12    wouldn't have lost profits even if we had lost                        14:27:35

   13    sales.                                                                14:27:38

   14                   So we're really kind of getting                        14:27:39

   15    down to that last step, which is if there are                         14:27:40

   16    lost sales that Microchip could have made and                         14:27:43

   17    it had the capacity to make them, would there                         14:27:45

   18    have been a profit on that that I can actually                        14:27:47

   19    estimate.                                                             14:27:49

   20         Q.     And did you consider each of these                        14:27:50

   21    four factors in your analysis in this case?                           14:27:52

   22         A.     I did.                                                    14:27:55

   23         Q.     Okay.                                                     14:27:57

   24                   So turning to the first factor,                        14:27:57


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    1    what did you do to determine whether there was                         14:28:00

    2    demand for the patented product?                                       14:28:02

    3         A.     So here, I looked out in the                               14:28:05

    4    marketplace first at Microchip's product line                          14:28:08

    5    and said, is there a product that they sell                            14:28:10

    6    that practices the patent?         And I also looked                   14:28:13

    7    at the same thing for Aptiv; is there a                                14:28:18

    8    product that is at least accused of having the                         14:28:19

    9    patent in it?     And I have to assume that it                         14:28:23

   10    does.     So we just look at some sales data for                       14:28:25

   11    both companies.                                                        14:28:28

   12                   The first place I looked is at the                      14:28:30

   13    Microchip product line, if we go to the next                           14:28:32

   14    slide.     I think we've heard about that, so far                      14:28:36

   15    in this case, there are two models of the USB                          14:28:39

   16    high speed multi-host controller that                                  14:28:43

   17    Microchip sells, the USB4916 and the USB4914.                          14:28:47

   18                   The sales data that my staff and I                      14:28:54

   19    analyzed, and if we click ahead, the units,                            14:28:56

   20    sold units from that of June of 2017 through                           14:29:04

   21    September of 2021 total just under 8.4 million                         14:29:06

   22    units.     So clearly, there is demand for                             14:29:11

   23    Microchip's patented product.                                          14:29:13

   24         Q.     And is the data -- this data, the                          14:29:18


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    1    8.4 million units, is that from Exhibit 50?                             14:29:20

    2           A.   It is.                                                      14:29:23

    3           Q.   And you said a second ago, you                              14:29:25

    4    referenced the 4916 and 4914 products.             Do you               14:29:27

    5    understand that that's the Sandia chip?                                 14:29:31

    6           A.   Yes, that's what -- we'll see that in                       14:29:32

    7    some of the other documents, but the shorthand                          14:29:36

    8    or the name of that product is the Sandia                               14:29:38

    9    product.                                                                14:29:41

   10           Q.   Okay.                                                       14:29:41

   11                   Did you look at anything else?                           14:29:41

   12           A.   So I looked at Aptiv's world, and                           14:29:44

   13    based on what's accused of being the                                    14:29:48

   14    patent-practicing product, that I have to                               14:29:53

   15    assume is practicing the '243 Patent, is                                14:29:56

   16    Aptiv's multi-host product.          It's the Boston 2                  14:29:59

   17    chip that is used within the dual role hub                              14:30:02

   18    that Delphi first and now Aptiv sells to the                            14:30:06

   19    OEMs, mostly to The Big 3 OEMs here in the                              14:30:11

   20    U.S.                                                                    14:30:15

   21           Q.   Let's pause there for a second before                       14:30:16

   22    we click forward.                                                       14:30:17

   23                   MR. GRAY:     At this point, we offer                    14:30:26

   24    Exhibit 182 into evidence.                                              14:30:28


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    1                   THE COURT:     No objection?                            14:30:29

    2                   MR. WIENER:     No.                                     14:30:30

    3                   THE COURT:     All right.     It will be                14:30:31

    4    received.                                                              14:30:33

    5                   MR. GRAY:     We'd also like to offer                   14:30:40

    6    Exhibits 18 and 125 into evidence.                                     14:30:42

    7                   MR. WIENER:     No objection.                           14:30:44

    8                   THE COURT:     Okay.    They'll come                    14:30:45

    9    in.                                                                    14:30:49

   10                   MR. GRAY:     Okay.    We can move                      14:30:49

   11    forward.                                                               14:30:51

   12                   THE WITNESS:     All right.     If you                  14:30:51

   13    click ahead, here I've got data on the prior                           14:30:52

   14    slide.     The data for Microchip went through                         14:30:56

   15    September of 2021, just, you know, everybody                           14:30:59

   16    has to -- at some point, you declare a stop on                         14:31:02

   17    the data, and that's what I have to work with.                         14:31:05

   18                   For Microchip, that data went                           14:31:08

   19    through September; for Aptiv, we have data                             14:31:09

   20    through November of 2021.        And the sales of                      14:31:13

   21    the Aptiv multi-host products that are accused                         14:31:17

   22    in this case are 44.9 million units.                                   14:31:20

   23    BY MR. GRAY:                                                           14:31:25

   24          Q.    And I see on your slide, this is from                      14:31:25


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    1    Exhibit 182; is that accurate?                                        14:31:27

    2         A.   Yes.                                                        14:31:29

    3                   MR. GRAY:    And can we pull                           14:31:32

    4    Exhibit 182 up and just look at the total of                          14:31:34

    5    the bottom right of the spreadsheet.                                  14:31:36

    6    BY MR. GRAY:                                                          14:31:38

    7         Q.   And my question is going to be, why                         14:31:38

    8    doesn't your number reflect the same number in                        14:31:39

    9    the spreadsheet from the financial data that                          14:31:43

   10    Aptiv provided?     Your number is lower.                             14:31:45

   11         A.   So can you go all the way over and                          14:31:50

   12    can you zoom in on that and blow it up?           Okay.               14:31:52

   13    46 million 300.     Yes, the data that Aptiv                          14:32:03

   14    produced, which at least I understood was to                          14:32:07

   15    be data that was sales of the different models                        14:32:12

   16    that they have that practice -- they are                              14:32:15

   17    accused of infringement here.                                         14:32:18

   18                   It turns out there are just like                       14:32:21

   19    two or three out of hundreds and hundreds of                          14:32:23

   20    line items on there that are for products                             14:32:25

   21    that, on a prior production, some time ago,                           14:32:28

   22    Aptiv produced some data that said this model                         14:32:32

   23    is not used for CarPlay.       I think it's one of                    14:32:36

   24    them goes in the back seat of a particular car                        14:32:40


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    1    model, so it's not used for CarPlay, or it's                           14:32:42

    2    not CarPlay capable the way it's built into                            14:32:45

    3    the hub.                                                               14:32:48

    4                  And so we went through and pulled                        14:32:49

    5    those just couple of -- I think there's three                          14:32:53

    6    part numbers that got pulled out in order to                           14:32:56

    7    be -- make sure that I was trying to limit                             14:32:58

    8    this just to the accused products that were                            14:33:00

    9    CarPlay capable.                                                       14:33:03

   10         Q.    Thank you.                                                  14:33:04

   11                  And what did you conclude from                           14:33:06

   12    this evidence of about 45 million sales by                             14:33:09

   13    Aptiv?                                                                 14:33:12

   14         A.    So seeing that Aptiv had lots of                            14:33:13

   15    sales of patent-practicing product, Microchip                          14:33:16

   16    had sales of patent product, there's clearly                           14:33:20

   17    demand for the patent product so we clearly                            14:33:23

   18    put a checkmark on that one.                                           14:33:27

   19         Q.    What's the next factor?                                     14:33:28

   20         A.    So the next factor is whether there                         14:33:30

   21    are any acceptable non-infringing substitutes,                         14:33:32

   22    where essentially I am asking the question, is                         14:33:35

   23    there a way to provide the features that the                           14:33:38

   24    customers who bought Aptiv's product were                              14:33:40


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    1    demanding, could they have provided that                               14:33:44

    2    feature set in a way that didn't infringe?                             14:33:48

    3                   And I did a number of things to                         14:33:51

    4    answer that question.                                                  14:33:54

    5         Q.     Okay.                                                      14:33:56

    6                   So what did you do to determine                         14:33:57

    7    whether there were any acceptable                                      14:33:58

    8    non-infringing substitutes?                                            14:34:01

    9         A.     So the first thing I did was talk to                       14:34:03

   10    Microchip's technical expert, Mr. Zatkovich,                           14:34:06

   11    because essentially at one level -- this is a                          14:34:11

   12    very technical question -- is there a way to                           14:34:13

   13    provide the features that are enabled by the                           14:34:16

   14    patent and that are the key features in these                          14:34:18

   15    accused products, and in the Sandia product,                           14:34:21

   16    which are the single-lane CarPlay on the --                            14:34:25

   17    any downstream port with the persistent USB.                           14:34:30

   18                   And we've heard a lot about that,                       14:34:34

   19    single-lane persistent USB with CarPlay on any                         14:34:36

   20    port.     Is there a way to do that without using                      14:34:39

   21    the patent?                                                            14:34:44

   22                   What Mr. Zatkovich told me is no.                       14:34:45

   23    So from a technical standpoint, there are no                           14:34:48

   24    available non-infringing substitutes that                              14:34:52


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    1    would provide a substitute product that met                           14:34:54

    2    all of the characteristics.                                           14:34:56

    3         Q.     Did you rely on anything other than                       14:34:59

    4    Mr. Zatkovich?                                                        14:35:00

    5         A.     I did.   I also went and looked at                        14:35:01

    6    market evidence.      I wanted to see, you know,                      14:35:04

    7    what is the market telling me about are there                         14:35:06

    8    a bunch of companies out there offering chips                         14:35:11

    9    or using chips that do single-lane persistent                         14:35:14

   10    USB, CarPlay on all the downstream ports?                             14:35:18

   11    Because the market can tell me that, too,                             14:35:23

   12    since there's clearly demand for this product.                        14:35:25

   13                   And what I found is that, at least                     14:35:28

   14    out in the marketplace, there seemed to be                            14:35:30

   15    only two options; one is the Microchip                                14:35:33

   16    multi-host Sandia chip and the second is                              14:35:36

   17    Aptiv's multi-host chip that's in the dual                            14:35:40

   18    role hub.                                                             14:35:44

   19                   So again, I am getting                                 14:35:45

   20    confirmation of Mr. Zatkovich's technical                             14:35:46

   21    opinion when I look out in the marketplace,                           14:35:49

   22    and here, these products have been out there                          14:35:53

   23    for I think six, seven years, and we seem to                          14:35:55

   24    have only two companies that are selling to                           14:35:59


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    1    the U.S. OEMs to meet that need for                                   14:36:02

    2    single-lane persistent USB CarPlay.                                   14:36:05

    3         Q.   Is another way to say that that                             14:36:08

    4    Microchip and Aptiv are the only two companies                        14:36:11

    5    on the market offering a multi-host solution?                         14:36:13

    6         A.   Yes.     It's -- essentially for that                       14:36:16

    7    feature set, it is a two-supplier marketplace.                        14:36:19

    8                   MR. GRAY:    Mr. Ferrer, could you                     14:36:23

    9    please pull up Exhibit 25.                                            14:36:25

   10    BY MR. GRAY.                                                          14:36:28

   11         Q.   Dr. Becker, when this appears, is                           14:36:29

   12    this a document that you relied on in forming                         14:36:32

   13    your opinions in this case?                                           14:36:34

   14         A.   It is.                                                      14:36:35

   15         Q.   Can you remind the jury what this                           14:36:35

   16    document is?                                                          14:36:37

   17         A.   So this is the document I think                             14:36:38

   18    that's been used before.       This is the Product                    14:36:39

   19    Business Plan for Sandia from initially, I                            14:36:42

   20    think, sort of July/August of 2015.          This is a                14:36:47

   21    document where Microchip is sort of laying out                        14:36:51

   22    its market strategy, technical and market                             14:36:55

   23    strategy for the Sandia product.                                      14:37:00

   24         Q.   Was there anything you found in this                        14:37:01


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    1    document that was relevant to your analysis of                        14:37:03

    2    who was in the market with a multi-host                               14:37:05

    3    controller product?                                                   14:37:07

    4         A.   Yes.    There is actually a section of                      14:37:08

    5    this business plan, not surprisingly if you                           14:37:10

    6    are doing business planning, that there is a                          14:37:13

    7    whole section on competition.        And for this                     14:37:15

    8    question on Panduit, I looked to the                                  14:37:19

    9    competition section of this document.                                 14:37:23

   10                   MR. GRAY:    Okay.   Mr. Ferrer, can                   14:37:27

   11    we please turn to page 18.                                            14:37:28

   12    BY MR. GRAY:                                                          14:37:30

   13         Q.   Dr. Becker, what does this section of                       14:37:31

   14    the Sandia Business Plan discuss?                                     14:37:35

   15         A.   So this section, 5.4 of the document,                       14:37:36

   16    discusses competition.       And you can see the                      14:37:38

   17    very first company that's listed there is                             14:37:41

   18    Delphi.   We can pull up what they have to say                        14:37:44

   19    about Delphi.     This has all been talked about                      14:37:48

   20    quite a bit.                                                          14:37:53

   21                   Delphi Automotive, through the                         14:37:54

   22    acquisition of Unwired, has a multi-host ASIC                         14:37:55

   23    solution, so that's the Boston chip, that they                        14:37:59

   24    are currently providing to the market, and it                         14:38:02


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    1    has been designed in the GM, Ford and                                 14:38:05

    2    Chrysler.     This chip represents a sole source,                     14:38:09

    3    point solution for a silicon USB chip.                                14:38:12

    4                   So this, at least with respect to                      14:38:15

    5    the first competitor that you are talking                             14:38:19

    6    about, they are saying other than themselves,                         14:38:21

    7    obviously this business plan is about                                 14:38:23

    8    launching their multi-host chip.         They're                      14:38:25

    9    saying Delphi is in the market with a                                 14:38:28

   10    multi-host chip that is already in The Big 3                          14:38:30

   11    at GM, Ford and Chrysler.                                             14:38:34

   12         Q.     And if we go back to the full page,                       14:38:37

   13    and I see that there are some other companies                         14:38:39

   14    listed on page 18 that we are looking at, and                         14:38:41

   15    then also on page 19.                                                 14:38:44

   16                   Did you review what this business                      14:38:46

   17    plan talks about with these competitors?                              14:38:48

   18         A.     Yes.   So the plan touched on a couple                    14:38:50

   19    of other chipmakers, and the conclusion with                          14:38:53

   20    respect to TI, Cypress, Renesas, NXP is they                          14:39:01

   21    don't have a product and they weren't really                          14:39:05

   22    expected to be able to come out with a product                        14:39:08

   23    that had a multi-host controller in it.                               14:39:10

   24         Q.     So why was that important to your                         14:39:12


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    1    opinion?                                                               14:39:14

    2         A.     Well, it ends up -- when we get to                         14:39:14

    3    the next step in the analysis, it is going to                          14:39:19

    4    be even more important, but with respect to                            14:39:21

    5    the question about whether there are                                   14:39:23

    6    alternatives to meet this demand for                                   14:39:24

    7    single-lane persistent USB CarPlay, from an                            14:39:29

    8    economic standpoint, it's significant that                             14:39:32

    9    there are only two players in the market.            It                14:39:35

   10    tells me that this is something that is not                            14:39:38

   11    sort of widely -- not everybody is doing it.                           14:39:40

   12    It is a unique solution.                                               14:39:44

   13         Q.     So what did you conclude from that                         14:39:50

   14    evidence?                                                              14:39:52

   15         A.     So I concluded from this evidence                          14:39:52

   16    that Panduit factor 2 is met, if we go back to                         14:39:54

   17    the Panduit factor list.         I concluded that                      14:39:58

   18    there is an absence of acceptable                                      14:40:03

   19    non-infringing alternatives.         It is a double                    14:40:06

   20    negative, but we can check the box.                                    14:40:09

   21         Q.     Okay.   Thank you.                                         14:40:10

   22                   What is the next factor?                                14:40:11

   23         A.     So the next factor is I need to look                       14:40:13

   24    at whether Microchip has the capacity to make                          14:40:16


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    1    these extra sales.                                                     14:40:18

    2         Q.    What did you do to assess whether                           14:40:23

    3    Microchip had sufficient capacity to make                              14:40:25

    4    these extra sales?                                                     14:40:27

    5         A.    So the first step in figuring out                           14:40:28

    6    whether they have the capacity is to figure                            14:40:30

    7    out how many chips we're talking about.            I                   14:40:33

    8    can't answer the question if it was can you                            14:40:35

    9    make 10 more chips or is it 100 or is it a                             14:40:38

   10    million.    I need to calibrate the magnitude of                       14:40:42

   11    the increase.                                                          14:40:45

   12                  And so what I've got here is the                         14:40:46

   13    sales data for this 44.9 million chips.            I                   14:40:48

   14    think it is the same data that we looked at                            14:40:54

   15    before that was just summarized.          Here I've                    14:40:56

   16    got it laid out by year, because this sort of                          14:40:59

   17    annual volume is what's going to be important.                         14:41:01

   18         Q.    Okay.                                                       14:41:04

   19                  So what is the total volume of                           14:41:04

   20    infringing sales?                                                      14:41:06

   21         A.    So here, instead of taking all                              14:41:08

   22    44.9 million, what I recognized was that the                           14:41:12

   23    first bit of time on this chart, if we click                           14:41:15

   24    ahead, there is a period of time that was                              14:41:20


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    1    prior to when the Sandia solution was                                 14:41:22

    2    launched.     And so I start my lost profits                          14:41:26

    3    analysis in the third quarter of 2017, after                          14:41:29

    4    Microchip's competing multi-host Sandia                               14:41:37

    5    solution has come on the market.         That's where                 14:41:41

    6    these two chips are competing directly.                               14:41:43

    7                   And obviously if there's only two                      14:41:46

    8    and they're competing directly and you take                           14:41:48

    9    one away, the customers wanted single-lane                            14:41:51

   10    persistent USB, they had two options and now                          14:41:54

   11    they have one.     I conclude that Microchip                          14:41:58

   12    would have been made those additional sales                           14:42:01

   13    after Sandia launched.                                                14:42:04

   14                   So that actually totals, if we                         14:42:06

   15    click ahead, to 35.2 million chips, and if we                         14:42:09

   16    look at the magnitude of the sales in any                             14:42:13

   17    year, the biggest year there is an increase of                        14:42:17

   18    about 10 million chips.                                               14:42:20

   19                   The volumes are going down, but I                      14:42:22

   20    need to ask the question, does Microchip have                         14:42:24

   21    the ability to make an additional 10 million                          14:42:27

   22    chips in a year?                                                      14:42:31

   23         Q.     And what did you do to determine                          14:42:32

   24    whether Microchip had the capacity to make an                         14:42:34


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    1    additional 7 to 10 million chips a year?                              14:42:36

    2         A.   So I talked to Mr. Obolsky and looked                       14:42:39

    3    at some of the evidence in the record about                           14:42:42

    4    the production process, and what I learned is                         14:42:44

    5    that there are really three major steps.                              14:42:50

    6                  First is the production of wafers,                      14:42:52

    7    all these little chips end up sort of being                           14:42:57

    8    printed on a big wafer.       It looks like a small                   14:43:00

    9    record album, and then it gets cut into little                        14:43:03

   10    chips.                                                                14:43:06

   11                  TSMC is the largest wafer maker in                      14:43:06

   12    the world, and that's who makes the wafers for                        14:43:11

   13    Microchip.    They have massive capacity.                             14:43:14

   14                  The next step is probe and test.                        14:43:17

   15    Those wafers get tested by Microchip at a                             14:43:22

   16    facility in Thailand, and then it gets sent on                        14:43:25

   17    to assembly and packaging where Microchip has                         14:43:29

   18    a number of different options.         All of them                    14:43:32

   19    are very large contract manufacturing                                 14:43:34

   20    companies that do this.                                               14:43:36

   21         Q.   Were you here when Mr. Obolsky                              14:43:38

   22    testified?                                                            14:43:40

   23         A.   I was.                                                      14:43:40

   24         Q.   Do you recall his testimony about the                       14:43:41


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    1    volume of chips Microchip makes per day?                              14:43:43

    2         A.   Yes.   I recall it being -- I think it                      14:43:46

    3    was 20 million chips a day.                                           14:43:50

    4         Q.   Do you know about how many chips per                        14:43:52

    5    day the incremental sales for the lost profits                        14:43:54

    6    purposes would represent?                                             14:43:59

    7         A.   In round numbers, in that peak year,                        14:43:59

    8    it's less than 30,000 a day.                                          14:44:04

    9         Q.   30,000 compared to 20 million a day                         14:44:05

   10    that they actually produce now?                                       14:44:08

   11         A.   Yes.   It's a tiny, tiny increase in                        14:44:10

   12    terms of their overall production.                                    14:44:13

   13         Q.   So what does that tell you about                            14:44:14

   14    Microchip's capacity to meet the demand for                           14:44:16

   15    these incremental sales?                                              14:44:18

   16         A.   It tells me that they could have                            14:44:20

   17    easily met the demand for an increase of this                         14:44:21

   18    magnitude.    I know 10 million chips sounds                          14:44:25

   19    like a lot, but for a company that's making 20                        14:44:28

   20    million chips a day, 10 million over the                              14:44:31

   21    course of an entire year really isn't a very                          14:44:36

   22    big increase.                                                         14:44:39

   23         Q.   So what about marketing capacity; did                       14:44:39

   24    you assess Microchip's ability to serve                               14:44:42


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    1    additional customers from a sales and                                  14:44:44

    2    marketing perspective?                                                 14:44:46

    3         A.     I did.   So on this, we're -- a couple                     14:44:47

    4    things about this market and this particular                           14:44:53

    5    chip.     One is to make additional sales, they                        14:44:57

    6    don't have to go out and spend money on the                            14:45:01

    7    marketing brochures and the sort of things                             14:45:04

    8    that, you know, you might have to go have                              14:45:07

    9    somebody design the pages on a website that                            14:45:09

   10    describe the product because they're already                           14:45:12

   11    out there.     By the time I start the lost                            14:45:14

   12    profits damages, the chip is actually being                            14:45:18

   13    sold.     We saw that they sold, I think, eight                        14:45:20

   14    million of these.      So there's no additional                        14:45:23

   15    marketing spend that they need to do.                                  14:45:25

   16                   As far as the sales relationships,                      14:45:27

   17    the primary customer for this chip, if Boston,                         14:45:30

   18    the Boston chip isn't there, is actually                               14:45:33

   19    Aptiv, who is trying to win these OEM deals,                           14:45:37

   20    did win it with the Boston chip, but in this                           14:45:41

   21    but-for world, they can't use the Boston chip.                         14:45:44

   22    The evidence is very clear that the only other                         14:45:48

   23    chip they could have put in those hubs that                            14:45:50

   24    would satisfy the demand for single-lane                               14:45:53


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    1    CarPlay is Microchip's Sandia chip.                                   14:45:56

    2                  They already have a relationship                        14:45:59

    3    with Aptiv.    I think Mr. Obolsky testified,                         14:46:02

    4    they're still selling hundreds of parts to                            14:46:05

    5    them.                                                                 14:46:05

    6                  So I concluded, based on my                             14:46:08

    7    discussion with Mr. Obolsky, that no                                  14:46:10

    8    additional sales and marketing costs of any                           14:46:13

    9    kind of any meaningful amount would need to be                        14:46:16

   10    spent to make these sales.        So they clearly                     14:46:19

   11    have the marketing capacity to do it.                                 14:46:22

   12         Q.   So what is your conclusion from                             14:46:25

   13    consideration of Panduit factor 3?                                    14:46:27

   14         A.   So on that, having made an assessment                       14:46:31

   15    of the volume of chips that will be sold and                          14:46:33

   16    what that means in terms of marketing and                             14:46:35

   17    manufacturing capacity, I concluded that they                         14:46:39

   18    do have the capacity, so we put a checkmark                           14:46:41

   19    there.                                                                14:46:44

   20         Q.   Okay.                                                       14:46:45

   21                  So under Panduit factor 4, what is                      14:46:46

   22    it you're trying to do here?                                          14:46:49

   23         A.   So here, on a prior slide, we saw                           14:46:51

   24    that I have concluded that there would have                           14:46:55


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    1    been incremental sort of additional sales of                           14:46:58

    2    about 35 million chips.        The last question                       14:47:00

    3    that Panduit asks is what would -- what would                          14:47:03

    4    the profits on those sales have been?              Are                 14:47:08

    5    there profits and what are they?                                       14:47:11

    6                   So I have to go do an analysis of                       14:47:15

    7    the profitability of the chip that would have                          14:47:17

    8    been sold, which is the Sandia chip.                                   14:47:19

    9         Q.     So what was your first step?                               14:47:21

   10         A.     So the first step is to look at what                       14:47:23

   11    the profit actually was.        I don't want to just                   14:47:28

   12    say well, I think it would have been X.              We                14:47:30

   13    have actual sales data for the REDACTED                                14:47:33

   14    chips they did sell.                                                   14:47:36

   15                   So I went and looked at the                             14:47:38

   16    financial records and could see that Microchip                         14:47:39

   17    actually made gross profits of about                                   14:47:44

   18    REDACTED         on REDACTED        Sandia units.                      14:47:48

   19                   And if we do the math on what that                      14:47:55

   20    means in terms of profit per unit, if you                              14:47:58

   21    click ahead, that works out to        REDACTED   of profit             14:48:00

   22    per unit for any incremental units that they                           14:48:07

   23    make.     And I concluded that that is a                               14:48:11

   24    reasonable measure of the lost profit per unit                         14:48:14


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    1    on any additional sales they would have made.                         14:48:17

    2         Q.   And is your data that we are looking                        14:48:20

    3    at on here from slide 22 from Exhibits 46                             14:48:22

    4    through 48?                                                           14:48:26

    5         A.   It is.                                                      14:48:27

    6         Q.   Okay.                                                       14:48:28

    7                  So am I correct that you                                14:48:29

    8    determined that the actual gross profits                              14:48:31

    9    earned by Microchip on its sales of multi-host                        14:48:34

   10    Sandia chips from June 2017 through September                         14:48:37

   11    of 2021 was   REDACTED   per chip?                                    14:48:40

   12         A.   Yes.                                                        14:48:44

   13         Q.   Can you explain why gross profits are                       14:48:45

   14    the right measure for lost profit per chip?                           14:48:47

   15         A.   So what I'm trying to figure out is                         14:48:50

   16    not what Sandia's overall profit is, including                        14:48:54

   17    overhead and things like that.         It's given                     14:48:59

   18    that they're already selling the product, if                          14:49:03

   19    they make more sales on top of what they've                           14:49:05

   20    already spent, what would be the profit.                              14:49:08

   21                  And what gross profit measures is                       14:49:12

   22    it's the selling price minus something we call                        14:49:16

   23    cost of goods sold, which has all the costs to                        14:49:18

   24    manufacture; what do the parts cost, the                              14:49:24


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    1    materials, the testing, the shipping,                                 14:49:27

    2    everything that's associated with making one                          14:49:30

    3    more unit of chip.                                                    14:49:32

    4                  Since the -- everything else, the                       14:49:36

    5    headquarters building for Microchip, the sales                        14:49:39

    6    teams, everything else is fixed, it's already                         14:49:42

    7    there, there's no incremental cost over and                           14:49:45

    8    above the cost of just order more parts, test                         14:49:48

    9    them, package them, get them ready to sell.                           14:49:51

   10                  So those costs to order more parts                      14:49:54

   11    from TSMC, test them, package them and ship                           14:49:57

   12    them, that's all included in the cost of goods                        14:50:02

   13    sold, which was already taken into account in                         14:50:05

   14    this gross profit number.       So that's the                         14:50:09

   15    appropriate number from an incremental sales                          14:50:10

   16    standpoint.                                                           14:50:13

   17         Q.   Did you consider whether there would                        14:50:14

   18    be any incremental sales in marketing costs?                          14:50:16

   19         A.   I did.    Again, I talked to Mr.                            14:50:20

   20    Obolsky about this and looked at the, kind of                         14:50:24

   21    the nature of the market where they're dealing                        14:50:27

   22    with a very small number of Tier 1 suppliers,                         14:50:29

   23    like Aptiv and Tecvox, that are making boxes.                         14:50:33

   24    They've already got all the relationships.                            14:50:36


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    1    It's just a question of which chip is going to                        14:50:39

    2    go in there, and they already have the                                14:50:42

    3    marketing materials for those chips.                                  14:50:43

    4                  So I concluded that there's no                          14:50:45

    5    incremental costs associated with sales and                           14:50:47

    6    marketing.                                                            14:50:51

    7         Q.   Okay.                                                       14:50:52

    8                  So what did you conclude with                           14:50:52

    9    respect to the fourth Panduit factor?                                 14:50:54

   10         A.   The fourth Panduit factor is met.           I               14:50:56

   11    can calculate the lost profits on those lost                          14:50:59

   12    sales, and we can put a checkmark there.                              14:51:01

   13         Q.   Okay.                                                       14:51:04

   14                  Since all four factors have been                        14:51:05

   15    met, what does that mean?                                             14:51:07

   16         A.   That means that Microchip has                               14:51:08

   17    suffered lost profits and that there is a                             14:51:11

   18    quantifiable amount of lost profits that can                          14:51:14

   19    form a damages claim for lost profits.           And we               14:51:18

   20    just need to go add up those numbers.                                 14:51:22

   21         Q.   And have you done that?        Have you                     14:51:24

   22    added up those numbers?                                               14:51:26

   23         A.   I have.    So here, I am just putting                       14:51:27

   24    the pieces together.      At the top of this are                      14:51:30


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    1    those incremental sales of Sandia that would                          14:51:33

    2    have occurred, but for Aptiv's infringement.                          14:51:35

                      REDACTED
    3    That's the                million units at a lost profit              14:51:38

                        REDACTED
    4    per unit of               .   That's 70,862,439.                      14:51:43

    5         Q.    So does that $70.9 million in lost                         14:51:49

    6    profits account for all of Aptiv's infringing                         14:51:53

    7    sales?                                                                14:51:57
                                                            REDACTED
    8         A.    No, that -- this is based on                               14:51:57

    9    million chips.            We've got some other stuff                  14:52:00

   10    that I need to take care of.                                          14:52:02

   11         Q.    Let's take a look at that.                                 14:52:04

   12                   Could we please take the next                          14:52:06

   13    slide?                                                                14:52:08

   14                   THE COURT:          Before we do that, why             14:52:08

   15    don't -- I think this is a good moment for a                          14:52:10

   16    break.    We have been going for a hour                               14:52:13

   17    and-a-half, so why don't we take 5, 10 minutes                        14:52:15

   18    and plan to be back here at 3 o'clock.                                14:52:18

   19                   (Whereupon, the jury was excused                       14:52:22

   20    from the courtroom.)                                                  14:52:24

   21                   THE COURT:          All right.                         14:52:45

   22                   Stand in recess.          Be back in about             14:52:46

   23    five minutes.           We'll start at 3, okay?                       14:52:48

   24                   (Whereupon, a recess was taken at                      14:52:51


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    1    2:53 p.m.)                                                            14:52:54

    2                   THE COURT CLERK:     All rise.                         15:00:06

    3                   THE COURT:     All right.    Have a                    15:03:41

    4    seat, please.                                                         15:03:42

    5                   Please get the jury, Mr. Koehler.                      15:03:43

    6                   (Whereupon, the jury entered the                       15:03:44

    7    courtroom.)                                                           15:03:46

    8                   THE COURT:     All right.    Have a                    15:04:35

    9    seat.                                                                 15:04:37

   10                   Proceed.     Continue.                                 15:04:39

   11                   MR. GRAY:     Thank you.                               15:04:41

   12    BY MR. GRAY:                                                          15:04:41

   13         Q.   Dr. Becker, just before the break, we                       15:04:42

   14    had just finished talking about your lost                             15:04:44

   15    profits opinion.                                                      15:04:47

   16                   Does this $70.9 million in lost                        15:04:49

   17    profits account for all of Aptiv's infringing                         15:04:51

   18    units?                                                                15:04:56

   19         A.   No, it doesn't.                                             15:04:56

   20         Q.   Why not?                                                    15:04:57

   21         A.   So as I am sort of trying to depict                         15:04:58

   22    here on this slide, the 70.9 million units                            15:05:00

   23    covers the accused sales from the third                               15:05:04

   24    quarter of 2017 forward.        We've got an                          15:05:08


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    1    additional 9.7 million units that were sold                           15:05:12

    2    between the second quarter of 2015 and the                            15:05:16

    3    second quarter of 2017 that are not here;                             15:05:18

    4    therefore, they are not accounted for in that                         15:05:24

    5    $70.9 million.                                                        15:05:27

    6         Q.    So what happens to those 9.7 million                       15:05:27

    7    units?    Are there damages associated with                           15:05:31

    8    those infringing sales?                                               15:05:32

    9         A.    So, there are.     There's something --                    15:05:34

   10    for that, I looked to the sort of general                             15:05:36

   11    patent damages statute as to what kind of                             15:05:40

   12    compensation is available.        And if we click                     15:05:43

   13    ahead, the basic sort of framework that I'm                           15:05:46

   14    working with, from a patent damages                                   15:05:49

   15    standpoint, is that if there's a finding for                          15:05:52

   16    the claimant, here this would be Microchip,                           15:05:54

   17    the -- you would have damages adequate to                             15:05:58

   18    compensate for the infringement, but in no                            15:06:03

   19    event less than a reasonable royalty.                                 15:06:06

   20                  So for some of these sales, what I                      15:06:08

   21    think is the adequate compensation for the                            15:06:11

   22    infringement is the lost profits, but for the                         15:06:16

   23    rest of them, it is not less than what we call                        15:06:19

   24    a reasonable royalty.       So that other                             15:06:21


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    1    9.6 million, we are going to talk about a                             15:06:23

    2    reasonable royalty on that.                                           15:06:26

    3         Q.   So is another way to describe a                             15:06:27

    4    reasonable royalty is that it's sort of the                           15:06:29

    5    floor on damages; it has to be a reasonable                           15:06:32

    6    royalty at least?                                                     15:06:34

    7         A.   Yes.     At least I think what that                         15:06:35

    8    prior thing was saying is that whatever the                           15:06:39

    9    adequate compensation is, that's what the                             15:06:41

   10    damages award would be, but it's no less than                         15:06:43

   11    a reasonable royalty.                                                 15:06:46

   12         Q.   And is the methodology for                                  15:06:48

   13    determining a reasonable royalty different                            15:06:50

   14    from lost profits?                                                    15:06:52

   15         A.   It is.                                                      15:06:53

   16         Q.   Okay.     Let's turn to your reasonable                     15:06:55

   17    royalty opinions.                                                     15:06:57

   18                  First, can you explain for the                          15:06:59

   19    jury what you mean by royalty?                                        15:07:01

   20         A.   So a royalty -- I like to use the                           15:07:02

   21    analogy with renting a piece of real property.                        15:07:05

   22    So royalty on a patent is a royalty on                                15:07:10

   23    intellectual property.      You can't -- you know,                    15:07:14

   24    it is just the rights to something on a piece                         15:07:16


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    1    of paper.                                                             15:07:19

    2                   But if you own real property,                          15:07:19

    3    let's say you own the building, that's your                           15:07:21

    4    property.     You control it.     No one can                          15:07:24

    5    trespass on it without your permission.                               15:07:26

    6                   But lots of times, people say                          15:07:29

    7    well, I want to give you permission to use my                         15:07:31

    8    building, to rent my apartment.         We're going                   15:07:33

    9    to enter into a lease agreement that specifies                        15:07:35

   10    an amount of rent that you are going to pay to                        15:07:39

   11    use my property, and we'll have a negotiation                         15:07:41

   12    over that and come to an agreement.                                   15:07:45

   13                   For intellectual property, the way                     15:07:47

   14    the world works, if you're going to give                              15:07:50

   15    someone permission is you typically enter into                        15:07:52

   16    a license agreement.      It's like a lease.       It                 15:07:55

   17    says what the property is, how long you get to                        15:07:58

   18    use it, how much you can use it, where can you                        15:08:00

   19    use it and for that, the equivalent of rent is                        15:08:07

   20    the royalty payment.                                                  15:08:10

   21         Q.     And how do you determine the amount                       15:08:11

   22    of royalty that should be paid?                                       15:08:13

   23         A.     So here, for the lost profits, I'm                        15:08:15

   24    sitting here today sort of looking backwards                          15:08:19


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    1    saying, what would that market have looked                            15:08:22

    2    like if Aptiv's product hadn't been on the                            15:08:23

    3    market?                                                               15:08:27

    4                   For the reasonable royalty, I                          15:08:27

    5    conduct what's called a hypothetical                                  15:08:30

    6    negotiation.     This is where I imagine that the                     15:08:32

    7    licensee and the patent owner sit down at a                           15:08:38

    8    table right before the infringement is going                          15:08:41

    9    to begin, before, in a sense, instead of --                           15:08:44

   10    it's before the person moves into your house                          15:08:49

   11    that they want to rent, you sit down at the                           15:08:51

   12    table and figure out what the rent is, not                            15:08:53

   13    after they have been living in it for seven                           15:08:55

   14    years.                                                                15:08:57

   15                   So here, I've got to put the                           15:08:58

   16    patent owner and the licensee at a table at                           15:09:01

   17    the point in time that the license would be                           15:09:05

   18    needed in order to not infringe.                                      15:09:07

   19         Q.   So can you please explain what you                          15:09:11

   20    mean by a hypothetical negotiation?                                   15:09:13

   21         A.   Well, it didn't -- it didn't actually                       15:09:15

   22    occur, so obviously, we wouldn't be here if                           15:09:18

   23    the parties had sat down in 2015 or 2014 and                          15:09:22

   24    negotiated a license.                                                 15:09:27


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    1                   So I have to look at the economic                      15:09:28

    2    circumstances of the entry or the launch of                           15:09:30

    3    that product and what the various -- what                             15:09:35

    4    Microchip would be giving up for license, what                        15:09:39

    5    would Aptiv be gaining to get a license; those                        15:09:43

    6    sorts of things.                                                      15:09:45

    7         Q.    So is a reasonable royalty -- you're                       15:09:45

    8    here, you're retained by Microchip in this                            15:09:49

    9    case; right?                                                          15:09:51

   10         A.    Yes.                                                       15:09:51

   11         Q.    And so are the opinions you're                             15:09:52

   12    expressing, is that as if you were Microchip's                        15:09:54

   13    negotiator at the hypothetical negotiation?                           15:09:57

   14         A.    No, because this isn't just what --                        15:10:00

   15    you know, Microchip doesn't get just what it                          15:10:03

   16    wants.    If it got what it wanted, it would,                         15:10:06

   17    you know, ask for some astronomical number.                           15:10:09

   18                   This has to be a number that is a                      15:10:13

   19    reasonable meeting of the minds that reflects                         15:10:15

   20    something that both parties could agree to                            15:10:17

   21    that makes sense for both Microchip and for                           15:10:20

   22    Aptiv to reach an agreement over a license.                           15:10:24

   23         Q.    So in your analysis, are you looking                       15:10:27

   24    at the evidence on both sides and coming to a                         15:10:30


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    1    conclusion that you think would have been a                            15:10:32

    2    reasonable outcome?                                                    15:10:34

    3         A.    Yes.                                                        15:10:35

    4         Q.    You talked a little bit about the                           15:10:38

    5    timing of the negotiation being just before                            15:10:40

    6    infringement began.                                                    15:10:43

    7                   In this case, when do you assume                        15:10:45

    8    it occurs?                                                             15:10:47

    9         A.    So I assume that it occurs in March                         15:10:47

   10    of 2014.     That's when the accused product was                       15:10:49

   11    first -- it's not when it was first sold, but                          15:10:53

   12    it was being offered and -- offered for sale                           15:10:56

   13    to potential customers, and that sort of                               15:11:00

   14    triggers the need to have a license in this                            15:11:03

   15    hypothetical negotiation world.                                        15:11:05

   16         Q.    So why does the date of the                                 15:11:07

   17    hypothetical negotiation matter?                                       15:11:10

   18         A.    Well, it tells us a couple of things.                       15:11:11

   19    One is it's going to tell me who is sitting at                         15:11:13

   20    the table, because I could look and see who                            15:11:17

   21    owned the patent at that time and who was                              15:11:19

   22    selling the product at that time.                                      15:11:20

   23                   It also tells me the economic                           15:11:22

   24    conditions in terms of what was the market                             15:11:25


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    1    demanding in terms of hub products that are                            15:11:28

    2    relevant to this question of what the license                          15:11:32

    3    would look like.                                                       15:11:35

    4         Q.    So in March of 2014, who were the                           15:11:37

    5    parties at the hypothetical negotiation?                               15:11:40

    6         A.    So on the patent owner side, the                            15:11:42

    7    patent is still owned by the entity SMSC.                              15:11:45

    8    Now, SMSC has already been purchased by                                15:11:50

    9    Microchip, so it's not a very important                                15:11:53

   10    distinction.      It's essentially Microchip, but                      15:11:55

   11    technically, the patent owner, in March of                             15:11:58

   12    2014, was the entity SMSC.                                             15:12:01

   13                   On the other side of the table,                         15:12:06

   14    March of 2014, is before Delphi acquired                               15:12:09

   15    Unwired, so Unwired is sitting at the table as                         15:12:12

   16    the licensee.                                                          15:12:15

   17         Q.    And so March of 2014 was about six                          15:12:16

   18    months before Delphi acquired Unwired;                                 15:12:20

   19    correct?                                                               15:12:22

   20         A.    Yes.                                                        15:12:22

   21         Q.    Did you consider whether having                             15:12:23

   22    Unwired and SMSC at the table would have been                          15:12:26

   23    materially different than having just                                  15:12:30

   24    Microchip and Aptiv at the table?                                      15:12:32


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    1         A.   I did consider that, and concluded                          15:12:33

    2    that -- we'll see, as we walk through my                              15:12:36

    3    analysis, I don't think anything -- certainly                         15:12:39

    4    the outcome wouldn't change if it was Aptiv                           15:12:42

    5    and Microchip.     At that time, SMSC was part of                     15:12:47

    6    Microchip, so that's obviously not going to                           15:12:54

    7    change the outcome.                                                   15:12:57

    8                  For Unwired, they are a hub maker                       15:12:58

    9    who is about to embark on a decision to make                          15:13:01

   10    their own chip that will be used in a hub that                        15:13:05

   11    will displace the opportunity for Microchip to                        15:13:09

   12    be selling chips into hubs, so it's similar                           15:13:13

   13    economic circumstances to the ones we find if                         15:13:18

   14    Aptiv had been at the table.                                          15:13:20

   15         Q.   Are there certain assumptions that                          15:13:22

   16    you have to make when conducting this                                 15:13:23

   17    hypothetical negotiation?                                             15:13:26

   18         A.   Yes.   There's a -- I think I failed                        15:13:28

   19    to mention, all of this kind of structure of                          15:13:32

   20    looking at things as a hypothetical                                   15:13:34

   21    negotiation comes sort of like the Panduit                            15:13:36

   22    factors came from a case that set forth this                          15:13:39

   23    sort of process.                                                      15:13:43

   24                  Here I'm using something called                         15:13:44


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    1    the Georgia Pacific analysis.        There was a                      15:13:46

    2    case many years, patent case called the                               15:13:50

    3    Georgia-Pacific case, and they sort of laid                           15:13:54

    4    out this process of saying you can figure out                         15:13:56

    5    a reasonable royalty by looking at a                                  15:13:59

    6    hypothetical negotiation.       And that case sets                    15:14:01

    7    forth some required assumptions.                                      15:14:05

    8                  The first is that the parties to                        15:14:07

    9    this negotiation assume and understand that                           15:14:10

   10    the patent is valid, enforceable and                                  15:14:13

   11    infringed.    In a real negotiation, you might                        15:14:17

   12    have the potential licensee saying well, I'm                          15:14:20

   13    not going to pay you anything more than a very                        15:14:23

   14    small amount because I don't think your patent                        15:14:26

   15    is valid, or I don't think we infringe.                               15:14:28

   16                  Here, the parties say we                                15:14:31

   17    understand the patent is valid, we understand                         15:14:33

   18    we need a license, we just need to figure out                         15:14:36

   19    what's reasonable.                                                    15:14:38

   20                  They come in willing to negotiate.                      15:14:39

   21    That's not always something in the real world.                        15:14:41

   22    They have reasonable knowledge and                                    15:14:45

   23    expectations.                                                         15:14:46

   24                  And this next bullet, the same                          15:14:49


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    1    information, it's kind of unique, and again,                          15:14:51

    2    not what happens in the real world, but I get                         15:14:54

    3    to sort of impart to these players knowledge                          15:14:59

    4    of all the relevant information.                                      15:15:02

    5                   So in a real negotiation, Unwired                      15:15:06

    6    may not know what Microchip's profitability is                        15:15:10

    7    on its chips.     Microchip may not know some of                      15:15:13

    8    Unwired's or Aptiv's internal stuff.          But in                  15:15:17

    9    this negotiation, I get to sort of deal all                           15:15:21

   10    the cards face up.                                                    15:15:24

   11                   And the last is that both sides                        15:15:26

   12    will act in good faith and they have to reach                         15:15:28

   13    an agreement.     We'll see, even though they are                     15:15:30

   14    competitors for the supply of these particular                        15:15:33

   15    chips, they can't just say, I'm never going to                        15:15:37

   16    license to you.     Microchip has to license;                         15:15:39

   17    Unwired has to agree.                                                 15:15:43

   18                   MR. GRAY:    Can we go to slide 31,                    15:15:47

   19    please.                                                               15:15:49

   20    BY MR. GRAY:                                                          15:15:50

   21         Q.   And what are we looking at here, Dr.                        15:15:51

   22    Becker?                                                               15:15:54

   23         A.   So this Georgia-Pacific case lays out                       15:15:54

   24    a checklist.     Like my four factor checklist                        15:15:57


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    1    for lost profit, there is a 15 factor                                  15:16:00

    2    checklist for a hypothetical negotiation.                              15:16:03

    3    These are the types of things that normal                              15:16:06

    4    people in a real world setting would consider                          15:16:10

    5    in trying to reach an agreement about a patent                         15:16:14

    6    license.                                                               15:16:16

    7         Q.    All right.                                                  15:16:17

    8                  I'd like to walk through all 15 of                       15:16:18

    9    these very slowly, if you would.                                       15:16:20

   10         A.    I don't think I have the time to do                         15:16:23

   11    that.                                                                  15:16:25

   12         Q.    Did you consider each of these                              15:16:25

   13    factors?                                                               15:16:27

   14         A.    I did.    In every case, we -- I                            15:16:27

   15    considered them, and what I found is that                              15:16:31

   16    depending on the facts and circumstances of                            15:16:34

   17    the particular case, they're going to be                               15:16:37

   18    things that are not relevant because the facts                         15:16:40

   19    just don't fit this 15 factor list.                                    15:16:43

   20                  But I did go through and we                              15:16:46

   21    always, my staff and I, we really do use this                          15:16:48

   22    as a checklist to make sure we've looked at                            15:16:50

   23    all of these factors.                                                  15:16:53

   24         Q.    Can you give us an example of some                          15:16:54


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    1    factors that were not relevant in this case?                          15:16:57

    2         A.     Sure.   One of the things that's                          15:17:00

    3    sometimes relevant if you're trying to figure                         15:17:02

    4    out the outcome of a license negotiation is                           15:17:04

    5    the question of whether the patent has ever                           15:17:07

    6    been licensed before, sort of like if you were                        15:17:09

    7    renting your apartment, the person sitting                            15:17:12

    8    across the table negotiating might say well,                          15:17:15

    9    what was the rent to the last tenant?                                 15:17:17

   10                   Similarly, comparable patents                          15:17:20

   11    licensed by the infringer, are there                                  15:17:25

   12    comparable pieces of intellectual property                            15:17:27

   13    that we can look at the rental, the royalty                           15:17:30

   14    rates for.                                                            15:17:32

   15                   Here, Microchip has never licensed                     15:17:33

   16    the patent, there are no comparable patents                           15:17:36

   17    that Aptiv has licensed, and there's no sort                          15:17:39

   18    of standard royalty rates in the industry for                         15:17:42

   19    a patent like this.      So that evidence is not                      15:17:46

   20    relevant in this case.      But we did go through                     15:17:49

   21    and look to see whether there was any                                 15:17:51

   22    evidence.                                                             15:17:52

   23         Q.     So can you walk us through the other                      15:17:53

   24    factors at a high level and summarize the role                        15:17:55


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    1    they played in your analysis?                                         15:17:59

    2         A.    Sure.     The next two factors look at                     15:18:00

    3    the duration and term of the license and what                         15:18:04

    4    we call the nature and scope.        That's really,                   15:18:06

    5    leaning on this real estate analogy, is this a                        15:18:10

    6    month-to-month lease, is it a one-year lease,                         15:18:14

    7    is it a 10-year lease.                                                15:18:18

    8                   What's the scope?     Is it going to                   15:18:19

    9    be selling these products anywhere in the                             15:18:22

   10    world?    Does the amount of compensation have                        15:18:25

   11    to consider sales anywhere in the world?           And                15:18:27

   12    is it an exclusive license or nonexclusive?                           15:18:31

   13                   Here, we're dealing with a single                      15:18:34

   14    U.S. patent.       The scope, from a geography                        15:18:38

   15    standpoint, is clearly the U.S.         It's a                        15:18:41

   16    nonexclusive license.       Microchip is going to                     15:18:44

   17    be selling products that use this patent as                           15:18:47

   18    well, so Aptiv doesn't -- isn't going to be                           15:18:49

   19    negotiating for an exclusive use of this                              15:18:52

   20    patent.                                                               15:18:55

   21                   And timing-wise, it's from March                       15:18:56

   22    of 2014 through the day of this trial.                                15:18:59

   23         Q.    Did you reach any conclusions about                        15:19:03

   24    the structure of the license?                                         15:19:04


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    1         A.    Yes.   So the -- the next piece that's                     15:19:06

    2    really sort of part of the same nature and                            15:19:09

    3    scope is to look at what kind of royalty rate                         15:19:12

    4    we're going to use.      Sometimes patent                             15:19:16

    5    licenses, you sit down and negotiate and the                          15:19:20

    6    circumstances lead the parties to say we'll                           15:19:23

    7    just write a check for some amount today and                          15:19:25

    8    that will give us rights for the life of the                          15:19:29

    9    patent.    That happens sometimes.                                    15:19:32

   10                  Here, the facts and circumstances                       15:19:34

   11    support what we call a running royalty, and                           15:19:37

   12    I've got a slide on that.       This is where it's                    15:19:40

   13    sort of a pay-as-you-go approach, where the                           15:19:45

   14    amount of royalties depend on the amount of                           15:19:49

   15    sales.    If -- and again, they are sitting down                      15:19:53

   16    before they have actually started selling it,                         15:19:56

   17    and so it makes sense to say well, we don't                           15:19:58

   18    know over the next seven years, are we going                          15:20:01

   19    to sell a little of this, a lot of it.           If you               15:20:04

   20    agree to a running royalty that has a rate, so                        15:20:06

   21    many, you know, so much per chip or per unit,                         15:20:11

   22    then we can have the royalty amount sort of be                        15:20:15

   23    a win/win.    If there's lots and lots of sales,                      15:20:18

   24    then the royalty goes up.                                             15:20:21


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    1                   But the -- Aptiv has made lots and                      15:20:23

    2    lots of sales, and if it's not a successful                            15:20:26

    3    product, there won't be much owed in the way                           15:20:28

    4    of a royalty.       So that's why we use this                          15:20:31

    5    structure and that's why this structure is                             15:20:33

    6    pretty common in the licensing industry.                               15:20:35

    7         Q.     Do you understand whether Aptiv's                          15:20:38

    8    damages expert agrees with you about the                               15:20:41

    9    running royalty structure?                                             15:20:43

   10         A.     He does.                                                   15:20:44

   11         Q.     Okay.                                                      15:20:45

   12                   What's the next factor you'd like                       15:20:46

   13    to discuss?                                                            15:20:48

   14         A.     So the next factor is sort of                              15:20:48

   15    following on having concluded that I'm going                           15:20:52

   16    to use a running royalty structure, one of the                         15:20:55

   17    things that we're going to have to come up                             15:20:57

   18    with at some point is what we call the royalty                         15:20:59

   19    base.     That's how many units are going to be                        15:21:01

   20    assessed this royalty rate.                                            15:21:06

   21                   The technical thing in the case is                      15:21:09

   22    the extent to which the infringer made use of                          15:21:11

   23    the patented technology.        Here we're just                        15:21:14

   24    going to go count up the number of hub                                 15:21:16


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    1    products that Aptiv sold that contained this                           15:21:19

    2    accused Boston chip.                                                   15:21:21

    3         Q.     And have you quantified the extent of                      15:21:23

    4    use by Aptiv then?                                                     15:21:26

    5         A.     Yes.    We've seen this a couple times                     15:21:27

    6    before.     This is from Exhibit 182, and that's                       15:21:30

    7    basically the 44.9 million units that have                             15:21:32

    8    been sold through November of 2021.                                    15:21:38

    9         Q.     So that's a number that we are going                       15:21:40

   10    to end up multiplying by the royalty rate that                         15:21:42

   11    we'll talk about next?                                                 15:21:46

   12         A.     Yes.    In terms of just looking at                        15:21:47

   13    this purely as a royalty, once we have a rate,                         15:21:50

   14    if we didn't have the lost profits issue, we                           15:21:55

   15    would be looking at 44.9 million units times                           15:21:58

   16    this rate that I am going to come up with.                             15:22:01

   17         Q.     Okay.                                                      15:22:04

   18                   What about the remaining factors?                       15:22:04

   19         A.     So the rest of the factors really go                       15:22:06

   20    to the -- and have an influence on the royalty                         15:22:10

   21    rate.     They are things like those bottom two,                       15:22:13

   22    on the left, boxes, the established licensing                          15:22:16

   23    policy and the competitive position of the                             15:22:20

   24    parties.     Is Microchip or SMSC sitting there?                       15:22:21


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    1    Was it out actively trying to license this                            15:22:26

    2    patent?     Yeah, I want to find lots of people                       15:22:29

    3    to license it, or was it trying to keep this                          15:22:33

    4    for itself and we're sort of having to force                          15:22:35

    5    them to license at this table?                                        15:22:37

    6                   The competitive position, we'll                        15:22:39

    7    talk a lot about that, the top right,                                 15:22:41

    8    profitability and commercial success of the                           15:22:44

    9    product made under the patent.         Obviously if                   15:22:46

   10    products that use this technology are                                 15:22:49

   11    successful and profitable, that can drive up                          15:22:52

   12    the rate.                                                             15:22:55

   13                   So all of these factors I have                         15:22:56

   14    taken into account to come up with the rate                           15:22:58

   15    that we'll talk about here in a minute.                               15:23:00

   16         Q.     And rather than going through each of                     15:23:02

   17    these factors individually, do you have a                             15:23:04

   18    slide that summarizes what you concluded from                         15:23:07

   19    your analysis of those factors?                                       15:23:09

   20         A.     I do.   I've really, after looking at                     15:23:10

   21    all those other factors, concluded that there                         15:23:14

   22    are four key things that would influence the                          15:23:16

   23    outcome of this negotiation.        The first is                      15:23:18

   24    that the license to Aptiv authorizes direct                           15:23:20


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    1    competition with Microchip's Athens and Sandia                        15:23:24

    2    products.                                                             15:23:27

    3                   Before the negotiation, Unwired is                     15:23:28

    4    a potential customer.      Aptiv is certainly a                       15:23:32

    5    potential customer, but if they start                                 15:23:35

    6    supplying chips from internally, that internal                        15:23:40

    7    fabrication and supply of chips is directly                           15:23:44

    8    displacing the opportunity for Microchip to                           15:23:48

    9    make a sale.                                                          15:23:51

   10                   So there is direct competition at                      15:23:52

   11    the chip level.     There may not be any                              15:23:54

   12    competition at the hub level, but at the chip                         15:23:57

   13    level, with this license, Unwired and Aptiv                           15:24:00

   14    can get into the chip business for a                                  15:24:04

   15    multi-host controller chip, and that's going                          15:24:07

   16    to be important.                                                      15:24:09

   17                   Second is that Athens and Sandia                       15:24:11

   18    are highly profitable products.         So the thing                  15:24:14

   19    that is going to be impacted by this                                  15:24:18

   20    competition is actually a profitable product.                         15:24:20

   21                   Third, the patented multi-host                         15:24:23

   22    architecture uniquely satisfies the demand for                        15:24:26

   23    single-lane CarPlay with persistent USB.                              15:24:29

   24    That's important.                                                     15:24:33


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    1                   And finally, this patented                             15:24:34

    2    multi-host architecture provides the lowest                           15:24:37

    3    cost CarPlay solution that meets the OEM                              15:24:39

    4    requirements.     Those are the four things that                      15:24:44

    5    I sort of took into account as the most                               15:24:46

    6    influential on the rate.                                              15:24:49

    7         Q.     Let's start with the first bullet                         15:24:51

    8    point.    What did you find there?                                    15:24:54

    9         A.     So here, it's looking at this                             15:24:55

   10    competitive dynamic, and as heard, quite a bit                        15:24:58

   11    of testimony about that already.         Here is the                  15:25:02

   12    question:     Are they really competitors?        Isn't               15:25:06

   13    Aptiv a customer of Microchip?                                        15:25:08

   14                   But you have to think about it,                        15:25:12

   15    there is this sort of chip supply level of the                        15:25:13

   16    business, supplying chips to the Tier 1 hub                           15:25:17

   17    makers like Aptiv who then supply products to                         15:25:20

   18    the OEMs.                                                             15:25:24

   19                   Prior to entering into this                            15:25:25

   20    license, as Mr. Obolsky described, Microchip                          15:25:28

   21    and Aptiv -- Aptiv is a customer and they're                          15:25:31

   22    really business partners in trying to win                             15:25:35

   23    business from the OEMs.                                               15:25:37

   24                   What Aptiv is going to do with                         15:25:39


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    1    this license, though, is essentially step into                        15:25:41

    2    the chip level chain of commerce.         They now                    15:25:43

    3    have their own store to supply from.          They are                15:25:47

    4    not selling it to anybody else, but they're                           15:25:51

    5    going to get their chips from their own                               15:25:53

    6    internal supplier, not from Microchip.           So                   15:25:55

    7    it's directly competitive.                                            15:25:59

    8         Q.   So what impact does granting a                              15:26:02

    9    license to a competitor have on the royalty                           15:26:05

   10    rate?                                                                 15:26:08

   11         A.   So in any case where you have -- I'm                        15:26:08

   12    looking at the difference between just an                             15:26:11

   13    inventor trying to license to somebody who                            15:26:13

   14    might commercialize their invention and                               15:26:16

   15    comparing that to a situation where you have                          15:26:19

   16    the -- you know, a competitive dynamic, the                           15:26:21

   17    competitive situation leads to higher royalty                         15:26:26

   18    rates.                                                                15:26:29

   19         Q.   Did you see any evidence in this case                       15:26:29

   20    that the competitive impact actually occurred                         15:26:32

   21    here?                                                                 15:26:34

   22         A.   Yes.   There's lots of documents and                        15:26:34

   23    lots of evidence that there was actually a                            15:26:37

   24    competitive -- not just a competitive threat,                         15:26:40


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    1    but that it did materialize.                                          15:26:43

    2         Q.    Let's look at a couple of those.                           15:26:45

    3                   MR. GRAY:    Mr. Ferrer, could we                      15:26:48

    4    please see Exhibit 82.                                                15:26:50

    5    BY MR. GRAY:                                                          15:26:53

    6         Q.    Dr. Becker, what are we looking at                         15:26:54

    7    here?                                                                 15:26:55

    8         A.    So this is part of an email chain                          15:26:56

    9    that I think has been talked about a number of                        15:26:58

   10    times.    This is from Mike Pennington to a                           15:27:01

   11    bunch of people at Microchip in February of                           15:27:04

   12    2016.                                                                 15:27:10

   13                   And it's my understanding from                         15:27:12

   14    this email that their draft -- they are                               15:27:13

   15    working on a message or a draft of a letter to                        15:27:16

   16    send to Delphi to say look, what you're doing                         15:27:19

   17    with the Unwired chip is -- is creating a                             15:27:24

   18    competitive situation.                                                15:27:28

   19                   And what they are wanting to say                       15:27:30

   20    or proposing to say is you may recall from our                        15:27:32

   21    conversation last fall that since Delphi's                            15:27:36

   22    purchase of Unwired technology, we have found                         15:27:39

   23    ourselves in the unique situation where Delphi                        15:27:42

   24    is now competing directly with Microchip as a                         15:27:44


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    1    silicon supplier, so that's at the chip level,                        15:27:48

    2    with their development of their own custom                            15:27:52

    3    ASIC.   We have seen Delphi position this ASIC                        15:27:54

    4    device against ours in the marketplace which                          15:27:58

    5    has been costing Microchip business.                                  15:28:00

    6                  So clearly, this -- the sale of                         15:28:03

    7    the -- or the use of the ASIC in their hubs is                        15:28:08

    8    creating a situation that is competitive with                         15:28:12

    9    Microchip's opportunity to sell Athens and                            15:28:15

   10    Sandia chips.                                                         15:28:18

   11                  MR. GRAY:    Mr. Ferrer, can we see                     15:28:21

   12    Exhibit 42, please.                                                   15:28:24

   13                  THE WITNESS:     So here, this is                       15:28:32

   14    backing up in time just a little bit.          This is                15:28:33

   15    November of 2015.     This is Ganesh Moorthy to a                     15:28:35

   16    similar group of people.       And sort of making                     15:28:41

   17    the statement that Unwired was an independent                         15:28:45

   18    company and Delphi in this field, I think                             15:28:48

   19    there's a typo there, field of play was not a                         15:28:53

   20    competitor.                                                           15:28:56

   21                  That situation was changed                              15:28:58

   22    dramatically with the acquisition of Unwired                          15:28:59

   23    by Delphi.    Price reductions were offered in                        15:29:02

   24    exchange for significant volume and revenue                           15:29:05


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    1    growth.     In fact, Unwired has been destroying                       15:29:07

    2    Microchip's revenue and profits with what they                         15:29:10

    3    have done.                                                             15:29:13

    4                   And the key here is that situation                      15:29:14

    5    doesn't change just because Delphi acquired                            15:29:17

    6    them.     So the internal supply of chips is                           15:29:19

    7    still competing with Athens and Sandia, even                           15:29:23

    8    though Delphi owns them.        It is an alternative                   15:29:27

    9    that is displacing Microchip's opportunity to                          15:29:30

   10    make a sale.                                                           15:29:32

   11    BY MR. GRAY:                                                           15:29:34

   12         Q.     Were you here when -- you said you                         15:29:34

   13    were here when Mr. Obolsky testified; correct?                         15:29:36

   14         A.     Yes.                                                       15:29:39

   15         Q.     And you recall some questions                              15:29:39

   16    suggesting that since Aptiv doesn't sell the                           15:29:41

   17    Boston chip to anyone else and only uses it                            15:29:44

   18    internally for hubs, that Aptiv couldn't be in                         15:29:46

   19    competition with Microchip?         He talked about                    15:29:51

   20    that a little awhile ago; correct?                                     15:29:54

   21         A.     Yes.   It -- I agree that they don't                       15:29:56

   22    sell -- Aptiv isn't making the Boston chip and                         15:29:59

   23    sending it out and sort of offering it to                              15:30:05

   24    anybody else.      They are keeping it as their                        15:30:08


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    1    own proprietary source for their hubs as a                            15:30:09

    2    competitive -- to give them a competitive                             15:30:13

    3    advantage over the other hub makers.                                  15:30:16

    4                   But it clearly competes at the                         15:30:18

    5    silicon level, at the chip level.         It is a                     15:30:22

    6    chipmaker supplying chips to Aptiv that is                            15:30:26

    7    displacing Microchip.       It is the essence of a                    15:30:29

    8    competitive relationship.                                             15:30:33

    9         Q.   Is that what Mr. Obolsky testified as                       15:30:34

   10    what was previously a win/win relationship now                        15:30:37

   11    became an Aptiv wins and Microchip loses                              15:30:40

   12    relationship?                                                         15:30:43

   13         A.   Yes.                                                        15:30:44

   14         Q.   Turning back to your list of key                            15:30:47

   15    factors...                                                            15:30:49

   16                   MR. GRAY:    If we could go back to                    15:30:50

   17    the presentation, please.                                             15:30:52

   18    BY MR. GRAY:                                                          15:30:54

   19         Q.   What's next?                                                15:30:54

   20         A.   So next is to look at the -- I think                        15:30:54

   21    I have established, at least in my mind, that                         15:30:57

   22    the license is going to authorize competition                         15:30:59

   23    with Athens and Sandia.                                               15:31:02

   24                   The next question is well, so                          15:31:04


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    1    what?     If you lose the sale of Athens or lose                       15:31:06

    2    the sale of Sandia, is that going to hurt                              15:31:10

    3    Microchip?     We'll look at the profitability of                      15:31:12

    4    those two chips.                                                       15:31:15

    5                   First, Athens is the chip that is                       15:31:16

    6    competing with this dual role hub product in                           15:31:20

    7    the 2015 to 2017 period.        So I went and looked                   15:31:24

    8    at the profitability of that product.                                  15:31:28

    9         Q.     And what did you find about the                            15:31:30

   10    profitability of the Athens product?                                   15:31:32

   11         A.     So the Athens product is on the                            15:31:34

   12    market here from 2013 through June of 2019.                            15:31:38

   13    That's as far as I went with the data on the                           15:31:44

   14    profitability of Athens.        And we can see that                    15:31:46

   15    that -- if I take the revenues and the units                           15:31:49

   16    and the margins, I get the       REDACTED   per chip for               15:31:53

   17    that product over this time period.                                    15:31:58

   18         Q.     And is that calculation from                               15:32:02

   19    Exhibit 45?                                                            15:32:05

   20         A.     It is.                                                     15:32:05

   21         Q.     Did you also take a look at the                            15:32:06

   22    success and profitability of the Sandia                                15:32:08

   23    multi-host product?                                                    15:32:11

   24         A.     I did.                                                     15:32:11


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    1         Q.   And what did you find there?                                15:32:12

    2         A.   So I looked at two things here.              One            15:32:13

    3    was what was the expected profitability in the                        15:32:16

    4    2015 Sandia Business Plan, and found that if I                        15:32:20

    5    worked through the math on their forecast                             15:32:26

    6    tables in their financial section of that,                            15:32:29

    7    that they expected gross profits of         REDACTED   per            15:32:32

    8    unit on the Sandia product line.                                      15:32:36

    9         Q.   Did you also look at the actual                             15:32:39

   10    profits of Sandia?                                                    15:32:41

   11         A.   I did.          So we saw essentially this                  15:32:42

   12    same calculation in the lost profits                                  15:32:47

   13    calculation.      Sandia generated gross profits                      15:32:48

                       REDACTED
   14    per unit of              , so a little bit less than                  15:32:53

   15    the planned amount, but not a huge amount                             15:32:56

   16    different.                                                            15:33:00

   17         Q.   If we go back to your list of key                           15:33:00

   18    factors, what's the next thing you found most                         15:33:02

   19    important?                                                            15:33:04

   20         A.   So the next question was all right,                         15:33:04

   21    how important is this multi-host technology to                        15:33:07

   22    the success of the products that are being                            15:33:12

   23    sold that contain that technology?                                    15:33:14

   24                   So I looked at the evidence in the                     15:33:16


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    1    case and talked to Mr. Zatkovich about this as                          15:33:20

    2    well to get a sense of what's the importance                            15:33:23

    3    of that particular multi-host architecture in                           15:33:27

    4    being able to satisfy the U.S. Big 3 demand                             15:33:31

    5    for single-lane CarPlay with persistent USB.                            15:33:36

    6                   And what I found is that it is                           15:33:40

    7    very important.       It, in fact, is uniquely                          15:33:42

    8    satisfying that demand.                                                 15:33:46

    9           Q.   And do you understand that Mr. Bohm                         15:33:48

   10    testified that he and the rest of the                                   15:33:50

   11    Microchip engineers are unaware of any other                            15:33:53

   12    way to provide multi-host capability other                              15:33:55

   13    than with this patent?                                                  15:33:58

   14           A.   So yes, I'm aware of Mr. Bohm's                             15:33:59

   15    testimony in that regard.         I've seen testimony                   15:34:02

   16    from various people in this case, deposition                            15:34:05

   17    testimony, that supports that, and the                                  15:34:10

   18    marketing evidence that I looked at earlier                             15:34:12

   19    where, let's just go look in the marketplace                            15:34:15

   20    and see.     We're seven years into it.         Is there                15:34:17

   21    anybody else selling it?         And there's only                       15:34:21

   22    two.                                                                    15:34:23

   23                   So it tells me that it's uniquely                        15:34:23

   24    responsible for satisfying that demand for                              15:34:26


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    1    single-lane CarPlay with persistent USB.                              15:34:29

    2         Q.   Did you see any documents from Aptiv,                       15:34:31

    3    itself, that confirmed your conclusion on this                        15:34:34

    4    factor?                                                               15:34:36

    5         A.   I did.                                                      15:34:37

    6         Q.   What are you showing on this slide?                         15:34:39

    7         A.   So this is a page from an Aptiv -- it                       15:34:41

    8    was a Delphi presentation at the time, talking                        15:34:46

    9    about the hubs and media modules, and the                             15:34:49

   10    headline on this slide says, "How do we                               15:34:55

   11    support CarPlay in hubs and media modules?"                           15:34:57

   12                  And this first bullet point is, I                       15:35:01

   13    thought, very significant, that it says, "What                        15:35:04

   14    differentiates us," meaning Delphi, "is our                           15:35:07

   15    own ASIC to support Apple CarPlay."                                   15:35:11

   16                  And then it goes on to say, "The                        15:35:15

   17    chip is designed for multi-port architecture                          15:35:17

   18    with CarPlay support through a unique                                 15:35:21

   19    host-to-host bridging technology."                                    15:35:23

   20                  So they're not saying that it's                         15:35:26

   21    other things in the hub; they're saying the                           15:35:28

   22    thing in the hub that is uniquely                                     15:35:30

   23    differentiating us in our ability to make                             15:35:32

   24    these -- you know, have this unique product,                          15:35:35


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    1    is this unique host-to-host bridging                                  15:35:37

    2    technology.                                                           15:35:40

    3                  And the next three points really                        15:35:41

    4    basically say the things that have been talked                        15:35:44

    5    about here.      Multiple downstream ports enable                     15:35:46

    6    a single connection to the USB to the head                            15:35:52

    7    unit, so that's the single wire.                                      15:35:55

    8                  The next bullet point is any of                         15:35:58

    9    the downstream ports may host CarPlay, so it's                        15:35:59

   10    one wire up, CarPlay on any downstream port.                          15:36:02

   11                  And the third is while one of the                       15:36:06

   12    ports is occupied with Apple CarPlay, the rest                        15:36:08

   13    of the ports in the system can stay active and                        15:36:11

   14    may exchange data.                                                    15:36:14

   15                  So they're saying what Mr.                              15:36:16

   16    Zatkovich told me and what I think the market                         15:36:19

   17    is kind of saying, is that if you want                                15:36:21

   18    single-lane persistent USB CarPlay, which the                         15:36:25

   19    U.S. OEMs wanted, this technology is the only                         15:36:28

   20    way to do it.                                                         15:36:32

   21         Q.   And the bottom highlighted bullet                           15:36:34

   22    point, that references persistent USB?                                15:36:37

   23         A.   Yes.     That's another way of saying                       15:36:40

   24    persistent USB, when you say that the rest of                         15:36:43


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    1    the ports in the system stay active and may                            15:36:45

    2    exchange data when one is occupied with                                15:36:48

    3    CarPlay.                                                               15:36:51

    4         Q.    Okay.                                                       15:36:52

    5                  What's the last point in your list                       15:36:52

    6    of key factors?                                                        15:36:54

    7         A.    So the last point is really one of                          15:36:56

    8    the benefits.      It's something that I can sort                      15:36:59

    9    of get my teeth into and actually start to put                         15:37:01

   10    some numbers on it.                                                    15:37:04

   11                  We've seen that, yeah, this is                           15:37:06

   12    unique and the OEMs wanted it and it's                                 15:37:07

   13    awesome, the single-lane persistent USB, but                           15:37:11

   14    how do I quantify what that benefit is?                                15:37:15

   15                  And what we find is that one of                          15:37:18

   16    the key benefits of this is that it provides                           15:37:20

   17    the lowest cost solution that meets these                              15:37:22

   18    requirements for single lane -- well, if you                           15:37:27

   19    want persistent USB on every port, this is the                         15:37:29

   20    lowest cost way to do it.                                              15:37:34

   21                  And we're going to look at that                          15:37:37

   22    costing, but this idea of the architecture                             15:37:39

   23    providing a cost advantage is a way to                                 15:37:42

   24    calibrate the value of the technology.                                 15:37:45


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    1         Q.   So what's your basis for concluding                         15:37:48

    2    that the patented invention provided the                              15:37:50

    3    lowest cost solution?                                                 15:37:52

    4         A.   Well, a couple things.        One is I                      15:37:53

    5    talked to Mr. Zatkovich about it and the -- as                        15:37:56

    6    to whether this architecture, can you get                             15:38:04

    7    persistent USB in any other way, and the                              15:38:08

    8    answer was no.                                                        15:38:12

    9                  And then there is actually                              15:38:14

   10    documents from Microchip and from Aptiv that                          15:38:15

   11    very consistently are recognizing the                                 15:38:20

   12    architecture as providing a cost advantage.                           15:38:22

   13         Q.   Let's look at some of those                                 15:38:24

   14    documents, starting with a Microchip document.                        15:38:25

   15         A.   So this is out of the business plan,                        15:38:28

   16    Exhibit 25, the Sandia Product Business Plan.                         15:38:32

   17    This is in a section of it where they set out                         15:38:35

   18    the Sandia multi-host architecture, and in the                        15:38:38

   19    paragraph that I have pulled out, they really                         15:38:44

   20    make the statement that is relevant to this                           15:38:46

   21    point.                                                                15:38:48

   22                  It says, "This architecture has                         15:38:49

   23    the advantage of utilizing a single USB path                          15:38:50

   24    and hence a single port and a normal USB                              15:38:53


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    1    cable, and they all contribute to an optimal                          15:38:57

    2    BOM," or bill of materials.                                           15:39:00

    3         Q.    What is a bill of materials?                               15:39:03

    4         A.    The bill of materials, and in the                          15:39:05

    5    industry, manufacturing industry, people just                         15:39:08

    6    call it a BOM.    You take -- you could have a                        15:39:10

    7    bill of materials for this display here and                           15:39:14

    8    just add up, there is some plastic, there is a                        15:39:17

    9    screen, there is some chips, there is a cable;                        15:39:20

   10    all the pieces you need to make a product make                        15:39:22

   11    up its bill of materials.                                             15:39:25

   12                  You add up all the costs of I need                      15:39:27

   13    two of these and one of these and one of                              15:39:30

   14    these.    You add it all up.      That's your total                   15:39:32

   15    BOM cost, or bill of materials cost.                                  15:39:35

   16         Q.    And so what does it mean that the                          15:39:37

   17    patented solution provides an optimal BOM?                            15:39:40

   18         A.    Optimal BOM, I think that's                                15:39:44

   19    synonymous with the lowest cost solution.           The               15:39:46

   20    optimal, you're obviously always trying to                            15:39:50

   21    reduce your bill of materials cost, so an                             15:39:53

   22    optimal BOM is the lowest cost solution.                              15:39:56

   23         Q.    Did you do anything to actually                            15:39:58

   24    measure the cost advantage provided by the                            15:40:00


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    1    patented invention?                                                   15:40:02

    2         A.   I did.                                                      15:40:03

    3         Q.   Can you describe, in a high level,                          15:40:03

    4    how you went about that analysis?                                     15:40:06

    5         A.   So at a high level, I took the                              15:40:07

    6    patented sort of chip, the basic architecture                         15:40:11

    7    of the chip and looked at the makeup of that,                         15:40:16

    8    used that architecture, what were the main                            15:40:18

    9    components that you would have to have, and                           15:40:21

   10    then compared it to the two alternative                               15:40:23

   11    architectures to get as close to meeting the                          15:40:26

   12    feature requirements or providing the feature                         15:40:31

   13    requirements of that patented hub.                                    15:40:35

   14                  So we're going to compare the                           15:40:39

   15    patented architecture to the sort of two                              15:40:41

   16    closest architectures that gets you some, if                          15:40:45

   17    not all, of the features.                                             15:40:48

   18         Q.   Okay.                                                       15:40:49

   19                  And what are the two alternatives?                      15:40:50

   20         A.   So there are two alternatives that I                        15:40:52

   21    found in the Microchip literature from talking                        15:40:56

   22    to Mr. Obolsky about what Microchip, itself,                          15:40:59

   23    viewed as the alternatives that were available                        15:41:03

   24    to its customers.                                                     15:41:05


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    1                   There are sort of two different                        15:41:07

    2    approaches.        One is stick with the single                       15:41:10

    3    lane, which is on the right, stick with the                           15:41:13

    4    single-lane solution, but give up on the                              15:41:15

    5    persistent USB.        So you can do it without a                     15:41:19

    6    path -- with a single-lane non-persistent USB,                        15:41:25

    7    but if you want persistent USB, you've got to                         15:41:28

    8    go to the left-hand side of the screen and you                        15:41:31

    9    can get the persistence, but you've got to                            15:41:33

   10    give up the single lane.        So now you've got                     15:41:36

   11    the two-lane persistent USB.        Those are the                     15:41:38

   12    two alternatives that I have evaluated.                               15:41:42

   13         Q.     And the alternative on the right, the                     15:41:44

   14    single-lane alternative, do you understand                            15:41:47

   15    that to be Microchip's Athens FlexConnect                             15:41:51

   16    solution?                                                             15:41:54

   17         A.     Yes.     That's Athens, that 8460X chip                   15:41:54

   18    uses an Athens chip, and you can do                                   15:42:00

   19    single-lane CarPlay on downstream ports if you                        15:42:03

   20    connect to an OTG port through Athens, but it                         15:42:07

   21    cannot do persistence.                                                15:42:12

   22         Q.     And do you have an understanding of                       15:42:12

   23    what the USB3740 chip is that's here?                                 15:42:14

   24         A.     I understand that to be a USB switch,                     15:42:19


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    1    and we see those switches in both -- both                              15:42:22

    2    solutions.                                                             15:42:25

    3         Q.     And do you know why those switches                         15:42:26

    4    are required in these alternatives?                                    15:42:27

    5         A.     Well, again, this is getting into                          15:42:30

    6    some technical stuff that I learned from Mr.                           15:42:32

    7    Obolsky and Mr. Zatkovich, but it's my                                 15:42:34

    8    understanding that when you have essentially                           15:42:37

    9    multiple places in your car that you can plug                          15:42:42

   10    the USB into, like in my -- in my pickup                               15:42:44

   11    truck, there's two in the console.           In order                  15:42:47

   12    to have either one of those work, I don't have                         15:42:51

   13    to look and see, is one of them there that's                           15:42:53

   14    labeled CarPlay.      I can plug into either one                       15:42:56

   15    to have that switching.        So that either one                      15:43:00

   16    could be switched over to either one that's                            15:43:02

   17    talking to the head unit, you'd have to have                           15:43:04

   18    those switches.                                                        15:43:07

   19         Q.     So are the alternatives you're                             15:43:09

   20    showing here on this slide something that you                          15:43:11

   21    created for your analysis in this litigation?                          15:43:15

   22         A.     No.   I was an engineer a long time                        15:43:17

   23    ago, but I stopped being one back in probably                          15:43:19

   24    1986.     So no, I did not create these.        These                  15:43:24


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    1    specific architectures were actually found in                         15:43:28

    2    that Sandia Business Plan.        But I talked to                     15:43:33

    3    Mr. Obolsky about them and I talked to Mr.                            15:43:35

    4    Zatkovich about them as well.                                         15:43:37

    5         Q.   And do you have an understanding of                         15:43:39

    6    whether car manufacturers, in fact, bought                            15:43:41

    7    both of these solutions?                                              15:43:43

    8         A.   Yes.     Yes.   It's my understanding                       15:43:44

    9    that there are -- there are car manufacturers                         15:43:47

   10    who are -- have purchased both solutions as --                        15:43:50

   11    to meet their requirements.                                           15:43:57

   12                  Now, The Big 3 have the demand for                      15:43:59

   13    the single-lane persistent USB.         It's my                       15:44:01

   14    understanding that those people are not -- GM                         15:44:05

   15    Ford and Chrysler here in the U.S. aren't                             15:44:09

   16    doing this.      They are obviously buying the                        15:44:11

   17    Aptiv product.                                                        15:44:13

   18         Q.   Did you see any evidence that Aptiv                         15:44:14

   19    also considered the value of the multi-host                           15:44:16

   20    controller technology by comparing it to                              15:44:18

   21    alternatives?                                                         15:44:20

   22         A.   Yes.     This was actually kind of a                        15:44:22

   23    surprise, that when I started looking at the                          15:44:23

   24    Aptiv documents related to their product, I                           15:44:26


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    1    found kind of a similar expression of this is                           15:44:31

    2    uniquely satisfying single-lane CarPlay, and                            15:44:34

    3    we can look at how good it is by comparing it                           15:44:39

    4    to these two solutions, or things very similar                          15:44:41

    5    to these two solutions.                                                 15:44:45

    6                   MR. GRAY:     Mr. Ferrer, can we                         15:44:47

    7    please pull up Exhibit 18.                                              15:44:49

    8    BY MR. GRAY:                                                            15:44:53

    9           Q.   Dr. Becker, what is Exhibit 18?                             15:44:54

   10           A.   So this is a presentation that Delphi                       15:44:56

   11    made to an organization called the PACE Award                           15:44:59

   12    that Automotive News has, and it's my                                   15:45:04

   13    understanding that this was their presentation                          15:45:07

   14    when they were finalists in trying to convince                          15:45:08

   15    the jury that they should win, which they                               15:45:12

   16    ultimately did.                                                         15:45:14

   17                   This is from January of 2016, and                        15:45:16

   18    so they -- there's a lot in here where they're                          15:45:18

   19    talking about the benefits of the dual role                             15:45:21

   20    hub.                                                                    15:45:23

   21                   MR. GRAY:     Can we please turn to                      15:45:28

   22    page 13 of Exhibit 18.                                                  15:45:30

   23    BY MR. GRAY:                                                            15:45:34

   24           Q.   Dr. Becker, what does this slide                            15:45:35


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    1    show?                                                                  15:45:36

    2         A.    So this is a general description or                         15:45:37

    3    summary by Delphi of the sort of challenge                             15:45:39

    4    that they faced when they were getting ready                           15:45:44

    5    to launch their product.        And if you can pull                    15:45:47

    6    out that top bullet point.                                             15:45:50

    7                   So they say when Apple announced                        15:45:57

    8    CarPlay in 2012, iPhone users couldn't wait,                           15:45:59

    9    just sort of read ahead.        There was only one                     15:46:04

   10    problem.    OEMs couldn't make it work without                         15:46:06

   11    driving up the cost, limiting the                                      15:46:09

   12    functionality or taking up all the space in                            15:46:12

   13    the head unit.                                                         15:46:16

   14                   And we'll see what they mean by                         15:46:16

   15    driving up the cost and limiting the                                   15:46:18

   16    functionality, is that if you weren't going to                         15:46:20

   17    use the patented multi-host technology, the                            15:46:23

   18    other solutions have some combination of                               15:46:28

   19    driving up the cost and accepting a more                               15:46:30

   20    limited functionality.                                                 15:46:34

   21                   MR. GRAY:    Can we please turn to                      15:46:36

   22    page 18.                                                               15:46:38

   23    BY MR. GRAY:                                                           15:46:43

   24         Q.    And, Dr. Becker, what is page 18                            15:46:43


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    1    talking about?                                                        15:46:45

    2         A.    So here, they are laying out                               15:46:46

    3    potential options for multiple USB connections                        15:46:48

    4    with Apple CarPlay.      This is really the same                      15:46:52

    5    thing that I saw in the Sandia Business Plan                          15:46:55

    6    where they said there's three ways that we can                        15:46:57

    7    give carmakers multiple connections and do                            15:47:00

    8    CarPlay, a -- the third one is the Delphi dual                        15:47:04

    9    role hub, so that's the patented one.          No. 2                  15:47:09

   10    is to use a port reverse hub.        That's the                       15:47:14

   11    single-lane solution, and they say developed                          15:47:17

   12    by another IC manufacturer.        That's actually                    15:47:20

   13    the FlexConnect Athens that lets you do a                             15:47:22

   14    single-lane backup to the head unit.          Or they                 15:47:26

   15    can -- the first option is to add multiple                            15:47:31

   16    paths.    That's the two-wire solution.                               15:47:33

   17                  So it's really the same expression                      15:47:35

   18    of we can do it the patented way or                                   15:47:38

   19    essentially downsize with two alternatives,                           15:47:44

   20    single lane, dual lane.                                               15:47:46

   21                  And the -- that box at the bottom                       15:47:49

   22    actually was interesting because it says, "The                        15:47:52

   23    benefits of the Delphi dual role hub are                              15:47:55

   24    understood by studying the drawbacks of                               15:47:58


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    1    competing solutions."                                                 15:48:01

    2         Q.     Do you agree with that statement?                         15:48:04

    3         A.     That's essentially what I'm doing in                      15:48:05

    4    my costing analysis, is to compare the                                15:48:06

    5    patented architecture to these two                                    15:48:09

    6    alternatives that both Microchip and Delphi                           15:48:12

    7    are saying are the things that were out there                         15:48:15

    8    in the market as alternatives.                                        15:48:18

    9         Q.     Okay.                                                     15:48:22

   10                   And can you walk the jury through                      15:48:22

   11    your quantification of the cost benefit of the                        15:48:25

   12    patented invention?                                                   15:48:28

   13         A.     Sure.   So this is the two-lane                           15:48:29

   14    alternative or the two-wire solution.          The                    15:48:31

   15    little diagram on the left is just a block                            15:48:36

   16    diagram of that two-wire solution, and I've                           15:48:39

   17    got a red box over the pieces of that solution                        15:48:42

   18    that if you do Sandia, the multi-host Sandia,                         15:48:46

   19    you don't need -- it basically replaces the                           15:48:53

   20    four things that are covered up.                                      15:48:59

   21                   There's two USB8460Xs and two                          15:49:01

   22    USB3740s.     If we cost out just those pieces,                       15:49:06

   23    because the rest of the stuff really isn't                            15:49:10

   24    relevant to the patent, if we cost out those                          15:49:13


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    1    pieces, we get a bill of materials of         REDACTED   ,            15:49:16

    2    and the average cost of the Sandia solution                           15:49:20

                                       REDACTED
    3    for a two port Sandia is                 .                            15:49:23

    4                   So we can see that relative to the                     15:49:28

    5    two-lane alternative, Sandia is providing a                           15:49:31

    6    $3.28 benefit.                                                        15:49:36

    7         Q.     So is it fair to say that on the                          15:49:37

    8    right side of the screen here, you are                                15:49:40

    9    comparing the market value of the patented                            15:49:42

   10    solution to the market value of the two-lane                          15:49:46

   11    solution?                                                             15:49:50

   12         A.     Yes.   The portion of the market value                    15:49:50

   13    of the two-lane solution that relates to the                          15:49:53

   14    piece that sort of overlaps with what Sandia                          15:49:56

   15    is doing.                                                             15:49:59

   16         Q.     So if a U.S. OEM were to choose the                       15:50:01

   17    two-lane solution that we're looking at here                          15:50:05

   18    on the screen, would it provide CarPlay with                          15:50:07

   19    persistent USB on all downstream ports?                               15:50:09

   20         A.     Yes.   This, from a functionality                         15:50:12

   21    standpoint, this solution is the one that, if                         15:50:15

   22    you said I have to have multiple ports and I                          15:50:19

   23    have to have CarPlay on those ports and I have                        15:50:23

   24    to have persistence, everything I have heard                          15:50:25


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    1    says the only way you can do that is with a                            15:50:29

    2    two-lane solution, and that costs out at 3.28.                         15:50:31

    3                   So that's telling me that CarPlay                       15:50:36

    4    on every port with persistent USB, the benefit                         15:50:39

    5    or value that's being created by the Sandia                            15:50:43

    6    and this multi-host technology, is $3.28.                              15:50:47

    7                   MR. GRAY:    Can we look at the next                    15:50:56

    8    slide, please.                                                         15:50:57

    9    BY MR. GRAY:                                                           15:50:59

   10         Q.     What's that slide showing us, Dr.                          15:50:59

   11    Becker?                                                                15:51:01

   12         A.     So this is from the Sandia Business                        15:51:01

   13    Plan.     I went and looked to just sort of                            15:51:03

   14    confirm that my analysis, do I see the same                            15:51:05

   15    thing in their sort of assessment of the                               15:51:10

   16    two-lane alternative, and they reached the                             15:51:13

   17    same conclusion I did, which is although this                          15:51:15

   18    architecture meets the overall system needs of                         15:51:19

   19    USB persistence and has the benefit of                                 15:51:22

   20    guaranteeing a dedicated path to the head unit                         15:51:25

   21    for CarPlay, the fact that it requires two                             15:51:28

   22    upstream ports has drawbacks.         And they go on.                  15:51:30

   23    And really those drawbacks are what are                                15:51:33

   24    driving a lot of that $3.28 difference.                                15:51:36


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    1           Q.      Okay.                                                      15:51:39

    2                      What did you do next for the                            15:51:40

    3    single-lane alternative?                                                  15:51:42

    4           A.      So the next alternative is I looked                        15:51:44

    5    at the single-lane alternative and costed it                              15:51:47

    6    out.        The same thing, I sort of went and                            15:51:49

    7    looked at the bill of materials for the single                            15:51:52

    8    lane FlexConnect or Athens solution and                                   15:51:57

    9    compared it to what would change if you did it                            15:52:01

   10    with Sandia, and that provided the cost                                   15:52:04

   11    savings of 63 cents.                                                      15:52:09

   12           Q.      Does this single-lane alternative                          15:52:12

   13    provide all of the functionality of the                                   15:52:15

   14    patented invention like the two-lane                                      15:52:17

   15    alternative does?                                                         15:52:19

   16           A.      No, that's -- so it's not surprising                       15:52:19

   17    that the cost difference is lower because                                 15:52:22

   18    we've now left out one key component or one                               15:52:23

   19    key feature, which is the feature that the                                15:52:27

   20    U.S. OEMs were kind of putting their foot down                            15:52:31

   21    and saying they had to have; that's                                       15:52:34

   22    persistence.           If you don't need persistence,                     15:52:35

   23    then you can do this solution without Sandia                              15:52:39

   24    at the 63 cent cost differential.                                         15:52:42


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    1         Q.   So without the patented technology,                         15:52:47

    2    you could either have single lane or CarPlay                          15:52:50

    3    with persistent USB, but with two lanes, or                           15:52:53

    4    single-lane CarPlay without persistent USB; is                        15:52:56

    5    that fair?                                                            15:53:00

    6         A.   That's really the trade-off.         You've                 15:53:00

    7    got a cost penalty in either sense, and with                          15:53:04

    8    respect to the value of the technology, a cost                        15:53:07

    9    advantage in either sense.        But if you are                      15:53:10

   10    going to fully value that persistence that the                        15:53:12

   11    multi-host controller provides, you really                            15:53:16

   12    have to look at the value of that difference                          15:53:17

   13    to the 3.28, because the 63 cent difference is                        15:53:20

   14    given up on the persistence.                                          15:53:24

   15         Q.   Now, I noticed --                                           15:53:26

   16                   MR. GRAY:    Well, let's get to the                    15:53:28

   17    next slide, please.                                                   15:53:29

   18    BY MR. GRAY:                                                          15:53:29

   19         Q.   What is this slide showing?                                 15:53:32

   20         A.   So this is just to close this off                           15:53:33

   21    with what Microchip had to say about it.           This               15:53:35

   22    is their assessment, and it says, "When                               15:53:38

   23    CarPlay is active, the other port can be used                         15:53:41

   24    for charging, but no USB data functions are                           15:53:44


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    1    possible.     This port is considered to have non                      15:53:47

    2    persistent USB functionality."                                         15:53:49

    3                   So they are acknowledging that the                      15:53:52

    4    drawback of the Athens one-lane solution is                            15:53:54

    5    that you have to give up on the persistence.                           15:53:58

    6         Q.     Now, I notice that both of your cost                       15:54:02

    7    comparisons are based around Microchip parts                           15:54:04

    8    rather than Aptiv parts.        Why is that?                           15:54:07

    9         A.     Well, a couple of reasons.        One is                   15:54:09

   10    that the hubs that are being built with this                           15:54:13

   11    largely have Microchip parts in them.           The one                15:54:16

   12    question would be, you know, I'm comparing to                          15:54:19

   13    Sandia and why not compare it to the Boston                            15:54:23

   14    chip?     Well, the Boston chip was never sold.                        15:54:28

   15    They used it internally.        So I don't have a                      15:54:30

   16    market-based price to use to compare the cost                          15:54:33

   17    of that.                                                               15:54:38

   18                   So I went with Sandia as the cost                       15:54:39

   19    comparison because we do have a market tested                          15:54:43

   20    price for that.      That selling price that I                         15:54:47

   21    used was what the chip actually is sold for to                         15:54:49

   22    the tune of REDACTED            units.    So it is a                   15:54:54

   23    real market-based price.                                               15:54:56

   24         Q.     So in your analysis, are you                               15:54:57


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    1    essentially assuming that Aptiv could have                                   15:54:59

    2    sold the Boston chip for the same price that                                 15:55:01

    3    Microchip sold the Sandia chip?                                              15:55:05

    4          A.          I guess I -- in a roundabout way, one                      15:55:08

    5    could suggest that I am, but since its                                       15:55:12

    6    functionality -- I don't know whether they                                   15:55:16

    7    really could have sold it for as much because                                15:55:18

    8    I think there's some evidence that it didn't                                 15:55:20

    9    perform as well, but I'm essentially comparing                               15:55:22

   10    what the market would see as the difference in                               15:55:29

   11    the cost.                                                                    15:55:32

   12          Q.          So by using the Sandia chip, though,                       15:55:33

   13    does that mean that you are being                                            15:55:36

   14    conservative?                                                                15:55:38

   15          A.          Yes.   I mean, if I had used Aptiv's                       15:55:39

   16    cost to make the Boston chip, these cost                                     15:55:42

   17    savings would be much higher because the                                     15:55:47

   18    Boston solution, I think there's evidence that                               15:55:49

   19    it only costs them something like 1.50 to make                               15:55:52

   20    that chip.                                                                   15:55:57

   21                         So if we went back to those two                         15:55:57

   22    prior charts and substituted $1.50 in place of                               15:56:00

               REDACTED
   23    the              , the implied value of this technology                      15:56:04

   24    would go up by more than a dollar, in both                                   15:56:08


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    1    comparisons.                                                           15:56:12

    2         Q.     Can you summarize for the jury what                        15:56:15

    3    you concluded from your evaluation of the                              15:56:17

    4    patented multi-host technology relative to                             15:56:20

    5    these two non-infringing alternatives?                                 15:56:25

    6         A.     Yes.   So this table that I have                           15:56:27

    7    prepared here really just kind of puts it all                          15:56:28

    8    in one place.      The patented multi-host                             15:56:31

    9    solution is over on the right and it checks                            15:56:35

   10    the boxes, as it were, in terms of the key                             15:56:37

   11    system requirements or considerations.            It's                 15:56:40

   12    single lane, it's USB persistent, it provides                          15:56:45

   13    USB persistence and it provides CarPlay on any                         15:56:48

   14    port.     So that was what the U.S. OEMs were                          15:56:52

   15    demanding.     And it is the lowest cost way to                        15:56:55

   16    get that.                                                              15:56:57

   17                   The other two alternatives are                          15:56:59

   18    either 63 cents more expensive or 3.28 more                            15:57:01

   19    expensive, but we can see with either of them,                         15:57:06

   20    there is essentially a trade-off.          You have to                 15:57:09

   21    give up on one of the two key requirements of                          15:57:12

   22    the OEMs.                                                              15:57:16

   23                   So there's nothing that replicates                      15:57:17

   24    the features of the patent, but for a 63 cent,                         15:57:19


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    1    the 3.28 cent difference, you can go out there                          15:57:24

    2    with the next best alternative, giving up on                            15:57:27

    3    one of those key requirements.                                          15:57:30

    4           Q.   Did you look to see how the                                 15:57:31

    5    conclusions you reached compared to the                                 15:57:33

    6    conclusions that Aptiv reached when making a                            15:57:34

    7    similar comparison?                                                     15:57:37

    8           A.   I did.    We go back to that same                           15:57:38

    9    document where they were sort of pitching this                          15:57:41

   10    to the PACE jury when there were finalists for                          15:57:43

   11    that award.      They actually had a table that                         15:57:48

   12    summarized their own assessment, and they                               15:57:50

   13    essentially reached the same conclusions I                              15:57:53

   14    did.                                                                    15:57:56

   15                   If you look at the vehicle system                        15:57:56

   16    cost line, they say that the dual role hub,                             15:57:59

   17    which is the one that uses the multi-host                               15:58:01

   18    controller, is lowest cost.          The port reversal                  15:58:03

   19    hub, the middle column, that's the single-wire                          15:58:08

   20    solution using Athens.        That has a moderate                       15:58:10

   21    vehicle system cost compared to the lowest.                             15:58:14

   22    And the two USB paths, that's the two-wire                              15:58:17

   23    solution, is the highest vehicle system cost.                           15:58:20

   24                   So they -- they didn't put numbers                       15:58:23


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    1    on it, but they got the same -- not just                               15:58:25

    2    directionally, but the same relative                                   15:58:31

    3    assessment that I did.                                                 15:58:33

    4         Q.    What about the feature comparison                           15:58:34

    5    other than just costs in this table?                                   15:58:36

    6         A.    So the feature comparison, same                             15:58:38

    7    thing, really they recognized the same                                 15:58:41

    8    drawback, which is the single-wire port                                15:58:43

    9    reversal hub, you have to give up on                                   15:58:46

   10    persistence, and that the two wire one does                            15:58:49

   11    give you persistent USB, but you drive the                             15:58:54

   12    cost way up.                                                           15:58:58

   13         Q.    Have we now discussed the most                              15:59:00

   14    important factors that you considered in                               15:59:03

   15    determining the outcome of the hypothetical                            15:59:04

   16    negotiation?                                                           15:59:06

   17         A.    We have.                                                    15:59:07

   18         Q.    And were you able to use this                               15:59:08

   19    information to arrive at a royalty rate that                           15:59:09

   20    you thought was reasonable?                                            15:59:12

   21         A.    I -- I did, yes.                                            15:59:13

   22         Q.    Can you summarize for the jury what                         15:59:15

   23    that is?                                                               15:59:17

   24         A.    So I took this information and went                         15:59:18


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    1    back to that table, kind of imagined all                              15:59:21

    2    right, now I'm back at the table with the two                         15:59:24

    3    parties, SMSC/Microchip on one side and                               15:59:26

    4    Unwired and later it would become Aptiv on the                        15:59:30

    5    other side.     And I thought about what would be                     15:59:32

    6    a reasonable negotiating range.                                       15:59:34

    7                  One side is going to say, I want                        15:59:38

    8    you to pay a lot; the other side will say, I                          15:59:39

    9    don't want to pay much, so where are they                             15:59:42

   10    going to be in that range.                                            15:59:44

   11                  I first bound that range by these                       15:59:45

   12    cost savings.     Clearly Aptiv's or Unwired's                        15:59:48

   13    customers, they could go and say, we're not                           15:59:54

   14    going to take a license and we will offer our                         15:59:56

   15    customers alternative solutions, but those                            15:59:59

   16    solutions are going to be -- you have to give                         16:00:03

   17    up on cost savings of taking the license.           So                16:00:05

   18    that bounds it between 63 cents and $3.28 as                          16:00:09

   19    the measure of the value of this multi-host                           16:00:15

   20    technology.                                                           16:00:17

   21                  I next said, all right, we've got                       16:00:18

   22    that range.     We don't -- we're not sure what                       16:00:21

   23    the customers are going to do in terms of that                        16:00:23

   24    trade-off, but I think the midpoint of that                           16:00:26


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    1    range is a reasonable sort of stake in the                            16:00:29

    2    ground for the parties to agree that the                              16:00:31

    3    implied cost savings, or the potential cost                           16:00:36

    4    savings, by using the Sandia technology is                            16:00:41

    5    around $1.95.     So that sets the range at a                         16:00:47

    6    midpoint of the range.                                                16:00:52

    7                   The next thing is to give life to                      16:00:54

    8    this competitive dynamic that SMSC over there                         16:00:57

    9    on the right-hand side of the table knows that                        16:01:01

   10    when it licenses Unwired, it's going to give                          16:01:03

   11    up the opportunity to sell some chips.           So I                 16:01:05

   12    put the profit per chip from Sandia and Athens                        16:01:09

   13    on here as a consideration.        Certainly it's                     16:01:17

   14    something that would get talked about at that                         16:01:22

   15    negotiation.                                                          16:01:25

   16                   And the last thing that I need to                      16:01:26

   17    consider is this timing issue that -- we're                           16:01:29

   18    talking about a license in 2014 where the                             16:01:32

   19    parties know that Unwired has a -- is going to                        16:01:35

   20    be first to market and that Microchip is not                          16:01:41

   21    going to get their product on the market until                        16:01:45

   22    the middle of 2017.                                                   16:01:48

   23                   So that changes the bargaining                         16:01:50

   24    dynamic of it when Microchip isn't going to be                        16:01:54


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    1    on the market until the middle of 2017.                                16:01:58

    2                  So what I did to give life to that                       16:02:01

    3    is to say the first portion, if we think about                         16:02:03

    4    the length of this license, it's going to be                           16:02:07

    5    from 2014 to now, essentially, the beginning                           16:02:09

    6    of 2022.                                                               16:02:14

    7                  And I look at how much of that                           16:02:15

    8    time period is Microchip in direct                                     16:02:16

    9    head-to-head competition with Sandia and                               16:02:21

   10    Unwired/Aptiv chip and what percentage of it                           16:02:25

   11    is just Aptiv or Unwired is out there ahead of                         16:02:28

   12    Microchip.    They're still getting the benefits                       16:02:32

   13    of the invention, but they're not necessarily                          16:02:35

   14    causing direct competition because Microchip                           16:02:38

   15    is not ready to enter the market.                                      16:02:41

   16                  If I weight those two time periods                       16:02:44

   17    between the low end of this range and the                              16:02:47

   18    midpoint of the cost savings, I get $1.40.                             16:02:49

   19    And considering all of the evidence in this                            16:02:55

   20    case and the Georgia-Pacific factors, I                                16:02:56

   21    concluded that that would be a reasonable                              16:03:00

   22    royalty that compensates Microchip, or SMSC,                           16:03:01

   23    for the value that is being generated, because                         16:03:08

   24    we can see, who get -- they are then able to                           16:03:12


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    1    supply a chip that has persistent USB that                             16:03:14

    2    could be worth as much as 3.28, and they're                            16:03:17

    3    able to enter the market on this accelerated                           16:03:21

    4    timeframe for $1.40 unit, so I think that's a                          16:03:24

    5    reasonable royalty.                                                    16:03:29

    6          Q.   So now that we have the reasonable                          16:03:30

    7    royalty of $1.40 per unit, what do we do with                          16:03:31

    8    it?                                                                    16:03:35

    9          A.   So in the context of this negotiation                       16:03:36

   10    for a license, we would take that -- the                               16:03:40

   11    $1.40, and if we were only talking about a                             16:03:45

   12    reasonable royalty, you would take                                     16:03:48

   13    44.9 million chips and multiply it by $1.40                            16:03:50

   14    per unit and you would get 62.9 million in                             16:03:57

   15    royalties.                                                             16:04:02

   16          Q.   Would that amount, in your opinion,                         16:04:05

   17    fully compensation Microchip's for Aptiv's                             16:04:07

   18    infringement?                                                          16:04:11

   19          A.   In my opinion, it would not fully                           16:04:11

   20    compensate them, because this is just that                             16:04:14

   21    royalty over the whole time period.           It                       16:04:16

   22    doesn't compensate them for the direct loss of                         16:04:19

   23    profits from the chip sales that I have                                16:04:23

   24    concluded were lost because of the                                     16:04:25


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    1    infringement.                                                          16:04:27

    2         Q.     Do you have a slide that shows what                        16:04:29

    3    the damages would be if lost profits are                               16:04:30

    4    awarded?                                                               16:04:32

    5         A.     Yes.   So kind of putting this on the                      16:04:33

    6    timeline, the lost profits pick up in the                              16:04:37

    7    middle of 2017 when Sandia is fully on the                             16:04:40

    8    market.     Those lost profits are REDACTED                            16:04:44

    9    and that prior period at $1.40 per unit is                             16:04:50

   10    REDACTED       .                                                       16:04:55

   11         Q.     Have we now been through all of your                       16:04:57

   12    opinions?                                                              16:04:59

   13         A.     Yes, I think we can now just sort of                       16:04:59

   14    summarize, sum up, and all I'd need to do is                           16:05:02

   15    add those two numbers together.          This is back                  16:05:05

   16    to the slide that we looked at before.                                 16:05:08

   17                   In total, I think the adequate                          16:05:11

   18    compensation for the infringement, which is a                          16:05:13

   19    combination of reasonable royalty and lost                             16:05:16

   20    profits, is 84.4 million.                                              16:05:19

   21         Q.     So to be clear, in your opinion, you                       16:05:22

   22    believe the jury should decide in this case                            16:05:25

   23    that total damages are 84.4 million?                                   16:05:28

   24         A.     Yes.                                                       16:05:31


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    1                   MR. GRAY:     Pass the witness.                        16:05:33

    2                   MR. WIENER:        I will try to be                    16:05:44

    3    brief.    Don't let the binder deceive you.                           16:05:46

    4                                  -     -   -                             16:05:46

    5                          CROSS-EXAMINATION                               16:05:46

    6                                  -     -   -                             16:05:49

    7    BY MR. WIENER:                                                        16:05:49

    8         Q.     Good afternoon, Dr. Becker.                               16:05:49

    9         A.     Good afternoon.                                           16:05:50

   10         Q.     Nice to see you again.          My name is                16:05:51

   11    Eric Wiener and I represent Aptiv.                                    16:05:53

   12                   Dr. Becker, you are a professional                     16:05:55

   13    economic consultant; right?                                           16:05:58

   14         A.     Yes.                                                      16:05:59

   15         Q.     And that's what you've been doing for                     16:05:59

   16    the last 25 years?                                                    16:06:01

   17         A.     At least that long.         I've been                     16:06:02

   18    working as a economic or management consultant                        16:06:04

   19    for many more years than that, but I have been                        16:06:08

   20    doing this sort of economic consulting for                            16:06:11

   21    25 years.                                                             16:06:14

   22         Q.     And clients pay you to testify at                         16:06:14

   23    trials like this; right?                                              16:06:17

   24         A.     That's a big part of what they do.                        16:06:19


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    1    It's not the only thing I do.        I get paid to                    16:06:22

    2    evaluate other things as well.         But my typical                 16:06:25

    3    project is a project like this one where                              16:06:28

    4    there's at least a possibility that I might                           16:06:32

    5    need to show up and explain my opinions to a                          16:06:34

    6    jury.                                                                 16:06:38

    7         Q.   So yes, clients pay you to testify at                       16:06:38

    8    trials like this?                                                     16:06:42

    9         A.   Yes.   Client -- I don't do anything                        16:06:42

   10    for, you know -- I used to do a lot of pro                            16:06:45

   11    bono work, but I do get paid for what I do and                        16:06:49

   12    I testify at trials.                                                  16:06:51

   13         Q.   And you testify on a wide range of                          16:06:52

   14    types of cases; right?                                                16:06:54

   15         A.   Yes.   The economic issues that I look                      16:06:56

   16    at and my toolkit that I use cuts across a                            16:06:58

   17    pretty dramatic swath of types of industries.                         16:07:02

   18         Q.   And that includes cases involving                           16:07:06

   19    intellectual property?                                                16:07:08

   20         A.   Yes.   So about half of all my work is                      16:07:10

   21    intellectual property and the other half is                           16:07:14

   22    valuing other types of things.                                        16:07:16

   23         Q.   And you testify in cases involving                          16:07:18

   24    antitrust; right?                                                     16:07:21


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    1         A.     Yes, I do a good bit of antitrust                         16:07:22

    2    work.                                                                 16:07:26

    3         Q.     And other kinds of commercial                             16:07:26

    4    disputes?                                                             16:07:28

    5         A.     Yes, contract disputes, all sorts of                      16:07:28

    6    things.                                                               16:07:32

    7         Q.     You testify in a lot of different                         16:07:32

    8    industries?                                                           16:07:34

    9         A.     Yes.                                                      16:07:34

   10         Q.     Okay.                                                     16:07:35

   11                   In giving your opinion on damages,                     16:07:35

   12    you're making certain assumptions; right?                             16:07:37

   13         A.     Absolutely.                                               16:07:39

   14         Q.     And your opinions are only as good as                     16:07:40

   15    the assumptions on which they are based?                              16:07:42

   16         A.     That's fair.                                              16:07:44

   17         Q.     Okay.                                                     16:07:45

   18                   You don't have any opinions in                         16:07:45

   19    this case about whether or not Aptiv's accused                        16:07:48

   20    product infringes the asserted claims; right?                         16:07:50

   21         A.     That's correct.                                           16:07:53

   22         Q.     And you're assuming, for the purposes                     16:07:53

   23    of your damages analysis, that Athens product                         16:07:55

   24    meets each and every limitation of at least                           16:07:58


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    1    one of the asserted claims; right?                                     16:08:01

    2         A.     Yes.                                                       16:08:04

    3         Q.     And if that assumption is wrong, then                      16:08:05

    4    there are no damages; right?                                           16:08:07

    5         A.     Yes, that's correct.                                       16:08:08

    6         Q.     Okay.                                                      16:08:09

    7                   Damages --                                              16:08:10

    8         A.     It's correct that there are no                             16:08:10

    9    damages.                                                               16:08:12

   10         Q.     Correct.   The damages number would be                     16:08:12

   11    zero?                                                                  16:08:15

   12         A.     You wouldn't even get to the damages                       16:08:15

   13    question.     The way that this works is that you                      16:08:17

   14    wouldn't even go to the damages question.            It                16:08:22

   15    wouldn't be zero; you just wouldn't get to                             16:08:24

   16    damages.                                                               16:08:26

   17         Q.     No damages?                                                16:08:26

   18         A.     Yes.                                                       16:08:29

   19         Q.     And patent claims are either valid or                      16:08:29

   20    invalid; right?                                                        16:08:33

   21         A.     Absolutely.                                                16:08:34

   22         Q.     And that's something you have                              16:08:35

   23    experience with; right?                                                16:08:36

   24         A.     With the validity analysis?                                16:08:38


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    1         Q.   Sure.    You testified as a damages                         16:08:42

    2    expert in cases where the patents were found                          16:08:44

    3    to be invalid; correct?                                               16:08:47

    4         A.   Oh, yeah, yeah, certainly.         Like I                   16:08:49

    5    said, I get involved in that end of the case.                         16:08:52

    6    In practically every patent case I've worked                          16:08:54

    7    on, there is one side, the defense is                                 16:08:57

    8    challenging the validity of the patents and                           16:09:01

    9    there have been some cases where they don't                           16:09:04

   10    get to the damages question because the patent                        16:09:05

   11    was found to be invalid.                                              16:09:08

   12         Q.   Now, you don't have an opinion about                        16:09:10

   13    whether or not the asserted claims in this                            16:09:12

   14    lawsuit are valid; right?                                             16:09:14

   15         A.   That's right.     No opinion at all.                        16:09:16

   16         Q.   And just like with infringement, if                         16:09:18

   17    the jury finds that all of the asserted claims                        16:09:20

   18    are invalid, no damages; right?                                       16:09:23

   19         A.   Right.                                                      16:09:26

   20         Q.   So your testimony about damages only                        16:09:28

   21    matters if the jury finds that one of the                             16:09:30

   22    asserted claims, 23, 24 or 25, is both                                16:09:33

   23    infringed and valid?                                                  16:09:37

   24         A.   Correct.                                                    16:09:39


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    1         Q.    Okay.                                                       16:09:40

    2                  Now, you were here and you                               16:09:40

    3    listened to Mr. Obolsky testify yesterday;                             16:09:42

    4    correct?                                                               16:09:45

    5         A.    Yes.                                                        16:09:45

    6         Q.    And you heard him say, in the context                       16:09:45

    7    of supplying parts to Aptiv and the other                              16:09:47

    8    parts of the industry, that they consider this                         16:09:50

    9    to be a narrow quarrel between Microchip and                           16:09:53

   10    Athens; right?                                                         16:09:55

   11         A.    I heard him talk about if you look at                       16:09:57

   12    Microchip, the breadth of their business and                           16:10:02

   13    the breadth of the business they do with                               16:10:06

   14    Aptiv, I do recall him -- I don't know if he                           16:10:08

   15    used the word exactly narrow, but it's clearly                         16:10:11

   16    a small part of the overall relationship.                              16:10:16

   17         Q.    That's why we have a court reporter                         16:10:18

   18    here and we'll find out in the transcript.                             16:10:20

   19                  But you also saw evidence that at                        16:10:22

   20    the time, in 2015, when Microchip was deciding                         16:10:25

   21    whether or not to develop the Sandia product,                          16:10:28

   22    it wasn't sure that it was worth investing                             16:10:31

   23    one-and-a-half or $2 million to develop that                           16:10:34

   24    product; right?                                                        16:10:37


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    1         A.   I do recall that evidence, that they,                       16:10:38

    2    given what they -- where they thought the OEM                         16:10:41

    3    demands were and what they thought about the                          16:10:45

    4    USB -- the issue of accepting a non-standard                          16:10:47

    5    solution, given those risks, they -- I think                          16:10:53

    6    they were questioning whether it was worth the                        16:10:56

    7    investment.                                                           16:10:58

    8         Q.   Okay.                                                       16:10:58

    9                  And yet despite the fact that they                      16:10:59

   10    didn't think it was necessarily worth                                 16:11:02

   11    one-and-a-half to $2 million to invest in, in                         16:11:04

   12    fact, Mr. Obolsky clarified and said this is a                        16:11:07

   13    narrow quarrel, Microchip was asking for                              16:11:10

   14    almost $85 million in damages; right?                                 16:11:13

   15         A.   Yes.                                                        16:11:16

   16         Q.   Okay.                                                       16:11:16

   17                  And that's not all; right?         That's               16:11:17

   18    only damages up through what, November of last                        16:11:19

   19    year?                                                                 16:11:21

   20         A.   Correct.                                                    16:11:22

   21         Q.   Right.                                                      16:11:22

   22                  It's still running; right?                              16:11:23

   23         A.   I would assume so.       I think that                       16:11:25

   24    Aptiv is still selling the chips that I have                          16:11:27


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    1    to assume are infringing.                                              16:11:30

    2         Q.    So 85 million and counting in                               16:11:31

    3    damages?                                                               16:11:34

    4         A.    Yes.                                                        16:11:34

    5         Q.    Now, in your lost profits analysis,                         16:11:35

    6    I'd like to start with that part of your                               16:11:37

    7    opinion, you were looking at what would have                           16:11:40

    8    happened if Aptiv had not sold dual role hubs                          16:11:42

    9    that had the Boston 2 chip in it; right?                               16:11:45

   10         A.    Right.                                                      16:11:48

   11         Q.    And you reconstruct the market to                           16:11:48

   12    find out what would have happened if it had                            16:11:50

   13    not made those accused infringement sales;                             16:11:52

   14    right?                                                                 16:11:56

   15         A.    Right.                                                      16:11:56

   16         Q.    Okay.                                                       16:11:56

   17                  And you were saying that if Aptiv                        16:11:57

   18    had not made the sales of its modules with the                         16:11:58

   19    Boston 2 chip, Microchip would have made sales                         16:12:01

   20    of its Sandia chip starting in the third                               16:12:04

   21    quarter of 2017; right?                                                16:12:07

   22         A.    They would have made more sales of                          16:12:10

   23    Sandia than they did.                                                  16:12:12

   24         Q.    Okay.                                                       16:12:14


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    1         A.   They did make sales -- they started                         16:12:14

    2    to make sales in the third quarter of 2017,                           16:12:17

    3    actually in the second quarter.         I'm saying                    16:12:20

    4    they would have made more sales.                                      16:12:22

    5         Q.   And it's your opinion that they would                       16:12:24

    6    have made additional unit sales of a Sandia                           16:12:26

    7    chip for each and every dual role hub that                            16:12:30

    8    Aptiv sold in the real world; right?                                  16:12:34

    9         A.   Yes.                                                        16:12:36

   10         Q.   Starting in the third quarter of                            16:12:36

   11    2017?                                                                 16:12:40

   12         A.   Yes.                                                        16:12:40

   13         Q.   Now, you don't offer a lost profits                         16:12:41

   14    calculation for the time period before the                            16:12:45

   15    third quarter of 2017; right?                                         16:12:47

   16         A.   Correct.                                                    16:12:49

   17         Q.   And your lost profits opinion is                            16:12:49

   18    based solely on how much additional profits                           16:12:51

   19    Microchip would have made on the Sandia                               16:12:55

   20    multi-host chip; correct?                                             16:12:57

   21         A.   Yes.                                                        16:12:59

   22         Q.   Okay.                                                       16:12:59

   23                  You don't have -- your $84 million                      16:12:59

   24    total damages number did not include -- let me                        16:13:03


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    1    strike that.                                                          16:13:06

    2                   Your lost profits calculation did                      16:13:07

    3    not include a calculation of lost profits                             16:13:09

    4    based on the Athens chip; correct?                                    16:13:11

    5         A.   Correct.                                                    16:13:13

    6         Q.   And it's your opinion, in fact, that                        16:13:14

    7    there are no lost profits damages for sale of                         16:13:18

    8    the Athens chip; correct?                                             16:13:21

    9         A.   Well, I looked at the question of                           16:13:24

   10    whether there was evidence of lost sales in                           16:13:28

   11    that earlier time period, and the conclusion                          16:13:33

   12    that I reached is there was quite a bit of                            16:13:36

   13    evidence that there were Athens sales that                            16:13:39

   14    were lost because it was being displaced, but                         16:13:44

   15    the sort of -- in that world, the solution                            16:13:47

   16    that would have been provided in lieu of the                          16:13:53

   17    Boston chip was not an interchangeable                                16:13:58

   18    substitute because it didn't have the same                            16:14:03

   19    features, and so there's not as much clarity                          16:14:05

   20    about the -- meeting the exact demands that                           16:14:08

   21    the OEMs had.                                                         16:14:14

   22                   And so even though there was quite                     16:14:15

   23    a bit of evidence that there was impact on                            16:14:17

   24    Microchip sales, I concluded, to be                                   16:14:21


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    1    conservative, that I would not sort of go all                         16:14:24

    2    the way to the step of quantifying lost                               16:14:26

    3    profits in that time period.                                          16:14:29

    4         Q.   Okay.                                                       16:14:30

    5                  Your lost profits number is not                         16:14:31

    6    based on lost profits for Athens?                                     16:14:33

    7         A.   It is not based on that, but it is                          16:14:35

    8    not an affirmative statement that there was                           16:14:37

    9    absolutely no impact on Microchip's business                          16:14:39

   10    in that prior time period.        There clearly was.                  16:14:41

   11    But I think it's more appropriate to                                  16:14:44

   12    compensate that earlier time period with a                            16:14:46

   13    reasonable royalty.                                                   16:14:49

   14         Q.   And your consideration of the Athens                        16:14:50

   15    profits and the Athens sale, that was part of                         16:14:53

   16    your reasonable royalty analysis; correct?                            16:14:55

   17         A.   Yes.                                                        16:14:59

   18         Q.   So it's your opinion that if Aptiv,                         16:14:59

   19    and at the time Unwired, had not released its                         16:15:01

   20    solution to CarPlay, that Microchip still                             16:15:05

   21    would have chosen to develop and ultimately                           16:15:08

   22    develop the Sandia chip; right?                                       16:15:12

   23         A.   Yes.                                                        16:15:14

   24         Q.   Okay.                                                       16:15:14


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    1                   And so this raises the question of                      16:15:15

    2    whether Microchip actually would have done                             16:15:17

    3    that, and to answer that, you studied the                              16:15:19

    4    record evidence; correct?                                              16:15:21

    5         A.    Yes, and -- yeah, I mean, that was                          16:15:23

    6    one of the things I did.        I studied the record                   16:15:26

    7    and also had numerous discussions with Mr.                             16:15:28

    8    Obolsky.                                                               16:15:31

    9         Q.    And you talked to Mr. Obolsky about                         16:15:32

   10    this very question; right?                                             16:15:34

   11         A.    Yes.                                                        16:15:35

   12         Q.    And you asked him hey, if Unwired had                       16:15:36

   13    not come out with its solution, would                                  16:15:38

   14    Microchip still have developed the Sandia                              16:15:42

   15    chip; right?                                                           16:15:43

   16         A.    Yes.                                                        16:15:44

   17         Q.    And he told you that if Unwired                             16:15:44

   18    hadn't come out with the Boston 2, Microchip                           16:15:46

   19    would have developed the Sandia chip even                              16:15:49

   20    faster; right?                                                         16:15:51

   21         A.    Yes.    Yes.   Under the circumstances                      16:15:52

   22    that I have to assume are present back there,                          16:15:55

   23    that we don't undo the rest of the                                     16:15:58

   24    marketplace.      We leave Chrysler in, whatever                       16:16:02


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    1    that was, in 2014, I think, saying we                                 16:16:06

    2    absolutely -- you know, whatever your doubts                          16:16:12

    3    about whether we're going to launch persistent                        16:16:15

    4    USB, we're going to want it.        That's what we                    16:16:20

    5    are insisting on.     You don't undo that; you                        16:16:22

    6    just undo the fact that Unwired is selling the                        16:16:24

    7    product that meets that demand.                                       16:16:27

    8                   And in that circumstance, Mr.                          16:16:29

    9    Obolsky told me they would have still come out                        16:16:30

   10    with the chip they did, and because they sort                         16:16:36

   11    of had an open playing field, they would have                         16:16:39

   12    accelerated the development of it.                                    16:16:42

   13         Q.   So they would have come out with it                         16:16:43

   14    even faster without Unwired?                                          16:16:45

   15         A.   Well, they wouldn't -- you know, come                       16:16:48

   16    out with it, I'm still assuming that it                               16:16:52

   17    launches at the same time.        There are certain                   16:16:55

   18    development milestones in the process of                              16:16:57

   19    coming up with the chip to be ready to ship in                        16:17:01

   20    quantity that he says they would have                                 16:17:05

   21    accelerated.     The actual launch is still --                        16:17:06

   22    it's third quarter of 2017.                                           16:17:10

   23         Q.   Now, you said you watched Mr. Obolsky                       16:17:12

   24    testify yesterday; right?                                             16:17:15


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    1         A.   Yes.                                                        16:17:16

    2         Q.   And you heard from him that back in                         16:17:16

    3    2014, Microchip was expecting to win the                              16:17:18

    4    contracts with The Big 3 automakers with their                        16:17:21

    5    Athens solution; right?                                               16:17:24

    6         A.   Yes.                                                        16:17:26

    7         Q.   With the FlexConnect?                                       16:17:26

    8         A.   Yes.                                                        16:17:28

    9         Q.   But Unwired actually won; right?                            16:17:29

   10         A.   Yes.                                                        16:17:31

   11         Q.   And that's why Microchip decided to                         16:17:31

   12    develop Sandia?                                                       16:17:33

   13         A.   Well, you know, to some extent, you                         16:17:35

   14    can -- I think the reality is that they                               16:17:40

   15    decided to develop it because they -- that's                          16:17:43

   16    the point at which they had clarity of the                            16:17:48

   17    demands of The Big 3 automakers as to what                            16:17:51

   18    they were going to buy.       And before that, they                   16:17:54

   19    were -- we don't think they are going to do a                         16:17:58

   20    non-standard solution and other things.                               16:18:01

   21                  The clarity came when Chrysler                          16:18:05

   22    made it clear what their requirements were.                           16:18:07

   23         Q.   Okay.                                                       16:18:10

   24                  And you heard Mr. Obolsky be asked                      16:18:11


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    1    what was Microchip's reaction when it found                            16:18:13

    2    out that its customer, Aptiv, had now become a                         16:18:15

    3    competitor?       And you heard him respond that as                    16:18:19

    4    you saw earlier, as anyone would, when you                             16:18:21

    5    lose, we looked at okay, what's it take, what                          16:18:24

    6    are their needs, what didn't we meet and what                          16:18:26

    7    do we have to do to win the next one.                                  16:18:29

    8                  You heard him say that; right?                           16:18:31

    9         A.    Yes.                                                        16:18:33

   10         Q.    You mentioned the Panduit factors and                       16:18:34

   11    some of the things that the patentholder has                           16:18:37

   12    to demonstrate to get lost profits.           One of                   16:18:39

   13    them is you have to show that there aren't                             16:18:42

   14    non-infringing alternatives out there;                                 16:18:44

   15    correct?                                                               16:18:47

   16         A.    That there are no acceptable                                16:18:47

   17    non-infringing alternatives that would                                 16:18:50

   18    replicate the features that were actually sold                         16:18:52

   19    by the infringer.                                                      16:18:55

   20         Q.    And that includes considering other                         16:18:57

   21    options Aptiv, itself, could have brought to                           16:18:59

   22    market to compete; right?                                              16:19:02

   23         A.    If there were other options that                            16:19:04

   24    would allow it to provide a single-lane                                16:19:06


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    1    persistent USB solution without infringing, I                         16:19:10

    2    think I'd definitely -- I did address that                            16:19:13

    3    question.                                                             16:19:15

    4         Q.     Right.                                                    16:19:15

    5                   And it was your conclusion that                        16:19:16

    6    Aptiv had no acceptable non-infringing                                16:19:18

    7    alternatives; correct?                                                16:19:21

    8         A.     That is my conclusion with respect to                     16:19:24

    9    an alternative that would allow them to meet                          16:19:27

   10    the demand that they met with the infringing                          16:19:30

   11    chip.                                                                 16:19:34

   12         Q.     They couldn't meet the demand without                     16:19:34

   13    using the '243 Patent; right?                                         16:19:36

   14         A.     That's what I have assumed and it's                       16:19:39

   15    what the evidence of there still, seven years                         16:19:41

   16    in, being only a two-supplier marketplace                             16:19:45

   17    tells me.                                                             16:19:47

   18         Q.     And as support for that opinion, you                      16:19:48

   19    talked to Microchip's technical expert, Mr.                           16:19:51

   20    Zatkovich; right?                                                     16:19:53

   21         A.     In part, that's one of the pieces of                      16:19:54

   22    support that I have.                                                  16:19:57

   23         Q.     Okay.                                                     16:19:58

   24                   And based on his opinion and based                     16:19:58


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    1    on your own analysis, you determined that you                         16:20:02

    2    couldn't have an acceptable alternative unless                        16:20:06

    3    it had three key requirements; right?                                 16:20:09

    4         A.   You couldn't have an alternative that                       16:20:13

    5    would have met the sort of -- been                                    16:20:16

    6    interchangeable with the sale that was -- the                         16:20:21

    7    infringing sale that was made without three                           16:20:24

    8    key features.                                                         16:20:26

    9         Q.   Right.                                                      16:20:27

   10                  And those three key features are                        16:20:28

   11    single-lane connection; right?                                        16:20:30

   12         A.   Yes.                                                        16:20:31

   13         Q.   CarPlay enabled on all the downstream                       16:20:32

   14    ports?                                                                16:20:35

   15         A.   Yes.                                                        16:20:36

   16         Q.   And persistent USB; right?                                  16:20:36

   17         A.   Yes.                                                        16:20:38

   18         Q.   Now, your basis for concluding that                         16:20:38

   19    you couldn't achieve those three things                               16:20:41

   20    without using the '243 Patent, for that you                           16:20:43

   21    relied on Mr. Zatkovich; right?                                       16:20:47

   22         A.   In part, yes.                                               16:20:51

   23         Q.   What else did you rely on to come up                        16:20:53

   24    with a technical opinion about how you could                          16:20:55


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    1    meet these three features?                                            16:20:58

    2         A.   Well, that's the only technical                             16:20:59

    3    opinion I'm relying on, but I'm also relying                          16:21:01

    4    on the market evidence of, you know, what the                         16:21:05

    5    market is telling us about the -- the chips on                        16:21:11

    6    the marketplace that are able to satisfy that                         16:21:15

    7    single-lane persistent USB on any downstream                          16:21:21

    8    port CarPlay.                                                         16:21:25

    9                  And to date, and there's lots of                        16:21:28

   10    evidence sort of throughout here this last                            16:21:30

   11    six-year time period that suggests that                               16:21:33

   12    there's only two solutions that meet that --                          16:21:37

   13    that provide those three key features, the                            16:21:39

   14    Boston chip based hubs that Aptiv sells and                           16:21:41

   15    the Sandia based hubs or chips that -- that                           16:21:46

   16    Microchip sells.                                                      16:21:50

   17         Q.   Apart from the fact that there are                          16:21:50

   18    only those two solutions, in your opinion, on                         16:21:52

   19    the market, I want to understand what the                             16:21:55

   20    basis is for your opinion that you needed to                          16:21:58

   21    use the invention in the '243 Patent to                               16:22:01

   22    achieve these three requirements?                                     16:22:05

   23         A.   It is the -- apart from the market                          16:22:08

   24    evidence, it is Mr. Zatkovich's technical                             16:22:13


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    1    opinion that he was not aware of any technical                        16:22:16

    2    way to make -- to provide those three key                             16:22:19

    3    features without -- in a way that would not                           16:22:23

    4    infringe the '243 Patent.                                             16:22:26

    5         Q.   Okay.                                                       16:22:28

    6                  And when he had that conversation                       16:22:29

    7    with you, he told you that you couldn't                               16:22:31

    8    achieve these requirements without using the                          16:22:33

    9    '243 Patent in general; right?                                        16:22:36

   10         A.   Well, I mean, I was having a                                16:22:41

   11    conversation with him about the '243 Patent;                          16:22:44

   12    we weren't down at the level of individual                            16:22:48

   13    claims.   It was just look, here's what's                             16:22:50

   14    accused, do you know of any way to provide                            16:22:54

   15    single-lane CarPlay with persistent USB                               16:22:59

   16    without this patent.                                                  16:23:02

   17         Q.   Okay.                                                       16:23:03

   18                  And you watched Mr. Zatkovich                           16:23:04

   19    testify this morning; correct?                                        16:23:07

   20         A.   I did.                                                      16:23:08

   21         Q.   And you heard him testify that he                           16:23:09

   22    considered claim 1 of the '243 Patent to be                           16:23:11

   23    representative for the purposes of his                                16:23:14

   24    analysis; correct?                                                    16:23:16


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    1         A.   You know, I heard -- I heard that                           16:23:17

    2    colloquy back and forth.       I frankly didn't                       16:23:19

    3    understand where it was going or what the                             16:23:22

    4    significance of it was, so that's a -- the                            16:23:23

    5    technical question about whether what he meant                        16:23:27

    6    by representative, I heard it.         I can tell you                 16:23:30

    7    the answer is yes, I heard it, but I didn't                           16:23:34

    8    understand it.                                                        16:23:36

    9         Q.   That's fair.                                                16:23:37

   10                  For all you know, you could                             16:23:38

   11    achieve those three requirements that The Big                         16:23:39

   12    3 car companies wanted by using the invention                         16:23:43

   13    that's disclosed in claim 1 of the '243                               16:23:46

   14    Patent; right?                                                        16:23:49

   15         A.   I have no idea.      That's -- I don't                      16:23:49

   16    have the technical opinion of that and I'm not                        16:23:52

   17    qualified to offer that opinion.                                      16:23:55

   18         Q.   Out of your swim lane?                                      16:23:57

   19         A.   It is out of my swim lane.         Looking                  16:23:59

   20    at the market evidence to see whether anybody                         16:24:01

   21    else has come out with this, has been able to                         16:24:03

   22    crack this nut, I am qualified to look at                             16:24:06

   23    that.                                                                 16:24:09

   24         Q.   And that's nonspecific to the                               16:24:09


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    1    asserted claims either; right?                                        16:24:11

    2         A.   Well, it is in a way in that I have                         16:24:13

    3    to assume, for the purposes of my evaluation                          16:24:17

    4    of that market evidence, that one of the two                          16:24:21

    5    suppliers of the only suppliers that we have                          16:24:25

    6    of actual solution that's being sold in the                           16:24:28

    7    marketplace, I have to assume that the Aptiv                          16:24:31

    8    one is actually practicing at least one of the                        16:24:34

    9    asserted claims.     It's an assumption I have to                     16:24:38

   10    make, but I have to make that in order to give                        16:24:41

   11    some relevance to the market evidence.                                16:24:44

   12         Q.   But you don't have to assume that                           16:24:46

   13    they couldn't achieve those three requirements                        16:24:48

   14    without using those claims; right?                                    16:24:50

   15         A.   No, I don't have to assume that.          I                 16:24:52

   16    think the market is telling us about how                              16:24:54

   17    unique this solution is, but I certainly am                           16:24:58

   18    relying on Mr. Zatkovich for the specific                             16:25:00

   19    issue about non-infringing alternatives with                          16:25:04

   20    respect to the sort of wiring around the                              16:25:07

   21    claim.                                                                16:25:10

   22         Q.   And his opinion is not specific to                          16:25:10

   23    the claims with respect to non-infringement                           16:25:12

   24    alternatives?                                                         16:25:15


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    1         A.     You'd have to ask him that.                               16:25:16

    2         Q.     Now, Microchip is a large company;                        16:25:17

    3    right?                                                                16:25:19

    4         A.     Yes.   It's -- I think -- define                          16:25:20

    5    large.    I deal with a lot of companies that                         16:25:25

    6    are quite a bit bigger than Microchip, but                            16:25:26

    7    it's not a small company.                                             16:25:28

    8         Q.     It's got related entities, for                            16:25:29

    9    example, right?                                                       16:25:32

   10         A.     Yes.                                                      16:25:32

   11         Q.     There are wholly-owned subsidiaries;                      16:25:33

   12    right?                                                                16:25:35

   13         A.     Yes.                                                      16:25:35

   14         Q.     You understand that when you're                           16:25:36

   15    calculating lost profits, it's your obligation                        16:25:39

   16    to calculate the lost profits that were lost                          16:25:41

   17    by the patent-holding entity; right?                                  16:25:44

   18         A.     It's by the entity that is the                            16:25:47

   19    plaintiff in the case.      It's more of a legal                      16:25:49

   20    question as to whether that entity has                                16:25:54

   21    standing to bring the claim that it's                                 16:25:56

   22    bringing.                                                             16:25:59

   23                   But I have to assume, for the                          16:25:59

   24    purposes of my analysis, that the -- that the                         16:26:04


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    1    plaintiff in this case is the proper                                  16:26:08

    2    plaintiff.                                                            16:26:11

    3         Q.   Sure.                                                       16:26:11

    4                  And I'm not asking about standing                       16:26:12

    5    or the right to sue; I'm talking about                                16:26:13

    6    calculating lost profits.       And for that                          16:26:15

    7    inquiry, you have to figure out how many --                           16:26:17

    8    what the calculation of profits are that                              16:26:20

    9    Microchip Technology Incorporated, the                                16:26:25

   10    patent-holding entity here, would have made if                        16:26:27

   11    Aptiv had not infringed; right?                                       16:26:30

   12         A.   I believe that Microchip Technology                         16:26:32

   13    Inc. is the plaintiff here, and so my damages                         16:26:33

   14    analysis with respect to lost profits is an                           16:26:36

   15    analysis that says Microchip -- Microchip                             16:26:40

   16    Technology Inc. lost this amount of money.                            16:26:44

   17         Q.   Okay.                                                       16:26:46

   18                  Microchip Technology Inc., the                          16:26:47

   19    patent-holding entity, is not entitled to                             16:26:49

   20    profits that would have gone to related                               16:26:51

   21    entities in the but-for world; right?                                 16:26:54

   22         A.   You know, it is straying a little bit                       16:27:00

   23    into a legal question about -- I know there's                         16:27:06

   24    issues about inextricable flow if the profits                         16:27:08


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    1    from one entity will flow up to sort of a                              16:27:11

    2    higher entity in the chain and you've got a                            16:27:14

    3    parent who is suing and the sub loses the                              16:27:17

    4    money and the profits are part of that overall                         16:27:20

    5    corporate structure; that's really a legal                             16:27:24

    6    question.                                                              16:27:25

    7                   I certainly assumed -- I                                16:27:25

    8    quantified lost profits, and it's up to the                            16:27:28

    9    lawyers to argue whether those are compensable                         16:27:30

   10    for this particular plaintiff.                                         16:27:33

   11         Q.     And you don't know whether Microchip                       16:27:34

   12    Technology Incorporated, itself, makes all the                         16:27:39

   13    sales of the Sandia chips, do you?                                     16:27:41

   14         A.     Well, all of them worldwide, I don't                       16:27:43

   15    know.     It's my understanding from talking to                        16:27:46

   16    Mr. Obolsky that Microchip Technology Inc.                             16:27:49

   17    would have been the entity that made the sales                         16:27:53

   18    here in the U.S.; for example, the sales of                            16:27:54

   19    Sandia that could have been made to Aptiv if                           16:27:59

   20    Aptiv hadn't developed its own chip and                                16:28:02

   21    essentially stopped buying chips in this                               16:28:06

   22    particular space from -- from Microchip.                               16:28:08

   23         Q.     So sales that would have been made in                      16:28:11

   24    the United States would have gone to Microchip                         16:28:13


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    1    Technology Incorporated; right?                                       16:28:16

    2         A.   At least of this particular product,                        16:28:16

    3    that's my understanding.                                              16:28:19

    4         Q.   Do you know whether Microchip                               16:28:19

    5    Technology Incorporated would have made sales                         16:28:22

    6    to hub makers that are outside the United                             16:28:23

    7    States?                                                               16:28:28

    8         A.   Of the non -- of the lost profits                           16:28:28

    9    chips or just in general?                                             16:28:31

   10         Q.   Of the lost profits chips.                                  16:28:34

   11         A.   I haven't assumed they would.          At                   16:28:36

   12    least the evidence is clear to me that it                             16:28:38

   13    would have still been in this, you know, if                           16:28:42

   14    you win, we win.     We would have supplied the                       16:28:45

   15    Sandia chip to Aptiv.      And so the question of                     16:28:50

   16    whether some other entity somewhere else might                        16:28:54

   17    have made a sale, I haven't considered that.                          16:28:59

   18         Q.   I'd like to talk to you about the                           16:29:01

   19    reasonable royalty portion of your opinion.                           16:29:04

   20                  Now, you used a hypothetical                            16:29:05

   21    negotiation to determine the reasonable                               16:29:07

   22    royalty; right?                                                       16:29:09

   23         A.   Yes.                                                        16:29:10

   24         Q.   That means you try to figure out what                       16:29:10


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    1    Aptiv and Microchip or Unwired and SMSC would                         16:29:12

    2    have agreed to if they sat down and negotiated                        16:29:17

    3    a license; right?                                                     16:29:19

    4         A.     Yes.                                                      16:29:20

    5         Q.     And for the purpose -- the purpose of                     16:29:20

    6    the reasonable royalty is to fairly compensate                        16:29:23

    7    the patentholder for the accused infringement                         16:29:25

    8    use of the invention; right?                                          16:29:29

    9         A.     Right.                                                    16:29:30

   10         Q.     And it's supposed to take into                            16:29:31

   11    account the parties' views of the market at                           16:29:33

   12    the time?                                                             16:29:35

   13         A.     Yes.                                                      16:29:35

   14         Q.     Okay.                                                     16:29:35

   15                   And it's supposed to take account                      16:29:37

   16    of the parties' views of the potential benefit                        16:29:39

   17    of using the invention?                                               16:29:41

   18         A.     Yes.                                                      16:29:42

   19         Q.     Okay.                                                     16:29:43

   20                   It's not intended to compensate                        16:29:43

   21    Microchip for Aptiv's own contributions in                            16:29:47

   22    developing the dual role hub; right?                                  16:29:50

   23         A.     That's correct.                                           16:29:52

   24         Q.     And it's not intended to compensate                       16:29:52


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                                                                           Page 382

    1    Microchip for solutions that were available in                         16:29:55

    2    the prior art; right?                                                  16:29:59

    3         A.     I think that's fair.                                       16:30:00

    4         Q.     Okay.                                                      16:30:01

    5                   And it's not intended to                                16:30:01

    6    compensate Microchip or to make up for                                 16:30:03

    7    Microchip's bad business decisions; right?                             16:30:05

    8         A.     That's correct.                                            16:30:07

    9         Q.     Now, speaking of Aptiv's own                               16:30:08

   10    contributions, you are aware that Aptiv won                            16:30:10

   11    the PACE Award for the dual role hub?                                  16:30:12

   12         A.     Yes, I am.                                                 16:30:15

   13         Q.     Because it solved what Automotive                          16:30:16

   14    News described as the, "Vexing problem of how                          16:30:19

   15    to let the iPhone connect to infotainment                              16:30:21

   16    center and become the host"?                                           16:30:24

   17         A.     Well, because it solved that, I think                      16:30:26

   18    in the -- I have to assume that it solved that                         16:30:29

   19    with the Microchip '243 Patent, but I don't                            16:30:33

   20    think the PACE Award people were aware of                              16:30:42

   21    that.     They -- they awarded this innovation                         16:30:44

   22    award to Delphi for solving the vexing problem                         16:30:49

   23    that I have to assume, and if there is a                               16:30:53

   24    finding of infringement, is a problem that was                         16:30:56


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    1    actually solved by the '243 Patent.                                   16:30:58

    2         Q.   Now, in forming your opinions, you                          16:31:01

    3    didn't talk to Dr. Levy, did you?                                     16:31:04

    4         A.   No.                                                         16:31:06

    5         Q.   And he is Microchip's invalidity                            16:31:06

    6    expert?                                                               16:31:10

    7         A.   He is.                                                      16:31:10

    8         Q.   You didn't talk to him about how                            16:31:11

    9    claim 23 is different from the prior art?                             16:31:13

   10         A.   No.                                                         16:31:14

   11         Q.   You didn't ask anybody about that?                          16:31:15

   12         A.   No.                                                         16:31:16

   13         Q.   In your report, you say that the '243                       16:31:17

   14    Patent describes a shared USB device that can                         16:31:20

   15    be simultaneously configured and accessed by                          16:31:23

   16    two or more USB hosts using the multi-host                            16:31:25

   17    capable device controller; right?                                     16:31:29

   18         A.   I'll take your word that those are                          16:31:31

   19    the words I used in my report, but it sounds                          16:31:33

   20    like what I said.                                                     16:31:36

   21         Q.   You caught me reading.                                      16:31:37

   22                    And you thought that was a fair                       16:31:38

   23    summary of the claims in terms of your                                16:31:40

   24    analysis for evaluating the entities; right?                          16:31:43


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    1         A.     It's fair at the level of me not                           16:31:47

    2    being any of the technical experts in this                             16:31:50

    3    case.     I last practiced engineering more than                       16:31:53

    4    30 years ago, so I -- it's a mere layman's                             16:31:56

    5    assessment of or description of what I                                 16:32:02

    6    understood the technology to be.                                       16:32:05

    7         Q.     And do you have any basis to conclude                      16:32:07

    8    that any of those things that you used to                              16:32:09

    9    describe the scope of the invention are not                            16:32:12

   10    present in claim 1 of the '243 Patent?                                 16:32:14

   11         A.     I have no opinion or basis one way or                      16:32:17

   12    the other.                                                             16:32:21

   13         Q.     And when you talked to Mr. Zatkovich,                      16:32:21

   14    he didn't tell you that claim 1 is invalid,                            16:32:23

   15    did he?                                                                16:32:26

   16         A.     No.                                                        16:32:26

   17         Q.     Well, and you don't say anything in                        16:32:27

   18    your report about the PTAB, the Trial -- the                           16:32:31

   19    Patent Trial and Appeal Board decision                                 16:32:35

   20    anywhere in your report; right?                                        16:32:37

   21         A.     Correct.                                                   16:32:39

   22         Q.     Your report doesn't analyze the                            16:32:40

   23    impact of the findings of the PTAB on the                              16:32:41

   24    remaining claims?                                                      16:32:44


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    1         A.     It does not.                                               16:32:45

    2         Q.     No one at Microchip told you that                          16:32:46

    3    some of the claims had been found invalid?                             16:32:48

    4         A.     I don't recall anybody telling me                          16:32:51

    5    that.     They may have; I just -- it wasn't                           16:32:53

    6    relevant to my analysis.                                               16:32:56

    7         Q.     And so you don't have any basis for                        16:32:57

    8    offering an opinion about the difference                               16:32:59

    9    between the claims that were invalidated and                           16:33:00

   10    the claims asserted in this case; right?                               16:33:02

   11         A.     Correct.                                                   16:33:04

   12         Q.     In terms of what they're worth;                            16:33:06

   13    right?                                                                 16:33:07

   14         A.     Correct.                                                   16:33:07

   15         Q.     Let's talk about the timeline a                            16:33:08

   16    little bit in this case.                                               16:33:10

   17                   MR. WIENER:     Mr. Glass, would you                    16:33:11

   18    put up slide 1.                                                        16:33:12

   19    BY MR. WIENER:                                                         16:33:16

   20         Q.     So you're aware that Unwired began                         16:33:17

   21    developing the technology of the Boston 2 chip                         16:33:20

   22    around 2013; right?                                                    16:33:23

   23         A.     Yes.                                                       16:33:25

   24         Q.     And it successfully tested that chip                       16:33:25


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    1    in March of 2014?                                                     16:33:28

    2         A.   Yes.                                                        16:33:30

    3         Q.   And that's the date you use for your                        16:33:30

    4    hypothetical negotiation?                                             16:33:32

    5         A.   Yes.                                                        16:33:33

    6         Q.   Okay.                                                       16:33:34

    7                   And then it won contracts with The                     16:33:34

    8    Big 3 automakers later in 2014; right?                                16:33:37

    9         A.   Yeah.    That arrow on the chart fits                       16:33:42

   10    with my recollection.        It was before the end                    16:33:47

   11    of the year.                                                          16:33:49

   12         Q.   And after Aptiv was awarded those                           16:33:50

   13    contracts with The Big 3, Microchip decided to                        16:33:53

   14    begin developing a solution similar to                                16:33:55

   15    Unwired; right?                                                       16:33:58

   16         A.   I believe that the development -- you                       16:34:01

   17    know, I don't know exactly when the                                   16:34:04

   18    development began, but the substantial part of                        16:34:07

   19    it was underway in 2015.                                              16:34:11

   20                   MR. WIENER:     May I approach, Your                   16:34:16

   21    Honor?                                                                16:34:18

   22                   THE COURT:     Yes.                                    16:34:18

   23    BY MR. WIENER:                                                        16:34:37

   24         Q.   Dr. Becker, I have handed you what's                        16:34:37


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    1    been marked as Exhibit 264.                                            16:34:40

    2                   (Whereupon, Trial Exhibit 264 was                       16:34:40

    3    introduced.)                                                           16:34:40

    4                   MR. WIENER:     We offer it into                        16:34:42

    5    evidence.                                                              16:34:43

    6                   MR. GRAY:     No objection.                             16:34:46

    7                   THE COURT:     Okay.                                    16:34:48

    8    BY MR. WIENER:                                                         16:34:50

    9         Q.     Dr. Becker, down at the second                             16:34:50

   10    email --                                                               16:34:51

   11                   MR. WIENER:     And actually, Mr.                       16:34:52

   12    Glass, if you could put it up.                                         16:34:53

   13    BY MR. WIENER:                                                         16:34:53

   14         Q.     The second email on the first page,                        16:34:55

   15    it is an email from Mitch Obolsky and it's an                          16:34:57

   16    email to Ganesh Moorthy who was the CEO of                             16:35:00

   17    Microchip at the time; correct?                                        16:35:04

   18         A.     Yes.                                                       16:35:05

   19         Q.     And this is an email that's dated                          16:35:05

   20    December 9th, 2014.                                                    16:35:07

   21                   And down in the one, two, three,                        16:35:09

   22    four, fifth paragraph of that email that                               16:35:11

   23    starts, "We are debating" --                                           16:35:13

   24         A.     Yes.                                                       16:35:14


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    1         Q.   It says, "We are debating the merits                        16:35:14

    2    of developing an Unwired-like solution."                              16:35:17

    3                  This is in December of 2014?                            16:35:20

    4         A.   Yes.                                                        16:35:22

    5         Q.   Okay.                                                       16:35:22

    6                  MR. WIENER:     So, back to the                         16:35:23

    7    timeline, Mr. Glass.                                                  16:35:25

    8    BY MR. WIENER:                                                        16:35:28

    9         Q.   Shortly after Aptiv won the contracts                       16:35:32

   10    with The Big 3, Microchip considered an                               16:35:35

   11    Unwired-like solution and then decided to                             16:35:40

   12    ultimately develop that competing chip in                             16:35:42

   13    January of 2015; correct?                                             16:35:45

   14         A.   Yeah.    That's -- this is reminding me                     16:35:47

   15    of the timeline.                                                      16:35:51

   16                  So here on December 9th, it seems                       16:35:52

   17    like they've got some pieces of what would                            16:35:54

   18    become Sandia in the pipeline, but they                               16:35:57

   19    haven't made the decision to add the                                  16:36:01

   20    multi-host controller solution.         So I think                    16:36:04

   21    your timeline is not -- I can agree with that.                        16:36:08

   22         Q.   Thank you.                                                  16:36:12

   23                  And you read Mr. Obolsky's                              16:36:13

   24    deposition testimony in this case; correct?                           16:36:16


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    1         A.    I did.                                                     16:36:18

    2         Q.    And he testified that in 2014,                             16:36:18

    3    Microchip didn't think that providing                                 16:36:22

    4    persistent USB as a feature was critical to                           16:36:24

    5    winning contracts; correct?                                           16:36:28

    6         A.    Yeah.     I think there's more context                     16:36:31

    7    to it than just saying that it was critical.                          16:36:33

    8    It was the whole discussion about their view                          16:36:36

    9    of whether the OEMs would accept non-standard                         16:36:39

   10    solutions and whether -- what Apple would                             16:36:47

   11    allow.    But I know -- I do recall the                               16:36:51

   12    testimony where, at the time, they didn't                             16:36:53

   13    think it was that critical.                                           16:36:56

   14         Q.    And you've seen evidence that once                         16:36:57

   15    Microchip heard about the Unwired solution                            16:37:03

   16    later in 2014, even by October, they didn't                           16:37:06

   17    think it was possible to achieve the solution                         16:37:09

   18    that Unwired had come up with; correct?                               16:37:12

   19         A.    I would say not possible while                             16:37:17

   20    remaining standards compliant.                                        16:37:20

   21         Q.    Well --                                                    16:37:22

   22         A.    I haven't seen anything in the record                      16:37:23

   23    that says that they thought it was literally                          16:37:24

   24    technically infeasible.       All of that is                          16:37:27


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    1    impossible stuff that I recall is within the                          16:37:32

    2    context of it's not possible to do this and                           16:37:34

    3    remain compliant with the standard.                                   16:37:37

    4                  MR. WIENER:     Mr. Glass, could you                    16:37:40

    5    put up Exhibit 62 that's in evidence, please.                         16:37:42

    6    BY MR. WIENER:                                                        16:37:46

    7         Q.   So this is -- and if you can go to                          16:37:46

    8    page 2 of this.     This is an email from Chris                       16:37:49

    9    Behal, who is an engineer in the sales group                          16:37:51

   10    at Microchip, and he mentions that -- they're                         16:37:57

   11    talking about Chrysler and he says down                               16:38:00

   12    towards the bottom of the email, "How is that                         16:38:01

   13    possible to provide that functionality without                        16:38:04

   14    an iPhone allowing it?      I have no idea.       Is it               16:38:07

   15    possible they know something about CarPlay                            16:38:11

   16    that we don't?    I don't think so, but I can't                       16:38:12

   17    figure out why they want this either."                                16:38:14

   18                  He doesn't mention compliance with                      16:38:16

   19    USB, does he?                                                         16:38:18

   20         A.   Not with USB.     He's -- he does                           16:38:19

   21    mention compliance with Apple and we're                               16:38:23

   22    talking about CarPlay, so it's -- when I talk                         16:38:26

   23    about can you do it in a standard -- in a                             16:38:30

   24    compliant way, it is the USB standard and                             16:38:33


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    1    staying within the lanes that Apple is going                           16:38:37

    2    to make you play within.                                               16:38:40

    3         Q.    Well, let's go back to the timeline                         16:38:41

    4    then and we'll split the difference by saying                          16:38:43

    5    that in addition to not knowing how it's                               16:38:46

    6    possible to do it this way, Microchip                                  16:38:48

    7    thought -- go to the next slide, please, Mr.                           16:38:51

    8    Glass -- that it was not compliant.                                    16:38:53

    9                  And that even at this point, once                        16:38:55

   10    Microchip learned about the Unwired solution,                          16:38:58

   11    so they knew that it was possible to provide                           16:39:01

   12    something that it was not critical to the OEMs                         16:39:04

   13    to have a noncompliant -- or a compliant                               16:39:09

   14    solution or a noncompliant solution, still                             16:39:12

   15    then Microchip was debating whether or not to                          16:39:15

   16    fund a competing chip; correct?                                        16:39:17

   17         A.    Correct.                                                    16:39:19

   18         Q.    Okay.                                                       16:39:20

   19                  And in early January, they were                          16:39:20

   20    considering whether or not to invest                                   16:39:25

   21    two-and-a-half to 3 million -- or                                      16:39:27

   22    one-and-a-half to $2 million to develop that;                          16:39:29

   23    correct?                                                               16:39:31

   24         A.    Well, I think they were considering                         16:39:34


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    1    it.     Just when you put -- label it not worth                         16:39:35

    2    it, they clearly kicked off the development,                            16:39:40

    3    so they -- right around where you've got that                           16:39:43

    4    arrow, they made a decision that it was worth                           16:39:46

    5    it because they did start the development.                              16:39:48

    6          Q.     But up until that point, they didn't                       16:39:50

    7    think it was worth it, at least enough to kick                          16:39:52

    8    off the development; right?                                             16:39:54

    9          A.     I think in terms of committing the                         16:39:56

   10    resources to it at that point, given what they                          16:39:57

   11    knew.      But I wouldn't -- it's your chart, you                       16:40:00

   12    can put it there.       You can draw whatever                           16:40:04

   13    conclusion you want.        I don't think that the                      16:40:06

   14    economic evidence sort of supports that all                             16:40:09

   15    the way up to the day before they kicked off                            16:40:11

   16    the development, they thought it was not worth                          16:40:14

   17    it.                                                                     16:40:16

   18                    Clearly before they realized that                       16:40:17

   19    they had lost the clarity of the OEMs                                   16:40:20

   20    purchasing requirements, it was clarified for                           16:40:26

   21    them when they lost those deals at the end of                           16:40:29

   22    December, I think made it clear that it was                             16:40:33

   23    worth it.      So I would move your not worth it                        16:40:38

   24    probably somewhere to the left because once                             16:40:41


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    1    they lost the business, I think it became                             16:40:43

    2    pretty clear that they needed to do something.                        16:40:47

    3         Q.   It was losing that business that made                       16:40:49

    4    them realize they needed to develop this chip?                        16:40:51

    5         A.   Well, it was losing that business                           16:40:53

    6    that made them realize that their assumptions                         16:40:54

    7    about the OEM demands and the compliance                              16:40:57

    8    issues were incorrect.                                                16:41:00

    9         Q.   And so looking at this timeline, the                        16:41:02

   10    hypothetical negotiations happen right around                         16:41:05

   11    there, in March of 2014; correct?                                     16:41:09

   12         A.   Yes.                                                        16:41:11

   13         Q.   Right -- and let's talk a little bit                        16:41:12

   14    about the hypothetical negotiation.                                   16:41:15

   15                  MR. WIENER:     Mr. Glass, can you go                   16:41:17

   16    to the next slide?     We have our own table.         It              16:41:19

   17    looks a little different, I suppose, than                             16:41:21

   18    their table, but the same concept, just have                          16:41:22

   19    similar graphics concepts here.                                       16:41:25

   20    BY MR. WIENER:                                                        16:41:26

   21         Q.   I'd like to talk a little bit about                         16:41:27

   22    the Aptiv side of the negotiating table, the                          16:41:29

   23    thing that would have been motivating them to                         16:41:31

   24    push for a lower royalty.                                             16:41:34


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    1                  So first, you'd agree that Aptiv                        16:41:35

    2    spent millions of dollars to develop the                              16:41:37

    3    Boston 2 chip; correct?                                               16:41:40

    4         A.   No doubt.    Well, Unwired did, Aptiv                       16:41:41

    5    didn't.                                                               16:41:45

    6         Q.   And that it developed that despite                          16:41:45

    7    the fact that there was a risk that the OEMs                          16:41:47

    8    wouldn't accept a noncompliant solution, in                           16:41:50

    9    your words; correct?                                                  16:41:52

   10         A.   Yes.                                                        16:41:53

   11         Q.   Okay.                                                       16:41:54

   12                  And they also would point out the                       16:41:54

   13    fact that they had their own innovations that                         16:41:56

   14    went into developing that product; correct?                           16:41:59

   15         A.   No doubt there were some innovations                        16:42:01

   16    in there, yes.                                                        16:42:04

   17         Q.   And on the Microchip side of the                            16:42:05

   18    table, we know that at least in March of 2013,                        16:42:07

   19    2014, they didn't think it was possible to                            16:42:12

   20    have a solution that would work the way that                          16:42:15

   21    Apple wanted it to; right?                                            16:42:18

   22         A.   I think it's fair in March of 2014.                         16:42:21

   23    We -- in this negotiation, of course,                                 16:42:24

   24    remember, we're dealing the cards face up and                         16:42:27


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    1    things that Unwired knows that it was not                             16:42:31

    2    telling Microchip in the context of the                               16:42:35

    3    hypothetical negotiation, like the information                        16:42:37

    4    that the carmakers were going to accept, at                           16:42:43

    5    least one carmaker was going to accept a                              16:42:47

    6    non-standard solution.      That would be known.                      16:42:49

    7                  So the didn't think it was                              16:42:54

    8    possible, I think we have to modify that a                            16:42:54

    9    little bit in the context of this particular                          16:42:56

   10    table.                                                                16:42:58

   11         Q.   And this is your point about the                            16:42:58

   12    cards being laid up, face up?                                         16:43:00

   13         A.   Face up.                                                    16:43:01

   14         Q.   They are all face up?                                       16:43:02

   15         A.   Right.                                                      16:43:03

   16         Q.   And at the end of 2014, the cards in                        16:43:04

   17    terms of what the carmakers wanted and the                            16:43:07

   18    compliance issues and the possibilities, those                        16:43:09

   19    cards were face up?                                                   16:43:11

   20         A.   Yes.                                                        16:43:12

   21         Q.   Okay.                                                       16:43:12

   22                  Let's talk a little bit about your                      16:43:13

   23    cost savings methodology.       Now, you calculate                    16:43:16

   24    a royalty using what you determined is the                            16:43:19


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    1    costs that you can save by using the patented                           16:43:23

    2    invention; correct?                                                     16:43:26

    3           A.   It is the -- in a sense, it's the                           16:43:28

    4    comparison of the patent-practicing solution                            16:43:31

    5    to the next best alternative and isolating the                          16:43:37

    6    things that will change if you couldn't use                             16:43:40

    7    the patent-practicing solution.                                         16:43:43

    8           Q.   And to calculate your cost savings,                         16:43:45

    9    you don't just use one next best alternative,                           16:43:48

   10    you use two; correct?                                                   16:43:51

   11           A.   Yes.    It's -- there are definitely                        16:43:52

   12    two.                                                                    16:43:54

   13           Q.   Okay.                                                       16:43:55

   14                   So it's not -- it's not the next                         16:43:55

   15    best; it's one of the best next best                                    16:43:57

   16    solutions?                                                              16:44:00

   17           A.   Well, it's -- in order to actually --                       16:44:00

   18    because you've got to give stuff up to                                  16:44:04

   19    triangulate on what the real value is, you                              16:44:07

   20    can't see that without looking at both of                               16:44:10

   21    these alternatives.                                                     16:44:12

   22           Q.   Okay.                                                       16:44:13

   23                   Now, it's your opinion that                              16:44:14

   24    between these two, and these are the two sort                           16:44:18


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    1    of cost comparisons you did, right, the one                            16:44:20

    2    wire on the left and the two wire on the                               16:44:23

    3    right?                                                                 16:44:24

    4         A.     Yes.                                                       16:44:25

    5         Q.     And you determined the one wire,                           16:44:25

    6    comparing the cost of the patent solution to                           16:44:28

    7    the one-wire architecture gives you a cost                             16:44:31

    8    savings of 63 cents; right?                                            16:44:33

    9         A.     Yes.                                                       16:44:35

   10         Q.     And using the two-wire solutions in                        16:44:35

   11    the comparison, it's $3.28; right?                                     16:44:38

   12         A.     Right.                                                     16:44:41

   13         Q.     But you confirmed, did you not, that                       16:44:42

   14    the customers were generally demanding a                               16:44:45

   15    single-lane solution; correct?                                         16:44:48

   16         A.     As one of the requirements was single                      16:44:50

   17    lane.     They were also demanding some other                          16:44:54

   18    features as well, but one of the solution --                           16:44:56

   19    one of the demands was or desires was for a                            16:45:00

   20    one-wire solution.                                                     16:45:05

   21         Q.     And you agree that ultimately, Aptiv                       16:45:06

   22    would have pursued or would have essentially                           16:45:10

   23    forced the marketplace to accept in that                               16:45:12

   24    period of time a one-wire solution; correct?                           16:45:15


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    1         A.    Ask it again.     I lost you.                               16:45:18

    2         Q.    Sure.                                                       16:45:19

    3                  You agree that Aptiv would have                          16:45:20

    4    pursued or would have essentially been forced                          16:45:22

    5    by the marketplace to accept, if, in the                               16:45:25

    6    period of time that Sandia was -- between when                         16:45:28

    7    Boston 2 was launched and Sandia, I have                               16:45:30

    8    assumed that the one-wire solution is what                             16:45:32

    9    they would have pursued, in effect, and would                          16:45:35

   10    have been required that its customers accept;                          16:45:38

   11    correct?                                                               16:45:40

   12         A.    Yes.    In that period of time before                       16:45:41

   13    Sandia came out, given that you've got either                          16:45:43

   14    what they can ask the market to do and what                            16:45:49

   15    the market is going to accept.                                         16:45:52

   16                  You really have to ask the                               16:45:55

   17    question, is the market going to hold firm on                          16:45:56

   18    persistent or -- the persistence requirement                           16:46:00

   19    or is it going to hold firm on the one wire                            16:46:03

   20    and give up on persistence?         And the market                     16:46:06

   21    evidence tells me that they are going to give                          16:46:09

   22    up on persistence.                                                     16:46:10

   23                  And this, in part, tells you why,                        16:46:15

   24    is that the persistence, there's a lot of                              16:46:16


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    1    value in being able to do persistence in an                           16:46:21

    2    inexpensive way.                                                      16:46:23

    3         Q.   Okay.                                                       16:46:24

    4                   Now let's look at how you do your                      16:46:25

    5    calculation.                                                          16:46:27

    6                   MR. WIENER:    So, Mr. Glass, go to                    16:46:28

    7    the next slide.                                                       16:46:29

    8    BY MR. WIENER:                                                        16:46:30

    9         Q.   You take the cost savings from these                        16:46:31

   10    two approaches, you take the average; right?                          16:46:33

   11         A.   Yes.                                                        16:46:36

   12         Q.   Which is 1.95?                                              16:46:37

   13         A.   Yep.                                                        16:46:39

   14         Q.   And then you apply a discount to take                       16:46:39

   15    into account the market realities and the fact                        16:46:42

   16    that Aptiv would have been first to the                               16:46:43

   17    market; correct?                                                      16:46:45

   18         A.   Unwired and Aptiv would have been                           16:46:47

   19    first to the market, and really because of                            16:46:48

   20    what you just said in that prior question,                            16:46:51

   21    which is that the marketplace reality for the                         16:46:53

   22    period of time when Sandia wasn't on the                              16:46:57

   23    market is one that favors the -- the market                           16:47:00

   24    would have said look, we're going to give up                          16:47:05


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    1    on persistence because it's too expensive to                           16:47:07

    2    get it.                                                                16:47:10

    3         Q.     Okay.                                                      16:47:10

    4                   And that works out to roughly a                         16:47:11

    5    28 percent discount of that average number;                            16:47:13

    6    right?                                                                 16:47:17

    7         A.     If you've done the math.       I didn't                    16:47:20

    8    get there by taking a discount off of the                              16:47:22

    9    1.40.     How I got there is by taking a weighted                      16:47:25

   10    average of $1.95 for the period of time once                           16:47:28

   11    Sandia -- once the marketplace didn't have to                          16:47:33

   12    compromise on persistence and weighting it                             16:47:36

   13    with the period of time that the marketplace                           16:47:39

   14    reality was that they would have to give up on                         16:47:42

   15    persistence.                                                           16:47:44

   16         Q.     You agree it worked out to, in terms                       16:47:45

   17    of the numbers, about 28 percent?                                      16:47:48

   18         A.     I don't have a calculator.        I'll                     16:47:49

   19    trust --                                                               16:47:51

   20         Q.     Want to check it?                                          16:47:51

   21         A.     I'll trust your math.                                      16:47:52

   22         Q.     Okay.   Thank you.                                         16:47:53

   23                   So I'd like to go through what the                      16:47:55

   24    numbers would be like if we decide that the                            16:47:57


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    1    two-wire solution is not actually the next                              16:48:00

    2    best alternative; get rid of that solution.                             16:48:02

    3    Your starting point for the cost savings would                          16:48:06

    4    be 63 cents; right?                                                     16:48:08

    5           A.   If it's just gone?                                          16:48:10

    6           Q.   Yeah.                                                       16:48:12

    7           A.   Well, mechanically it might be, but                         16:48:14

    8    then there would be a missing piece of the                              16:48:19

    9    whole value of the technology and a missing                             16:48:21

   10    piece of the realities of what Aptiv had to                             16:48:23

   11    gain from the benefit of the invention, which                           16:48:29

   12    is you've taken away the persistence USB                                16:48:31

   13    feature completely out of the analysis, which                           16:48:34

   14    is undeniably a feature that is in the Aptiv                            16:48:37

   15    chip that's infringing.                                                 16:48:42

   16           Q.   If the jury decides that the next                           16:48:43

   17    best alternative to the Boston 2 solution                               16:48:45

   18    would have been using a one-wire alternative,                           16:48:48

   19    in terms of valuing the cost savings, that                              16:48:51

   20    would be your starting point; correct?                                  16:48:53

   21           A.   If they decide that that's the next                         16:48:56

   22    best alternative for literally the entire time                          16:48:59

   23    period all the way even after Sandia comes                              16:49:02

   24    out?                                                                    16:49:04


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    1         Q.   Yes.                                                        16:49:06

    2         A.   I mean, if they conclude that, that                         16:49:07

    3    would ignore the fact that Sandia was on the                          16:49:12

    4    market offering the persistence feature.                              16:49:14

    5         Q.   And if we apply the 28 percent                              16:49:16

    6    discount, because in this negotiation, Aptiv                          16:49:18

    7    still would have been first to market in that                         16:49:21

    8    market reality that you considered; right?                            16:49:23

    9         A.   Well no, in this -- in the                                  16:49:25

   10    hypothetical that you are painting here, there                        16:49:26

   11    would be no discount because we're already at                         16:49:29

   12    this, what I'll call sort of barebones --                             16:49:31

   13    we're only valuing the portion of the patented                        16:49:37

   14    technology that wasn't yet on the market.                             16:49:40

   15         Q.   Okay.                                                       16:49:48

   16                  But if you did take the                                 16:49:49

   17    28 percent, you'd end up -- if you didn't take                        16:49:51

   18    the 28 percent reduction, you'd end up with 45                        16:49:53

   19    cents, and if you applied that to the sales                           16:49:58

   20    that Microchip accuses of infringing, you                             16:50:00

   21    would get a total damages outcome of 20                               16:50:03

   22    million; right?                                                       16:50:06

   23         A.   I trust your math.                                          16:50:06

   24                  The logic of the prior step you                         16:50:08


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    1    made is the 28 percent discount doesn't make                          16:50:10

    2    sense if you -- if you're applying 63 cents                           16:50:12

    3    across the whole time period.                                         16:50:15

    4                   MR. WIENER:     And then finally, if                   16:50:16

    5    we could bring up Exhibit 36, which is already                        16:50:17

    6    in evidence.                                                          16:50:20

    7    BY MR. WIENER:                                                        16:50:20

    8         Q.   Dr. Becker, Exhibit 36 is an email in                       16:50:31

    9    the January 2015 timeframe.        You've seen this                   16:50:36

   10    before; correct?                                                      16:50:38

   11         A.   Yes.                                                        16:50:39

   12         Q.   And this was an email where Microchip                       16:50:40

   13    had not yet decided to pursue development of                          16:50:43

   14    the Sandia chip and the threshold question for                        16:50:47

   15    them was to decide whether or not the market                          16:50:51

   16    opportunity would be worth 15 to 20 million;                          16:50:54

   17    right?                                                                16:50:57

   18         A.   That's what this said.                                      16:50:57

   19                   MR. WIENER:     I have no further                      16:51:00

   20    questions.                                                            16:51:01

   21                   MR. GRAY:     No questions, Your                       16:51:03

   22    Honor.                                                                16:51:04

   23                   THE COURT:     All right.    You may                   16:51:04

   24    step down.                                                            16:51:06


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    1                  (Whereupon, the witness was                             16:51:06

    2    excused.)                                                             16:51:08

    3                  THE COURT:    This seems like as                        16:51:14

    4    good a place as any to break for the weekend.                         16:51:15

    5                  I am going to give you all the                          16:51:18

    6    same caution I have been, but with a little                           16:51:20

    7    bit more emphasis than I do sometimes because                         16:51:22

    8    you're going to be gone for a couple days.                            16:51:26

    9    You are going to talk to a lot of people that                         16:51:28

   10    are not here that are going to want to know                           16:51:30

   11    what you're doing.     And so I'm just going to                       16:51:32

   12    remind you that it's important.         Other than to                 16:51:34

   13    tell them you're serving on a jury, that's                            16:51:36

   14    about as much as you should say.                                      16:51:38

   15                  Don't tell them about the case,                         16:51:41

   16    don't tell them what you're hearing.          Any                     16:51:42

   17    details are likely to invoke questions,                               16:51:44

   18    thoughts, things like that, that can affect                           16:51:48

   19    your thinking about the case here.          Again, you                16:51:50

   20    can blame me for that if anyone presses you.                          16:51:53

   21                  The other caution I'm going to                          16:51:56

   22    give you, and it's really important, is do not                        16:51:58

   23    go looking up anything about the case.           Do not               16:52:00

   24    investigate it, don't Google it, just steer                           16:52:03


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    1    clear of it.     Use the weekend to just forget                       16:52:08

    2    about it, basically, and don't worry about it                         16:52:11

    3    and then come back on Monday.                                         16:52:14

    4                   So we'll start again Monday at                         16:52:16

    5    9 o'clock.     Just for your planning purposes,                       16:52:19

    6    as we look ahead, I know that -- I think a                            16:52:22

    7    couple of you may have commitments Monday                             16:52:25

    8    afternoon to get to.      That works out well                         16:52:27

    9    because I actually have to spend a little bit                         16:52:30

   10    of time with the lawyers going over some legal                        16:52:32

   11    things to get the case to conclusion.          So                     16:52:34

   12    we'll plan to sort of wrap up at the point                            16:52:37

   13    where we would normally take our mid-afternoon                        16:52:39

   14    break on Monday, so in the range of 3:15 to                           16:52:42

   15    3:30, in that ballpark, to get you out of                             16:52:46

   16    here.   But then we'll plan for full days after                       16:52:49

   17    that later in the week as we try to move the                          16:52:52

   18    case forward.                                                         16:52:54

   19                   If people have issues, you can                         16:52:55

   20    speak up and let me know on scheduling.             Okay.             16:52:58

   21    I think that's everything.        Everybody have a                    16:53:02

   22    good weekend and we'll see you back here                              16:53:04

   23    Monday for a 9:00 a.m. start.                                         16:53:07

   24                   (Whereupon, the jury was excused                       16:53:09


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    1    from the courtroom.)                                                  16:53:11

    2                  THE COURT:    Okay.                                     16:53:32

    3                  You guys can all be seated.         I                   16:53:35

    4    don't know if there's any particular                                  16:53:37

    5    housekeeping we need to tackle before we break                        16:53:38

    6    for the weekend.                                                      16:53:41

    7                  MR. WIENER:     If there are any                        16:53:44

    8    issues that arise over the weekend, should we                         16:53:46

    9    email you by 9:00 p.m. on Sunday?                                     16:53:48

   10                  THE COURT:    Yeah, just email and                      16:53:51

   11    if you email me before that, that's helpful.                          16:53:52

   12    Doesn't have to be 9:00 p.m. Sunday.                                  16:53:55

   13                  MR. WIENER:     It's sometimes                          16:53:58

   14    helpful to have a deadline.                                           16:53:59

   15                  THE COURT:    Yes.    So certainly you                  16:54:00

   16    can get it to me by then, but it can be                               16:54:01

   17    issues, it can also be if you reached any                             16:54:04

   18    compromises on language on the jury                                   16:54:06

   19    instructions, let me know that, too.                                  16:54:08

   20                  We will, in the interim, try to                         16:54:12

   21    get you a draft, hopefully today; it could be                         16:54:14

   22    tomorrow morning.                                                     16:54:18

   23                  MS. DURIE:    Perfect.     And you're                   16:54:19

   24    thinking the charge conference would be Monday                        16:54:20


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    1    afternoon?                                                            16:54:21

    2                   THE COURT:     That's my expectation.                  16:54:22

    3                   I want to use the time obviously                       16:54:24

    4    so we stay on case, and I do want to let our                          16:54:26

    5    juror go so that she can pick up her kids and                         16:54:28

    6    not lose her.     So that would be my                                 16:54:31

    7    expectation.                                                          16:54:32

    8                   MS. DURIE:     Okay.                                   16:54:33

    9                   THE COURT:     Okay.                                   16:54:34

   10                   And then I guess I'll see you                          16:54:37

   11    Monday unless anything pops up.          Okay?                        16:54:39

   12                   MS. DURIE:     Thank you.                              16:54:41

   13                   THE COURT:     All right.    Everybody                 16:54:41

   14    have a good weekend.        Stay safe.                                16:54:43

   15                   THE COURT CLERK:       All rise.                       16:54:46

   16                   (Whereupon, the Court adjourned                        16:54:52

   17    proceedings at 4:55 p.m.)                                             16:54:55

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   1                                C E R T I F I C A T E
   2
   3                 I do hereby certify that I am a
         Notary Public in good standing, that the
   4     aforesaid testimony was taken before me,
         pursuant to notice, at the time and place
   5     indicated; that said deponents were duly sworn
         to tell the truth, the whole truth, and
   6     nothing but the truth; that the testimony of
         said deponents was correctly recorded in
   7     machine shorthand by me and thereafter
         transcribed under my supervision with
   8     computer-aided transcription; that the
         transcript is a true and correct record of the
   9     testimony given by the witnesses; and that I
         am neither of counsel nor kin to any party in
  10     said action, nor interested in the outcome
         thereof.
  11
                     WITNESS by hand and official seal
  12     this 8th day of April, 2022.
  13                                    <%8008,Signature%>
                                        Notary Public
  14
  15
  16
  17     Job No. 5162169
  18
  19
  20
  21
  22
  23
  24

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